Case 1:24-cv-01175-BKS-ML Document1 Filed 09/11/24 Page 1 of 310

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Lied han Le [ice

Write the full name of each plaintiff. CV.

(Include case number if one has been

assigned}

-against-
COMPLAINT
AMS Legestaructy 2: Gel Hee spe
Do you want a jury trial?

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CAtwir OF AALS Leetacvied#s Keihacd Sele (Fe
Chg - dvews Ciflape-, fu JLo

Write the full name of each defendant. If you need more
space, please write “see attached” in the space above and
attach an additional sheet of paper with the full list of
names. The names listed above must be identical to those
contained in Section Il. <e

NOTICE

The public can access electronic court files. For privacy and security reasons, papers filed
with the court should therefore not contain: an individual’s full socia! security number or full
birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of
an individual’s birth; a minor’s initials; and the last four digits of a financial account number.
See Federal Rule of Civil Procedure 5.2.

Rev, 1/9/17
Case 1:24-cv-01175-BKS-ML Document1 Filed 09/11/24 Page 2 of 310

I. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. § 1332,
a case in which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, is a diversity case. In a diversity case, no defendant may

be a citizen of the same State as any plaintiff.

What is the basis for federal-court jurisdiction in your case?

[A Federal Question
[1 Diversity of Citizenship
A. If you checked Federal Question

Which of your federal constitutional or federal statutory rights have been violated?

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1. Citizenship of the parties (d PS orf. feb febvvary p) 2033, DE23Y-2erd2.
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Of what State is each party a citizen?
pay Leg 6S fre. Lewplegs fet, Ck
The plaintiff , LZ; GAL Z LUA Atotlpe— , is a citizen of the State of OVE ASF
aS epirtot,

(Plaintiff’¢ name)

JME Yo Ce

(State in which the person resides and intends to remain.)

or, if not lawfully admitted for permanent residence in the United States, a citizen or

subject of the foreign state of

If more than one plaintiff is named in the complaint, attach additional pages providing
information for each additional plaintiff.

Page 2
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 3 of 310

If the defendant is an individual:
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The defendant, SV4S Les é she are, fA Lud f- —_,isacitizen of the State of
(Defendant’s name) A bager b OLS flO Lye veg fF]:

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or, * not lawfully admitted for permanent residence in the United States, a citizen or sy Ca,9/0 <
subject of the foreign state of SOA.

Nhitt fa AC
If the defendant is a corporation: Est he Areva TS

The defendant, A/¢tv Gs Ha ,is incorporated under the laws of

the State of fit. fy ft C.

and has its principal place of business in the Stateof — AA¢t/ GY, (C_
é en
or is incorporated under the laws of (foreign state) LS Pht Mode fisel s ¢ (eee be fo
SAS A by Aootyy At,
and has its principal place of business in Laid M22 eer tol 3 f2. Q.

Vitra (82.

if more than one defendant is named in the complaint, attach additional pages providing
information for each additional defendant.

Tl, PARTIES

A, Plaintiff Information

Provide the following information for each plaintiff named in the complaint. Attach additional

pages if needed.

Ly ba L An LHe

First Natne Middle Initial Last Name
19 Avtdley O44
Street Addréds
SARMIL, NYE [1221
County, City , (] State Zip Cade
by lO YES 6S Martin Walbece leo O_9 Ma lta
Telephone Number Email Address (if available)

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B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the

caption. Attach additional pages if needed.

Defendant 1: Katny Aach Ay Levecner

First Name Last Name

Current Job Title (or other identifying information)

Z egeslen we Dh eo Lay lil ives / Co YOPL

Current Work Address (or other address wheré4lefendant may be served)

AI baa WY LO-24AE

Caunty, City / spate Zip Code
Defendant 2: hi Cha, of S, hotter
First Name Last Name

Supewsa LE ») tC Law $}E. benitdats

Current Job Title {or other identifying information} JRAFT

Luh Lin FDA Leell 2th ES, AUIS hock ibe

Current Work Address {or other address where defendant may be‘served)

SAB le. NizYorfe HISD

County, City State Zip Cade
petendaness Cll Shashe  Speshrc, 20S Axstagbole
First Name Last ‘Name ‘ 7

Current Job Title (or other identifying information}

L0.b- M4 G2)

Current Work Address (or other address where defendant may be served)

41 baa ME L224

County, City i State Zip Code

Page 4
Case 1:24-cv-01175-BKS-ML Document1 Filed 09/11/24 Page 5 of 310

Defendant 4: Nvlens Ls (lope Cpe fC 7 Shit Co

First Name Last Nanie

Current Job Title {or other identifying information)

Masseuta. luk £7 LS Liled.

Current Work Address (or other address where defendantfnay be served}

Lv-teas | JY

County, City State

Zip Code

UI. STATEMENT OF CLAIM
Place(s) of occurrence: fthaay 1 O5- fbf $32 / Alba beves,) Spe f lPQe.
o 2), 1S fund LOA nb vane OF Sect (fie tS Srbat?” Ly Llib Stheffie-

Date(s) of occurrence:

FACTS:

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach

additional pages if needed.

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Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 10 of 310

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if you were injured asa result of these actions, describe your injuries and what medical
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State briefly what money damages or other relief you want the court to order.

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V. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the

complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil

Procedure 11.

I agree to notify the Clerk's Office in writing of any changes to my mailing address. |
understand that my failure to keep a current address on file with the Clerk's Office may

result in the disinissal of my case,

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. if seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP application.

g /, l f LOT Lats let aM olltse

“ plaintiff's Signature

Dated
LNbefplaa Ata Lk¢ pt.
First Name Middle Initial Last Name

2 Kwrg lee Druk
Street Address <7
Last MoAb pod, yg 1103)
County, City , og State Zip Code

Le Ale L4- ST 6S Myra bl M« LOPE GMa, / Cur

Email Address (if available) A

Telephone Number

I have read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:

F#l¥es OUNo
If you do consent to receive documents electronically, submit the completed form with your
complaint. If you do not consent, please do not attach the form.

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(FILED: SUFFOLK COUNTY CLERK 03/04/2024 02:44 PM INDEX NO. 629667/2023
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Carl Heastie: Speaker:
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Pensions calculated.

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incarceration” Both sons are Hired by NYS Asse
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mbly and NYS Senate and PO Crim
ployer failure to Add in NYS Tier 4
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 14 of 310

employer contribution requirements to SAVE money and Keep a PO in Inactive post
year 29, 2021. Where is the arrest warrant for Public Officer Elect brown and
mattera failure to prime Pension bill language for Plaintiff? That is a Federal
Requirement under Haley v. Pataki-federal Supp 1995.

This chart from NYAG is proof that Speaker NYS Assembly assigned Andrew
Hevesi as of Chairs of Criminal procedures 11 Years (An UNFAIR advantage and
Leverage) while Maryann Maltese is In Forcible Inactive for 10 years. Additionally,
as of 2015; Post State Assembly Probe; Andrew Hevesi by Speaker as well-Hand
Selected to Chair NYS Assembly Committee of Social Service on Matters of Child
Abuse and Mandatory reporting. As of 2023 1 September-Assemblyman Andrew
Hevesi Has his Google Gmail as Point of Contract for Child Abuse Victims to engage
in-a Complete breach of Confidentiality that NYAG reports of 2021

RJI’S of Supreme Court added; ASA to Forms as I filed in December 2022; and NYS
Has a Personal Jurisdiction to review. Choosing not to review: is prejudicial
towards Female Employee Victims with ASA Notice of Claim and compounded with
my Right to Pension corrective earnings to be Judiciary decision making is
Capricious and failure of the Supreme Court to protect a state Public Officer
employee’s Notice of Claim and my overall Constitutional right to Pension as of
January 1, 2022. Employer NYS is negligent in formations; 1; Black Letter Law
Pénsion and 2; Notice of Claim on Sexual Assault Violations as Intern-Employee of
NYS Assembly. Male Elective members of State Legislature of 2020-2023;
continuous denial of Prime Bill languages as formation of Discrimination and
Denial of Affirmative Action’s House Rules NYS Assembly; Violations of Sections 5,
6. 7. Intentional delay of Time Management waits in Haley and or Accumulation of
18 months Post Plaintiff Public Notice are per violation considered Grounds for
Criminal Arrest of Elective Public Officers and or their Employees. Private Civilian
conspirator’s willful actions to assist public officers are as well Felony. In February
orders, by Judge Mackay discusses hybrid determination findings for PO rights to

her retroactive corrective and pension; but

Defendants failed to ensure timely issuances of Pension and Supreme Failed to
acknowledge personal jurisdiction within Adult Survivor Law (ASA) extender rights
to Notice of Claim for events from 1992. The NYAG failed to take the Orders of
Mackey and have Assembly Ways and Means Prime Bill languages for PO Plaintiff.

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State of New York
Supreme Court, Appellate Division
Third Judicial Department
Decided and Entered: November 9, 2023 CV-23-0360
In the Matter of MARYANN
MALTESE, DECISION AND ORDER
Appellant, ON MOTION
Vv
NEW YORK STATE
LEGISLATURE et al.,
Respondents.

Motion to vacate dismissal of appeal and for extension of time to perfect appeal.

Upon the papers filed in support of the motion, and no papers having been filed in
opposition thereto, it is

ORDERED that the motion is denied, without costs.

Egan Jr., J.P., Aarons, Ceresia and McShan, JJ., concur.

ENTER:

Robert D.
Clerk of the Court
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 16 of 310

State of New York
Supreme Court, Appellate Division
Third Judicial Department

Decided and Entered: November 30, 2023 CV-23-0438

In the Matter of MARYANN
MALTESE, DECISION AND ORDER
Appellant, ON MOTION

¥

NYS JOINT COMMISSION ON
PUBLIC ETHICS et al.,
Respondents.

Motion to vacate dismissal of appeal and for further relief.

Upon the papers filed in support of the motion, and no papers having been filed in
opposition thereto, it is

ORDERED that the motion is denied, without costs.

Egan SJr., J.P., Pritzker, Ceresia and McShan, JJ., concur,

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Clerk of the Court
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 17 of 310

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785. Date Reported (Day, Date, Time] 16,1112, Occurred On/Fram (Bay, Date, Time)
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COMPLAINANT [MALTESE MARYANN 05/07/1970 | 19 RINGLER DRIVE , (6313368-3.125
E. NORTHPORT NY (731

PERSON | VAST
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ai27/202 0827/2021 a SEP 23 204i

{Narrative -
INITIAL BCl Admin Senior

atched by SP Capital to Bldg 22 for a complaint. Upon arrival, I made contact with

Qn the above time and date I was disp
MARYANN MALTESE who alleged that in April of 1992, then Assemblyman BE 24 inappropriate contact with her.
HME iso served és her college intemsbip advisor. MALTESE alleges

LTESE stated that she was an intern at the thme and
MEM caiicd her in to his office to discuss whether she had plagiarized a paper she had written for college and then started
her on the lips and her neck and grabbed her buttocks. MALTESE stated that she pushed him away and expressed her
also attempted to kiss her and

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erest in him. MALTESE further alleges that in early May of 1992, Assemblyman

ner bultocks in the area of 142 Washington Avenue C/Albany.
TESE further stated she has an active case going to reacquire Her retirement benefits and pension through the state, | advised

TESE that NYSP has no bearing or contro! of the civil matter in the courts.

[Date Written Officer Name & Rank
09/02/2021

0, 2071, RS adopted SP Capital Case # 21-044 - Forcible Touching.

‘Maryann Maltese was a Legislative intern in 1992.
a fulltime staff member with the Assembly in 1993. Ms. Maltese stated she became the Downstate Regional Manager
OFZ F202 E 9:28:05

Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 18 of 310

03/14/2024

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EXHIBITS, volume 1 of 2, on behaif of Appellant Maryann Maltese, FILED. Service
date 03/14/2024 by United States Mail. [Entered: 03/14/2024 04:08 PM]

Maryann Maltese, FILED. Service

EXHIBITS, volume 2 of 2 on behalf of Appellant
d: 03/14/2024 04:17 PM]

date 03/14/2024 by United States Mail, [Entere
EXHIBITS, State Defendants’ affirmation in response to order to show cause, on
behalf of Appellant Maryann Maitese, FILED. Service date 04/08/2024 by E-mail.
fEntered: 04/19/2024 02:11 PM]

SUPPLEMENTARY PAPERS TO MOTION, on behalf of Appellant Maryann
Maltese, FILED. Service date 04/17/2024 by E-mail. {Entered: 04/19/2024 11:28
AN]

PAPERS, Termination letter and PAR Forms, RECEIVED. fEntered: 04/19/2024
01:50 PM}

SUPPLEMENTARY PAPERS TO MOTION, exhibits/evidence, on behalf of
Appellant Maryann Maltese, FILED. Service date 04/26/2024 by E-mail. [Entered:
05/10/2024 09:10 AM]

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Appellant Maryann Maltese, FILED. Service date 05/07/2024 by E-mail. fEntered:
05/10/2024 09:15 AM]

SUPPLEMENTARY PAPERS TO MOTION, "evidence to show that NYS Troopers

acknowledge the 1992 incident" on behalf of Appellant Maryann Maltese, FILED.
Service date 05/09/2024 by E-mail. (Entered: 05/10/2024 09:35 AM]

PAPERS, Judicial calendaring, RECEIVED. [Entered: 06/18/2024 01:33 PM]

MOTION, to place appeal on the argument calendar for June, on behalf of
Appellant Maryann Maltese, FILED. Service date 05/16/2024 by United States

Mail. [Entered: 05/20/2024 04:04 PM]
PAPERS, on behalf of Appellant, RECEIVED. fEntered: 05/24/2024 03:34 PM]

PAPERS, Order from the New York State Supreme Court, dismissing appeal

under index No. 624815/2023, RECEIVED. [Entered: 06/18/2024 01:30 PM}

NEW CASE MANAGER, Atasha Joseph, ASSIGNED. [Entered: 07/26/2024 01:07

PM]

MOTION ORDER, denying motions to provide additional evidence, to expand

the record, to file exhibits, and to place the appeal on the calendar, at docket
entries 34, 35, 39, 51, on behalf of Appellant Maryann Maltese, by WJN, MP,
AJN, copy to pro se, FILED. fEntered: 07/26/2024 01:12 PM]

Docket as of 8/14/2024 12:29 PM

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Catherine O’Hagan Wolfe, Clerk

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In 2013, she took an unpaid leave for one year. After thac year, she was not
he js entitied toa pension or severance package. Recently filed civil paperwork.

contacted Maryann Maltese regarding SISH 10415203. Maltese reports tbat in April of 1992, she was an
office: ‘At that time was av assemblyman. tt sunramtsubstance; Ms: Maltese stares that while in his

-—tintern in
office, BEE inappropriately touched ber by kissing ber on lips and grabbing her butt. Ms. Maltese reported the incident to her

intern serv Mr. MBB reportedly told Ms. Maltese that he would take care of ff. Ms. Maltese believed that
~ Ieant he would report the inc ent to the police. Ms. Maltese ig not aware if a ever reported the incident to any police

department.

Oa August 36, 2021, 1

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urant near her residence which was located at 143

- Ms, Maltese also reported to me that in May of 1992 while at a bar/resta
attempted ta kiss her on the lips and prab her buk.

Washington Ave. in the City of Albany, thea Assemblyman

he contasted Albany Police
twice in person, and has
but never received one before

Ms. Maltese has never reported these incidents to any police department until March of 2021, wheo s
Depariment, Ms. Maltese noted tha: she met with

exchanged emails. Ms. Maltese requested an incident varification number from
ae retired approximately three weeks ago. Ms. Maltese stated she was awaiting call back from Albany Police Depattment,

regarding who would be replacing

On August 30, 2021, 1 contact at Albany Police Department who advised ER 02s 2emptd to

contact Ms. Maltese but her voicemail has been full.

On September 01, 2021, 1 contacted Albany County ADA a Victims Unit) regarding this case. We
discussed the particulars of this case and + was determined that the statute of limitations has expired. ADA WE stated she would

contact the complainant of this case and advise her of the same.

On September 01, 2021, I contact Ms. Maltase and advised her that I would be closing the case dae to the statute of limitations
expiring, Ms. Maltase felt that I should continue the investigation to assist her in her civil suit. J advised ber that was pot my
responsibility to assist her in the civil suit and that this case would be closed.

On September 02, 202, SP Capital BCI Cased 21-044 Forcible Touching is closed by investigation. Investigation reveated that the
statute of limkations in this case expired. I: also revealed that Ms. Maltese reparted these incidents to Albany Police Department
and the Denaranent of Human Rights veforé reporting to the New York State Police.

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SP Capital Case# 21-044 - CBLFiaal

No evidence

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Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 21 of 310

PUBLIC DOCKET FOR

United States Court of Appeals for the Second Circuit

Court of Appeals Docket #: 23-7826 Docketed: 11/21/2023

Case Name: Maltese v. NYS Legislature Status; Determined
Nature of Suit: 3890 STATUTES-Other
Appeal From: EDNY {BROOKLYN)

Fee Status: Paid

Case Type Information

1. Civil
2. Private

3.

Originating Court Information

District: EDNY (BROOKLYN): 1:23-cv-4359

Trial Judge: Rachel P. Kovner, District Judge
Magistrate Judge: Lois B. Bioom, Magistrate Judge
Date Filed: 06/13/2023 '

Date Order/Judgment Date Order/Judgment EOD Date NOA Filed Date Rec'd COA

11/06/2023 11/06/2023 11/17/2023 11/20/2023
Associated Cases
Party and Attorney Listing

Maryann Maltese

[Pro Se]

19 Ringler Drive

East Northport, NY 11731

MARYANN MALTESE
Plaintiff - Appellant

New York State Legislature

NEW YORK STATE LEGISLATURE, Carl Heastie,
[Pro Se]

Speaker Representative

Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 22 of 310
Case: 23-7826, 07/26/2024, DktEntry: 57.1, Page 1 of 1

E.D.N-Y. - Bklyn
23-cv-4359
Kovner, §,

United States Court of Appeals

FOR THE

SECOND CIRCUIT

At a stated term of the United States Court of Appeals for the Second
Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
in the City of New York, on the 26" day of July, two thousand twenty-four.

Present:

William J, Nardini,

Myrna Pérez,

Alison J, Nathan,

Circuit Judges.
Maryann Maltese,
Plaintiff-Appellant,
v. 23-7826

New York State Legislature, Carl Heastie, Speaker Representative, et al.,

Defendants-Appellees.

Appellant, pro se, moves to provide additional evidence, to expand the record, to file exhibits, and
to place the appeal on the calendar. Upon due consideration, it is hereby ORDERED that the
motions to provide additional evidence, to expand the record, and to file exhibits are DENIED.
See IBM Corp. v. Edelstein, 526 F.2d 37, 45 (2d Cir. 1975); Loria v. Gorman, 306 F.3d 1271, 1280
n.2 (2d Cir. 2002). It is further ORDERED that the motion to place the appeal on the calendar is
DENIED and the appeal is DISMISSED because it “lacks an arguable basis either in law or in
fact.” Neitzke v. Williams, 490 U.S. 319, 325 (1989); see Pillay v. INS, 45 F.3d 14, 17 @d Cir,
1995) (per curiam) (holding that this Court has “inherent authority” to dismiss a frivolous appeal).

FOR THE COURT:
Catherine O’ Hagan Wolfe, Clerk of Court

Cc :24-Cv-
ase 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 23 of 310

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Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 24 of 310

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EXHIBITS, volume 7 of 2, on behalf of Ap
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Catherine O’Hagan Wolfe, Clerk

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Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 25 of 310

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30. City/State/Zip .
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COMPLAINANT I MALTESE, MARYANN OS/OT970 ip RINGLER. DRIVE fesussscuzs
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08/27/2021 p827/2021 SEP 28 202i
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22 for a complaint. Upon arrival, { made contact with

On the above time and date I was dispatched by SP Capital to Bldg
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o Assemblyman

(MARYANN MALTESE who alleged that in April of 1992,
AALTESE stated that she was an intern at the time and Fiza
[that & atled her in to his office to discuss whether she ba
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o————~ Case 1:24-cv-01175-BKS-
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stature of limitations ia this case expired, Italso reveale

and the Deparment of Human Rights before reporting to the New York State Police.

SP Capital Cased 21-044 - CBL/Fisal

No evidence

Maltese reports that in April of 1992, she was an
as-arassemblyman. fi sumraud substante; MIs: Maltase states that while in his
her on lips and grabbing her ut. Ms. Maltese reported the incident to her
reportedly told Ms. Maltese that he tyould take care of it, Ms. Maltese believed that

021, when she contacted Albany Police

Ht never received one before

the case due to the statute of limitations
il suit. TL advised hee that it was not my

stigation. Investigation revealed that the
d that Ms. Maltese reported these incidents to Albany Police Department

ADMINISTRATIVE
74, Inquiries 75, NYSPIN Message No. 7G. Complainant signature ——
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Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 27 of 310

TABLE OF CONTENTS

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Constitutional and Statutes and Provisions Involved......ssccresserseeeeereees

Statement of the Case.......... beccaueces vccuceeteueneesaes seueuheceeseetes seanaeaneseeees cane cenntener ds

Reasons for Granting the Writ......sesccsscsseeretens tener enn eee
Summary of the ArgUment......cccecserceeressenssercerernest ete et
Conclusion....... puevarsveersrsaaee duteeeeenes besevseseanansanecs dunccaycenenvauseecseeneesenaen

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Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 28 of 310

TABLE OF AUTHORITIES

CASES;
E. Jean Carroll v. Donald Trump, No. 20-3977 92d Cir. 2023)... cece

E. Jean Carroll v. Donald Trump, No. 1:22-cv-10016(November 24, 2022)...........
E. Jean Carroll v. Donald Trump No. 1:20 -cv-07311 February 8, 2024. Document

285

United States Department of Justice v. NYS Executive Chamber Stipulation
Agreement on Andrew Cuomo NYS AD Sexual Harassment Victims August 2021

Report 1/26/2024

Haley v. Pataki 1995, ocsssscsscscssssssssssenessseessssesnecsaneesuscesantenssensnsssrersceaeesnaeten
In the Matter of Vito Lopez ICOPE-I27 ...cccccccecceetneeessesesterreeesesneaneacenenatsennaneans
In the Matter of Alan Hevesi; ASA violation and violations in N.Y. EXE CUTIVE

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Matter of Ross v. Wilson, 308 N.Y. 605, 612 (TOBB) ccc csssseresesseeeeeeeveveseseneens
Title VI of the Civil Rights Act of 1964 (Title VIL’) “outlaw[s] discrimination in the

workplace on the basis of... sex.” In 1986, the United States Supreme Court

recognized that

Title VII’s prohibition on sex discrimination prohibits gender-based harassment in
the workplace. Like federal law, the New York State Human Rights Law (the

‘NYSHRL?’), forbids workplace harassment.

Statutes

28 USC § 1869(i) Public Officer Rulle.......cccseccecsseesseessessnecnserssnesesesensanscassensgsness
General Municipal Law Section 50......ccccsseseceeescsseneesteessaseasssesaenenensnneacrereneatesseeey
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Public Officer Rules

NYS Assembly Articles 5, 6, 7
House Rules of NYS-NYS Constitution. Speaker Rules
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 29 of 310

§ 5.Sexual Harassment Policy... ..ccecceee

§ 6, Affirmative Action Policy.....sssceecr er serenrc eerste ns

§ 7. Non-Fraternization Policy 1992-1994 (Maltese)... cccsescececceseseces ee eneeeees

Notice of Claim failure 1992-2013

§8. Yellow Book NYS Rules of Employer requirement of February 8 annually...

9. Mandatory Reporting, Failure by Executive: Governor NYS... cesccsseeceneee cee ene teres

10, NYS Legislature Extender; Child Abuse Training 2026, January QB ire cer ces cre eet

11 Executive Privilege 94 Violation’ 1992-2OZA... .csseecenee see eres

12 Failure of Employer-Educator to Maintain Employee Victimization..........0+0+

13 Failure of Notice of Claim Section 50 1992; Penal Code 130... ...... 60:0. ere ere eee nee tes

14 ASA Law Failure to Apply Remedy May, 2022... 0... ccrssrereenn ers eees

15 Redaction Law-Failure to Protect my Rights mn Haley; Extender Employer Right....
Avoidances 33 years5. Sexual Harassment Poli... ccc ceccee ces cee eee tena teens

16 Jean Carrol V. Trump Supp No 1:20 cv 07311 February 8, 2024-(Maltese Road Map)
Rendering is required from $83 million-Plus Defamation 33 years Public Officer

Notice of Tort Claim required... co.cc secs crceee creer eeeens

17 Civilian Tort is never higher in consideration than an Officer of Federal and State
Constitution... cc... ccc cee cee centr eee cen ees cee nee tee ees
18. Jean Carrol v. Trump Supp. No 1:20 07311 (Southern) Document 285

(Maryann Maltese v. Legislature, CUNY et al 1:23 CV 04359) Eastern-denial of
Hearing, USC 28,
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 30 of 310

In the

Supreme Court of the United States
Petition for Writ of Certiorari .

The Petitioner Maryann Maltese respectfully asks that a writ of certiorari issue to
review the Judgement Below in 28-7826; of July 26, 2024; in the US Court of Appeals
for the Second Circuit , Maryann Maltese (Plaintiff vs. New York State Legislature,
Carl Heastie, Speaker Representative , CUNY, et Al, Defendants. To overturn the
US Appeals Decision of July 26, 2024. Judge Nardini, Myrna Perez and Alison
Nathan, Circuit Judges dismissed Public officer Complaint as Frivolous. Plaintiff is
without State pension and without Negligence Claim. PO post incident of ASA which
was never Reported by employer in 1992; Failure of Executive Mandatory reporting
occurred (Mario Cuomo-Nepotism) allowing Reentrance into Service 1994; delays by
the Employer-Educator Defendant 33 years. As our Oath; we're silenced in our own
Victimizations and the Promise is to Add; All,
Accommodations, Hold the Line Earnings, Plus Negligence by Employer or civilian
at end of Service. July 31, 2013; Silent termination Unethical wen vested tenured
Plaintiff Public officer believed she was approved by Andrew Cuomo for Unpaid
Leave in year 20 in Service. Confidentiality of Negligence such as Employer-
Educator Rape, penal Code 130 matters, Sexual harassment in Failure of new
Public policy Makers from State legislature 2021-2024; at longer than 18months is a
Well; Classified Public Integrity crime carrying Ethics Penal Punitive Notice of Tort
on Employer Educator. This avoidance occurred; by Governor Andrew Cuomo, in
2018 at end of Service failure Plus; while Mr. Cuomo was NY Attorney General over
Defendants Penal Code 130 Violators; Alan Hevesi plus Daniel Frisa. Plaintiff
sought her Service Pension before age 55; as of Right, based on NYSLRS Tier 4 date
of Entrance 1992; whereas as of March 9, 2021; Plotted Police arrest orchestrated by
Assemblyman Keith Brown, 12t» Ad and Senator Frank Mattera, 2"4SD failed to
Issue Prime Bill language-Officer right like men before me holding State and
Federal Constitution as Priority 1. This failure as Intentional NYS Sessions
30212024 is Punitive with rate of Tort at maximum consideration of US Appeals 2n
Circuit 23-7826 stated: was Frivolous.

Questions for the Court to Answer
1) Why is to Applicable; the Adult Survivor "aw ASA of NYS Extender of May

2022?

ASA provides Public Officer victims of NYS Senate and NYS Assembly Extender
rights in Notice of Claim. In 616328-2021; Keith Brown failed intentionally on
Public Officer As is rights to Prime Bill language based on Service record; Post ASA
Employer-Employee Offense In 1992- Defendants were Both) Employer and
Educator as Petitioner was on Dual Payroll. That Prime Bill language was required

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entitled to. Alan Hevesi as of Plea bargain crafted by Andrew Cuomo; received
$10,000 a Month as of 2 Felony Incarcerations without Consideration of Crimes of
Alan Hevesi against Maryann Maltese in 1992. Dap Frisa Co-hort receipt of State
pension $789 a month since 2009; while Plaintiff reinstatement for her Good Service
and is without State pension since 2013-2024.

Beyond ASA-Corrective earnings for the 19 contracts Post incidents of ASA is
required as well. Complaint was filed in 23-7826 US Appeals of which was
Dismissed unethical and reconsideration with an Judgement of tort is asked.
Plaintiff is Public offeer victim while intern who was on two Payrolls; Legislature
(Employer) and Cuny Queens College (Educator) in 1992. 2 Male Elective offcer
agents attacked me forcibly as Conspiracy mission; April 1992, Alan Hevesi forcibly
and May 1992, Dan Frisa 1992 forcibly. Maltese submitted notice of claim for
Negligence's 33 years Prior with Life expectancy for Plaintiff as noted.

Post incident; Plaintiff Maryann Maltese is not disabled but the Employer but
dedicated my Service to Crime Victim rights and Enforcement of Probationary for

Incarcerated upon release. I believe in Death Penalty for Those willful actions; top

6 felonies in NYS against Women and Disabled. Knowingly targeting these groups

and the Extender failures of mandatory training or Unethical time Period for Crime

Victims' rights has been on the back Burner of NYS legislature since 2013. Crime

Victim rights of Sexual Assault by Employer-educatoyr is Primary but bTYS for 33

years; Legislature and CUNY have failed intentionally-and Plaintiff submits the

Claim for Maximum tort issuance as year 29, (2021) Meant Maltese gets her

Property, Pension and Notice of Claim. NYS Defendants wants Victims to able to

rebuild their lives; I have and then: Employer Educator retaliation since 2021. This

too is allowable consideration. Avoidance, Retaliation, Failure by New-is within this
notice and requested by this writ to enforce on Defendants.

Judiciary NYS and Employer-together avoided my’ Notice of Claim and created
additional Sexual Harassment Employer matters by failure to grant Annual,
Accrual and Promotional earnings from 1994-2022. Evidence provided on personnel
forms of other Chief of Staffs to support that Post ASA, Failure of Mandatory
reporting by Employer, and Failure to remedy while in Service; Employer has failed
in Institutional Entirety. Governor of NYS enacted ASA to offer extender statutory
rights for 1 year to file of which in Inactive status; and Clearly not included in US
DOJ's investigation against Former Governor Andrew Cuomo is means for
Defendant terminations and this Court. to review Procedural processes of
Defendants; failure as the New Employer, New Legislatures of 2021, 2022, 2023
and 2024. Leverage of the Employer was in 2021, 2022, 2023, and 2024 of which
NYS Defendant granted themselves Extender rights to Avoid and Accountability
left Unattended to for 33 years. Plaintiff Public Officer seeks Maximum
Institutional Tort inclusive of consideration in Matter of Jean Carrol v. Donald
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between 2020-2021; Participated with CUNY Defendant; Jen Jarvis, in August 2021,

with the understanding that CUNY Defendant would Craft

Offer of Settlement to no Avail. The Defendants at large have willfully misled a
Crime Victim by THEIR hands and then eliminated me of my own Notice of Claim.
That is considered Institutional re-rape of Plaintiff.. Plaintiff expects for Notice of
Claim tort at 33 years by Defendants et all, 213, Legislators, an Executive 2 of which
were on Notice date of Filing; Andrew Cuomo and then Kathy Hocus-non
accountability of the Executive Chamber for Adult Penal Code violation higher than
Sexual Harassment is concurrent since 1992, CUNY provides the Mental health
professional reviews for Title X but Failure to Grant the Crime Victims-notice of
Claim, for 33 years while as a Student; I worked alongside President and Dean of the
College to apprehend 2 other students; Evan Stavisky and David Lavine: who were
Cohorts of Professor-Employer Alan Hevesi who continued to harass me post May
1992-June 3, 1993 where CUNY defendant had the BALLS; to issue bachelors of
Political Science vs a B-year Masters; at 142 Credits achieved; 21 Agency Practical
Post ASA offense. June 3, 2023; Hevesi issued me a Degree as BA. No one from the
College stated Hevesi would be the master of Ceremonies. Employer Educator
viptimized me post assistance and then eliminate me of Fellowship CUNY law degree
unethically. Plaintiff Expects the Full value of the Fellowship plus Lifelong Loss of
Earnings at 33 years, rendering notice of claim Similar in Carroll, No. 1:20 -ev-07311
February 8, 2024.

The United State Department of Justice 6 months earlier on January 26, 2024;
forced Executive Chamber to Stipulation Order Settlement for Governor Andrew
Cuomo ‘credible" Public Officer victims New York State Attorney General published
August 3 2021; "Report of Investigation into Allegations of Sexual Harassment by
Governor Andrew Cuomo. with the exclusion of Maryann Maltese within Secondary -
consideration of review as Adult Survivor Victim of 1992; This failure allowed the
Defendants additional extender time to avoid my rights to end of Service and Notice
of Claim filed at Eastern District Court 1:23 Cv. 04539, Lower Court Albany
Supreme; 09234-22, filed on December 9, 2022. each Court; State and Federal Denied
Pubic Offcer Hearing on USC 78, Article 78 and my Notice of Claim. State Pension
was not administered as well required Post Incidents of which Mandatory reporting
failures occurred. Rendering in Carroll is expected at Minimum.

OPINIONS BELOW

The US Court of Appeals denied a Public Officer employee Plaintiff the right to a
hearing or Mediation within RJI which in NYS is Public Officer right and each and
every court due to my Gender has failed to Grant me Review. In Eastern; Judge
Rachel Koviner denied Plaintiff PO in 1:23 ev 43859, Maryann Maltese v, NYS

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State Statutory Laws; House Rules of NYS Assembly: 5-7, Speaker House rules 5, 6,
7 5 Sexual Harassment, 6 Affirmative Action and 7 Non-Fraternization policy
Plus Yellow Book of 2020, 2021, 2023, 2024 Defendant Employer Schedule
Obligations of State Budget Compliances for Employees which Stresses; Employee
PO Plaintiff rights are Priority 1 every Budget year. Plaintiff has 20 years of
Service 1992-2024 failure to Prime Bill language to ensure Fiscal note NYS
Comptroller forensic Computation is issued and within Index' 09234-2022; Notice of
Claim for ASA tort Albany Supreme Denied Article 78 Hearing or RJI review.
Employer doesn't have Executive Privilege in year 29 of Service which was January
1, 2021; Prime Bill language with Fiscal Note Computation is required. Notice of
claim on Employer negligence is considered separate and private. As of January 1,
2021; Employer agent are in the NYS Assembly Keith Brown and in the NYS
Senate; Mario Mattera. Public Officer Rules NYS PO 73, 74, 107 define Member
Ethics and their rule to Prime Bill language no later than 18 months Post Public
Notice by Employee of same Agency. Failure of 18 months is punitive consideration,
punishable by Arrest and incarceration with elimination of any and all Professional
Licensures. Again-Pension by NYS Comptroller the Holder of State Retirement
System; failure to issue State pension Check no Later than January 1,
2022, Public Officer Rules of NYS demand that Defendants et al-compliances and
Brown and mattera are intentionally failing. This is not Political Party

employment.

STATEMENT OF THE CASE
Plaintiff is the Crime Victim in 1992, ASA which was Never Mandatory reported by
Employer and in 09234-2022 Maltese v. Legislature, Albany Supreme-denied
Hearing. Plaintiff filed earlier in year 29, her Pension rights as PO; in 61638282021,
Suffolk Supreme; Dismissed rendering on March 30, 2022, Pension was 120 days
late with no Corrective earnings fiscal note Prime Bill as required for Exisitng
Service. Two State Supremes on PO rights; As is and as ASA and No rendering on
Fiscal computation for Service or ASA negligence is Institutional rerape unjustified
and felony, Two Appellants; AD 3; 09234-2022; Albany failure of Heaving indexed
Dismissed November 9, 2023. AD 2, 616328-2021, on September 11, 2023;
Dismissed Public officer Article 78 matter; allowing Employer Agent Keith Brown to
Exert an executive Employer Privildge he doesn't Possess Constitutionally against
me; a Plaintiff Same Employer as himself Tenured Vested. Federal Courts; US
Appeals 23-7826-Failure to Grant a hearing on ASA from Eastern District 2md,
rendering by Koviner-No Hearing 1523 ev 0459. The Federal question is is why is
Judiciary and Legislature Employer failing to review my Matters as Public Offcer?
Laziness and Non-Accountability within 18 month Life span of Court Index or
Docket and allowable Extenders in Pension failure of which required as of 1/1/2022.

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institutional employer violation within renderings as Employee Public Officer
Legislature and Judiciary are under the same oath and Cleary Defendants in their
Entirety maintain records of Plaintiff Offcer ASA victimization on top of my 20
Year Career POST incident. US Department of Justice, on January 26, 2024
Forcible rendering against Governor Executive Chamber for Executive Sexual
harassment victims of which Plaintiff PO within CUNY and Employer as of 2020;
Assisted NYS with Interviewing again to Create CUNY TITLE IX Public Policy
something Brown, Keith never has done in 4 years as Elective officer; assisted a
Fellow employee with Prime Bill language. Prime Bill language is required in NYS
Yellow Book Rules before February 8, of every legislative Session and Brown, Keith
has been that 12t* AD Public Policy Maker since 2021.

The Federal Question why has Employer with all resources failed in Accountability
Institution NYS 33 years?

I'm entitled. Defendants NYS have been Holding my Honorable Pension as of January
1, 2022; Punitive-when does the District Attorney Serve the Writ of Arrest on
Defendants failure as gateway to Public Officers rights found in Haley V. Pataki; 1995;
Federal Supp-Contractual clause of the Nation for all Public Officer Pension and
Retroactive earnings rights as well found in James Corrigan v. FDNY, Fed Supp as
well Creation of Economic Formula; Retroactive Corrective. Oliver Koppel, NYAG in
1995 ensuring at will employees have contractual clause rights-it is too 30 years Old
in 2025, just a Point of Information.

Cuomo was the NYAG who offered Plea bargain to Alan Hevesi allowing for Hevesi
as of 2001 and Frisa to receive a State Pension as of 2009, Clearly the Employer
defendant could have made Effort to Stipulate terms with me as Maryann Maltese
in Service; Chief of Staff and Regional Manager Downstate. I'm not a Child victim
but Employer for 33 years is Playing with Rights of Children victims to Distort the
Matter; an officer was sexually attacked by 2 employer predators within 2 weeks
span and failed to accept "NO" as the Answer and Other 211 Members willfully failed
in Remedy since 1992. Hevesi is in receipt of $10,000 Pension for 20 years, Frisa a
State Pension at $779 a month, Plaintiff is without Pension, without Law Degree,
without Offer and that is a Felony A since 1992. Mandatory reporting was required
in 1992-Child or Adult-these Legislators failed. In 2021, 2022. 2022, 2028, 2024
Legislatures Extended and Ignored; institutional failure no Accountability and No
Pension. Federal Judiciary acting Hands off it's up to US Supreme Court to

determine my Faith.

Alan Hevesi-is as well 2 Time Felon Legislator for 29 years where NYAG Andrew
Cuomo willfully allowed Hevesi to walk without INCLUSION of Crime Number 3.
No Current Legislator wants to Prime Crime Victim Rules NYS? But I'm to wait as
non-Elective officer? In my Active; the First Sexual Predator registry was created
this is my Strongest. Legacy and in my Own time of end of Service- Employer is
JOKING about something so vitally painful leaving me penniless in $74,000

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Maltese are mutual and failure to Prime by Employer is considered; Ethics Felony
to lose Outside licensure.

Level of Offense in 1992

Alan Hevesi} Employer-Educator-Public Masturbation Defendant 1 on Plaintiff

Threats of Expulsion
Forcible touching and Sexual Verbal communications with Staking at Intern

Residence-Defendant 2, 142 Washington Avenue, Albany and back at Home.

Co-hort Plot of Hevesi, David Lavine and Evan Stravinsky at CUNY-CO Hort

Expulsion

CUNY failure to Grant Plaintiff as PO; Remedy In 1992
NYS Legislature Failure to Grant Plaintiff PO remedy in 1992

Why was CUNY defendant Permitted reason to eliminate Plaintiffs Master’s and
entrance into Sister property; CUNY Law School?

2020-2024 CUNY Interviewing Plaintiff to Create Title IX Anti-Sexual Harassment
Policies as Pro-Active and NO Offer of Remedy

3021 -Brown and Mattera Failure to Prime Bill language for Employee 20 year
Service record Post ASA as of March 9, 2021, some 60 days Post contact with NYS
Assemblyman Brown as of January 5, 2021. Office of 12» AD was vacant from June
24, 2019-December 31, 2020; 18-month Violation-of Employer Defendants failure et
al; failure to Prime, Executive Chamber violation 94.

As of August 2021, NYAG considerations of Andrew Cuomo Victims, Findings in
Page 142, Sexual Harassment Report that those employee victims are Credible

while Failure of Defendants to Open a FILE or Mandatory inclusion in year 29
for Plaintiff in end of Service Offer. Evidence included in All Court Filings.

State Judiciary Albany 09234-2022; rendering of February 8, 2023-Failure of NYAG
to GATHER the order to Grant Plaintiff Pension relief’ 18 months Post that is
Employer Sexual Harassment offenses as is, Plaintiff ensured Service by Hiring
Albany County Sheriff to Serve Order as well of which Pension Adjusted earnings
failure by employer Agents; 213 of them from 2023-2024.

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Ethics 3200 Albany Supreme continued to advise Plaintiff to FOIL as Did Keith
Brown for employee records as the Means to an End; Pension is not issued; Notice of
Claim is not issued. The Adult Survivors Law of 2022; Permits a victim to gather
evidence and or re-report victimization for Civil Tort remedy. . Hastern advised: in
0360-2028, that Plaintiff is in wrong Personal Jurisdiction

The opinion of lower State Court 09234-2022; Judge Frank Mackay is
unconstitutional and Pension is late as of 2022.

Notice of Entry on February 8, 2028; Albany Sheriff served the rendering on
Defendant NY Attorney General, of which as well Ways and Means requirements in
yellow book are also due. No one in Authority-performs OATH. Oath means-picks
up the rendering to process it-some 18 months ago. US Appeals thinks Public officer
filing is Frivolous as of July 26, 1997 -that is Unconstitutional. Current NYS
legislature is favorably moving in direction of the Incarcerated vs the Crime victim
rights and as an Officer-I'm being denied in Entirety. It's like an Institutional rape
all over; but in year 2021; Employee Right is Primary. I served: I listened to others
and expedited Public Policy formation in prime bill language and LAWs enacted
and 2 Employer agents that represent Maryann in 12 AD and 2"¢SD sit on their
Asses collecting $141,000 annually without even a PRIME bill language as
required. I'm not a civilian-female they can Use their Executive privilege to ignore
so Ignorance of their Oath-means US Supreme court to determine my negligence
complaint.

In essence; any Public Attorney; within Summons and Complaint or RJI-Request
for Judicial Intervention on or Before February 8, 2023; was under Oath to BRING
the rendering to BRING Pension Fiscal note Calculation and failed willful. In
Carrol, rendering is $83 million for Civilian ASA victim of which rendering by
private Counsel was placed first; before Female Officer Victim and no Life support.

In the matter of Jean Carroll vs. Donald Trump; Southern District Court granted a
Civilian; a hearing and Remedy of $83 million dollars for ASA offense that was 27
years old, Plaintiffs is 33 years ASA offense and I believe the rendering in Carrol is
sufficient. The Notice of Claim is an Employer-Educator Sexual Assault Predatory
with Student Stalkers by Defendant. In the Matters of Vito Lopez-victims were not
raped-or stalked for 33 years post ASA incident of 1992.

In the Matters of Jean Carroll V. Trump, Case number 1:20 CV-07311, LAK
2/8/2024; US Appeals rendered the following for the Plaintiff
Compensatory$7,300,000.00, Compensatory-11,000.000/00and

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The Totality circumstances" also includes harassing conduct that takes place
outside of the physical workplace, Sexual Assault and Avoidance-double offense.

The Federal Question ig under Haley law and ASA extender rights as public office
being denied in 23-7826 as violating my review.

The Commission on Ethics authorized the investigation of alleged violations of the
Public Officers Law by Lopez. Under the record here, the evidence does not
establish such a violation by Lopez with respect to the inclusion of the
confidentiality clause in the Settlement Agreement.

The conclusion in the Lopez is that Member Elect guilty. Then where are Maltese's
findings in 2018 as Honorable ASA?

What are the duties of Commission of Ethics NYS?

Commission on Ethics is to review and render orders on Public Officer rights as
Primary as Mediator of which since year 2013-Commision has Failed.

Based upon evidence established by the investigation, there is a substantial basis to
conclude that Lopez used his office to pursue a course of conduct that was in violation
of his public trust, to secure unwarranted benefits, and to give a reasonable basis for
the impression that one could unduly enjoy his favor in the performance of one's
official duties. There is therefore a substantial basis to conclude that Lopez violated
Public Officers Law 3$74(3)(@), (D, and (h) through knowing and intentional conduct,
This substantial basis investigation report shall be presented to the Legislative
Ethics Commission for their consideration pursuant to Executive Law "94(14) & (14-
a) and Legislative Law "80(9) & (10)

Additionally in January 26, 2024+ the USDOJ as well found that Executive Chamber
failed and I still have Executive Order 94 intervention. USDOJ was contacted
complete systematic failure from Federal office to State Office in failure to open a
File while no State Temporary and or Pension as of no later than January 1, 2022.
Plaintiff see's Offer of Tort at the Avoidance level warranting $96 Million to
Plaintiff. Based on Notice of Claim tort formula as another consideration and
Judgement found In Carrol.

US DOJ stated the Following-we also conclude that such behavior by the Governor
was part of a pattern that extended to his interactions with women outside of State

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and Federal Court System advised Plaintiff PO as of June 26, 2024: My Filing 1s
frivolous? I do not agree with decision of US Appeals Court 2°¢ Circuit and
respectfully ask the highest court in the Nation to determine my Rights to Pension;
USC 28, Article 78 and Notice of Claim right as ASA origination. I helped the
Defendant (CUNY, NYAG, Legislature and Commission) from 2021-2024 create
ASA law to Help other Private Sector Victim and Judiciary doesn't Include Maltese.
How File Complaint, Advocacy and CUNY Mental health interview with Jen Jarvis.
18 months POST 2021 Legislature is Unacceptable for any Victim and in 092342022-
a Judge} had an opportunity based on Legislature to ADD what Judiciary sees as

Section 214-3 of ASA.

Pension admittance requirement to Plaintiff as Date of Entrance into Service is as.
of Internship January 1, 1992+ not October 1994. Plaintiff was on Payroll ofboth NYS
Assembly and CUNY Qucens College at time of ASA incident.

What else occurs in 2021; I spoke to three Ethics Investigators what is the
Background? Are they retired law enforcement? No One answers and Origination
Investigator stated to me} PO; You're entitled to at least §90,00°$110,000PER year
of Service 1992-2013; this Fiscal Note is $2,090,000 without the State 300,000 per
year and or 9% added. Hevesi Plea bargain at $10,000 a Month until time of Death
is $2million to a Rapist. Defendants NYS Comptroller has 5 Actuaries currently
employed and since 2021+ Not one of them-in Attendance at RJI or Hearing. Brown
and Matera not sure what Economic Fiscal notes Formula to Use as Elective

officers? Then the federal statements resignation.
I have not committed a Felony in my Active service or Inactive. US Appeals 29¢

Circuit unethically dismissed my Docket 23-7826 is outrageous.

On 11/9/2023 dismissed my Complaint 09234-2022 while Assembly
Communications sent out Press Releases on Sudden Death of Defendant Alan
Hevesi. Defendant employer educator-full disrespect while on Notice of Service of
Notice of Claim. Employer is worshipping a Rapist-vs Crime Victims/

At time of Alan Hevesi's Arrest-son Daniel Hevesi was a State Senate Member and
here as well-NYS is keeping the Defendant Alan Hevesi on the payroll and Children
as Elective and Chief of Staff Officers in Fiduciary capacity unethical in 2001forward-
reasoning the Plaintiff is seeking Tort remedy of $55 million for life

Conspiracy to cover up Sexual Assault by Alan Hevesi with NYS Legislature; NYAG

granting Plea Bargain Monetary to Alan Hevesi, and

Pensions for Daniel and Andrew Hevesi at Crime Victims expense in Maryann
Maltese.

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with her Civil Remedy or a State pension. This as well Judiciary is violation of
public officer rules 73, 74, as the Commission of Ethics in 2013-set the Precedent
forward-that COMMISSION in Vito Lopez's abuses granted Reyna -Mediation PLUS
remedy. The NYAG report above as of page 142-failed in ISSUANCES of REMEDY
to Boylan and failure to OPEN to Case file for Maryann Maltese. Additionally, NYS
AG Sexual Harassment Victims of 20211 Boylan, Bennett have not received civil
remedy for their Participation and Maltese vested Tenured at 20years: Employer-
Educator is willfully stalling in remedy. Chart below is from NYS Comptroller on
again-who among impacted parties-has a Pension. Defendants; Andrew Cuomo, Alan
Hevesi and Dan Frisa-all of which are Currently on State Pension; not Victims-NYS
Defendants by NYAG found Credible. How that is remotely allowed within
Mediations-Offers of Remedy was required as of 2021.

I paid in NYSLRS Tier 4 pretax earnings. Judge Mackey and Judge Maltese tier 2
as well-never paid into State Pension with Failure of hearings.

Carl Heastie} Speaker; Appointing Alan Hevesi's son Andrew on Committees that
have direct oversight on my Public Officer Matter and again Based on 1/2/2024
USDOJ intervention on Executive Chamber; Andrew Hevesi enacts EXTENDER on
Child abuse victim's rights with Legislature Failing to Prime my Bill

Pensions for Daniel and Andrew Hevesi at Crime Victims expense in Maryann
Maltese. This is Certified Foil Request of Hevesi Family as Chair of Criminal Rights
and Chair of Social Services and mandatory reporting-with failure of Prime. Their

Pensions calculated.

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Carl Heastie} Speaker; Appointing Alan Hevesi’s son Andrew on Committees that
have direct oversight on my Public Officer Matter and again Based on 1/2/2024
USDOJ intervention on Executive Chamber} Andrew Hevesi enacts EXTENDER on

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and Chair of Social Services an

Pensions calculated.

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As noted, AD 3 in 09234-2022 dismissed my Index-but date of Alan Hevesi
sons are Hired by NYS Assembly and NYS Senate and PO Crim

incarceration Both
failure to Add in NYS Tier 4

victim is not reinstated from 9015-2024 with Employer

2if
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 41 of 310

NYS Assembly creation of Speaker House rules 5, 6, 7 5 Sexual Harassment, 6
Affirmative Action and 7 Non-Fraternization policy were instituted due to my 1992
victimization as an Intern who was sexually assaulted by 2 different Members of the
NYS Assembly within 2 Separate Incidents within 2 weeks of each incident.
Employer either failed in Mandatory reporting-and Failure maintain efficiency of
my Complaints for end of Service Completion. It is an unconscious able Treatment of
Vested Employee's Plaintiffs rights from 2020-2023. At the time of First Incident,
Plaintiff was a Minor at time and No Notice of Claim was issued to Plaintiff as
Settlement. Plaintiff submitted a Summons and complaint on or before December 9,
2023 as NYS Legislature failed to informed Plaintiff if she would be included in
Special Session Scheduled on or Before December 19, 2022 where Members of the
Legislature granted themselves only a Pay raise leaving out Employee MaryAnn
Maltese's right to Pension. Maryann Maltese was due to receive a Pension as of
January 1, 2022 and as of December 2022* Employer within general operation of
law is as well 11 months late in issuances of Pension. State Temporary by Order to
Show Cause requested by Plaintiffs are denied-unjustified based on events above.
NYS Employer At will doesn't possess the constitutional Right to withhold my
Pension as Paid in Vested Employer Tier 4 NYSLRS-Confidential Employee. This
Appeal is filed due to Supremes’ court error in Public Officer Maryann Maltese's
constitutional right to Pension and to a Year extender of Notice of Claim.

Plaintiff seeks Dan Frisa to concede and Judiciary adds in his Notice of Claim. Post
incident Dan Frisa was permitted to attend and graduate law school 2009, Maltese

is eliminated of law school.

rd Ag
Defendant Alan Hevesi died on November 9, 2023-whereas NYS Appellant 3
willfully dismissed my Complaint on Date of Death of Alan Hevesi-as formation of
Continued Punishment against Plaintiff Public Officer. As Noted,; Andrew
HevesiSon of Alan Hevesi; in a Fiduciary-State Public Policy Making Capacity AS
NYS Assembly Chair's has Denied Plaintiff Maltese due diligences as Chair of two
Committees; that continued to review Defendants Alan Hevesi's Post sentencing
within part of; NYS Assembly Criminology and Child Abuse and Mandatory
Reporting. NYS Assembly since 2020; upon their decision making to Extend Sexual
Assault Civil Remedy of Notice of Claim considerations for Civilians.

25
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 42 of 310

Defendants Directives 1/26/2024 to avoid Child abuse training by Extender to 2026
while Allowing Public Officer 29-year requirement to Pension Prime Bill language
and Inclusive of ASA notice of Claim from Sessions 2021, 2022, 2028, and 2024.
Notice of Claim consideration of 33-year Felony is the Rendering in Jean Carroll at

minimum of $83 million.

I began the journey in 2021 asking Brown and mattera to prime my Fiscal Note
Pension Rights to Plotted Political Arrest on Assembly Property-unjustified 2021,
Filing Judiciary 616328-2021, Suffolk Supreme: where Judge Condon dismissed
my Index March 30, 2022; 1 Day before State Budget of 2022 of which Plaintiff

Pension is 90 days late

Legislature 2022; enacted ASA permitting Extender rights-notice of claim by
November 2022; Pension for Plaintiff is 11 months Late. December 2022; Special
Session 2022-Employer grants themselves 29% Additive raise with Failure to

Include Employees with pension right as Is.

July 26, 2024; US Appeals Dismissed my Docket 23-7826-Pension and Notice of
Claim together is Late by 24 months. A black letter law pension is required No
matter WHEN I file Notice of Claim. Active Officers are not permitted to seek;
Notice of Claim until End of Service. Public officer Rights never have statutory

limitations of consideration.

Why did Employer NYS Assembly and NYS Senate Avoid House Rules and
Yellow Book?

New York State Assembly Rules of the Assembly; Section 7: 8 5,6,7. 58

S 5. Sexual harassment policy. The Speaker shall promulgate a policy prohibiting
sexual harassment, which shall, at a minsmum

S 6. Affirmative action policy. The Speaker shall promulgate a policy with respect
affirmative action, which shall, at a minimum:

Prohibit employment discrimination on the basis of race, color, creed, sex, religion,
age, sexual orientation....

S 7, Non-fraternization policy. The Speaker shall promulgate a policy prohibiting
fraternization with student interns, which shall at a minimum, be applicable to
members of the Assembly and Assembly staff, define the conduct which is
prohibited, and establish a procedure for investigation of alleged violations of the

policy (Maryann Maltese 1992)

2%
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 43 of 310

Plaintiff all judicial fees costs paid out of pocket within Article 78 proceeding where
Employee paid for judiciary time at $74,000 and Notice of Claim tort for Failure by

Employer intentional.

The Petition for a writ of certiorari should be Granted

County: Suffolk
Date: September 8, 2024

Respectfully submitted,
g , -

Maryann Maltese; Plaintiff Appellant

9
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 44 of 310

CERTIFICATE OF COMPLIANCE

No.
Maryann Maltese

Petitioner

NYS Legislature, Carl Heastie, Speaker of NYS Assembly
CUNY Queens College

Alan Hevesi, Professor and Former NYS Assembly member Dan Frisa, C/o Russo &
Pedranghelu, Former NYS Assembly member

Defendants

As required by Supreme Court Rule 33.1(h), I certify that the petition for writ of
certiorari continues 9,000 words, Plus 1,500 allowable 34,2 excluding the parts of
the petition that are exempted by Supreme Court Rule 33. I(d)

I declare under penalty of perjury that the foregoing is true and correct.

Executed on

September 8, 2024
SY beviglor, ALLS

Maryann Maltese

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Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 45 of 310

Office of the New York State Comptroller
Thomas P, DiNapoll

New York Stata and Local Retirement System
110 State Street, Albany, NY 12244

information reported to NYSLRS as of March 31, 2024

L4350 0146206 POO9 TOOBO7 ******SCH 5-DIGIT 11731
MARYANN MALTESE

19 RINGLER DR

EAST NORTHPORT, NY 11731-4421

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Member Annual Statement.

Your Statement provides detailed information
about your New York State and Local Retirement
System (NYSLRS) benefits and membership as
of March 31, 2024, the end of the State fiscal
year. Please review it carefully. if corrections are
needed or if you have questions, visit www.bit.
ly/NYSLRS-member-statement.

For your most current account information
throughout the year, | encourage you to use
Retirement Online. It's the fastest way to apply
for retirement and update your contact and
beneficiary information. Sign in at www. bit.ly/
RO-sign-in to apply for a loan, estimate your
pension, purchase service credit and more.

You can also help us ‘go green’ by choosing to
receive a digital Annual Statement through
Retirement Online next year All you need to do
is update your delivery preference to email.

My staff and | fook forward to serving you through-
out the year.

0148208

ee
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 46 of 310

Maryann Maltese @ time
NYSLRS ID . R10514190
Date of Birth May 7, 1970
Date of Membership October 20, 1994 Pols bobs
Tier 4 a
Retirement System ERS
Enrolled Retirement Plan A15
18.05 Years

Total Credited Service

Member Contribution Summary
Your Member Contribution Balance $36,052.29

Employer Summary

No earnings were reported for you during the last State fiscal year

Beneficiaries
Below are the death benefit beneficiaries on file for you.
Kayla Crowe Primary
DOB: 08/03/1995
Primary

Christian Crowe
DOB: 02/26/1997

Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 47 of 310

Death Benefit \

As of March 31, 2024, we estimate your death benefit to be $61,507.61. The first $50,000 of this
benefit is paid in the form of Group Term Life Insurance, which currently is exempt from federal
income tax. The estimated amount shown has not been audited and is for general
information purposes only. This amount may increase or decrease depending upon your age,
employment status and the amount of your last year’s earnings. in addition to your death benefit,
your accumulated contributions, if any, would be refunded.

Projected Monthly Retirement Benefit

You are a vested member and are eligible to receive a pension benefit at retirement.

This is the maximum retirement benefit payable to you during your fifetime with no benefit
payable to a beneficiary. This projection is calculated using final average earnings of $49,316.35
(based on your reported earnings through March 31, 2024) and your projected service credit. it
assumes all loans and any mandatory service credit costs wiil be paid off before you retire. Any
change in retirement age, final average eamings or service credit may alter this projection. You
may elect to receive a smailer monthly benefit during your lifetime in order to designate a
beneficiary who will receive a benefit upon your death.

You can retire as early as age 55, however, your full retirement age is 62. If you retire before age
62, your pansion would be permanently reduced unless you have 30 or more years of service. If
you retire with 30 or more years of service, there is no reduction for early retirement.

Retirement Online. By entering different retirement

You can estimate your pension benefit using
ee how changes would affect your potential benefit

dates and beneficiary information, you can s
and payment options.

This projection is based on your 62nd birthday, which is the earilest date to receive full benefits.

$1,236.33

o continuing pension benefit is payable to a beneficiary.

Single Life Allowance
Maximum monthly pension benefit. N

0445208

‘ Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 48 of 310

Retirement Online

Sign In to Retirament Online at www.bit.dy/RO-sign-in to access your current retirament account
information throughout the year, You can also use Retirement Onilne to:
w Update contact information, Keep your phone number, email and mailing address current.

¥ Manage your beneficiary designations. Add or remove beneficiaries, or update their
contact information.

4 Purchase additional service credit, If you are afigible to purchase service credit for past
public employment, you should submit your request as soon as possible.

¥ Apply for and repay your loan. See how much you can borrow and manage your payments
to avold retiring with an outstanding balance.

Estimate your pension based on salary and service Information we have on file for you.

~ Apply for retirement, it's fast and convenient — nothing to notarlze or mail.

Go Green! Get next year’s statement through Hetirement Online, Choose to receive an email when
your Statement is ready to view and download. From your Account Homepage, click the “update”
tink next to “Member Annual Statement by” and choose “Emall” from the dropdown.

* Use your “enrolled retirement pian” code to find your retirement pian publication at
www. bit.fy/pian- publication. Consult this comprehensive description of your retirement:
benefits to tearn how your pension will be calculated.

* Check your pensionable earnings for accuracy. Alert your employer if the pensionable
earnings fisted In your Statement are incorrect. Your pian publication lists the types of
pensionable earnings, which are used to calculate your pension benefit.

* For more information, visit our Mamber Annual Statement webpage (www.bitdy/
NYSLAS-member-statement) for anawers to common questions and to find out how to
make updates or corrections. If you have questions about your benefits, you may be able
to find the information you need on our Contact Us page (www.contactNYSLAS.com).
You can message our Contact Center using the secure contact form on our website
(www.emalilNYSLRS,com) or cail 866-805-0990,

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Facebook.com/NYSLAS YouTuba.com/NYSLRS

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N¥Retivamenthows.com

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Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 50 of 310

No.

IN THE
SUPREME COURT OF THE UNITED STATES

MARYANN MALTESE,
Plaintiff-Appellant,
v.

NEW YORK STATE LEGISLATURE, CARL HEASTIE, SPEAKER
REPRESENTATIVE, QUEENS COLLEGE, CITY UNIVERSITY OF NEW YORK,
PROFESSOR ALAN HEVESI, PRESIDENT FRED WU, DANIEL FRISA, C.O
VINCENT NOFI, NYS ASSEMBLYMAN ALAN HEVESI

Defendants’ Respondents

Appendix

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Maryann Maltese
, Pro Se-Respondents-Appellants

19 Ringer Drive
East Northport, NY. 11731

631-644-5765

Maryannmaltese1000@gmail.com

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CASES;
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E. Jean Carroll v. Donald Trump, No. 1:22-ev-10016(November 24, 2022).......+.
E, Jean Carroll v. Donald Trump No. 1:20 -cy'07311 February 8, 2024. Document

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United States Department of Justice v. NYS Executive Chamber Stipulation
Agreement on Andrew Cuomo NYS AD Sexual Harassment Victims August 2021

Report. 1/26/2024

Haley v. Pataki 1995, .....ccsscccsesessseseteeeeetnecerens ee et ee
In the Matter of Vito Lopez JCOPE™127 oo... terete te eee
In the Matter of Alan Hevesi: ASA violation and violations in N.Y. EXECUTIVE

LAW
§ G3(15) } 200. .sssesessescsssecessnnsesennnesvassnesssnanmnanenanssnsaninnnnansssnansssssereeeeeeee

Matter of Ross v. Wilson, 308 N.Y. 605, 612 (LO55) .cccccssccscesessseessssrseseneeneeeterass
Title VIL of the Civil Rights Act of 1964 (“Title VIP) “outlaw[s] discrimination in the

workplace on the basis of... sex.” In 1986, the United States Supreme Court

recognized that

Title VII’s prohibition on sex discrimination prohibits gender-based harassment in
the workplace. Like federal law, the New York State Human Rights Law (the

“NYSHRL”),forbids workplace harassment.
Statutes

Adult Survivors Law Chapter 2022.......:ssscsecssessressreneesee rennet ES
Penal Code Violations 130 Sexual ASSAUIt...cccccccsscessecssceestasesoeesersreenacensnnscescnanstersesaaes
Public Officer Rules 73....c:...:csecsessesecssertsrssesenneraneanenennensen snes t tte tae
Public Officer Rules 74...-:::sseccscessesssecessesseensessenenseens snes ene nn settee etn eee ES
Public Officer Rules

NYS Assembly Articles 5, 6, 7
House Rules of NYS-NYS Constitution. Speaker Rules
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 53 of 310

§ 5. Sexual harassment policy... icccecscccscsessseseesseessssenscsssecsecseveuss §
§6. Affirmative action policy.
§ 7. Non-fratermization policy. .....ccccccccccssccsesseeeessccsssecsssceseceeeeeseesesuerecstecsscsesteeeatereesaaas

Failure of Mandatory Reporting-Sexual Assault-Child Abuse and Adult Penal Code
130
Case 1:24-cv 147) BEEoMlly  BERUBRNDMERIIGE SAN Pade Pate 54 of 310

E.D.N.Y. — Bklyn
23-cy-4359
Kovner, J.

United States Court of Appeals

FOR THE

SECOND CIRCUIT

Ata stated term of the United States Court of Appeals for the Second
Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
in the City of New York, on the 26" day of July, two thousand twenty-four.

Present:

William J. Nardini,

Myrna Pérez,

Alison J, Nathan,

Circuit Judges.
Maryann Maltese,
Plaintiff-Appellant,
Vv. 23-7826

New York State Legislature, Carl Heastic, Speaker Representative, et al.,

Defendants-Appellees.

i

Appellant, pro se, moves to provide additional evidence, to expand the record, to file exhibits, and
to place the appeal on the calendar. Upon due consideration, it is hereby ORDERED that the

motions to provide additional evidence, to expand the record, and to file exhibits are DENIED.
See IBM Corp. v. Edelstein, 526 P.2a 37,45 (2d Cir, 1975); Loria v, Gorman, 306 F.3d 1271, 1280
n.2 (2d Cir. 2002). Itis further ORDERED that the motion to place the appeal on the calendar is
DENIED and the appeal is DISMISSED because it “Jacks an arguable basis either in law or in
fact.” Neitzke v. Williams, 490 U.S. 319, 325 (1989); see Pillay v. INS, 45 F.3d 14, 17 (2d Cir.

1995) (per curiam) (holding that this Court has “inherent authority” to dismiss a frivolous appeal).

FOR THE COURT:
Catherine O'Hagan Wolfe, Clerk of Court

Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 55 of 310

Gmail Maryann Maltese <maryannmaltese1000@gmail.com:

receipts

Martens, Erin <Erin.Martens@albanycountyny.gov> Wed, May 22 at 11:57 AK

To: maryannmaitese1000@gmail.com <maryannmaltese1000@gmail.com>

As requested,

Erin Martens

Civil Supervisor

Albany County Sheriff's Office

Phone(518) 487-5400 Fax (518) 487-5352 Drool of belived $4 Fel, roey LY Stu ce by
pacd by Planh/¥ .

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Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 56 of 310

Printed: 5/17/2024 10;00:51AM
By: EMARTENS

Albany County Sheriffs Department

Payment Receipt

Received By: SPRUNER

Payment Made By: MARYANN MALTESE

19 RINGLER DRIVE
EAST NORTHPORT NY 11731

Payment Amount: § 51.00

Payment Date: 10/25/2022
Payment Type: Cash
Check Number:

Receipt Number: 1175099

$ 51.00 22003791 MARYANN MALTESE vs. NYS ATFORNEY GENERAL

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Printed: 5/17/2024 9:46:254M
By: EMARTENS

Albany County Sheriffs Department

Payment Receipt

Received By: SPRUNER

Payment Made By: MARYANN MALTESE

19 RINGLER DRIVE
EAST NORTHPORT NY 11731

Payment Amount: $ 51.00

Payment Date: 10/25/2022
Payment Type: Cash
Check Number:

Receipt Number: 1175098

$ 51.00 22003790 MARYANN MALTESE vs. NYS ATTORNEY GENERAL

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Printed: 5/17/2024. 9:45:42AM
By: EMARTENS

Albany County Sheriffs Department

Payment Receipt
Received By: SPRUNER
Payment Made By: MARYANN MALTESE Payment Date: 10/25/2022
19 RINGLER DRIVE Payment Type: Cash
EAST NORTHPORT NY 11731 Check Number:
Receipt Number: 1175097

Payment Amount: §$ 57.00

$ 51.00 22003789 MARYANN MALTESE vs. NEW YORK STATE POLICE

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Albany County Sheriffs Department

Payment Receipt

Received By: JFREEDMAN

Payment Made By: MARYANN MALTESE

19 RINGLER DRIVE
EAST NORTHPORT NY 11731

Payment Amount: §$ 50.00

Payment Date: 8/29/2022
Payment Type: Cash
Check Number:

Receipt Number: 117091?

$ 50.00 22002889 MARYANN MALTESE vs. NYS LEGISLATURE, NYS TROOPES ETAL

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Case 1:24-cv-01175-BKS-ML Document1 Filed 09/11/24 Page 60o0f310 ~~

Printed: 5/17/2024 10:25:42AM
By: EMARTENS

Albany County Sheriffs Department

Payment Receipt
Received By: JFREEDMAN
Payment Made By: MARYANN MALTESE Payment Date: 11/1/2022
19 RINGLER DRIVE Payment Type: Cash
EAST NORTHPORT NY 11731 Check Number:
Receipt Number:

Payment Amount: $ 50.00

1175482

$ 50.00 22003910 MARYANN MALTESE vs. NYS ATTORNEY GENERAL

Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 61 of 310

Printed: 5/17/2024 10:02:43AM
By: EMARTENS

Albany County Sheriffs Department

Payment Receipt
Received By: JEREEDMAN
Payment Made By: MARYANN MALTESE Payment Date: 11/1/2022
19 RINGLER DRIVE Payment Type: Cash
EAST NORTHPORT NY 11731 Check Number:
Receipt Number: 1175481

Payment Amount: $ 50,00

$ 50.00 22003908 MARYANN MALTESE vs. NEW YORK STATE LEGISLATURE

Case 1:24-cv-01175-BKS-ML Document1 Filed 09/11/24 — Pagé 62° of 310° °°" eens

Printed: 5/17/2024 10:02:02AM
By: EMARTENS

Albany County Sheriffs Department

Payment Receipt

Received By: SPRUNER

Payment Made By: MARYANN MALTESE

19 RINGLER DRIVE
EAST NORTHPORT NY 11731

Payment Amount: $ 20.00

Payment Date:
Payment Type:
Check Number:
Receipt Number:

10/25/2022
Cash

1175135

$ 20.00 22003815 MARYANN MALTESE vs. NYS ATTORNEY GENERAL

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Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 63 of 310

Printed: 5/17/2024 10:01:22AM
By: EMARTENS

Aibany County Sheriffs Department

Payment Receipt
Received By: SPRUNER
Payment Made By: MARYANN MALTESE Payment Date: 10/25/2022
19 RINGLER DRIVE Payment Type: Cash
EAST NORTHPORT NY 11731 Check Number:
Receipt Number: 1175100

Payment Amount: $ 51,00

$ 51.00 22003792 MARYANN MALTESE vs. NYS COMMISSION OF ETHICS

Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 64 of 310

State of New York
Supreme Court, Appellate Division
Third Judicial Department

Decided and Entered: November 30, 2023 CV-23-0438

In the Matter of MARYANN
MALTESE, DECISION AND ORDER

Appellant, ON MOTION
Vv

NYS JOINT COMMISSION ON
PUBLIC ETHICS et al.,
Respondents.

Motion to vacate dismissal of appeal and for further relief.

Upon the papers filed in support of the motion, and no papers haying been filed in
opposition thereto, it is

ORDERED that the motion is denied, without costs.

Egan Jr., J.P., Pritzker, Ceresia and McShan, JJ., concur.

ENTER:
Robert D. erger

Clerk of the Court
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 65 of 310

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| By: EMARTENS
[

Albany County Sheriffs Department

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Payment Receipt

Received By: JFREEDMAN

Payment Made By: MARYANN MALTESE | Payment Date: 12/9/2022

Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 66 of 310

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF ALBANY

In the Matter of the Application of
MARYANN MALTESE,

Petitioner-Plaintiff,
Index No. 3200-22

For a Judgment Pursuant to Article 78
of the Civil Practice Law and Rules

-against-

NYS JOINT COMMISSION ON PUBLIC ETHICS
HON. KEITH BROWN, NYS LEGISLATOR,

Respondents-Defendants.

MEMORANDUM OF LAW IN SUPPORT OF
RESPONDENTS-DEFENDANTS’ MOTION
TO DISMISS THE COMPLAINT

LETITIA JAMES
Attorney General
State of New York
Attorney for Respondents-Defendants New
, York State Joint Commission on Public
Ethics and Keith Brown
The Capitol
Albany, New York 12224

Adrienne J. Kerwin

Assistant Attorney General,

of Counsel

Telephone: (518) 776-2608

Fax: (518) 915-7738 (Not for service of papers)
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 67 of 310

PRELIMINARY STATEMENT

On May 5, 2022, the Office of the Attorney General (‘OAG”) was served with papers in
connectton with this proceeding. Affirmation of Adrienne J. Kerwin (Kerwin Aff”), Exh. A.
‘These papers included an (1) RJI, Notice of Petition’, Complaint, duplicaté Notice of Petition,
Summons, and various documents that appear to be exhibits to something. /d. Neither
Respondent-Defendant New York State Commission on Public Ethics (*“JCOPE”) nor
Assemblyman Keith Brown was not served with any papers in connection with this proceeding.
See Affidavit of Emily Logue (“Logue Aff.”); Affidavit of Keith Brown (“Brown Aff.”). This
Memorandum of Law is submitted on behalf of Respondents-Defendants JCOPE and
Assemblyman Brown in support of their motion to dismiss the Complaint pursuant to CPLR.
3014 and 3211(a)(8).

ARGUMENT
POINT |

PETITIONER-PLAINTIFF FAILED TO SERVE
RESPONDENTS-DEFENDANTS WITH ANY PAPERS

Petitioner-Plaintiff has failed to obtain personal jurisdiction over JCOPE or
Assemblyman Brown. CPLR 307(2) requires that personal service on a state agency, or state
official in his offtcial capacity, be made by “(1) delivering the summons to such officer or to the
chief executive officer of such agency or to a person designated by such chief executive officer
to receive service, or (2) by nailing the summons by certified mail, return receipt requested, to

such officer or to the chief executive officer of such agency,”? CPLR 307(2). No such service

1 As the Notice of Petition included a return date of May 13, 2022. A motion to dismiss any intended proceeding

was served and filed on May 9, 2022.
? Service must also be made pursuant to CPLR (1), which has been done here,

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Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 68 of 310

of the Complaint has been made on JCOPE or Assemblyman Brown. See Logue Aff; Brown
Aff.

Accordingly, the Complaint should be dismissed for lack of personal jurisdiction.

POINT II
THE COMPLAINT FALS TO COMPLY WITH CPLR 3014

The CPLR requires, in pertinent part, that: “Every pleading shall consist of plain and
coneise statements in consecutively numbered paragraphs. Each paragraph shall contain, as far as
practicable, a single allegation. ... Separate causes of action or defenses shall be separately stated
and numbered ... .” CPLR § 3014. However, the Complaint in this matter fails to comply with
such pleading requirements. It consists of three pages of continuous rambling handwriting, with
no separate numbered paragraphs, and no causes of action pled. Kerwin Aff., Exh. A, pdf pp. 4-
7.

Given Petitioner’s-Plaintiff’s failure to comply with CPLR 3014, the Complaint should be
dismissed. Matter of Barnes v. Fischer, 135 A.D.3d 1249, 1249-50 (3d Dept. 2016) (citations
omitted) (affirming djsmissal because the pleading did “not meet [the] standard [set forth in CPLR

§ 3014] as it contains overly broad and rambling allegations ...”).
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 69 of 310

CONCLUSION
For the reasons discussed above, the Complaint should be dismissed in its entirety with
prejudice.

Dated: Albany, New York
May 25, 2022

LETITIA JAMES

Attorney General

State of New York

Attorney for Respondents-Defendants New
York State Joint Commission on Public
Ethics and Keith Brown

The Capitol

A, A2224
By: Z 4b
AdrienpéJ. Kefwin

Assistant Attorney General, of Counsel

Tetephone: (518) 776-2608
ax: (518) 915-7738 (Not for service of papers)

TO: Maryann Maltese (via U.S. mail)
Plaintiff pro se
19 Ringler Drive
East Northport, NY 11731

i
‘

STATEMENT PURSUANT TO 22 NYCRR 202.8-b

I, Adrienne J. Kerwin, affirm under penalty of perjury pursuant to CPLR 2106 that the
total number of words in the foregoing memorandum of law, inclusive of point headings and
footnotes and exclusive of pages containing the caption, table of contents, table of authorities,
and signature block, is 463. The foregoing memorandum of law complies with the word count
Jimit of 10,000 words approved by the Court on August 20, 2021, ‘which is in excess of the word
count limit set forth in 22 NYCRR 202.8-b. In determining the number of words in the foregoing
memorandum of law, | relied upon the word count of the word-processing system used to
prepare the document.

si Adrienne J. Kerwin
Adrienne J. Kerwin

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Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 70 of 310

Printed: 5/17/2024 9:39:02AM
By: EMARTENS

Albany County Sheriffs Department

Payment Receipt
Received By: EMARTENS
Payment Made By: MARYANN MALTESE Payment Date: 5/13/2022
19 RINGLER DRIVE . Payment Type: Cash
EAST NORTHPORT NY 11731 Check Number:
Receipt Number: 1162799

Payment Amount: $ 20.00

$ 20.00 22001707 MARYANN MALTESE vs. NYS JOINT COMMISSION ON PUBLIC ETHICS, HON. KEITH BROWN, LEGISLATOR

Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 71 of 310

Printed: 5/17/2024 $37:51AM
By: EMARTENS

Albany County Sheriffs Department

Payment Receipt

Received By: EMARTENS

Payment Made By: MARYANN MALTESE Payment Date: 5/13/2022
19 RINGLER DRIVE Payment Type: Cash
EAST NORTHPORT NY 11731 Check Number:

Receipt Number: 1162798

Payment Amount: $ 23.75

$ 23.75 22001705 MARYANN MALTESE vs, NYS JOINT COMMISION ON PUBLIC ETHICS

Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 72 of 310

Printed: 5/17/2024 9:37:14AM
By: EMARTENS

Albany County Sheriff's Department

Payment Receipt
Received By: EMARTENS
Payment Made By: MARYANN MALTESE Payment Date: 4/26/2022
19 RINGLER DRIVE Payment Type: Cash
EAST NORTHPORT NY 11731 Check Number:
Receipt Number: 1161762

Payment Amount: $ 20.00

$ 20.00 22001530 MARYANN MALTESE vs. NYS JOINT COMMISSION ON PUBLIC ETHICS, HON. KEITH BROWN, LEGISLATOR

Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 73 of 310
Printed: 5/17/2024 9:36:42AM

By: EMARTENS :
Albany County Sheriff's Department
Payment Receipt

Received By: EMARTENS

Payment Made By: MARYANN MALTESE Payment Date: 4/20/2022
19 RINGLER DRIVE Payment Type: Cash
EAST NORTHPORT NY 11731 Check Number:

Receipt Number: 1161309

Payment Amount: $ 20.00

$ 20,00 22001432 MARYANN MALTESE vs. NEW YORK ATTORNEY GENERAL

Case 1:24-cv-01175-BKS-ML Document1 Filed 09/11/24 Page 74 of 310°" " °" "

Printed: 5/17/2024 9:36:11AM
By: EMARTENS

Albany County Sheriffs Department

Payment Receipt
Received By: EMARTENS
Payment Made By: MARYANN MALTESE Payment Date: 4/20/2022
19 RINGLER DRIVE Payment Type: Cash
EAST NORTHPORT NY 11731 Check Number:
Receipt Number: 1161308

Payment Amount: $ 20.00

$ 20.00 22001431 MARYANN MALTESE vs. NEW YORK STATE TROOPERS
Printed: 5/17/2024 9:33:36AM
By: EMARTENS

Albany County Sheriff's Department

Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 75 of.310. -.:

Payment Receipt

Received By: EMCCANN

Payment Made By: MARYANN MALTESE Payment Date: 4/19/2022
19 RINGLER DRIVE

Payment Type: Cash
EAST NORTHPORT NY 11731 Check Number:

Receipt Number: 1161255

Payment Amount: $ 50.00

$ 50.00 22001430

MARYANN MALTESE vs. THE STATE OF NEW YORK ET AL

Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 76 of 310

PUBLIC DOCKET FOR

United States Court of Appeals for the Second Circuit

Court of Appeals Docket #: 23-7826 Docketed: 11/21/2023

Case Name: Maltese v. NYS Legislature Status: Determined
Nature of Suit; 3890 STATUTES-Other
Appeal From: EDNY (BROOKLYN)

Fee Status: Paid

Case Type Information

1. Civil
2, Private

3.

Originating Court Information

District: EDNY (BROOKLYN): 1:23-cv-4359

Trial Judge: Rachel P. Kovner, District Judge

Magistrate Judge: Lois B. Bloom, Magistrate Judge

Date Filed: 06/13/2023

Date Order/judgment Date Order/Judgment EOD Date NOA Filed Date Rec’d COA

11/06/2023 11/06/2023 11/17/2023 11/20/2023

Associated Cases

Party and Attorney Listing

MARYANN MALTESE Maryann Maltese

Plaintiff - Appellant [Pro Se]
19 Ringler Drive

East Northport, NY 11731

NEW YORK STATE LEGISLATURE, Carl Heastie, New York State Legislature
Speaker Representative [Pro Se]

Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 77 of 310

Defendant - Appellee

QUEENS COLLEGE, CITY UNIVERSITY OF NEW YORK,
Professor Alan Heuesi, President Fred Wu
Defendant - Appellee

DANIEL FRISA, c/o Vincent Nofi Former NYS
Assembly Member
Defendant - Appellee

ALAN HAVES!
Defendant - Appellee

Barbara D. Underwood, -

Terminated: 01/18/2024

[Government]

New York State Office of the Attorney General
28 Liberty Street

New York, NY 10005

Queens College, City University of New York
[Pro Se]

Barbara D. Underwood, -

Terminated: 01/18/2024

[Government]

New York State Office of the Attorney General
28 Liberty Street

New York, NY 10005

Daniel Frisa
[Pro Se]

Barbara D. Underwood, -

Terminated: 01/18/2024

[Government]

New York State Office of the Attorney General
28 Liberty Street

New York, NY 10005

Alan Havesi
[Pro Se]

Barbara D. Underwood, -

Terminated: 01/18/2024

[Government] :

New York State Office of the Attorney General
28 Liberty Street

New York, NY 10005

Maryann Maltese,

Plaintiff - Appellant,

Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 78 of 310

New York State Legisiature, Carl Heastie,
Professor Alan Heuesi, President Fred Wu, Daniel Frisa,

Speaker Representative, Queens College, City University of New York,
c/o Vincent Nofi Former NYS Assembly Member, Alan Havesi,

Defendants ~ Appellees.

Docket

Date Filed
11/20/2023

11/20/2023

11/20/2023

11/20/2023
11/21/2023

11/21/2023

,

11/27/2023

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11/27/2023
12/08/2023

12/08/2023

12/11/2023

12/12/2023

Entry #

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LEGEND,
{R) - Restricted Document
(i) - Locked Document

Public Docket Text

NOTICE OF CIVIL APPEAL, with district court docket, on behalf of Appellant
Maryann Maltese, FILED. [Entered: 11/21/2023 08:12 PM]

DISTRICT COURT ORDER, entered in the district court as docket entry, dated
41/06/2023, RECEIVED. [Entered: 11/21/2023 08:16 PM]

PAYMENT OF DOCKETING FEE, on behalf of Appellant Maryann Maltese, district
court receipt # 200002601, FILED. [Entered: 11/21/2023 08:19 PM]

ELECTRONIC INDEX, in lieu of record, FILED, fEntered: 11/21/2023 08:24 PM]
CIVIL APPEAL, on behalf of Appellant Maryann Maltese, received 11/20/2023,
OPENED. [Entered: 11/21/2023 08:33 PM]

INSTRUCTIONAL FORMS, to Pro Se litigant, SENT. [Entered: 11/21/2023 08:37
PM]

ACKNOWLEDGMENT AND NOTICE OF APPEARANCE, on behalf of Appellant
Maryann Maltese, FILED. Service date 11/28/2023 by United States. Mail.
(Entered: 11/27/2023 05:14 PM]

FORM D-P, on behalf of Appellant Maryann Maltese, FILED. Service date
11/28/2023 by United States Mail. [Entered: 11/27/2023 05:17 PM]

BRIEF, on behalf of Appellant Maryann Maltese, FILED. Service date 11/28/2023
by United States Mail. [Entered: 11/27/2023 06:37 PM]

PAPERS, Record on Appeal, RECEIVED. [Entered: 11/27/2023 06:39 PM]

NOTICE, to All Appellees, for failure to file an appearance, SENT. [Entered:
12/08/2023 10:02 AM]

NEW CASE MANAGER, Tiana Harris, copy to pro se appellant, ASSIGNED.
[Entered: 12/08/2023 03:33 PM]

LR 31.2 SCHEDULING NOTIFICATION, on behalf of Appellant Maryann Maltese,
informing Court of proposed due date 02/26/2024, RECEIVED. No Service.

(Entered: 12/12/2023 08:58 AM]
DEFECTIVE DOCUMENT, Appellant's brief, at docket entry 9, on behalf of

Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 79 of 310

12/27/2023

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Appellant Maryann Maltese, copy to pro se appellant, FILED. jEntered:
12/12/2023 10:02 AM]

BRIEF, on behalf of Appellant Maryann Maltese, FILED. Service date 12/27/2023
by United States Mail. (Entered: 01/05/2024 10:27 AM]

APPENDIX, volume 1 of 11, (pp. 1 - 198), on behalf of Appellant Maryann
Maltese, FILED. Service date 12/27/2023 by United States Mail. [Entered:

01/05/2024 10:32 AM]

APPENDIX, volume 2 of 11, (pp. 1 - 185), on behalf of Appellant Maryann
Maltese, FILED. Service date 12/27/2023 by United States Mail. [Entered:
01/05/2024 10:36 AM] _.

APPENDIX, volume 3 of 11, (pp. 1 - 215), on behalf of Appellant Maryann
Maltese, FILED. Service date 42/27/2023 by United States Mail. jEntered:

01/05/2024 10:40 AM]

APPENDIX, volume 4 of 11, (pp. 1 - 270), on behalf of Appellant Maryann
Maltese, FILED, Service date 12/27/2023 by United States Mail, [Entered:

01/05/2024 10:50 AM}

APPENDIX, volume 5 of 11, {pp. 1 - 270), on behalf of Appellant Maryann
Maltese, FILED, Service date 12/27/2023 by United States Mail. [Entered:

01/05/2024 10:59 AM]

APPENDIX, volume 6 of 11, (pp. 1 - 210}, on behalf of Appellant Maryann
Maltese, FILED. Service date 12/27/2023 by United States Mail. [Entered:

01/05/2024 11:04 AM]

APPENDIX, volume 7 of 11, (pp. 1 - 242), on behalf of Appellant Maryann
Maltese, FILED. Service date 12/27/2023 by United States Mail. [Entered:

01/05/2024 11:12 AM]

APPENDIX, volume 8 of 11, (pp. 1 - 288), on behalf of Appellant Maryann
Maltese, FILED: Service date 12/27/2023 by United States Mail. [Entered:

01/05/2024 11:15 AM]

APPENDIX, volume 9 of 11, (pp. 1 - 276), on behalf of Appellant Maryann
Maltese, FILED, Service date 12/27/2023 by United States Mail. [Entered:

01/05/2024 11:19 AM]

APPENDIX, volume 10 of 11, (pp. 1 - 209), on behalf of Appellant Maryann
Maltese, FILED. Service date 12/27/2023 by United States Mail. [Entered:

01/05/2024 11:23 AM}

APPENDIX, volume 11 of 11, (pp. 1 - 283), on behalf of Appellant Maryann
Maltese, FILED. Service date 12/27/2023 by United States Mail. [Entered:

01/05/2024 11:26 AM]

SPECIAL APPENDIX, on behaif of Appellant Maryann Maltese, FILED. Service
date 12/27/2023 by United States Mail. [Entered: 01/05/2024 11:30 AM]

MOTION, to file oversized brief, to accept appendices, special appendix, and
amended brief as compliant, on behalf of Appellant Maryann Maltese, FILED,
Service date 12/27/2023 by United States Mail. [Entered: 01/05/2024 11:41 AM]

LETTER, dated 01/09/2024, respectfully request that you remove this Office as
counsel and designate each defendant-appellee only as a defendant, on behaif

Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 80 of 310

01/18/2024

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01/24/2024

01/29/2024

02/07/2024

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of Appellee New York State Legislature, Appellee Queens College, City
University of New York, Appellee Daniel Frisa, Appellee Alan Havesi, RECEIVED.
Service date 01/09/2024 by United States Mail. [Entered: 01/18/2024 09:54 AM}

ATTORNEY, Barbara D. Underwood for Appellee New York State Legislature,
Appellee Queens College, City University of New York, Appellee Daniel Frisa,
Appellee Alan Havesi,, TERMINATED. [Entered: 01/18/2024 09:58 AM] .

DEFECTIVE DOCUMENT, Motion to accept amended oversized brief, apendix
and apecial appendix, at docket entry 28, on behalf of Appellant Maryann

Maltese, FILED. [Entered: 01/18/2024 02:03 PMI

DEFECTIVE DOCUMENTS, Appellant brief, special appendix, appendix, volumes
3 and 10, at docket entries 15, 18, 25, 27, on behalf of Appellant Maryann
Maltese, copy to pro se, FILED. [Entered: 01/19/2024 02:28 PM]

MOTION, to file oversized brief, to accept appendices, special appendix, and
amended brief as compliant, on behalf of Appellant Maryann Maltese, FILED.
Service date 01/22/2024 by United States Mail. [Entered: 02/06/2024 05:29 PM]

MOTION, to provide additional evidence, on behalf of Appellant Maryann
Maltese, FILED. Service date 01/24/2024 by United States Mail. {Entered:

02/06/2024 05:36 PM]

MOTION, to expand record, on behalf of Appellant Maryann Maltese, FILED.
Service date 01/29/2024 by United States Mail. [Entered: 02/06/2024 05:42 PM]

CURED DEFECTIVE DOCUMENT, Motion to file oversized brief, to accept
appendices, special appendix, and amended brief as compliant, at entry 33, on
behalf of Appellant Maryann Maltese, FILED. [Entered: 02/07/2024 08:52 AM]

MOTION ORDER, denying motion to file an oversized brief , and to accept the
appendices and special appendix as is, directing Appellant to submit a
corrected brief, appendices, and special appendix within 21 days of this order,
at docket entry 33, on behalf of Appellant Maryann Maltese, copy to prose
appellant, FILED. [Entered: 02/20/2024 04:12 PM] ‘

MOTION ORDER, referring, to the merits panel, motions to expand the record
and to provide additional evidence, at docket entries 34 and 35, on behalf of
Appellant Maryann Maitese, copy to pro se appellant, FILED, [Entered:
02/20/2024 04:21 PM]

BRIEF, on behalf of Appellant Maryann Maltese, FILED. Service date 02/27/2024
by Hand Delivery. [Entered: 05/1 0/2024 08:30 AM]

APPENDIX, volume 3 of 11, (pp. 1 ~ 213, on behaif of Appellant Maryann
Maltese), FILED. Service date 02/27/2024 by Hand Delivery. [Entered:

05/10/2024 08:47 AM]

APPENDIX, volume 10 of 11, (pp. 1 - 162, on behalf of Appellant Maryann
Maltese), FILED. Service date 02/27/2024 by Hand Delivery. [Entered:
05/10/2024 08:50 AM]

SPECIAL APPENDIX, on behalf of Appellant Maryann Maltese, FILED, Service
date 02/27/2024 by E-mail. [Entered: 06/06/2024 01:26 PM]

MOTION, to file exhibits on behaif of Appellant Maryann Maltese, FILED. Service
date 03/14/2024 by United States Mail. [Entered: 03/14/2024 03:31 PM]

Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 81 of 310

03/14/2024
03/14/2024

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04/26/2024

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EXHIBITS, volume 1 of 2, on behalf of Appellant Maryann Maltese, FILED. Service
date 03/14/2024 by United States Mail. [Entered: 03/14/2024 04:08 PM]

EXHIBITS, volume 2 of 2 on behalf of Appellant Maryann Maltese, FILED. Service
date 03/14/2024 by United States Mail. [Entered: 03/14/2024 04:17 PM}

EXHIBITS, State Defendants’ affirmation in response to order to show cause, on
behalf of Appellant Maryann Maltese, FILED. Service date 04/08/2024 by E-mail.

[Entered: 04/19/2024 02:11 PM]

SUPPLEMENTARY PAPERS TO MOTION, on behalf of Appellant Maryann
Maltese, FILED, Service date 04/17/2024 by E-mail. [Entered: 04/1 9/2024 11:28
AM]

PAPERS, Termination letter and PAR Forms, RECEIVED. (Entered: 04/19/2024
01:50 PM] "4

SUPPLEMENTARY PAPERS TO MOTION, exhibits/evidence, on behalf of
Appellant Maryann Maltese, FILED. Service date 04/26/2024 by E-mail, [Entered:
05/10/2024 09:10 AM]

SUPPLEMENTARY PAPERS TO MOTION, exhibits/evidence, on behalf of
Appellant Maryann Maltese, FILED. Service date 05/07/2024 by E-mail, [Entered:
05/10/2024 09:15 AM]

SUPPLEMENTARY PAPERS TO MOTION, "evidence to show that NYS Troopers

acknowledge the 1992 incident” on behalf of Appellant Maryann Maltese, FILED.
Service date 05/09/2024 by E-mail. [Entered: 05/10/2024 09:35 AMI

PAPERS, Judicial calendaring, RECEIVED. [Entered: 06/18/2024 01:33 PM]

MOTION, to place appeal on the argument calendar for June, on behalf of
Appellant Maryann Maltese, FILED. Service date 05/16/2024 by United States
Mail. [Entered: 05/20/2024 04:04 PM]

PAPERS, on behalf of Appellant, RECEIVED. [Entered: 05/24/2024 03:34 PM]

PAPERS, Order from the New York State Supreme Court, dismissing appeal
under index No. 624815/2023, RECEIVED. (Entered: 06/18/2024 01:30 PM]

NEW CASE MANAGER, Atasha Joseph, ASSIGNED. [Entered: 07/26/2024 01:07
PM]

MOTION ORDER, denying motions to provide additional evidence, to expand
the record, to file exhibits, and to place the appeal on the calendar, at docket
entries 34, 35, 39, 51, on behalf of Appellant Maryann Maltese, by WJN, MP,
AJN, copy to pro se, FILED. [Entered: 07/26/2024 01:12 PM]

Docket as of 8/14/2024 12:29 PM

CERTIFIED COPY
Catherine O’Hagan Wolfe, Clerk

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Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 82 of 310

State of New York
Supreme Court, Appellate Division
Third Judicial Department

Decided and Entered: November 30, 2023 CV-23-0438

In the Matter of MARYANN
MALTESE, DECISION AND ORDER

’ Appellant, ON MOTION
y

NYS JOINT COMMISSION ON
PUBLIC ETHICS et al.,
Respondents.

Motion to vacate dismissal of appeal and for further relief.

Upon the papers filed in support of the motion, and no papers having been filed in
opposition thereto, it is

ORDERED that the motion is denied, without costs.

Egan Jr., J.P., Pritzker, Ceresia and McShan, JJ., concur.

ENTER:
Robert D. erget

Clerk of the Court
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 83 of 310

State of New York
Supreme Court, Appellate Division
Third Judicial Department
Decided and Entered: November 9, 2023 CV-23-0360
In the Matter of MARYANN
MALTESE, DECISION AND ORDER
Appellant, ON MOTION
Vv
NEW YORK STATE
LEGISLATURE et al.,
Respondents.

Motion to vacate dismissal of appeal and for extension of time to perfect appeal.

Upon the papers filed in support of the motion, and no papers having been filed in
opposition thereto, it is

ORDERED that the motion is denied, without costs.

Egan Jr., J.P., Aarons, Ceresia and McShan, JJ., concur.

ENTER:

Apt 0 Moab

Clerk of the Court
Case 1:24-cv-01175-BKS-ML Document 1. Filed OAM

AFFIDAVIT OF SERVICE OF MAILING “2° °4 9 °°

STATE OF NEW YORK ) igs EPS

COUNTY OF SAE ) 88.: —*e ne Ip
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Legh Yt /; fee , being duly sworn, deposes and says:
On the 2S day of JAG us ~ , 20 23 , | served a true copy of the

annexed notice of motion and supporting affidavit by mailing the same in a sealed envelope, with

postage prepaid thereon, in a post office or official depository of the U.S. Postal Service within the

State of New York, addressed to the last known addressee(s) as indicated below:

(insert here the name[s] and address{es] of the person{s] to whom you are mailing the papers being
filed with this Court. If necessary, attach extra pages for additional names and addresses.)

Name & Address Name & Address

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(Signature) ) Maeallacs et hZigs

(Print Name) Lees bua Alf, LPB

Sworn to before me this a5th
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day 9 Ay gust 20 23 . Kimberly A Verricelli

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Revised: September 18, 2018 4
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 85 of 310

AFFIDAVIT IN SUPPORT OF MOTION

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STATE OF NEW YORK Pa.
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COUNTY OF .SV/AS le Cough 8: Oh
Lt tegldag I Kop /frpe. , being duly sworn, deposes and says:

4. lamthe Lign0 4 fa Ler, bib t4ge,jptne above-entitled action.

| have appealed to the Appellate Division from an order or judgment of the See 2 Ay S wir A Ligtes /

Court of Lye Mini County, dated Hetaey SL 9 [do2.2 4

(Specify the status of the appeal.)

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3. The grounds for the motion and reasons the relief should be granted are:

(Attach additional documentation, if necessary)
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Ltary Public
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Notary Public State of New York
No. O1VE6381473

Qualified in Suflolk County
Commission Expires October 1, ZOZ(p

Revised: September 18, 2018 3
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 86 of 310

STATE OF NEW YORK SUPREME COURT okt

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APPELLATE DIVISION THIRD DEPARTMENT 4p», OE"

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MOTION FOR ey

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Ads Lex 5 lark ) Alia te ees, Ao rome 4 Appellate Division Case No.
CUNY oy Al DAR f154 fs, (foreric PAYS pase ie oy Cl23 O560

PLEASE TAKE NOTICE that, upon the annexed affidavit, sworn tothe = Say of

Aye Gq , 20 as | , a motion will be made at a term of this Court to be held in
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the City of Albany, New York, onthe day of Lhe fn , 20 223, foran

order (Specify relief which you seek.):
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(Signature) Moyle, ha L fee
(Print Name) “fahvihn, “0 Jf fe.
(Address) LE GL? ny fe, wf VOR
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(Telephone) 424 64 sped ¢

PLEASE TAKE NOTICE that, pursuant to section 1250.4 (a) (7) and (8) of the Practice Rules of
the Appellate Division, this motion will be submitted on the papers, and the personal appearance

of counsel or the parties is neither required nor permitted.

Revised: September 18, 2018 2
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 87 of 310

State of New York
Supreme Court, Appellate Division
Third Judicial Department
Decided and Entered: July 5, 2023 CV-23-0360
In the Matter of MARYANN
MALTESE, DECISION AND ORDER
Appellant, ‘ ON MOTION
y

NEW YORK STATE LEGISLATURE.

et al.,
Respondents.

Motion to expand record.
Motion for retroactive corrective carnings and further relief.

Upon the papers filed in support of the motions, and no papers having been filed in
opposition thereto, it is

ORDERED that the motions are denied, without costs.

Garry, P.J., Clark, Reynolds Fitzgerald, Fisher and McShan, JJ., concur.
ENTER:

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Robert D. Mayberger
Clerk of the Court
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 88 of 310

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State of New York N S R ECE I VE D
Supreme Court Chambers OFF]
Albany County Courthouse

FER B “ Wayne E
16 Eagle Street, Room 271 of Bos
Albany, New York 12207 ATTO N
(518) 285-4345

EYG
mackeychambers@nycourts.goyv CLA I M S B U EN ERA L

L. MICHAEL MACKEY JAIME C. LOURIDAS, ESQ.
Justice of the Supreme Court Law Clerk
LAURE L. HEIDER
Secretary
February 24, 2023
Thomas J. Reilly, Esq. .
Assistant Attorney Gencral cn oS _
The Capitol met ve
Albany, New York 12224 Sgt
c — .
ao
Re: Maltese v NYS Legislature, ct al = 2S
Index No.: 9234-2022. ow - :
i. 2
Dear Mr. Reilly:

Enclosed please find original Decision and Order, for filing and service.

‘

Very truly yours,
. Ls

LO /
L. Michael Mackey
Supreme Court Justice

ce: Maryann Maltese, pro se (w/enc.)
19 Ringler Drive

East Northport, New York 11731

Vincent J. Nofi, Esq. (w/cnc.)
Scalzi & Noi, PLLC

16 E. Old Country Road
Hicksville, New York 11801
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 89 of 310

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RECEIVED
STATE OF NEW YORK FER 2 7 ogo.
SUPREME COURT ou COUNTY OF ALBANY

TFORNEY GENERAL
In the Matter of the Application of CLAI MS BU

MARYANN MALTESE, REA U
Plaintiff/Petitioner,

DECISION

For a Judgment Pursuant to Article 78 AND

of the Civil Practice Law and Rules, ORDER

-against-

NYS LEGISLATURE, CARL HEASTIE, CUNY io ri -

QUEENS COLLEGE, PROFESSOR ALAN HEVESI., fBD yy

ALAN HEVESI former NYS ASSEMBLYMAN, and 2 eS

DANIEL FRISA, former NYS ASSEMBLYMAN, Hoo TF
Defendants/Respondents. OO a

BG

(Supreme Court, Albany County, Special Term, February 24, 2023) oe
Index No. 09234-2022
(RJ No. 01-22-ST2666)

(Justice L. Michael Mackey, Presiding)

APPEARANCES: Maryann Maltese
Plaintiff/Petitioner Pro Se
19 Ringler Drive
East Northport, New York 11731

Hon. Letitia James

Attorney General of New York State

Attorney for Defendants/Respondents the New York
State Legislature and Carl E. Heastie, Speaker of
the New York State Assembly. and CUNY
Queens College

(Thomas J. Reilly, Assistant Attorney General,
of Counsel)

Department of Law

The Capito] |

Albany, New York 12224

1
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 90 of 310

Scalzi & Nofi, PLLC

Attomeys for Defendant/Respondent Daniel Frisa
(Vincent J. Nofi, Esq., of Counsel)

16 E, Old Country Road

Hicksville, New York 11801

Mackey, J.:

Plaintiff/petitioner pro se Maryann Maltese (“petitioner”) commenced this hybrid
proceeding’ and action for declaratory relief seeking civil damages under the “Adult
Survivor’s Act” (“ASA”) and to be awarded certain academic degrees from
defendant/respondent the City University of New York, Queens College (“CUNY”). Ina
pre-answer motion pursuant to CPLR §§ 7804(f); 3211{a)(2); 3211(a)(5); and 3211(a)(8),
CUNY seeks dismissal of the petition for, inter alia, lack of personal jurisdiction.’
Petitioner opposes.

As an initial matter, petitioner cannot maintain her petition because this Court has
not acquired personal jurisdiction over CUNY. CPLR § 307(2) contain the rules for
service of process on a State official or state agency. That section provides, in pertinent
part, that personal jurisdiction over a state agency is accomplished by:

“(1) delivering the summons to the chief executive officer of such agency or to a
person designated by such chief executive officer to receive service, or (2) by mailing the
summons by certified mail, return receipt requested, to ... the chief executive officer of
such agency, and by personal service upon [an assistant attorney-general at an office of
the attorney-generai or the attorney-general within the state]. Service by certified mail
shall not be complete until the summons is received in a principal office of the agency
and until personal service upon [an assistant attorney-general at an office of the

attorney-general or the attorney-general within the state] is completed.”

{The Court notes that petitioner filed both a “notice of petition” and “petition” as well as a “summons” and
“complaint.” For purposes of these motions to dismiss, the matter will be deemed to be a hybrid proceeding.

2By Decision and Order dated February 4, 2023, this Court granted defendants/respondents the “NYS Legislature”
and Assembly Speaker Carl E. Heastie’s motion to dismiss plaintiff's complaint and denied co-defendant Daniel
Frisa’s motion to dismiss.

2
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 91 of 310

In support of its motion to dismiss, CUNY has submitted the affidavit of Sheena
David, employed by CUNY as a paralegal in its Office of General Counsel. Ms. David
indicates that her office maintains a database to record receipt of pleadings and papers
served upon CUNY. Ms. David’s responsibilities include searching the database for
information on litigation matters. Ms. David further indicates that she caused a search of
Counsel's database to determine if any legal papers in the above matter had been received
and found that CUNY was not served with a summons and complaint or a notice of
petition and petition in this matter.

Petitioner does not provide any offer of proof that she complied with the
requirements of CPLR § 307(2). As such, this proceeding is “jurisdictionally defective”
and CUNY demonstrated its entitlement to dismissal (see Randolph v Office af New York
State Comptroller, 168 AD3d 1195 [3 Dept. 2019]; Finnan v Ryan, 50 AD3d 1306 3"
Dept. 2008]; Maddox v State University of New York at Albany, 32 AD3d 599 [3 Dept.
2006]; Rasenberg v. New York State Bd. of Regents, 2 AD3d 1003 [3“ Dept. 2003}).

Even if personal jurisdiction had been obtained, to the extent that the petitioner
alleges that she is entitled to certain academic degrees from CUNY, her claims are
untimely. A proceeding pursuant to CPLR article 78 “must be commenced within four
months after the determination to be reviewed becomes final and binding upon the
petitioner ..., or after the respondent’s refusal, upon the demand of the petitioner wa, tO
perform its duty” (CPLR § 217[1]). Petitioner’s petition asserts “issues of academia
credation intentionally denied due to [defendant/respondent Alan Hevisi’s]} retaliation”
(sic”). Inasmuch as plaintiff was admittedly enrolled at CUNY in the early 1990s, the
limitations period within which to challenge what academic degrees she feels entitled to
has long expired.

To the extent plaintiff relies on the Adult Survivor’s Act to revive her purported
entitlement to certain academic degrees from CUNY, the ASA revives the period to bring

an action for:
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 92 of 310

fallegations] of ‘intentional or negligent acts or omissions by
a person for physical, psychological, or other injury or
condition suffered as a result of conduct which would
constitute a sexual offense as defined in article one hundred
thirty of the penal law committed against such person who
was eighteen years of age or older, or incest as defined in
section 255.26 or 255.27 of the penal law committed against
such person who was eighteen years of age or older, which is
barred as of the effective date of this section because the
applicable period of limitation has expired, and/or the plaintiff
previously failed to file a notice of claim or a notice of
intention to file a claim, is hereby revived, alleging intentional
or negligent acts or omissions by a person for physical,
psychological, or other injury or condition suffered as a result
of conduct which would constitute a sexual offense as defined
in article one hundred thirty of the penal law committed
against such person who was eighteen years of age or older,
or incest as defined in section 255.26 or 255.27 of the penal
law committed against such person who was eighteen years of
ape or older, which is barred as of the effective date of this
section because the applicable period of limitation has
expired, and/or the plaintiff previously failed to file a notice
of claim or a notice of intention to file a claim (CPLR § 214-})
The Adult Survivors Act makes no provision to extend the limitation of time to
bring any other action.
Moreover, to the extent petitioner secks compensatory damages against CUNY in
connection with the allegations against defendant/respondent Alan Hevesi in its capacity

as an employer or otherwise, petitioner’s allegations sounding in tort against CUNY may

4
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 93 of 310

not be brought in the New York State Supreme Court (see Education Law § 6224(4);
Court of Claims Act § 9; Jones v City University of New Yark, 57 NY2d 984 11982]).

For the reasons set forth above, the proceeding is dismissed in its entirety against
CUNY and all relief requested is denied.

This constitutes the Decision and Order of the Court. This Decision and Order is
returned to the Attorney General. All other papers are delivered to the Supreme Court
Clerk for transmission to the County Clerk. The signing of this Decision, Order and
Judgment shall not constitute entry or filing under CPLR 2220. Counsel is not relieved
from the applicable provisions of this rule with regard to filing, entry and Notice of Entry.

SO ORDERED.

ENTER,

Albany, New York
Dated: February 24, 2023

f. MICHAEL LMACKEY

Supreme Court Justic
Papers Considered: Pade

(1) Notice of Petition dated December 9, 2022;

(2) Petition dated December 9, 2022, with exhibits annexed:

(3) Notice of Motion dated February 7, 2023:

(4) Affirmation of Thomas J. Reilly, Esq., dated F ebruary 7, 2023, with exhibit
annexed;

(5) Memorandum of Law dated February 7, 2023;

(8) Affidavit of Maryann Maltese dated February 10, 2023.

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Case Bedene ge BRS MY cr ocment 1 Filed 09/11/24 Page 94 of 310 ey
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16 Eagte Street, Room 271 Ee fF Ona,
Atbany, New York 12207 ATTOp NEY ¢
(518) 285-4345 CLAIMS a GENER AL
mackeychambers@nycourts.gov U R E
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L, MICHAEL MACKEY JAIME C. LOURIDAS, ESQ.
Justice of the Supreme Court Law Clerk
LAURIE L, HEIDER
Secectary
February 24, 2023

Thomas J. Reilly, Esq.
Assistant Attorney General

a eS
The Capitol Bee
Albany, New York 12224 Sg hn
aem
Re: Maltese vy NYS Legislature, ct al = oe
‘Index No.:'9234-2022-°~ 8 c :
Dear Mr. Reilly: ”

Enclosed please find original Decision and Order, for filing and service.

Very truly yours,

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I,. Michael Mackey
Supreme Court Justice

cc: Maryann Maltese, pro se (w/enc.)
19 Ringler Drive
East Northport, New York 11731

Vincent J. Nofi, Esq. (w/ene.)
Scalzi & Noli, PLILC

16 E. Old Country Road
Hicksville, New York 11801
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 95 of 310

STATE OF NEW YORK FER 28 ony

RECEIVED
NYS OFFICE OF THE

SUPREME COURT _ COUNTY OF ALBANY
ATTORNEY GENER
In the Matter of the Application of CLAIMS p UREA a
MARYANN MALTESE,
Plaintitf/Petitioner,
DECISION
For a Judgment Pursuant to Article 78 AND
of the Civil Practice Law and Rules, ORDER
-against-

NYS LEGISLATURE, CARL HEASTIEF, CUNY
QUEENS COLLEGE,
ALAN HEVESI former NYS ASSEMBLYMAN, and
DANIEL FRISA, former NYS ASSEMBLYMAN,

PROFESSOR ALAN HEVESI,

Defendants/Respondents.

(Supreme Court, Albany County, Special Term, February 24, 2023)

Index Na. 09234-2022
(RJI No. 01-22-ST2666)

(Justice I. Michael Mackey, Presiding)

APPEARANCES:

Maryann Maltese
Plaintift/Petitioner Pro Se

19 Ringler Drive

East Northport, New York 11731

lon. Letitia James

Attorney General of New York State

Attorney for Defendants/Respondents the New York
State Legislature and Carl E. Heastie, Speaker of
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Queens College

(Thomas J. Reilly, Assistant Attorney General,
of Counsel)

Department of Law

The Capito]

Albany, New York 12224

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L. MICHAEL MACKEY
Justice of the Supreme Court

Thomas J. Reilly, Esq.
Assistant Attorney General
The Capitol

Albany, New York 12224

Re:

Maltese vy NYS Legislature, clal

‘Index: No,: 9234-2022°

Dear Mr. Reilly:

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State of New York eC Ty
Supreme Court Chambers NYS O FFT ED

Albany County Courthouse . OF TH
16 flagle Street, Room 271 FER 2 apo,
Albany, New York 12207 ATToO N

(518) 285-4345 EY GE

mackeychambers@unycourts.gov CLA I M S B Uy RecrA i

February 24, 2023

Iinclosed please find original Decision and Order, for filing and service.

Maryann Maltese, pro se (w/enc.)
19 Ringler Drive
East Northport, New York 1173]

Vincent J. Nofi, Esq. (w/enc.)
Scalzi & Nofi, PLLC

16 E. Old Country Road
Hicksville, New York 11801

Very truly yours,

Con A Pap:

L, Michael Mackey
Supreme Court Justice

JAIME C. LOURIDAS, ESQ.
Law Clerk

LAURIE L, HEIDER

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Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 97 of 310

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STATE OF NEW YORK FER 9» 2004
SUPREME COURT ee COUNTY OF ALBANY

FhORNEY GENE
In the Matter of the Application of CLAIMS BUREA al
MARYANN MALTESE,

Plaintiff/Petitioner,

DECISION
For a Judgment Pursuant to Article 78 AND
of the Civil Practice Law and Rules, ORDER

-against-

NYS LEGISLATURE, CARL HEASTIE, CUNY

QUEENS COLLEGE, PROFESSOR ALAN HEVESI, Set
ALAN HEVESI former NYS ASSEMBLYMAN, and ~ =
DANIEL FRISA, former NYS ASSEMBLYMAN, St

Defendants/Respondents. “og

(Supreme Court, Albany County, Special Term, February 24, 2023) =
Index No, 09234-2022
(RJI No. 01-22-ST2666)

(Justice L. Michael Mackey, Presiding)

APPEARANCES: — Maryann Maltese
Plaintiff/Petitioner Pro Se
19 Ringler Drive
East Northport, New York 11731

Hon. Letitia James

Attorney General of New York State

Attorney for Defendants/Respondents the New York
State Legislature and Carl E. Heastie, Speaker of
the New York State Assembly, and CUNY
Queens College

(Thomas J, Reilly, Assistant Attorney General,
of Counsel)

Department of Law

The Capitol

Albany, New York [2224

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Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 98 of 310

Scalzi & Nofi, PLLC
Attorneys for Defendant/Respondent Daniel Frisa
(Vincent J. Nofi, Esq., of Counsel)
16 E. Old Country Road
Hicksville, New York 11801
Mackey, J.:

Plaintiff/petitioner pro se Maryann Maltese (“petitioner”) commenced this hybrid
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Frisa’s motion to dismiss.

2
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 99 of 310

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David, employed by CUNY as a paralegal in its Office of General Counsel. Ms. David
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served upon CUNY. Ms. David's responsibilities include searching the database for
information on litigation matters. Ms. David further indicates that she caused a séarch of
Counsel’s database to determine if any legal papers in the above matter had been received
and found that CUNY was not served with a summons and complaint or a notice of
petition and petition in this matter.

Petitioner does not provide any offer of proof that she complied with the
requirements of CPLR § 307(2). As such, this proceeding is “jurisdictionally defective”
and CUNY demonstrated its entitlement to dismissal (see Randolph v Office of New York
State Comptroller, 168 AD3d 1195 [3 Dept. 2019]; Finnan v Ryan, 50 AD3d 1306 [3"
Dept. 2008}; Maddox v State University of New York at Albany, 32 AD3d 599 [3" Dept.
2006]; Rosenberg v. New York State Bd. of Regents, 2 AD3d 1003 [3 Dept. 2003]).

Even if personal jurisdiction had been obtained, to the extent that the petitioner
alleges that she is entitled to certain academic degrees from CUNY, her claims are
untimely, A proceeding pursuant to CPLR article 78 “must be commenced within four
months after the determination to be reviewed becomes final and binding upon the
petitioner ..., or after the respondent’s refusal, upon the demand of the petitioner ..., to
perform its duty” (CPLR § 217[1]). Petitioner’s petition asserts “issues of academia
credation intentionally denied due to [defendant/respondent Alan Hevisi’s| retaliation”
(sic"). Inasmuch as plaintiff was admittedly enrolled at CUNY in the early 1990s, the
limitations period within which to challenge what academic degrees she feels entitled to
has long expired.

Yo the extent plaintiff relies on the Adult Survivor’s Act to revive her purported
entitlement to certain academic degrees from CUNY, the ASA revives the period to bring

an action for:
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 100 of 310

not be brought in the New York State Supreme Court (see Education Law § 6224(4);
Court of Claims Act § 9; Jones v City University of New York, 57 NY2d 984 [1982]).

For the reasons set forth above, the proceeding is dismissed in its entirety against
CUNY and all relief requested is denied.

This constitutes the Decision and Order of the Court. This Decision and Order is
returned to the Attorney General. All other papers are delivered to the Supreme Court
Clerk for transmission to the County Clerk. The signing of this Decision, Order and
Judgment shall not constitute entry or filing under CPLR 2220, Counsel is not relieved
from the applicable provisions of this rule with regard to ! fling, entry and Notice of Entry.

SO ORDERED.

ENTER.

Albany, New York
Dated: February 24, 2023

A x KC Daedbol: Mbt

L. “ICHAE L MACKEY

Supreme Court Justi
Papers Considered: Bode

(1) Notice of Petition dated December 9, 2022;

(2) Petition dated December 9, 2022, with exhibits annexed;

(3) Notice of Motion dated February 7, 2023;

(4) Affirmation of Thomas J. Reilly, Esq., dated February 7, 2023, with exhibit
annexed;

(5) Memorandum of Law dated February 7, 2023;

(8) Affidavit of Maryann Maltese dated February 10, 2023.

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Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 101 of 310

[allegations] of ‘intentional or negligent acts or omissions by
a person for physical, psychological, or other injury or
condition suffered as a result of conduct which would
constitute a sexual offense as defined in article one hundred
thirty of the penal law committed against such person who
was eighteen years of age or older, or incest as defined in
section 255.26 or 255.27 of the penal law committed against
such person who was eighteen years of age or older, which is
barred as of the effective date of this section because the
applicable period of limitation has expired, and/or the plaintiff
previously failed to file a notice of claim or a notice of
intention to file a claim, is hereby revived, alleging intentional!
or negligent acts or omissions by a person for physical,
psychological, or other injury or condition suffered as a result
of conduct which would constitute a sexual offense as defined
in article one hundred thirty of the penal law committed
against such person who was eighteen years of age or older,
or incest as defined in section 255.26 or 255.27 of the penal
law committed against such person who was eighteen years of
age or older, which is barred as of the effective date of this
section because the applicable period of limitation has
expired, and/or the plaintiff previously failed to file a notice
of claim or a notice of intention to file a claim (CPLR § 214-j)
The Adult Survivors Act makes no provision to extend the limitation of time to
bring any other action.
Moreover, to the extent petitioner secks compensatory damages against CUNY in
connection with the allegations against defendant/respondent Alan Hevesi in its capacity

as an employer or otherwise, petitioner’s allegations sounding in tort against CUNY may

4
Case 1:24-cv-01175-BKS-ML Document1i Filed 09/11/24

STATE OF NEW YORK
SUPREME COURT COUNTY OF ALBANY

In the Matter of the Application of

MARYANN MALTESE,

Petitioner,

-against-

NYS LEGISLATURE, CARL HEASTIE, CUNY QUEENS
COLLEGE, PROFESSOR ALAN HEVESI, ALAN HEVESI
former NYS ASSEMBLYMAN, and DANIEL FRISA,
former NYS: ASSEMBLYMAN

Respondents.

Page 102 of 310

NOTICE OF MOTION

TO DISMISS

Index No. 09234-2022
RJINo. 01-22-ST2666
Return date:
February 24, 2023

PLEASE TAKE NOTICE that upon the annexed Affirmation of Thomas J. Reilly, the

Affidavit of Sheena David, and the accompanying Memorandum of Law that Respondent the

City University of New York, Queens College (“CUNY”) by its attorney, Letitia James,

Attomey General of the State of New York, and Thomas J. Reilly, Assistant Attorney General of

Counsel, interposes the following objections in point of law to the Petition and moves this Court

for an order pursuant to CPLR §§ 7804(/). 321 1(a)(2), 3211(a)(S), and 3211(a)(8) dismissing this

matter as the CUNY on the basis that:

a. The Notice of Petition and Petition nor Summons and Complaint were served on

Respondent CUNY;

b. This Court lacks subject matter jurisdiction over the allegations raised;

c. This matter was not interposed within the applicable statute of limitations.

PLEASE TAKE FURTHER NOTICE that the Respondent will move this Court at a

Special Term of the Supreme Court, held in and for the County of Albany, at the Albany County
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 103 of 310

Court House, on February 24, 2023 at 9:30 a.m., or as soon thereafter as counsel can be heard, to

dismiss the Petition in its entirety, or alternatively, in the event that the motion is denied, for

leave pursuant to CPLR 7804(f) to serve an answer, within sixty (60) days, and for such other

relief as may be just and proper.

Dated: Albany, New York
February 7, 2023

Maryann Maltese (via U.S. mail)

TO:

Petitioner pro se

19 Ringler Drive

East Northport, NY 11731
CC: Vincent J. Nofi, Esq.

Sealzi & Nofi, PLLC '

Attorneys for Respondent Daniel Frisa
16 E. Old Country Road

Hicksville, NY 11801

LETITIA JAMES
Attorney General of the State of New York
Attorney for Respondents NYS Legislature,
Carl Heastie, and CUNY Queens College,
The Capitol

Albany, New York 12224

Bye BZ,
THOMAS J. REILLY /
Assistant Attorney General, of Counsel

Telephone: (518) 776-2254

Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 104 of 310

STATE OF NEW YORK
SUPREME COURT COUNTY OF ALBANY
In the Matter of the Application of
MARYANN MALTESE,
AFFIRMATION
Petitioner,
Index No. 09234-2022 -
-against- RJI No. 01-22-ST2666

- NYS LEGISLATURE, CARL HEASTIE, CUNY QUEENS
COLLEGE, PROFESSOR ALAN HEVESI, ALAN HEVESI
former NYS ASSEMBLYMAN, and DANIEL FRISA,
former NYS ASSEMBLYMAN

Respondents.

Thomas J. Reilly, an attorney admitted to practice in the State of New York, affirms the
following under penalty of perjury pursuant to CPLR 2106. -

1. I am an Assistant Attorney General of counsel in this matter to Letitia James,
‘Attorney General of the State of New York, attorney for respondents New York State Legislature,
New York State’Assembly Speaker Carl Heastie, arid the City University of New York Queens |
College (“CUNY”) .

2. The matters contained in this affirmation are true to my knowledge, except as to
those matters alleged on information and belief, and as to those matters, I believe them to be true.

3. This Affirmation is submitted on behalf of respondent CUNY’s.motion to dismiss
‘pursuant to CPLR §§ 7804(0. 3211(@)Q), 3211(a)5), and 321 1(a)(7).

4. This respondent also submits the affidavit from Sheena David, a paralegal with

respondent’s Office of Counsel. See Exhibit A.
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 105 of 310

5. On December 13, 2022, the Office of the Attorney General (“OAG”) was served
with a Notice of Petition and Petition in connection. with the above-captioned action with an
attached “Summons” and a “Complaint.” Other than the attached no other supporting papers or
exhibits were served upon the OAG or Respondents.

6. On or about January 5, 2023 respondents New York State Legislature and New
York State Assembly Speaker Cat) Heastie moved to dismiss on various grounds. Now, CUNY
moves to dismiss on the grounds that it was not served with the notice of petition and petition or
the summons and complaint. See Exhibit A; David Affidavit. This respondent also moves that the
special proceeding has been brought well past the time to serve an Article 78 petition and that to
extent that Ms. Maltese seeks monetary damages against this respondent the Supreme Court lacks
subject matter jurisdiction.

7. For the reasons set forth in the accompanying memorandum of law, this matter
should be dismissed as to respondent CUNY.

WHEREE ORE, Respondent the CUNY University of New York, Queens College
respectfully requests that the Court issue an order (qd) dismissing the petition/complaint and (2)
granting it any further relief that the Court deems just, proper and equitable.

Dated: Albany, New York
February 7, 2023

4g" Ge
7” THOMAS J. REPLY, ESQ,

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Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 106 of 310

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF ALBANY
x
MARYANN MALTESE,
Plaintiff/Petitioner
° APFIDAVIT
-against-

Index No.: 09234/2022

NYS LEGISLATURE, CARL HEASTIE,

CUNY QUEENS COLLEGE

PROFESSOR ALAN HEVESI,

ALAN HEVESI, FORMER NYS ASSEMBLYMAN,
‘DANIEL FRISA, FORMER NYS ASSEMBLYMAN,

Defendants/Respondents
~----X

STATE OFNEW YORK)
SS.

COUNTY OF NEW YORE )
SHEENA DAVID, being duly sworn, deposes and says:

1. Tama paralegal in the City University of New York, Office of General Counsel
(“OGC”).

2. . One of the duties of the above position requires that I be familiar with the record
keeping system of occ regarding Claims, Summons and Complaints and Notice of Petitions and
Petitions that are served upon City University of New York (“CUNY”). It is the practice of OGC
to record on our computer filing system all documents, including Claims, Summons and

Complaints, Notices of Petitions and Petitions served on CUNY.

3, At the request of Thomas J. Reilly, Assistant Attorney General, I conducted a
thorough search of the computer filing system of OGC, and the hard copy files maintained in this

office to determine whether any the Summons and Complaint and Notice of Petition and Petition

in the above captioned matter was served on OGC.
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 107 of 310

4. Based on my review of the computer filing system and of the hard copy files
maintained in this office, no record was located establishing that OGC was served with a Summons

and Complaint or a Notice of Petition and Petition in the above referenced matter.

Dated: February 2, 2023
New York, New York ( LZ
‘4. fl.
QS f

. SHEENA DAVID

STATE OF NEW YORK )
}s8.:
COUNTY OF NEW YORK }

On this Qrx|__ day of February 2023, before me personally appeared Sheena David, to
me known and known to be the person described in and who executed the foregoing release and

acknowledged to me that he executed the same. .

ADRIANA E BLANCO NOTARY PUBLIC
NOTARY PUBLIC, State of New York :
No. 01BL6420660
Qualified in New York County
My Commission Expires August 16, 20222

Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 108 of 310

Sir/Madam:

Take notice that the witbin is a copy of
the , duly filed and entered in the
Office of the Clerk of the Supreme Court of
Albany County on the day of ;
2023.

Yours, etc.,

LETITIA JAMES
Attorney General of the
State of New York

Attomey for Defendant

The Capitol
Albany, New York 12224

STATE OF NEW YORK
SUPREME COURT ALBANY COUNTY

MARYANN MALTESE,

Claimant,
-against~

CUNY QUEENS COLLEGE,
ROFESSOR ALAN HEVESI, ALAN
HEVESI FORMER NYS
ASSEMBLYMAN and DANIEAL FRISA
former NYS ASSEMBLYMAN,

con LEGISLATURE, CARL HEASTIE,

Defendant.
INDEX NO.: 09234-2022

NOTICE OF MOTION TO DISMISS
AND AFFIRMATION IN SUPPORT
OF MOTION TO DISMISS

LETITIA JAMES

Attorney General of the
State of New York
Attorney for the Defendant
The Capitol
Albany, NY 12224

Service if a copy of

within

is admitted this day

of 2023.

Case 1:24-cv-01175-BKS-ML

L. MICHAEL MACKEY
Justice of the Supreme Court

Thomas J. Reilly, Esq.
Assistant Attorney General
The Capitol

Albany, New York 12224

Re: Maltese v NYS Legislature, et al

Index No.: 9234-22

Dear Mr. Reilly:

Document 1 Filed 09/11/24 Page 109 of 310

State of New York .

Supreme Court Chambers ee

Albany County Courthouse ;
16 Eagte Street, Room 271
Albany, New York 12207

(518) 285-4345
mackeycham bers@nycourts.gov

February 8, 2023

Enclosed please find original Decision and Order, for filing and service.

cc!
19 Ringler Drive

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a Michael OL )
Supreme Court Justice Uy

Maryann Maltese, pro se (w/enc.)

East Northport, New York 11731

Vincent J. Nofi, Esq, (w/enc.)

Scalzi & Nofi, PLLC
16 E, Old Country Road

Hicksville, New York 11801

404

JAIME C. LOURIDAS, ESQ.
Law Clerk
LAURIE L. HEIDER
Seeretary
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 110 of 310

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; F :

STATE OF NEW YORK ee
SUPREME COURT “ 1} |. GOUNTY OF ALBANY
In the Matter of the Application of
MARYANN MALTESE,
Plaintiff/Petitioner,
For a Judgment Pursuant to Article 78 AND
of the Civil Practice Law and Rules, ORDER
-against-
NYS LEGISLATURE, CARL HEASTIE, CUNY
QUEENS COLLEGE, PROFESSOR ALAN HEVESI,
ALAN HEVESI former NYS ASSEMBLYMAN, and
DANIEL FRISA, former NYS ASSEMBLYMAN,
Defendants/Respondents,
(Supreme Court, Albany County, Special Term, February 1, 2023)
Index No, 09234-2022
(RII No, 01-22-ST2666) oe
oR oy
(Justice L. Michael Mackey, Presiding) 8 oH me
oa 1 oo
APPEARANCES: Maryann Maltese & em
Plaintift/Petitioner Pro Se 32 =
19 Ringler Drive a oO 5
&
o

East Northport, New York 11731 m

Hon. Letitia James

Attomey General of New York State

Attorney for Defendants/Respondents the New York
State Legislature and Carl E. Heastie, Speaker of
the New York State Assembly

(Thomas J. Reilly, Assistant Attorney General,
of Counsel)

Department of Law

The Capitol

Albany, New York 12224

1
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 111 of 310

Scalzi & Nofi, PLLLC

Attorneys for Defendant/Respondent Daniel Frisa
(Vincent J. Nofi, Esq., of Counsel)

16 E, Old Country Road

Hicksville, New York 11801

Mackey, L.:

Plaintiff/petitioner pro se Maryann Maltese (“plaintiff”) is allegedly a former
employee of the New York State Assembly. On December 9, 2022, she commenced this
hybrid proceeding! and action for declaratory relief seeking civil damages under the
“Adult Survivor’s Act” (“ASA”) and to be awarded certain academic degrees from
respondent CUNY Queens College (“CUNY”). She also seeks “base earnings” and a
“Tier 4 pension status” as of “July 31, 2013.” In lieu of an answer,
defendants/respondents the New York State Legislature,’ Assembly Speaker Carl E.
Heastie (“Speaker Heastie”), and Daniel Frisa “Mr. Frisa”) move separately pursuant to
CPLR §§§§ 7804(f); 3211(aX(2); 3211(a)(5); and 3211{a)(7) to dismiss the
petition/complaint insofar as asserted against them, The motions are consolidated for
disposition. Petitioner opposes. The remaining defendants/respondents have not
appeared.

Mr, Frisa

On a motion to dismiss a complaint pursuant to CPLR § 3211(a)(7), the court must

“accept the facts as alleged in the complaint as true, accord plaintiffs the benefit of every
possible favorable inference, and determine only whether the facts as alleged fit within
any cognizable legal theory” (Leon v Martinez, 84 NY2d 83, 87-88 [1994]). “Whether
the complaint will be able to survive a motion for summary judgment, or whether plaintiff

will be able to prove the claims, is not the inquiry on a motion to dismiss pursuant to

iThe Court notes that petitioner filed both a “notice of petition” and “petition” as well as a “summons” and
“complaint.” For purposes of these motions to dismiss, the matter will be deemed to be a hybrid proceeding.

2The “New York State Legislature” is nota suitable entity in that it is a bicameral legislature consisting of the New

York State Assembly and the New York State Senate,
2
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 112 of 310

CPLR 3211 (a) (7)” (see Victory State Bank v EMBA Hylan, LLC, 169 AD3d 963, 965
[2 Dept. 2019]). CPLR § 3211(a)(5), in relevant part, allows a party to make a motion
to dismiss on the ground that “the cause of action may not be maintained because of . . .
statute of limitations.”

In her complaint, petitioner alleges that in May 1992, at an unspecified
“pub/restaurant” on Washington Avenue in Albany, New York, Mr. Frisa “forcibly”
kissed plaintiff's ear and whispered “You're nothing but a great piece of Democratic ass.
The only reason you’re in the internship program is so we can fuck you. I pushed [Mr.
Frisa] away he proceeded to keep it up and I left the bar.”

In moving to dismiss, Mr. Frisa argues that these allegations are insufficient to
state a cause of action to predicate the use of the Adult Survivor’s Act's revival window,
thereby defeating the complaint on statute of limitations grounds. In this regard, Mr.
Frisa urges that even if plaintiff's allegations are true. this alleged conduct does not
amount to a crime under the Penal Law because the ear is not a “sexual or intimate” part
of the body (Penal Law § 130,00{3]; Penal Law § 130.52{3]).

CPLR § 214-j, enacted in the Adult Survivor’s Act (“ASA”), provides for a revival
of certain personal injury claims that would have been barred by the then-statute of
limitations if the alleged conduct was committed against a person who was eighteen years
of age or older and constituted either (1) “a sexual offense as defined in article one
hundred thirty of the penal law”; or (2) “incest as defined in section 255.27, 255.26 or
255.25 of the penal law.” In other words, a complaint must allege claims based on a
sexual offense as described in one of the enumerated sections of the penal law in order to
qualify as an ASA action.

Relevant to this action are the sections of the penal law in article 130. CPLR §
214-j does not limit the basis of lability under the ASA to specific sections in article 130.

The statute’s language incorporates all sexual offenses listed in article 130 “as defined in

article one hundred thirty of the penal law” (CPLR § 214-)).

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Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 113 of 310

As relevant to this complaint, section 130.00 of article 130 defines sexual contact
as “any touching of the sexual or other intimate parts of a person for the purpose of
gratifying sexual desire of either party” (Penal Law § 130.00[3}). Under section 130.52, a
person is guilty of forcible touching when, among other things, such person intentionally
and for no legitimate purpose “forcibly touches the sexual or other intimate parts of
another person for the purpose of degrading or abusing such person...” (Penal Law §
130.52: see e.g. People v Hatton, 26 NY3d 364, 369 [2015] [“Penal Law § 130.05
requires that the act [of forcible touching] be committed without. the victim's consent,
meaning that the victim does not expressly or impliedly acquiesce in the actor’s conduct]
[internal quotation marks and citation omitted)]). “(When done with the relevant mens
rea, any bodily contact involving the application of some level of pressure to the victim’s
sexual or intimate parts qualifies as a forcible touch within the meaning of Penal Law §
130,52” (People v Guaman, 22 NY3d 678, 684 {2014}).

While the legislature did not promulgate an express list of sexual or intimate body
parts, under the caselaw, “intimate parts” can include parts of the body that may or may
not be in close proximity to the sexual organs, depending on the location on the body and
the context of the touching. That is, a finder of fact can consider how, where and why the
touching took place, anything said by either of the parties involved, and any other facts
and circumstances surrounding the touching (see, e.g., Matter of Michael J, 267 AD2d
126 [1® Dept.1999] [kissing]; Matter of David V., 226 AD2d 319 [1* Dept. 1996] [kissing
using the tongue]; see also People v Sene, 66 AD3d 427 [1* Dept. 2009] [defendant's
mouth touching the victim’s neck]; People v Manning, 81 AD3d 1181 [3% Dept. 2011]
[sexual assault began when defendant’s hands moved up the leg into the area of the
thigh]; People v Reome, 309 AD2d 1067 [3% Dept. 2003]; [touching the victim’s breast,
thigh, buttocks, and vagina]; People v Gray, 201 AD2d 961 [4" Dept. 1994] [defendant
touching the victim’s “upper leg”; People v Graydon, 129 Misc.2d 265 [1985] [Leg
constitutes “intimate” part of body within meaning of statute defining sexual abuse in

second degree and statute defining sexual contact]).

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Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 114 of 310

Liberally construing the complaint and giving plaintiff “the benefit of every
possible favorable inference” (Leon v Martinez, 84 NY2d at 87), the complaint here
alleges sufficient facts to constitute a sexual offense under article 130 to fall within the
purview of the ASA.

Mr. Frisa’s alternate ground for dismissal is without merit inasmuch as petitioner
indeed seeks “civil” compensation.

Accordingly, Mr. Frisa’s motion to dismiss the complaint must be denied.

The NYS Legislature and Speaker Heastie

Petitioner fails to set forth a cause of action against Speaker Carl E. Heastie
inasmuch the Court can discern no specific allegation of any wrongdoing in the petition
or the complaint on the part of Speaker Heastie. Accordingly, this action against Speaker
Heastie is dismissed for failing to state a cause of action (CPLR § 3211 {a][7)).

The NYS Legislature

With respect to the NYS Legislature, to the extent that the petitioner is challenging
her compensation or retirement benefits, her claims are untimely. A proceeding pursuant
to CPLR article 78 “must be commenced within four months after the determination to be
reviewed becomes final and binding upon the petitioner ..., or after the respondent’s
refusal, upon the demand of the petitioner ..., to perform its duty” (CPLR § 217{1]). An
administrative determination is considered final and binding when an agency has
“reached a definitive position on the issue that inflicts actual, concrete injury” and
adininistrative remedies have been exhausted (Matter of Best Payphones, Inc. v
Department of Info, Tech, & Telecom. of City of N.¥., 5 NY3d 30, 34 {2005)).

While the petitioner has not identified the specific administrative determination
(or determinations) of which she secks judicial review, and the reasons why the
administrative determination was improper, her challenge appears to be directed at her
wages and/or retirement benefits. Inasmuch as petitioner’s employment with the
Assembly admittedly ended in 2013, the limitations period within which to challenge her

salary, arid any corresponding retirement issues, has long expired.

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Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 115 of 310

To the extent plaintiff relies on the ASA to revive her purported employment
claims, the ASA revives the period to bring an action for:
(allegations] of ‘intentional or negligent acts or omissions by
a person for physical, psychological, or other injury or
condition suffered as a result of conduct which would
constitute a sexual offense as defined in article one hundred
thirty of the penal law committed against such person who
was cighicen years of age or older, or incest as defined in
section 255,26 or 255,27 of the penal law committed against
such person who was eighteen years of age or older, which is
barred as of the effective date of this section because the
applicable period of limitation has expired, and/or the plaintiff
previously failed to file a notice of claim or a notice of
intention to file a claim, is hereby revived, alleging intentional
or negligent acts or omissions by a person for physical,
psychological, or other injury or condition suffered as a result
of conduct which would constitute a sexual offense as defined
in article one hundred thirty of the penal law committed
against such person who was eighteen years of age or older.
or incest as defined in section 255.26 or 255.27 of the penal
law committed against such person who was eighteen years of
age or older, which is barred as of the effective date of this
section because the applicable period of limitation has
expired, and/or the plaintiff previously failed to file a notice
of claim or a notice of intention to file a claim (CPLR § 214-j)

The Adult Survivors Act makes no provision to extent the limitation of time to

bring any other action.
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 116 of 310

To the extent petitioner seeks compensatory damages against the State and/or a
State entity (“the State’) in connection with the allegations against
defendants/respondents Alan Hevesi and Mr. Frisa in its capacity as an employer or
otherwise, plaintiff's allegations sounding in tort against the State may not be brought in
the New York State Supreme Court (see Court of Claims Act § 9).

Accordingly, the motion to dismiss by the NYS Legislature and Speaker Heastie is
granted. The motion to dismiss by Mr. Frisa is denied.

This constitutes the Decision and Order of the Court. This Decision and Order is
returned to the attorneys for the NYS Legislature and Speaker Heastie. All other papers
are delivered to the Supreme Court Clerk for transmission to the County Clerk. The
signing of this Decision, Order and Judgment shall not constitute entry or filing under
CPLR 2220. Counsel is not relieved from the applicable provisions of this rule with
regard to filing, entry and Notice of Entry.

SO ORDERED.

ENTER.

Albany, New York
Dated: February 8, 2023

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Ae Ghosdly fi ra thetes
L. MICHAEL MACKEY i]
Supreme Court Justice i

Papers Considered:

(1) Notice of Petition dated December 9, 2022;

(2) Petition dated December 9, 2022, with exhibits annexed;

(3) Notice of Motion dated January 5,.2023;

(4) Affirmation of Thomas J. Reilly, Esq., dated January 5, 2023, with exhibit
annexed;

(5) Memorandum of Law dated January 5, 2023;

(6) Notice of Motion dated January 11, 2023;

7
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 117 of 310

(7) Affirmation of Vincent J, Nofi, Esq., dated January [1, 2023, with exhibit

annexed; .
(8) Affidavit of Maryann Maltese dated January 19, 2023.
Case 1:24-cv-01175-BKS-ML Document 1. Filed 09/11/24 Page 118 of 310

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK
< ween

E. JEAN CARROLL,
Plaintiff, - 20 CIVIL 7311 (LAK)

JUDGMENT

~apainst-
DONALD J. TRUME, in his personal capaelty,

Defendant.

Hishereby ORDERED, ADIUDGED AND DECREED: That after a Jary
Trial before the Honorable Lewis A. Kaplan, United States District Judge, Plaintiff E. Jean
Carroll has judgment for compensatory damages (other than for the reputation repair program) im
the amount of $7,306,000.00; Plaintiff £, Jean Carroll hes judgment for compensatory damages
(for the reputation repair progzam only) in the amount of $11,006,006,00; and Plaintiff E. Jean
Carroll has judgment for punitive damages in the amount of $65,000,006.C0, each as against the

defendant Donald J. Trump for an aggregate sum of $83,300,000.00,

DATED: New York, New York
Vebruary 8, 2024

RUBY J. KRAJICK

BY: W/PLA cy 5

Deputy Clerk

Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 119 of 310

State of New York
Supreme Court Chambers 4
Albany County Courthouse

16 Eagle Street, Room 271
Albany, New York 12207
(518) 285-4345
mackeychambers@nycourts.gov

L. MICHABL MACKEY DB JE JAIME C. LOURIDAS, ESQ.
Law Clerk

sy
2 ‘

Justice of the Supreme Court
LAURIE L. HRIDER
Seoretary

February 8, 2023

Thomas J. Reilly, Esq.

Assistant Attorney General wo
The Capitol ce BS
Albany, New York 12224 > 3 ma
pe FY
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Oo o4 co
Re: Maltese y NYS Legislature, et al eG “9 iv}
Index No.: 9234-22 4 2 «<
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#2

Dear Mr. Reilly:

Enclosed please find original Decision and Order, for filing and service.

“ truly yours,

(le IM. uke h apef “y “

a "Michael OEE f
Supreme Court Justice

Maryann Maltese, pro se (w/enc.)
19 Ringler Drive
East Northport, New York 11731

Cc:

Vincent J. Noli, Esq. (w/enc.)
Scalzi & Noh, PLLC

16%, Old Country Road
Hicksville, New York 11801
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 120 of 310

STATE OF NEW YORK ca ge
SUPREME COURT -} }GOUNTY OF ALBANY
In the Matter of the Application of
MARYANN MALTESE,
Plaintiff/Petitioner,
DECISION
For a Judgment Pursuant to Article 78 AND
of the Civil Practice Law and Rules, ORDER
-against-
NYS LEGISLATURE, CARL HEASTIE, CUNY
QUEENS COLLEGE, PROFESSOR ALAN HEVESI,
ALAN HEVESI former NYS ASSEMBLYMAN, and
DANIEL FRISA, former NYS ASSEMBLYMAN,
Defendants/Respondents.
(Supreme Court, Albany County, Special Term, February 1, 2023)
Index No. 09234-2022
(RJI No, 01-22-ST2666) ie rs
oy oar a = of
(Justice L. Michael Mackey, Presiding) 2m me
oO 1 o>
APPEARANCES: Maryann Maltese c ~ in
Plaintift/Petitioner Pro Se 2 2z f
19 Ringler Drive aw iS
East Northport, New York 11731 ry ss

Hon. Letitia James

Attorney General of New York State

Attorney for Defendants/Respondents the New York
State Legislature and Carl E. Heastie, Speaker of
the New York State Assembly

(Thomas J. Reilly, Assistant Attorney General,
of Counsel)

Department of Law

The Capitol

Albany, New York 12224

1
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 121 of 310

Scalzi & Nofi, PLLC

Attorneys for Defendant/Respondent Daniel Frisa
(Vincent J, Nofi, Esq., of Counsel)

16 E. Old Country Road

Hicksville, New York 11801

Mackey, J.:

Plaintiff/petitioner pro se Maryann Maltese (“plaintiff’) is allegedly a former
employee of the New York State Assembly. On December 9, 2022, she commenced this
hybrid proceeding! and action for declaratory relief seeking civil damages under the
“Adult Survivor’s Act” (“ASA”) and to be awarded certain academic degrees from
respondent CUNY Queens College (“CUNY”). She also seeks “base earnings” and a
“Tier 4 pension status” as of “July 31, 2013.” In Heu of an answer,
defendants/respondents the New York State Legislature,” Assembly Speaker Carl E.
Weastie (“Speaker Heastie”), and Daniel Frisa (“Mr. Frisa”) move separately pursuant to
CPLR §§§§ 7804(f); 3211(a)(2); 3211(a)(5); and 3211(a)(7) to dismiss the
petition/complaint insofar as asserted against them, The motions are consolidated for
disposition. Petitioner opposes. The remaining defendants/respondents have not
appeared,

Mr. Frisa

On a motion to dismiss a complaint pursuant to CPLR § 3211{a)(7), the court must
“accept the facts as alleged in the complaint as true, accord plaintiffs the benefit of every
possible favorable inference, and determine only whether the facts as alleged fit within.
any cognizable legal theory” (Leon v Martinez, 84 NY2d 83, 87-88 [1994]). “Whether
the complaint will be able to survive a motion for summary judgment, or whether plaintiff

will be able to prove the claims, is not the inquiry on a motion to dismiss pursuant to

i The Court notes that petitioner filed both a “notice of petition” and “petition” as well as a “summons” and
“complaint.” For purposes of these motions to dismiss, the matter will be deemed to be a hybrid proceeding.

2The “New York State Legislature” is not a suitable entity in that it is a bicameral legislature consisting of the New

York State Assembly and the New York State Senate.
2
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CPLR 3211 (a) (7)” (see Victory State Bank v EMBA Hylan, LLC, 169 AD3d 963, 965
(2 Dept. 2019]). CPLR § 3211(a)(5), in relevant part, allows a party to make a motion
to dismiss on the ground that “the cause of action may not be maintained because of . . .
statute of limitations,”

In her complaint, petitioner alleges that in May 1992, at an unspecified
“pub/restaurant” on Washington Avenue in Albany, New York, Mr. Frisa “forcibly”
kissed plaintiff's ear and whispered “You're nothing but a great piece of Democratic ass.
The only reason you're in the internship program is so we can fuck you. | pushed [Mr.
Frisa] away he proceeded to keep it up and I left the bar.”

In moving to dismiss, Mr. Frisa argues that these allegations are insufficient to
state a cause of action to predicate the use of the Adult Survivor’s Act’s revival window,
thereby defeating the complaint on statute of limitations grounds. In this regard, Mr.
Frisa urges that even if plaintiffs allegations are true, this alleged conduct does not
amount to a crime under the Penal Law because the ear is not a “sexual or intimate” part
of the body (Penal Law § 130.00[3]; Penal Law § 130.52[3)).

CPLR § 214-j, enacted in the Adult Survivor’s Act (“ASA”), provides for a revival
of certain personal injury claims that would have been barred by the then-statute of
limitations if the alleged conduct was committed against a person who was eighteen years
of age or older and constituted either (1) “a sexual offense as defined in article one
hundred thirty of the penal law”; or (2) “incest as defined in section 255,27, 255.26 or
255.25 of the penal law.” In other words, a complaint must allege claims based on a
sexual offense as described in one of the enumerated sections of the penal law in order to
qualify as an ASA action.

Relevant to this action are the sections of the penal law in article 130. CPLR §
214-j does not limit the basis of liability under the ASA to specific sections in article 130.

The statute’s language incorporates all sexual offenses listed in article 130 “as defined in

article one hundred thirty of the penal law” (CPLR § 214-j).

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As relevant to this complaint, section 130.00 of article 130 defines sexual contact
as “any touching of the sexual or other intimate parts of a person for the purpose of
gratifying sexual desire of either party” (Penal Law § 130.00[3]). Under section 139.52, a
person is guilty of forcible touching when, among other things, such person intentionally
and for no legitimate purpose “forcibly touches the sexual or other intimate parts of
another person for the purpose of degrading or abusing such person . . .” (Penal Law §
130.52; see e.g. People v Hatton, 26 NY3d 364, 369 [2015] I“Penal Law § 130.05
requires that the act [of forcible touching] be committed without the victim’s consent,
meaning that the victim does not expressly or impliedly acquiesce in the actor’s conduct]
[internal quotation marks and citation omitted)}). “(When done with the relevant mens
rea, any bodily contact involving the application of some level of pressure to the victim’s
sexual or intimate parts qualifies as a forcible touch within the meaning of Penal Law §
130.52” (People v Guaman, 22 NY3d 678, 684 (2014}).

While the legislature did not promulgate an express list of sexual or intimate body
parts, under the caselaw, “intimate parts” can include parts of the body that may or may
not be in close proximity to the sexual organs, depending on the location on the body and
the context of the touching. That is, a finder of fact can consider how, where and why the
touching took place, anything said by either of the parties involved, and any other facts
and circumstances surrounding the touching (see, ¢.g., “Matter of Michael J., 267 AD2d
126 [1* Dept. 1999] [kissing]; Matter of David V., 226 AD2d 319 [1* Dept. 1996] [kissing
using the tongue]; see also People v Sene, 66 AD3d 427 |1* Dept. 2009] [defendant's
mouth touching the victim’s neck]; People v Manning, 81 AD3d 118] [3 Dept. 2011]
[sexual assault began when defendant’s hands moved up the leg into the area of the
thigh]; People v Reome, 309 AD2d 1067 [3" Dept. 2003]; [touching the victim’s breast,
thigh, buttocks, and vagina]; People v Gray, 201 AD2d 961 [4° Dept. 1994] [defendant
touching the victim’s “upper leg”); People v Graydon, 129 Misc.2d 265 [1985] [Leg
constitutes “intimate” part of body within meaning of statute defining sexual abuse in

second degree and statute defining sexual contact)).

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Liberally construing the complaint and giving plaintiff “the benefit of every
possible favorable inference” (Leon v Martinez, 84 NY2d at 87), the complaint here
alleges sufficient facts to constitute a sexual offense under article 130 to fall within the
purview of the ASA.

Mr. Frisa’s alternate ground for dismissal is without merit inasmuch as petitioner
indeed seeks “civil” compensation.

Accordingly, Mr. Frisa’s motion to dismiss the complaint must be denied.

The NYS Legislature and Speaker Heastie

Petitioner fails to set forth a cause of action against Speaker Carl E. Heastie
inasmuch the Court can discern no specific allegation of any wrongdoing in the petition
or the complaint on the part of Speaker Heastie. Accordingly, this action against Speaker
Heastie is dismissed for failing to state a cause of action (CPLR § 321! {a][7]).

The NYS Legislature

With respect to the NYS Legislature, to the extent that the petitioner is challenging

her compensation or retirement benefits, her claims are untimely. A proceeding pursuant
to CPLR article 78 “must be commenced within four months after the determination to be
reviewed becomes final and binding upon the petitioner ..., or after the respondent’s
refusal, upon the demand of the petitioner ..., to perform its duty” (CPLR § 217[1]). An
adininistrative determination is considered final and binding when an agency has
“reached a definitive position on the issue that inflicts actual, concrete injury” and
administrative remedies have been exhausted (Matter of Best Payphones, Inc. v
Department of Info. Tech, & Telecom. of City of N_Y., 5 NY3d 30, 34 [2005]).

While the petitioner has not identified the specific administrative determination
(or determinations) of which she secks judicial review, and the reasons why the
administrative determination was improper, her challenge appears to be directed at her
wages and/or retirement benefits. Inasmuch as petitioner’s employment with the
Assembly admittedly ended in 2013, the imitations period within which to challenge her

salary, and any corresponding retirement issues, has long expired.

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To the extent plaintiff relies on the ASA to revive her purported employment
claims, the ASA revives the period to bring an action for:
[allegations] of ‘intentional or negligent acts or omissions by
a person for physical, psychological, or other injury or
condition suffered as a result of conduct which would
constitute a sexual offense as defined in article one hundred
thirty of the penal law committed against such person who
was cighteen years of age or older, or incest as defined in
section 255,26 or 255.27 of the penal law committed against
such person who was eighteen years of age or older, which is
barred as of the effective date of this section because the
applicable period of limitation has expired, and/or the plaintiff
previously failed to file a notice of claim or a notice of
intention to file a claim, is hereby revived, alleging intentional
or negligent acts or omissions by a person for physical,
psychological, or other injury or condition suffered as a result
of conduct which would constitute a sexual offense as defined
in article one hundred thirty of the penal law committed
against such person who was eighteen years of age or older.
or incest as defined in section 255.26 or 255.27 of the penal
taw committed against such person who was eighteen years of
age or older, which is barred as of the effective date of this
section because the applicable period of limitation has
expired, and/or the plaintiff previously failed to file a notice
of claim or a notice of intention to file a claim (CPLR § 214-j)
The Adult Survivors Act makes no provision to extent the timitation of time to

bring any other action.
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I paid in NYSLRS Tier 4 pretax earnings. Judge Mackey and Judge Maltese tier 2 as well-never
paid into State Pension with Failure of hearings.

Carl Heastie; Speaker; Appointing Alan Hevesi’s son Andrew on Committees that have direct
oversight on my Public Officer Matter and again Based on 1/2/2024 USDOJ intervention on
Executive Chamber; Andrew Hevesi enacts EXTENDER on Child abuse victim’s rights with
Legislature Failing to Orime my Bill.

Offica of the State Comptroller,
Burazu of State Payroll Saevices,

Andrew 0. {Payroll History asof 11/90/2023
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This chart from NYAG is proof that Speaker NYS Assembly assigned Andrew Hevesi as of
Chairs of Criminal procedures 11 Years (An UNFAIR advantage and Leverage) while Maryann
Maltese is In Forcible Inactive for 10 years. Additionally, as of 2015; Post State Assembly
Probe: Andrew Hevesi by Speaker as well-Hand Selected to Chair NYS Assembly Committee of
Social Service on Matters of Child Abuse and Mandatory reporting. As of 2023] September-
Assemblyman Andrew Hevesi Has his Google Gmail as Point of Contract for Child Abuse
Victims to engage in-a Complete breach of Confidentiality that NYAG reports of 2021

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Stresses over and over in 162 pages; Confidentiality for Victims is Priority within Social
creations of Policies. Alan Hevesi for 11-15 Years has Access to Child Abuse and Sexual
Assault Victims pedigrees to as well-Permit Further Intentional Delay in rendering or Prime Bill
language for Plaintiff Maltese. Again, Andrew Hevesi is the Son; of Alan Hevesi using State
resources to eliminate my Right as Plaintiff from June 2011 through the Present as Alan Hevesi
reportedly died on November 9, 2023 whereas upon my inquiry on Status of Notice of Appeal at
AD 3-in the morning Law Secretary stated-NYAG has not REPLIED 3 weeks POST
requirement and then; Sent me an Email in Afternoon of 11/9/2023 Dismissing my Complaint
09234-2022 while Assembly Communications sent out Press Releases on Sudden Death of
Defendant Alan Hevesi. How heartless of judiciary to dismiss the Index whereas the NYAG is

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not Compliant on within Time Management in 09234-2022. The Legislative intent of ASA was
to Grant ANY Sexual Assault victim as an Adult-More extender time to file. A prime Bill
language cost projection per bill for 2 year’s time-is $1,000 for Legislative considerations and
I’m here 3 years into Article 78 filings at $60,000 to enforce Defendants to Prime or Offer. There
are no words to better explain this than the above.

At time of Alan Hevesi’s Arrest-son Daniel Hevesi was a State Senate Member and here as well-
NYS is keeping the Defendant Alan Hevesi on the payroll and Children as Elective and Chief of
Staff Officers in Fiduciary capacity unethical in 2001-forward-reasoning the Plaintiff is seeking
Tort remedy of $55 million for life Conspiracy to cover up Sexual Assault by Alan Hevesi with
NYS Legislature; NYAG granting Plea Bargain Monetary to Alan Hevesi, and

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Pensions for Daniel and Andrew Hevesi at Crime Victims expense in Maryann Maltese.

Office of the State Com plrolier
Bureavof ate Payrall Services

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@ Clearly RJI’S of Supreme Court added; ASA to Forms as I filed in December 2022; and NYS
Has a Petsonal Jurisdiction to review. Choosing not to review; is prejudicial towards Female
Employee Victims with ASA Notice of Claim and compounded with my Right to Pension
corrective earnings to be Judicated. Judiciary decision making is Capricious and failure of the
Supreme Court to protect a state Public Officer employee’s Notice of Claim and my overall
Constitutional right to Pension as of January 1, 2022. Employer NYS is negligent in formations;
1; Black Letter Law Pension and 2; Notice of Claim on Sexual Assault Violations as Intern-
Employee of NYS Assembly. Male Elective members of State Legislature of 2020-2023;
continuous denial of Prime Bill languages as formation of Discrimination and Denial of
Affirmative Action’s House Rules NYS Assembly; Violations of Sections 5, 6. 7. Intentional
delay of Time Management wait in Haley and or Accumulation of 18 months Post Plaintiff
Public Notice are per violation considered Grounds for Criminal Arrest of Elective Public
Officers and or their Employees. Private Civilian conspirator’s willful actions to assist public
officers is as well Felony, In February orders, by Judge Mackay discusses hybrid determination
findings for PO rights to her retroactive corrective and pension; but

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Defendants faifed to ensure timely issuances of Pension and Supreme Failed to acknowledge
personal jurisdiction within Adult Survivor Law (ASA) extender rights to Notice of Claim for
events from 1992, The NYAG failed to take the Orders of Mackey and have Assembly Ways and
Means Prime Bill languages for PO Plaintiff. NYS Assembly creation of Speaker House rules 5,

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Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 128 of 310

* © Dear Maryann Maltese:
e Congratulations! We have just processed your request to register for Retirement

Online, a self-service account with the New York State and Local Retirement System.
You can now access your retirement information online.

e Our goal is to give you exceptional customer service, and we believe you will find
Retirement Online very helpful. We encourage you to periodically sign in, as we are
continually expanding our online

services,
e If you have not already signed into your account for the first time, you will be

prompted to enter your User ID and password. Then, you will need to request and enter a
security code and set up your security questions. Once you complete these steps, you will

be able to access your account.
e To begin the sign in process, go to www.osc.state.ny.us/retire and click the “Sign In”

button.

e If you did not enroll for this service, please email us from our website at
www.ose.state.ny.us/retite/contact_us/index.php or call us toll-free at 1-866-805-0990, or
518-474-7736 in the Albany, NY area.

* © Sincerely,
New York State and Local Retirement System

Additionalfy-Alan Hevesi is NYSLRS TLER 1 Employee-who as NYS Professor at
CUNY Queens College and then-Elective officer NYS Assembly Serving two Masters’
NEVER prepaid into the State pension system-but Felt he was allowed to Steal from it.

Here again based on my Foil request to NYS Comptroller Tom DiNapoli-a Chart on who
among Elective Officer’s has their State Pensions with their Tier Status to the Far Right
noted, With Date of NYS Pension issued-confirming that Felon Legislator Alan Hevesi
was in receipt of his State Pension as of 1/31/2002 and as J paid into Pension as Tier 4;
Commencing as of January 1, 1992-as the Origination Intern Sexual Assault Intern with

20 years of State Service POST ASA

Office of the New York State Comptroller
Thomas F DiNapoli

NYSLRS

New York State and Local Retirement System
110 State Street, Albany, New York 12244-0007

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2002-2023; at $10,000 a month as Plea bargain after Hevesi committed two rounds of Felonies
stealing from the State Pension Fund. Prime Bill language is the Ethical means of Prime Bill
language and two Members since their Inception into Offices; as of 2021; have willfully denied
Employee Plaintiff Maryann Maltese her right to Prime Bill language as required by House
Rules of NYS legislature. Penal Code violations post 18 months of willful denial by Members
Elect is required. NYAG underwood as of January 18, 2024 has been terminated as NYAG
assigned to Docket number. Crime Victims by Legislator hands are without active and inactive
rights as of 2013. By the decisions unethically by Speaker Silver; mediation inhouse and or by
the Commission of Ethics was never scheduled in 10 Sessions

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forcing Plaintiff to file Notice of Claim (50) at State Supreme as Public Officer with 20 years of
service and within my rights under ASA extender. Mediation by Commission of Ethics as of
2021 was never offered and NYAG’s Sexual Harassment report of August 2021; found al!
victims as well credible without Remedy or Mediaiton. Clearly; Defendants Et al are
intentionally avoiding accountability of Mediation and or end of Service. Plaintiff seeks: the 32
years of Intenional Penal Code loss of earnings due to Sexual Assault by 2 Members conspiracy
(Alan Hevesi and Dan Frisa) and new Legislature Sessions of 1994-forward failures intentionally
to Grant Plaintiff Civil Remedy. I’m here today-asking US Appeals to Force terms of
Compliances of $55 million dollars for intentional post incident Negligences by et al’s for 32

years.

Here's what else I bring. Asking the NYS Comptroller to advise who’s on State Pension as of
JANUARY 2023-whereas again Brown and Matera and OR the Et al’s Are required in year 3]
(2023) to ensure Elective Officers AS IS no matter what MY GENDER affiliations are and they
are HETERO Required Prime Bill language-being Intentionally denied to Employee Maryann
Maltese as Brown ONLY supports Employer boss requests. | cannot wait to talce the Stand. Let it
begin-say Yes to the Plaintiff so that Plaintiff has a Fair day in Court.

THOMAS P. DiNAPOLI

STATE COMPTROLLER
Ms. Maryann Maltese

19 Ringler Drive

East Northport, NY 11731 Dear Ms. Maryann Maltese,

wv
% pS *
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offenses by Employer-Educator-THE PLAINTIFF is not with her Pension. Please note as well-
Lindsey Boylan-a Credible Victim of CUOMO noted in the NYAG Sexual Harassment Report
of August 2021-She as well-according to NYS Comptroller is not with her Civil Remedy or a
State pension. This as well Judiciary is violation of Public Officer rules 73, 74, as the
Commission of Ethics in 2013-set the Precedent forward-that COMMISSION in Vito Lopez’s
abuses granted Reyna -Mediation-PLUS remedy. The NYAG report above as of page 142-failed
in ISSUANCES of REMEDY to Boylan and failure to OPEN to Case file for Maryann Maltese.
Additionally NYS AG Sexual Harassment Victims of 20211 Boylan, Bennett have not received
Civil remedy for their Participation and Maltese vested Tenured at 20 years; Employer-Educator
is willfully stalling in remedy. Chart below is from NYS Comptroller on again-who among
Impacted parties-has a Pension. Defendants; Andrew Cuomo, Alan Hevesi and Dan Frisa-all of
which are Currently on State Pension; not Victims-NYS Defendants by NYAG found Credible.
How is that remotely Allowed within Mediations-Offers of Remedy were required as of 2021,

e Retirmen t e Date of Retiremele Date of first|e Current gross
Name e Tier
applicati on filedjnt payment monthly benefit
Andrew Cuomo |e 8/17/202 | @ 9/1/202 1 @ 10/31/20 21je $4,219.11 je4
Melissa De Rosaje ° ° ¢ 5
Catherine Nolanje [2/24/20 20 |e 1/1/202 | @ 2/28/2021 |e $6,199.70  |e3
e David De
© 6 e e 04
Cancio
e Alan Hevesi Je 10/22/2001 je 1/1/2002 @ 1/31/2002 je $10,673.20 jel
e Daniel Frisa je 4/5/2017 e 4/5/2017 @ 7/3/2017 |e $785.94 04
38
e Eliot Spitzer 7 ° e s e4
® Charlot te
. e © e e6
Bennet t
e Lindsey Bolan | e e e e6
e Elizabe th
° e © e e4
Crothe rs
e Diana Reyna |@ e e ® o4
# Andre w Raia |e 6 e ® e4
e Deborah Glickle 12/12/20 18]e 1/1/201 Se 1/31/201 Se $4,281.7 2je4

Dan Frisa-as well has a State pension as 2017 while Maryann Maltese is not reinstated within the
Window of Accountability to Reinstate me. Here is violation by Employer failure to see that Tier
4 Employee vested post 10 years and | day, EMPLOYER NYS covers the Full 6% of Pension
Contribution. The NYAG provided defendants Hevesi with $2million dollars in pension from

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= maltese-resume%202024-2.pdf

78K

Good afternoon, Maryann.

Patrice Zitani <pzitani@townofbabylon.com>
To: Maryann Maltese <maryannmaltese1000@gmail.com>

Unfortunately, the Town of Babylon does not have the information you are requesting.

You will have to contact the Nassau and Suffolk County Democratic Committee Offices.

Thank you and stay safe and healthy.

Kindest regards,

Patty

Patrice Zitani

Office Assistant

Town of Babylon

Town Clerk’s Office

200 E. Sunrise Hwy.
Lindenhurst, NY 11757
Office — 631-957-4296
Fax — 631-957-7490

E-mail — pzitan@townofbabylon.com

From: Maryann Maltese <maryannmaltese1000@gmail.com>

Sent: Monday, August 26, 2024 8:47 AM

Mon, Aug 26, 2024 at 2:36 PM

To: Nassau County Democratic Committee <infa@nassaucountydems,com>; New York State Democratic Committee
<info@nydems.org>; Patrice Zitani <pzitani@townofbabylon.com>; Suffolk County Democratic Committee

<info@suffolkdems.com>
Subject: Chair's salaries
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(Quoted text hidden]

PARTY LEADERSHIP

| |

Nassau County Democrats

Jay S. Jacobs
Chairman
Thomas Garry
First Vice Chair
James Scheuerman

Executive Director

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§ 94. Commission on Ethics and Lobbying in

Government.

1. (a) Commission established, There is hereby established within the department of state, a commission on

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ethics and lobbying in government, an agency responsible for administering, enforcing, and interpreting
New York state's ethics and lobbying laws. The commission shall have and exercise the powers and duties
set forth in this section with respect to statewide elected officials, members of the legislature and
employees of the legislature, and state officers and employees as defined in sections seventy-three,
seventy-three-a, and seventy-four of the public officers law, candidates for statewide elected office and
for the senate or assembty, and the political party chair as is defined in section seventy-three of the public
officers law, lobbyists and the clients of lobbyists as defined in section one-c of the legislative law, and
individuals who have formerly held such positions, were lobbyists or clients of lobbyists as defined in

section one-c of the legislative law, or who have formerly been such candidates,

The commission shall provide for the transfer, assumption or other disposition of the records, property,
and personnel affected by this section, and it is further provided, should any employees be transferred
from the joint commission on public ethics ("JCOPE’), the predecessor ethics agency. to the commission,
that such transfer will be without further examination or qualification and such employees shall retain

their respective civil service classifications, status and collective bargaining agreements.

The commission. shall review-any pending inquiries or matters affected by this section and shall establish

policies to address them.

The commission shall undertake a comprehensive review of all regulations in effect upon the effective
date of this section; and review of all advisory opinions of predecessor ethics agencies, including JCOPE,
the legislative ethics commission, the commission on public integrity, the state ethics commission, and
the temporary lobbying commission, which will address the consistency of such regulations and advisory
opinions among each other and with the new statutory language, and of the effectiveness of the existing

laws, regulations, guidance and ethics enforcement structure.

This section shall not be deemed to have revoked or rescinded any regulations or advisory opinions in

effect on the effective date of this section that were issued by predecessor ethics and lobbying bodies. The

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§ 94. Commission on Ethics and Lobbying in Government

commission shall cooperate, consult, and coordinate with the legislative ethics commission, to the extent

possible, to administer and enforce the laws under its jurisdiction.

(f) The annual budget submitted by the governor shall separately state the recommended appropriations

for the commission on ethics and lobbying in government. Upon enactment, these separately stated

appropriations for the commission on ethics and lobbying in government shall not be decreased by

interchange with any other appropriation, notwithstanding section fifty-one of the state finance law,

2. Definitions. For the purposes of this section, the following terms shall have the following meanings:

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“commission’ means the commission on ethics and lobbying in government established pursuant

to subdivision one of this section.

“selection members” means the governor, speaker of the assembly, temporary president of the
senate, minority leader of the senate, minority leader of the assembly, comptroller, and the

attorney general.

"independent review committee’ means the committee of the American Bar Association
accredited New Yark state law school deans or interim deans, or their designee who is an associate
dean of their respective law school, tasked with reviewing, approving, or denying the members of

the coinmission as nominated by the selection members and other tasks pursuant to this section.

“respondent” ineans the individual or individuals or organization or organizations subject to an

inquiry, investigation, or enforcement action.

“victim” means any individual that has suffered or alleged to have suffered direct harm from any

violation of law that is subject to investigation under the jurisdiction of the commission.

3. Nomination and appointment of the commission,

(a)

The commission shall consist of eleven members, to be nominated by the selection members as
follows: three members by the governor; two members by the temporary president of the senate;
one member by the minority leader of the senate; two members by the speaker of the assembly;
one member by the minority leader of the assembly; one member by the attorney general; and one

member by the comptroller.

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§ 94. Commission on Bthics and Lobbying in Government

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The independent review committee shall within thirty days review the qualifications of the
nominated candidates and approve or deny each candidate nominated by their respective selection

member.

The independent review committee shall publish on its website a procedure by which it will review

the qualifications of the nominated candidate and approve or deny each candidate.

Those candidates that the independent review committee deems to meet the qualifications
necessary for the services required based on their background and expertise that relate to the
candidate's potential service on the commission shall be appointed as a commission member. The
nominating selection member shall nominate a new candidate for those that are denied by the

independent review committee,

No individual shall be eligible for nomination and appointment as a member of the commission

who is currently, or has within the last two years:
(i) been registered as a lobbyist in New York state;

(ii) been a member or employee of the New York state legislature, a statewide elected official, or

a commissioner of an executive agency appointed by the governor;
(iii) been a political party chair, as defined in section seventy-three of the public officers iaw; or
(iy) been a state officer or employee as defined in section seventy-three of the public officers law.

The independent review committee shall convene as needed or as requested by the selection
members, The chair of the independent review committee shail be elected from the members of

the independent review committee.

Appropriate staffing and other resources shail be provided for in the commission's budget for the
independent review committee to carry out its powers, functions, and duties, The independent
review committee shall publish on the commission's website a procedure by which it will review
and select the commission members and other processes to effectuate ts responsibilities under

this section.

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§ 94. Commission on Ethics and Lobbying in Government

{h} The majority of the independent review committee shall constitute a quorum to hold a meeting

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and conduct official business.

During the pendency of the review and approval or denial of the canclidates, the independent
review committee shail be subject to and maintain confidentiality in all independent review
committee processes reviews, analyses, approvals, and denials. A member of the independent
review committee may be removed by majority vote of the committee for substantial neglect of
duty, misconduct, violation of the confidentiality restrictions set forth in this section, inability to

discharge the powers or duties of the committee or violation of this section, after written notice

and opportunity for a reply.

Upon the receipt of the selection members’ appointments, members of the independent review
committee shall disclose to the independent review committee any personal, professional,
financial, or other direct or indirect relationships a member of the independent review committee
may have with an appointee. If the independent review committee determines a conflict of interest
exists, such independent review committee member shall, in writing, notify the other members of
the independent review committee of the possible conflict. The member may recuse themself fram
all subsequent involvement in the consideration of and action upon the appointment. If, after
disclosure, the member does not recuse themself from the matter, the independent review
committee, by majority vote finding the disclosed information creates a substantial conflict of
interest, may remove the conflicted member from further consideration of and action upon the

appointment.

Notwithstanding the provisions of article seven of the public officers law, no meeting or
proceeding of the independent review commnittee shall be open to the public, except the applicable
records pertaining to the review and selection process for a member's seat shall be subject to
disclosure pursuant to article six of the public officers law only after an individual member is
appointed to the commission, Requests for such records shali be made to, and processed by, the

commission's records access officer.

The independent review committee shali neither be public officers nor be subject to the

requirements of the public officers law.

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§ 94. Commission on Ethics and Lobbying in Government

(m)} Notwithstanding subdivision (1) of this section, the independent review committee members shall
be entitled to representation, indemnification, and to be held harmless to the same extent as any
other person employed in service of the state and entitled to such coverage under sections
seventeen and nineteen of the public officers law, provided however, that any independent review
committee member removed due to a violation of paragraph (i) of this subdivision shall not qualify

for such entitlements.

4. Commission. fa) The first class of members of the commission shall serve staggered terms to ensure

continuity, For the first class of the commission, five members shall serve a term of four years, three members

shall serve a texm of two years, and one member shall serve a term of one year. All subsequent members shall

serve a term of four years. No member shall be selected to the commission for more than two full consecutive

“terms, except that a member who has held the position by filling a vacancy can only be selected to the

commission for an additional two full consecutive terms.

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The commission by majority vote shall elect a chairperson from among its inembers for a term of two

years, A chairperson may be elected to no more than two terms for such office,

Members of the commission may be removed by majority vote of the commission for substantial neglect
of duty, misconduct in office, violation of the confidentiality restrictions set forth in this section, inability
to discharge the powers or duties of office or violation of this section, after written notice and opportunity

for a reply.

Any vacancy occurring on the commission shall be filled within thirty days of its occurrence in the same

manner as a member is initially selected to complete the vacant term.

During the period of a member's service as a member of the commission, the member shall refrain from
making, or soliciting from other persons, any contributions to candidates, political action committees,
political parties or committees, newsletter funds, or political advertisements for election to the offices of
governor, lieutenant governor, member of the assembly or the senate, attorney general or state

comptroller.

Members of the commission shall receive a per diem allowance equal to the salary of a justice of the

“supreme court divided by two hundred twenty for each day or each pro-rated day actually spent in the

performance of the member's duties under this section, and, in addition thereto, shall be reimbursed for

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§ 94. Commission on Ethics and Lobbying in Government

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all reasonable expenses actually and necessarily incurred by the member in the performance of the
member's duties under this section, For the purposes of this subdivision, a day shall consist of at least

seven and one-half hours spent in the performance of the member's duties under this section.

The commission shall meet at least quarterly and additionally as called by the chairperson, or upon the
call of a majority of the members of the commission. The commission shall be subject to articles six and

seven of the public officers law.

A majority of the members of the commission shail constitute a quorum, and the commission shail have

the power to act by majority vote of the total number of members of the commission without vacancy.

The commission shall hold a public hearing at least once each calendar year to take testimony regarding
the operation of the commission and solicit public input regarding potential or proposed changes in the

laws under its jurisdiction,

5. Powers. (a) The commission has the authority to: (i) adopt, amend, and rescind any rujes and regulations

pertaining to section seventy-three, seventy-three-a or seventy-four of the public officers law, article one-A

of the legislative Jaw, or section one hundred seven of the civil service law; (if) adopt, amend, and rescind

any procedures of the commission, including but not limited to, procedures for advice and guidance,

training, filing, review, and enforcement of financial disclosure statements, investigations, enforcement, and

due process hearings: and (iii) develop and promulgate any programs for reviews, training, and guidance to

carry out the commission's mission.

(b)

The commission shall adopt and post on its website guidance documents detailing the processes and -
procedures of an investigation, including the stages of an investigation; timelines, including the reasons
for any potential delays in an investigation; the hearing and adjudication process; outcomes of an
investigation; and, anything else the commission deems necessary to inform the public as well as relevant
parties to an investigation including complainants, respondents, victims, ifany, and witnesses as to such
processes and procedures. The guidance documents shall delineate the processes and procedures that
apply to the relevant parties, including, where applicable, the due process and any other rights or
remedies that the relevant party may have under the commission's procedures or any other area of law.
The guidance documents shall be provided to the relevant party of an investigation upon such party's

involvement in such investigation,

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§ 94. Commission on Ethics and Lobbying in Government

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The commission has the authority to compel the testimony of witnesses, and may administer oaths or
affirmations, subpoena witnesses, compel their attendance and require the preduction of any books or

records which it may deem relevant or material,

6. Executive director and commission staff. The commission shall:

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(i) Appoint an executive director through a majority vote of the members of the commission, who shall
act in accordance with the policies of the commission. The executive director shall be appointed without
regard to political affiliation and solely on the basis of fitness to perform the duties assigned by this
section, and meet the qualifications necessary for the services required based on their background and
expertise that relate to the candidate's potential service to the commission. No individual shall be eligible
to be appointed as an executive director if the individual is currently, or within the last two years has

been:
(1) registered as a lobbyist in New York state;

(2) a member or employee of the New York state legislature or a statewide elected official,

or a commissioner of an executive agency appointed by the governors; or
(3) a political party chair, as defined in section seventy-three of the public officers iaw.

Gi) The appointment and removal of the executive director shall be made by a majority vote of the

commnission.

(iii} The term of office of the executive director shall be four years from the date of appointment. The
salary of the executive director shall be determined by the members of the commission based on

experience.

(iv) The commission may remove the executive director for negiect of duty, misconduct in office,
violation of the confidentiality restrictions in this section, or inability or failure to discharge the

powers or duties of office, including the failure to foliow the lawful instructions of the commission.

The commission may delegate authority to the executive director to act in the name of the commission

between meetings of the commission provided such delegation is in writing, the specific powers to be

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§ 94. Commission on Ethics and Lobbying in Government

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delegated are numerated, afid the commission shall not delegate any decisions specified in this section

that require a vote of the commission.

The commission, through the executive director, shail establish units within the commission to carry
out it duties, including, but not limited to, (i) an advice and guidance unit, (fi) a training unit, (iii) a

financial disclosure unit, (ivja lobbying unit, and (v) an investigations and enforcement unit.

The commission, through the executive director, shall appoint such other staff as are necessary to carry
out its duties under this section, including, but not limited to, a deputy director of an advice and
guidance unit to provide timely confidential advice to persons subject to the commission's jurisdiction,
a deputy director for training, a deputy director for investigations and enforcement, and a deputy

director for lobbying.

In addition to ineeting the qualifications necessary for the services required for the position, the deputy
director for investigations and enforcement shall have completed substantial training and have
experience in trauma-informed approaches to investigations and enforcement. The deputy director for
investigations and enforcement shall complete a minimum of four hours of training annually in traama-
informed approaches to investigations and enforcement. Such trainings may include, but not be limited
to, the impact of trauma, first impression matters, victiin interviews, investigative strategies, and alcohol

and drug facilitated cases.

The commission, through the executive director, shall review and approve a staffing plan provided and
prepared by the executive director which shall contain, at a minimum, a list of the various units and
divisions as well as the number of positions in each unit, titles and their duties, and salaries, as well as

the various qualifications for each position.

7, Advice and guidance.

fa) The commission shall establish a unit or units solely for ethics and lobbying guidance, and give
such prompt, informal advice to persons whose conduct it oversees, except with respect to
members of the legislature and legislative staff, who shall seek advice from the legislative ethics

commission in the first instance,

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§ 94, Commission on Ethics and Lobbying in Government

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Persons receiving such informal advice may rely on that advice absent misrepresentation or
omission of inaterial facts to the commission and such communications with the commission shall
be treated as confidential, except as disclosure is needed to prevent or rectify a crime or fraud, or

prevent a substantial threat to public health or safety or if required by court order.

The commission may also render, on written request or on its own initiative, advisory opinions,
and may allow for public comment before issuance of an advisory opinion. Such an opinion
rendered by the commission shall be relied on by those subject to the commission's jurisdiction
and until, or unless, amended, superseded, ar revoked. Such opinion may also be relied upon by

any such person, and may be introduced and shail be a defense, in any criminal or civil action.

8 Training. The commission shail establish a training unit and shall develop and administer an on-going

program for the education and training in ethics and lobbying for those subject to the provisions of this

section, as follows:

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The commission shall develop and administer a comprehensive and interactive live-in person or
live-online ethics training course and shall designate and train instructors to conduct such
training. Such live course shall be designed to include practical application of the material covered
and a question-and-answer participatory segment. Unless the commission grants an extension or
waiver for good cause shawn, statewide elected officials, members of the legislature and employees
of the iegislature, and state officers and employees as defined in sections seventy-three, seventy-
three-a, and seventy-four of the public officers law, and the political party chair as is defined in
section seventy-thiee of the public officers law, shall complete the live course within ninety days

of appointment or employment and shall complete the live course every two years subsequently.

The commission shall develop and adininister an online ethics refresher course for all individuats
listed under subparagraph (i) of this paragraph who have previously completed the live course.
Such refresher course shall be designed to include any changes in law, regulation, or policy or in
the interpretation thereof, and practical application of the material covered. Unless the
commission grants an extension or waiver for good cause shown, such individuals shall take such
refresher course once every year after having completed the live course under paragraph (a) of this

subdivision.

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§ 94. Commission on Ethics and Lobbying in Government

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The commission shall develop and administer an online live question and answer course for

agency ethics officers.

The commission shali develop and administer training courses for lobbyists and clients of

lobbyists.

The provisions of this subdivision shall be applicable to the legislature except to the extent that an
ethics training program is otherwise established by the assembly and/or senate for their respective
members and employees and such program meets or exceeds each of the requirements set forth in

this subdivision.

On an annual basis, the commission, in coordination with the legislative ethics commission, shail
determine the status of compliance with the training requirements under this subdivision by each
state agency and by the senate and the asseinbly. Such determination shall include aggregate
statistics regarding participation in such training and shall be reported on a quarterly basis to the

governor and the legislature in writing.

9, Financial disclosure statements.

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The commission may delegate all or part of review, inquiry and advice in this section to the staff

under the supervision of the executive director.

The commission shall make available forms for annual statements of financial disclosure required

to -be-filed pursuant to section seventy-three-a of the public officers law.

The commission shall review the financial disclosure statements of the statewide elected officials
and members of the legislature within sixty days of their filings to determine, among other things,

deficiencies and conflicts.

The commission shail review on a random basis the financial disclosure statements for filers who

are not statewide elected officials and members of the legislature.

The commission shail review financial disclosure statements filed in accordance with the
provisions of this section and (i) inquire into any disclosed conflict to recommend how best to

address such conflict; and (ii) ascertain whether any person subject to the reporting requirements

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§ 94, Commission on Ethics and Lobbying in Government

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of section seventy-three-a of the public officers law has failed to file such a statement, has filed a
deficient statement or has filed a statement which reveals a possible violation of section seventy-

three, seventy-three-a or seventy-four of the public officers law.

Ifa person required to file a financial disclosure statement with the commission has failed to file a
disclosure statement or has filed a deficient statement, the commission shall notify the reporting
person in writing, state the failure to file or detail the deficiency, provide the person witha fifteen-
day period to cure the deficiency, and advise the person of the penalties for failure to comply with
the reporting requirements. This first notice of deficiency shall be confidential. If the person fails
to make such filing or fails to cure the deficiency within the specified time period, the commission
shall send a notice of delinquency (i) to the reporting person; {ii) in the case of a statewide elected
official, to the chief of staff or counsel to the statewide elected official; (iii) in the case of a member
of the legislature or a legislative employee, to the temporary president of the senate and the speaker
of the assembly; and (iv) in the case of a state officer, employee or board member, to the appointing
authority for such person. Such notice of delinquency may be sent at any tine during the reporting
person's service as a statewide elected official, state officer or employee, member of the assembly
or the senate, or a legislative employee or a political party chair or while a candidate for statewide
office, or within one year after termination of such service or candidacy. A copy of any notice of
delinquency or report shalf be included in the reporting person's file and be available for public
inspection and copying pursuant to the provisions of this section. The jurisdiction of the

commission, when acting pursuant to this subdivision with respect to financial disclosure, shail

continue for-two years notwithstanding that-the reporting person separates from state service, or -

ceases to hold public or political party office, or ceases to be a candidate, provided the commission

notifies such person of the alleged failure to file or deficient filing pursuant to this subdivision.

The commission shall adopt a procedure whereby a person who i required to file an annual
financial disclosure statement with the commission may request an additional period of time
within which fo file such statement, other than members of the legistature, candidates for members

of the legislature and legislative employees, due to justifiable cause or undue hardship.

The commission may permit any person who is required to file a financial disclosure statement
with the commission to request that the commission delete from the copy thereof made ayailable

for public inspection and copying one or more items of information which may be deleted by the

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commission upon a finding by the commission that the information which would otherwise be
required to be made available for public inspection and copying will have ne material bearing an
the discharge of the reporting person's official duties, If such request for deletion is denied, the
commission, in its notification of denial, shall inform the person of their right to appeal the
commission's determination in a proceeding commenced against the commission, pursuant to

article seventy-eight of the civil practice law and rules.

The commission may permit any person who is required to file a financial disclosure statement
with the commission to request an exemption from any requirement to report one or more items
of information which pertain to such person's spouse, domestic partner, or unemancipated
children which item or items may be exempted by the commission upon a finding by the
commission that the reporting individual's spouse, domestic partner, on their own behalf, or on
behalf of an unemancipated child, ohjects to providing the information necessary to make such
disclosure and that the information which would otherwise be required to be reported shall have
no material bearing on the discharge of the reporting person's official duties. If such request for
exemption is denied, the commission, in its notification of denial, shall inform the person of their
right to appeal the commission's determination, pursuant to article seventy-eight of the civil

practice law and rules.

‘The commission may permit any person required to file a financial disclosure statement to request
an exemption from any requirement to report the identity of a client pursuant to the question
under subparagraph {b} of paragraph eight of subdivision three of section seventy-three-a of the
public officers law in such statement based upon an exemption set forth in such question. The
reporting individual need not seek an exemption to refrain from disclosing the identity of any
client with respect to any matter where they or their firm provided legal representation to the client
in connection with an investigation or prosecution by law enforcement authorities, bankruptcy,
ar domestic relations matters. In addition, clients or customers receiving medical or dental
services, mental health services, residential real estate brokering services, or insurance brokering
services need not be disclosed, Pending any application for deletion or exemption to the
commission relating to the filing of a financial disclosure statement, all information which is the
subject or part of the application shall remain confidential. Upon an adverse determination by the

commission, the reporting individual may request, and upon such request the commission shall

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Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 145 of 310

§ 94. Commission on Ethics and Lobbying in Government

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provide, that any information that is the subject or part of the application remain confidential for
a period of thirty days following notice of such determination. In the event that the reporting
individual resigns their office and holds no other office subject to the jurisdiction of the

commission, the information shall not be made public and shall be expunged in its entirety.

The commission shall permit any person who has not been determined by the person's appointing
authority to hold a policy-making position, but who is otherwise required to file a financial
disclosure statement to request an exemption from such requirement in accordance with rules and
regulations governing such exemptions. Such rules and regulations shall provide for exemptions
to be granted either on the application of an individual or on behalf of persons who share the same
job title or employment classification which the cominission deems to be comparable for purposes
of this section, Such rules and regulations may permit the granting of an exemption where, in the
discretion of the comtiission, the public interest does not require disclosure and the applicant's

duties do not involve the negotiation, authorization or approval of:

(i) contracts, leases, franchises, revocable consents, concessions, variances, special permits, or

Hcenses as such terms are defined in section seventy-three of the public officers law;
(ii) the purchase, sale, rental or lease of real property, goods or services, or a contract therefor;
(iii) the obtaining of grants of money or loans; or

(iv) the adoption or repeal of any rule or regulation having the force and effect of law.

Investigation and enforcement.

{a} ‘he commission shail recetve complaints and referrals alleging violations of section seventy-three,

(b)

seventy-three-a or seventy-four of the public officers law, article one-A of the legislative law, or section

one hundred seven of the civil service law.

Upon the receipt of a complaint, referral, or the commencement of an investigation, members of the
commission shall disclose to the commission any personal, professional, financial, or other direct or
indirect relationships a member of the commission may have with a complainant or respondent. If any
commissioner determines a conflict of interest may exist, the commissioner shall, in writing, notify the

other members of the commission setting forth the possible conflict of interest, The commissioner may

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§ 94, Commission on Ethics and Lobbying in Government

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recuse themself from all subsequent involvernent in the consideration and determination of the matter,
If, after the disclosure, the commissioner does not recuse themself from the matter, the commission, by
a majority vote finding that the disclosed information creates a substantial conflict of interest, shall
reinove the conflicted commissioner from all subsequent involvement in the consideration and
determination of the matter, provided the reason for the decision is clearly stated in the determination

of the commission,

The commission shall conduct any investigation necessary to carry out the provisions of this section,
Pursuant to this power and duty, the commission may ad:ninister oaths or affirinations, subpoena
witnesses, compel their attendance and testimony, and require the production of any books or records
which it may deem relevant or material. The commission may, by a majority vote and pursuant to
regulations adopted pursuant to the state administrative procedure act, delegate to the executive director
the authority to issue subpoenas, provided that the executive director first notify the chair of the

commission,

The commission staff shail review and investigate, as appropriate, any information in the nature of a
complaint or referral received by the commission or initiated by the commission, including through its
review of media reports and other information, where there is specific and credible evidence that a
violation of section seventy-three, seventy-three-a, or seventy-four of the public officers law, section one
hundred seven of the civil service law or article one-A of the legislative law by a person or entity subject
to the jurisdiction of the commission including members of the legislature and legislative employees and

candidates for members of the legislature.
The commission shall notify the complainant, ifany, that the commission has received their complaint.

If, following a preliminary review of any complaint or referral, the commission or commission staff
decides to elevate such preliminary review into an investigation, written notice shall be provided to the
respondent setting forth, to the extent the commission is able to, the possible or alleged violation or -
violations of such law and a description of the allegations against the respondent and the evidence, ifany,
already gathered pertaining to such allegations, provided however that any information that may, in the
judgment of the commission or staff, either be prejudicial to the complainant or compromise the
investigation shall be redacted. The respondent shall have fifteen days from receipt of the written notice

to provide any preliminary response or information the respondent determines may benefit the

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§ 94. Commission on Ethics and Lobbying in Government

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commission or commission staff in its work. After the review and investigation, the staff shall prepare a
report to the commission setting forth the allegation or allegations made, the evidence gathered in the
review and investigation tending to support and disprove, ifany, the allegation or allegations, the reievant
law, and a recommendation for the closing of the matter as unfounded or unsubstantiated, for
settlement, for guidance, or moving the matter to a confidential due process hearing, The commission
shall, by majority vote, return the matter to the staff for further investigation or accept or reject the staff

recommendation.

In an investigation involving a victim the commission shail ensure that any interview of such victim is
upon such victim's consent and that the investigator or investigators interviewing such victim have
adequate trauma informed and victim centered investigative training. If a victim is requested to testify
at a hearing, the commission shall provide sufficient notice to the victim of such request. Regardless of
whether a victim is requested to or testifies at a hearing, the victim shall be informed as to how any

statements made or information provided will be used in an investigation.

Upon the conclusion of an investigation, if the commission, after consideration of a staff report,
determines by majority vote that there is credible evidence ofa violation of the laws under its jurisdiction,
it shall provide the respondent timely notice for a due process hearing. The commission shall also inform
the respondent of its rules regarding the conduct of adjudicatory proceedings and appeals and the other
due process procedural mechanisms available to the respondent. If after a hearing the compiaint is
unsubstantiated or unfounded, the commission shall provide written notice to the respondent,

identifying information or information tending to identify any party involved in an investigation.

The hearing shali be conducted before an independent arbitrator. Such hearing shall afford the
respondent with a reasonable opportunity to appear in person, and by attorney, give sworn testimony,

present evidence, and cross-examine witnesses,

The commission may, at any time, develop procedures and rules for resolution of de minimus or minor
violations that can be resolved outside of the enforcement process, including the sending ofa confidential

guidance or educational letter,

The jurisdiction of the commission when acting pursuant to this section shall continue notwithstanding

that a statewide elected official or a state officer or employee or member of the legislature or legislative

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§ 94. Commission on Ethics and Lobbying in Government

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employee separates from state service, or a political party chair ceases to hold such office, or a candidate
ceases to be a candidate, or a lobbyist or client of a lobbyist ceases to act as such, provided that the
commission notifies such individual or entity of the alleged violation of law within two years from the
individual's separation from state service or termination of party service or candidacy, or from the last
report filed pursuant to article one-A of the legislative jaw. Nothing in this section shall serve fo limit the
jurisdiction of the commission in enforcement of subdivision eight of section seventy-three of the public

officers law.

If the commission's vote to proceed to a due process hearing after the completion of an investigation
does not carry, the commission shall provide written notice of the decision to the respondent,
complainant, if any, and victim, if any, provided that such notice shall not include any personally

identifying information or information tending to identify any party involved in an investigation.

(m) If the commission determines a complaint or referral lacks specific and credible evidence of a violation

{n)°

of the laws under its jurisdiction, or a matter is closed due to the allegations being unsubstantiated prior
to a vote by the commission, such records and all related material shall be exempt from public disclosure
under article six of the public officers law, except the commission's vote shall be publicly disclosed in
accordance with articles six and seven of the public officers law. The commission shall provide written
notice of such closure ta the respondent, complainant, if any, or victim, if any, provided that such notice
shall not include any personally identifying information or information tending to identify any party

involved in an investigation.

(i) An individual subject to the jurisdiction of the commission who knowingly aid intentionally violates
the provisions of subdivisions two through five-a, seven, eight, twelve or fourteen through seventeen of
section seventy-three of the public officers law, section one hundred seven of the civil service law, or a
reporting individual who knowingly and willfully fails to file an annual statement of financial disclosure
or who knowingly and willfully with intent to deceive makes a false statement or fraudulent omission or
gives information which such individual knows to be false on such statement of financial disclosure filed
pursuant to section seventy-three-a of the public officers law, shall be subject to a civil penalty in an
amount not to exceed forty thousand dollars and the value of any gift, compensation or benefit received

asa result of such violation.

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§ 94, Commission on Ethics and Lobbying in Government

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(i) An individual who knowingly and intentionally violates the provisions of paragraph a, b, c, de, g;
or i of subdivision three of section seventy-four of the public officers law, shall be subject to a civil
penalty in an amount not to exceed ten thousand dollars and the value of any gift, compensation or

benefit received as a result of such violation.

(iii) An individual subject to the jurisdiction of the commission who knowingly and willfully violates

article one-A of the legislative law shail be subject to civil penalty as provided for in that article.

(iv) With respect to a potential violation of any criminal law where the commission finds sufficient cause

by a majority vote, it shall refer such matter to the appropriate law enforcement authority for further

investigation.

(v) In assessing the amount of the civil penalties to be imposed, the commission shall consider the
seriousness of the violation, the amount of gain to the individual and whether the individual
previously had any civil or criminal penalties imposed pursuant to this section, and any other factors

the commission deems appropriate.

(vi) A civil penalty for false filing shall not be imposed under this subdivision in the event a category of

“value” or "amount" reported hereunder is incorrect unless such reported information is falsely

understated.

(vii) Notwithstanding any other provision of law to the contrary, no other penalty, civil or criminal may
be imposed for a failure to file, or for a false filing, of such statement, or a violation of subdivision
six of section seventy-three of the public officers law or section one hundred seven of the civil service
law, except that the commission may recommend that the individual in violation of such subdivision

or section be disciplined.

The commission shall be deemed to be an agency within the meaning of article three of the state
administrative procedure act and shall adopt rules governing the conduct of adjudicatory proceedings
and appeals taken pursuant to a proceeding commenced under article seventy-eight of the civil practice
law and rules relating to the assessment of the civil penalties or the recommendation of employee
discipline herein authorized. Such rule shall provide for due process procedural mechanisms
substantially similar to those set forth in article three of the state administrative procedure act but such

mechanisms need not be identicai in terms or scope.

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§ 94. Commission on Ethics and Lobbying in Government

(p)

(i) The commission shall have jurisdiction to investigate, but shall have no jurisdiction to impose
penalties or discipline upon members of or candidates for inember of the legislature or legislative
employees for any violation of the public officers law or section one hundred seven of the civil service
law. If, after investigation and a due process hearing, the commission has found, by a majority vote, a
substantial basis to conclude that a member of the legislature or a legislative employee or candidate for
member of the legislature has violated any provisions of such laws, it shall prepare a written report of its
findings and provide a copy of that report to the legislative ethics commission, and to such Individual in
violation of such law. The cominission shall provide to the legislative ethics commission copies of the

full investigative file and hearing record.

{ii} With respect to the investigation of any individual who is not a member of the legislature or a
legislative employee or candidate for member of the legislature, if after its investigation and due
process hearing, the commission has found, by a majority vote, a substantial basis to conclude that
the individual or entity has viclated the public officers law, section one hundred seven of the civil
service law, or the legislative law, the commission shail determine whether, in addition to or in lieu
of any fine authorized by this article, the matter should be referred to their employer for discipiine
with a warning, admonition, censure, suspension or termination or other appropriate discipline.
With regard to statewide elected officials, the commission may not order suspension or termination
but may recommend impeachinent, The commission shall then issue a report containing its
determinations including its findings of fact and conclusions of law to the complainant and
respondent. The commission shall publish such report on its website within twenty days of its

delivery.to.the complainant and respondent, .

ll. Confidentiality,

(a)

(b)

When an individual becomes a commissioner or staff of the commission, such individual shall be

required to sign a non-disclosure stateinent.

Except as otherwise required or provided by law, or when necessary to inform the complainant or
respondent of the alleged violation of law, if any, of the status of an investigation, testimony received, or
any other information obtained by a commissioner or staff of the commission, shail not be disclosed by
any such individual to any person or entity outside of the commission during the pendency of any matter,

Any confidential communication to any person or entity outside the commission related to the matters

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§ 94, Commission on Ethics and Lobbying in Government

before the commission shall occur only as authorized by the commission. For the purposes of this
paragraph, “matter™ shall mean any complaint, review, inquiry, or investigation into alleged violations of

this chapter.

(c). The commission shall establish procedures necessary to prevent the unauthorized disclosure of any
information received by any member of the commission or staff of the commission, Any breaches of
confidentiality may be investigated by the New York state office of the iuspector general, attorney
general, or other appropriate law enforcement authority upon a majority vote of the commission to refer,
and appropriate action shall be taken. (d} Any commission member or person employed by the
commission who intentionally and without authorization releases confidential information received or

generated by the commission shall be guilty ofa class A misdemeanor.

12. Annual report.

(a) The commission shall make an annual public report summarizing the activities of the commission
during the previous year and recommending any changes in the laws governing the conduct of persons
subject to the jurisdiction of the commission, or the rules, regulations and procedures governing the

commission's conduct. Such report shall include, but is not limited to:

(i) information on the number and type of complaints received by the commission and the status

of such complaints;
(ii) information on the number of investigations pending and nature of such investigations;

(iii) where a matter has been resolved, the date and nature of the disposition and any sanction
imposed; provided, however, that such annual report shall not contain any information for

which disclosure is not permitted pursuant to this section or other laws;
(iv) information regarding financial disclosure compliance for the preceding year; and
(v) information regarding lobbying law filing compliance for the preceding year.

(b) Such a report shall be filed in the office of the governor and with the legislature on or before the first day

of April for the preceding year.

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§ 94. Commission on Ethics and Lobbying in Government

13. Website.

(a) Within one hundred twenty days of the effective date of this section, the commission shall update
JCOPE's publicly accessible website which shall set forth the procedure for filing a complaint with the
commission, the filing of financial disclasure statements filed by state officers or employees or legislative
employees, the filing of statements required by article one-A of the legislative law, and any other records

or information which the commission determines to be appropriate.
{b) The commission shall post on its website the following documents:

{i} the information set forth in an annual statement of financial disclosure filed pursuant to section
seventy-three-a of the public officers law except information deleted pursuant to paragraph (g)

of subdivision nine of this section of statewide elected officials and members of the legisiature;
(ii) notices of delinquency sent under subdivision nine of this section;

(iii) notices of civil assessments imposed under this section which shall include a description of the
nature of the alleged wrongdoing, the procedural history of the complaint, the findings and

determinations made by the commission, and any sanction imposed;

(iv) the terms of any settlement or compromise of a complaint or referral which includes a fine,

penalty or other remedy;

(v) those required to be held or maintained publicly available pursuant to article one-A of the

legislative law; and
(vi) reports issued by the commission pursuant to this section,

id, Additional powers. In addition to any other powers and duties specified by law, the commission shall have

the power and cuty to administer and enforce all the provisions of this section,

15, Severability, Ifany part or provision of this section or the application thereof to any person or organization
is adjudged by a court of competent jurisdiction to be unconstitutional or otherwise invalid, such judgment
shall not affect or impair any other part or provision or the application thereof to any other person or

organization, but shall be confined in its operation to such part or provision.

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a (small Maryann Maltese <maryannmaltese1000@gmail.com>

FOIL Request Invvoice/info.
9 messages

Patrice Zitani <pzitani@townofbabylon.com> Fri, Apr 26, 2024 at 4:29 PM
To: "maryannmaltese1000@gmail.com" <maryannmaltese1000@gmail.com>
Good afternoon, Maryann.

Please find attached your completed updated FOIL requests with documentation, along with an
attached invoice for the following addresses:

Richard Schaffer’s disclosed incomes from Township and other private employers inclusive of
Democratic Party _as of 2020, 2021, 2022, 2023 and 2024, etc.

Your payment can be mailed to the Town of Babylon, Town Clerk's Office.

You can mail a check for $5.25 (25 cents/page) made out to the "Town of Babylon” to the
following address:

Town of Babylon

c/o Town Clerk's Office

200 E. Sunrise Highway
Lindenhurst, NY 11757

« Please include copy of the invoice along with payment.

Thank you and stay safe and healthy.

Kindest regards,

Patty

Patrice Zitani
Maryann Maltese <maryannmaltese1000@gmaii.com>

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Office Assistant

Town of Babylon

Town Clerk’s Office

200 E, Sunrise Hwy,
Lindenhurst, NY 11757
Office — 631-957-4296
Fax — 631-957-7490

E-mail — pzitani@townofbabylon.com

NOTICE: This e-mail and any attached document(s} are intended only for the use of the individual or entity to whom or to
which it is addressed and may contain information that is privileged, confidential, proprietary, trade secret and exempt
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reproduction of this communication is strictly prohibited. If you have received this communication in error, please notify us
immediately and discard the original message and any attachment(s).

=) Maryann Maltese3.pdf
) 3737K

Thu, May 9, 2024 at 11:41 AM

To: NYED_Kovner Chambers <Kovner_Chambers@nyed.uscourts.gov>

On the Docket; Evidence-

This will be processed today but Notably the NY POST evidence stated; Richard Schaffer as Chair of Democratic is
Collecting a Party salary in addition to-Township of Babyton.

| do expect a subpoena to be issued. Employees in NYS Legislature every Session are required to Fill out Disclosures of
Financial interests.

Has Brown and or Mattera Done so-! have asked for this foilable as well from 2021-2024.

Maryann Maltese
{Quoted text hidden}

Maryann Maltese <maryannmaitese1000@gmail.cam> Tue, May 21, 2024 at 12:27 PM
To: Patrice Zitani <pzitani@townofbaby!on.com>

Patrice Zitani <pzitani@townofpabylon.com>

Hi Patrice,

What is the status of receipt of Payment for the FOIL records? Money Order was forwarded.

Maryann Maltese
{Quoted text hidden}

Tue, May 21, 2024 at 12:32 PM
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 155 of 310

Good afternoon, Maryann.
Yes. We received your Money Order.
Thank you!

Kindest regards,
Patty

Patrice Zitani

Office Assistant

Town of Babylon

Town Clerk’s Office

200 E. Sunrise Hwy.
Lindenhurst, NY 11757
Office -- 631-957-4296
Fax — 631-957-7490

E-mail — pzitani@townefbabylon.com

From: Maryann Maltese. <maryannmaitese 1000@gmail.com>
Sent: Tuesday, May 21, 2024 12:28 PM

To: Patrice Zitani <pzitani@townofbabylon.com>

Subject: Re: FOIL Request Invvoice/Info.

This message has originated from an External Source. Please use proper judgment and caution when opening (ed

> attachments, clicking links, or responding to this email.

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Maryann Maltese <maryannmaltese1000@gmail.com> Tue, May 21, 2024 at 12:36 PM
To: Patrice Zitani <pzitani@townofbabyton.com>

How about the records? When will they be processed?

Maryann Maltese
[Quoted text hidden]
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Patrice Zitani <pzitani@townofbabylon.com>

To: Maryann Maltese <maryannmaltese1000@gmail.com>

Hello Maryann.

Please see my email from April 26, 2024 and the above attachment.

Kindest regards,
Patty

Patrice Zitani

Office Assistant

Town of Babylon

Town Clerk’s Office

200 E, Sunrise Hwy.
Lindenhurst, NY 11757
Office — 631-957-4296
Fax — 631-957-7490

E-mail — pzitani@fownofbabylon.com

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a Maryann Maltese3.pdf
1 3737K

Maryann Maltese <maryannmaltese1000@gmail.com>

To: Patrice Zitant <pzitani@townofbabylon.com>
Good morning,
Did you forward the FOIABLE materiais?
Please advise,

Maryann Maitese
[Quoted text hidden]

Tue, May 21, 2024 at 12:41 PM

Wed, Jun 12, 2024 at 5:36 AM

Patrice Zitani <pzitani@townotbabylon.com>

Yo: Maryann Maltese <maryannmaltese1000@gmall.com>

Wed, Jun 12, 2024 at 9:17 AM
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 157 of 310

Please see the email chain below and the attachment above with the FOILABLE materials emailed on April 26, 2024. We

did receive the Money Order for $5.25,

Thank you and have a great day.

(Quoied text hidden]
{Quoted text hidden]

= Maryann Maltese3. pdf
=! 3737K

Maryann Maltese <maryannmaltese 1000@gmail.com>
To: Patrice Zitani <pzitani@townofbabylon.com>

Thanks Patrice.
fQuoted text hidden]

Wed, Jun 12, 2024 at 10:37 AM
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 158 of 310

BTW-who is covering your Fee; Mr. Schaffer Himseff or NYS Democratic Party?

That js a FOIL request. Have you advised Judicial? Pleasa provide the retainer proof by Mr. Schafer if he or the NYS Democratic Partly is covering his Lagal Fees.
This matter {s not for Township to pay for-this is PO matter whereas Richard Schaffer-was operating on behalf of NYS Demacratic Party.

Therefore-please advise,

Regards,

Maryann Maltese, PO Piaintiff Pro Se"
(Quoted iaxt hidden}

Wed, Jun 712, 2024 ai 9:35 AM

1 UA ee matin ee

Maryann Maltese <maryannmaltese 1000@qmail.com>
To: public.integrity@ag.ny.gov

Good morning on the complaint filed in 2024 seeking verification if Huntington Democratic Organization is
Operating or not and is required if no assets to ‘Voluntarily’ Dissolution of Corporation status as | do not
believe the 'Sub Party” is paying its rent at Main Street.

Re: NYAG Submission #1-875144132

When were the Scheduled meetings of December 2019-until February 15, 2020-this is Pre-Pandemic-not
Pandemic Special Election 2020.

Schaffer never scheduled meetings with me, or with All of us to Meet each other,

Schaffer is an inciter and then within Female nominees-Schaffer as Chair resorts intentionally to Sexual
Harassment Employer formation willful.

Instead of Consensus building within Party voter registrations; Schaffer-divides within Democrats since 2018-
2024 as Chair.

Schaffer is an Incitor; violating not only Maryann; but his ‘Business Chair” Incorporation requirements of
Sexual Free zone inside the Party.

Schaffer has not selected a Female Nominee Party since when for State and Federal offices?
In 2018-Schaffer did not select Lubia Gretchum as Party Candidate US Congressional

In 2020-Schaffer intentionally avoided my Rights as Public Officer First to Nomination Considerations; a Dual
_ Offense as Schaffer in 2020 is a High Public-Officer Employer agent. os

in 2021-Schaffer tosses Tim Sini under the Bus without Causation 30 days before General Election

in 2023-Schaffer Eliminates Election Processes for Township of Babylon Races; forcing a Primary against
ONLY Female Elective Officer-Town Assessor

In 2024-There are no Nomination General Meetings for State offices inclusive of the 12th AD,

Richard Schaffer is a Paid Party Employee intentionally violating his Role as Chair; of the Business
organization; Suffolk Democrats which has oversight of Huntingtin Dernocrats-a Subdivision of State
Democrats.

Where is Schaffer's guidances and or Accountability?
Two State Elective Officers resigned this year in Suffoik

Kim Jean Pierre-NYS Assembly
Erad Thjala-NY" Accamhbhiyv
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 159 of 310

To: Rich Schaffer <rich.suffolk@gmail.com>
Cc: Mary Collins <chairhidc@eptimum.net>, Luis Monies <luis,montesamaya@gmai.com>, Peter Casserly <pmcass48@gmall.com?, Jerzy Kruszinski <jkrusztinski1 @gmaii.com>, Kevin

Bonnar <kevinthonner@gmaii.com>, Matt Jannings <matl@suffolkdams.com>, Keith Davies call <kaithdaviasS@gqmai.com>

Great,, I list of who is a member of the caucus is necessary. As you have farwarded my information to everyone here. [t would be nice if they get to know me as me and not as this email.
Feel free to reach out if anyone wanis to have lunch,

Have a fantastic day.

Maryann
631-644-5765

{Quoted lexi hidden] -

Rich Schaffer <rich.sulfolk@qmail.com>

To: Maryann Maltese <maryannmaitese 1000@gmaii.com>
Co: Mary Collins <chairhtdc@optimum.net>, Luis Monies <iuis.montesamaya@gmal.com>, Peter Casserly <pmcass48@gmail.com>, Jerzy Krusziinski <jkruszlinski1@gmail.com>, Kevin

Bonner <kevintbonner@gma#.com>, Matt Jennings <matt@suffolkdems.com>, Keith Davies cell <keithdaviesb@gmaii.com>

Matt: Can you get Maryann a copy of the committee fist for 1Zth AD? Thanks

{Quoted text hidden}

Matt Jennings <matt@suffolkdems.com>

Te: Rich Schaffer <rich.suffelk@gmail.com>
Cc: Maryann Maltese <maryannmaliese1000@gmail.com>, Mary Coffins <chairhtde@optimum.nel>, Luis Montes <luis.montesamaya@gmail.com>, Peter Casserly <pmcass4B@gmail.com>,

Jarzy Kruszlinski <jkruszlinski1@gmail.com>, Kevin Bonner <kevintbonner@gmaii.com>, Keith Davies cell <keithdavias5@gmaii.com>

Sure thing. Piease see attached...

{Quoted text hidden!

Maiti Jennings

Executive Director
Suffolk County Democratic Committee
Office: (631) 439-0400

a AD-12 Committee Member Info.xlsx

38K

Maryann Maitese <maryannmaltese1000@gmail,com>
To: Rich Schaffer <rich.suffelk@gmail.com>, Mary Collins <chairhtdc@optimum.net>

Tue, Dec 31, 2019 at 12:09 PM

} got a copy of the list. fs there a reason no one from Huntington or West Isip is listed as a Democratic Caucus Member?

[Quoted text hidden]

Rich Schaffer <rich.suffolk@gmail.com>
To; Maryann Maltese <maryanomaltese1G00@gmai.com>
Ce: Mary Collins <chairhide@optimum.net>

They have separate tabs at the bottom of the sheet, one for Huntington Town and one for Islip Town

[Quoted text hidden}

Jerzy Kruszlinski <jkruszlinskt @gmail.com>
To: Maryann Maltese <maryannmattese1 000@qmait.com>
Cc: Kevin Bonnar <kevintoonnar@gmail.com>

‘Good Afternoon!

Thu, Jan 2, 2020 at 11:49 AM

Thu, Jan 2, 2020 at 12:24 PM

Thu, Jan 2, 2020 at 2:38 PM

Chairman Rich Schatfer requested to send an updated contact list of the higher tier commiftee members in the Town of Babyion’s 12th Assembly District. You will find thal thase committee me
overall AD-42 Committee Member ist.

Fhatagmes Lasinanis NAME : ADDRESS FOWN MAILING fie Phone Hore Phone Phone 2
Janice James JANICE JAMES 323 W 20TH ST DEER PARK NY 14729-6347 (631} 806-7985 (631) 589-1316

Karen Grescione KAREN ACRESCIONE 24 NANTUCKET LN DEER PARIS NY 14729-1013 {631} 897-1645 j (631) 667-1499

Rosanne Erraria ROSANWE ERARIO 335 BALDWIN PATH DEER PARK NY 11729-1412 631-827-9546 631-392-1519

Denise Graziano DENISE GRAZIANG 85 WRIGHT AVE DEER PARK NY 11720-2807 (631) 687-3909

Domenico Russo DOMENICO J RUSSO 7 ST CLAIR ST DEER PARK NY 11729-3509 (516) 316-7163 |{(516) 318-7163

Catherine Hyde CATHERINE E HYDE 700 W 16TH ST DEER PARK NY 11729-4008 631-827-1611 1 (631) 586-4807

Marco Parodi MARCO PARODI 63 W43TH ST DEER PARK NY¥ 31729-4051 (6343 565-5032

Carol Quirk CAROL QUIRK 137 W7TH ST DEER PARK NY 41720-5011 (634) 604-2560 |(631} 242-0998

Maureen Bailey-Trece MAUREEN BAILEY-TRECO [287 W 2ND ST DEER PARK NY 11729-6516 (914) 320-0052 |(631) 242-4716 [631-316-6602
Thomas Donnelly THOMAS DONNELLY 298 W 7TH ST DEER PARK NY 11729-6545 (631) 926-5226 1(631) 243-0654

Michaal Cafaro MIGHAEE GAFARO 22 GAULTON DR N BABYLON NY 11703-2306 {631} 949-6506 | (631) 243-1427

Kristi Reynolds KRISTI REYNOLDS 15 LEEDS LN N BABYLON NY 14703-2907 (634) 985-2346

James Valente JAMES M VALENTE 20 MOHAWK AVE DEER PARK NY 11729-2467 631-667-5872 | 631-745-9382

John Beck JOHN BECK 21 PARLIAMENT PL N BABYLON NY 14703-3309 516-578-2363 | 631-586-7138

Hope this heips!

Jerzy Kruszlinski

Town of Babylon Democratic Committes

(Quoted text hidden]

_ Thanks,

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& AD-12 Committee Member Info.xlsx
= 38K

Maryann Maltese <maryannmaltese1000@gmaif,com>
To: New York State Democratic Committee <info@nydems.org>

Tue, Feb 15, 2022 at 2:44 AM

vay and Kathy,

It's one year since the February 15, 2020; Nomination Meeting was called and scheduled. | began inquiring of the matter as of 14/2019 as Raia vacated the seat in June 2949, That's 48
months-without a Member in Office alone-seeking Legislative relief as an Employee. of the NYS Assembly or Former Empiayee of NYS Assembly, A number of business oriented emails
transpires hetween Rick Schaffer and Matt Jennings-2 paid Emptoyees by Suffolk County Democrats-which NYS State Committee has oversight of.

Anomination email on candidates was received and resume sent.

There is no reason for Rick Schaffer to have run the 2020 Specia} Election Nomination meeting 1 year ago today Unethically and Unprofessionally, | was invited to attend as a Nominee
and even within NYS Board of Elections rules of seeking offices-an interested Mamber of the Community can aifend; stating their interests in as well to seek efection office.

Why. Rick failed fo run an athical meeting in it's entire process was his personal decision making. | received confirming emai{ heyand the attached the emails; that the Meeting was calied
for 8:20am and [ waiked into tha Meeting Center 8:37am to a Full ROLL CALL Vote already in process,

| was advised to [ake a seat in the front row and 2 other, nominees were sitting there. As rolf call was being read out-to place their public vote; | asked another candidate sitting next to
me-"Was their Nominee Introductions". Averim advised me-"NO-the decision was already Made". To which | raised my hand; to respectfully seek-and Ask Richard-why he didn’t offer
“Introductions and opportunity for Nominees 3-5 minutes of Floor time for Nominee Introductions".

It was then-that Richard laughed in my. face; Stating-Everyone Knows everyone and intreductlons are not required. | Interjected seeking my Right under Robert Rules of Order for
Prafessional and Courtesy as an Invited Nominee to address Stop the Roll call yofe and grant myself and the other Nominees the Opportunity. to Have Floor time.

instead of doing so-Richard; continued to mock me; end in doing so-Advised a Room of attendees attached below; that-""OHHH this Maryann; Perhaps You've seen her Posters around
Town-SHE is CUTE". .

Instead of Running the Meeting Professionally; Rick decided intentionally to run Incite with Sexual Charged referencing to the Only Female Nominee in the room and he continued to
embarrass Me as if! do not have Professional Background in Legislative Service to be extended Chair-courtesy. Under no circumstances during November -February did | encourage
Mr. Schaffer {o develop any form of Attractive or Suggestive emotions for this Chair who earns-to treat to me disrespectfully and fo Run a Nomination Meeting as a Dating Center.

These actions are grounds for immediate dismai as Chair of the Suffolk County Democrats; a Paid for Employment Position. Since February 15, 2020-Matt Jennigs is no ionger employed
with the Parly and | did have a witness attend with me, As Richard was unwilling to extend my Professional Courtesy. and keep his Discriminatory comments going: | lef a raom because
a Mob of Individuais (Nomination Gommiltee} was being egged on as well-to incite further Hostile environmeni,

| have Legalsuit against Richard and Suffolk County Democrats in Suffolk Supreme and have sent Jay emai version complaint,
I'm asking for Chair to be fired and civ compensation required if that does not Occur for defametion of character.

in my 30 years-I never seen a Chair; not grant Nominees Professional Courtesy even if the Nominee walked into a Meeting; 1 hour late as ofien Clubs have meetings scheduled same
dayfnight. There was no Incumbent Member-for Ghair to have the ultimate authority to invoke their Privilege of non introduction and as this was a Professional Called for Meeting on
Nominee selection, Richard had the Obligatory responsibility to grant the Nominees and voting Members courtesy.

This year as well; I'm seeking the Nomination for US Congressional 3rd as it's being vacated as well, | also implied interest in AD 12.

What is the status of Naminalion required meetings vitally or in person? and the decision making of the State parly on Maryann Maltese v. Richard Schaffer; if index number is required
Jay and Kathy it's been forwarded under separate email coverage. Norninees take time out of their lives to be available and we ail understand that we're taking fime fram our Crigin
Profession to run for Offices-therefore; } do understand or accept the intolerable conditions Rick Schaffer decided on in his Decision to run the 2020 Speciai election nomination meeting
for i seal,

| apareciate learning of the status of Both-Decision making cn my complaint and who is Accountable for Running the 2022 Nomination Meeting, | do believe Rick has inappropriately
treated other Female Nominees unfairly and within Sexually driven commentary, It's this committee's obligation to speak out and up.

Rick is earning a living as a Public Elected Official and is a Practicing Private Attorney. Is the seat for Sale or we have a Process? Richard decided to run the meeting Hostile bebween
Nominees; ony additionally granting 2 Nominees as advised to me by 1; that He was included in a Separate Meeting decision making-3 was not additionally extended this courlesy,

Thanks for the time this evening. You can reach me 631-644-5765,

Maryann Maitese

49 Ringier Drive

East Northport, N'Y. 11734

631-644-5765.

[Quoted text hidden

a AD-12 Committce Member Info.xlsx
38K

Maryann Maltese <maryanomaltese 1000@gmiail.com> Sun, Oct 29, 2029 at 6:43 PM
To: “Anthony M, LaPinta" <ami@lapintalaw.com>, New York State Democratic Committee <info@nydems,org>

Anthony-

| can save this for tomorrow-but It's after Spm and every one involved in index-is permitted to have More than One source of Income; like your Client while I'm waiting for my Pension as a
Fuil time EMPLOYEE for 29 years within Legistature.

Remind your clien?-| wasn'l the DISH-fo Fuck with. Perhaps Richard-didn't get the MEMO-or read the Resume.

That's on Richard,

Richard deserves to be FIRED-terminated for Breaching his PG Oath within the Poiical Party and so forth,

Here's a List of Democrats whereas a Female Nominee in 2020-was treated as a Prostitute vs PO,

As a Courtesy Anthony as well-l'm going to remind YOU; | paid into the State Pension and my Service LIFE is impeccable.

Perhaps if your cent Considered Women as People vs Sex OBJECTS where an open roll call vote was in Process ef Time of Meeting notice-then; Richard might not have breached his
ethics,

Thies im mri ten mnen en edie abcess becah mteintlos mosses Pk
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{hope the NYS Democratic Parly is paying your hourly fee. Whatis the Party's Malpractica Carrar? inquiring Judiciary minds are required to receive-the State PoStical Parly; the Suffolk
Caunly Chapier js not Self Sovereign.

The County Governmant as well-as | sent in the Prior email is using the State Taxpayer website to advertise Races-they are not the State Board of Elections.
County Government-is not Authorized to LIST ANY nominee for Elective offices,

Let me know when Richard is resigning and Post 2020; Other Nominees have other serious compiaints against Richard as Chair. if Chair Guided County Executlve Officer incorrectly this
year-te Post the Elections races of 2023 on thelr Websjle-thal TOO within Motion is direct means to be Terminated as At Will Chatr Employee of Political party.

APO without their Active and Inactive-is a violation of YOUR clients intentional decision making.

Ask Tim Sini-how he sees Richard Schaffer too-fm happy to ask him fo be a Professional Witness as a former NYDA,

I'm so glad we had this Discussion foday as Mutual holders of the NYS Constitution. There is my poster-that Richard labeled me as CUTE vs PO.

Again-perhaps if Richard actually Cared about Democratic Parly-Suffolk-better Mentor for Nominees woud ba Consideration. Steve Bellone might be a Good Chair as of 7024,
Best regards,

Maryann Maltese

~~----- Forwarded message ---------

From: Jerzy Kruszlinski <jkrusziinskit @gmail. com>
Date: Thu, Jan 18, 2020 at 7:53PM

Subject: Re: Happy Holidays

To: Maryann Mailese <maryanninaiese 1000@qmail.com>
Gc: Kevin Bonner <kevintbonner@gmail.com>

[Quoted text hidden}

3 attachments

a) AD-12 Committee Member Info.xisx

3aK

Antheny M. LaPinta <aml@lapintalaw.,com> . Sun, Oci 29, 2023 at 9:49 PM ~

To: Maryann Maltese <maryannmaltese1000@gmail.com>' ~
Ce: Naw York State Democratic Committee <info@nydems.arg>

Ms. Maltese.

There's no need to go back and forth with this on emails. You are entitled to proceed with yaur litigation and we are entitled to defend it. Let's please keep our correspondence within the
various lega} discovery options available {to litigants and not by neediess, spontaneous and derogatory emails. Thank you.

Anthony M. La Pinta, Esq.

Reynolds, Caronia, Gianelil & LaPinta, P.c,
200 Vanderbilt Molter Parkway

Suite C-47

Hauppauge, New York 13788

Tel: 631-231-1799

Fax: 634-300-4380

Emalk: anthony@lapintalaw.com

Web page: lapintalaw.cam

On Oct 29, 2023, ai 5:43 PM, Maryann Maltese <maryannmaitese1000@gmaii.com> wrote:

{Quoted text hidden}

<AD-12 Committee Member Info.xisx>
<IMG_4752.jpq>

<IMG_1346 jpg>

Mon, Set 30, 2029 at 8:46 AM

Maryann Maitese <maryannmaliese 1000 @gmail.com>
To; “Anthony M. LaPinta” <aml@lapintalaw.com>, New York State Democratic Committee <info@nydems.org>

t do undersiand that-but You should advise vour Client to concede.
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Schaffer has not SCHEDULED nomination meetings for 3 NYS Assembly seats in 2024 and as far as Suffolk
County Democratic Party website-Chair has left names of the Retiring Officers as Current Officer-defrauding
the Public and myself.

Public integrity violations are not on the end of Maryann maltese but on the End of Chair Richard Schaffer for
6 General Elections from 2018-2024.

Schaffer is building his Personal wealth at the Hands of Public Officers inclusive of Maryann Maltese and
Perhaps Former NYDA; Tim Sini.

Like the Former State Independence Party; if Huntington Democrats don't have the assets and or ability to
cover their Business Insurance, then Voluntary dissolution is being responsible to 'Larger Democratic
Organization" of NYS.

Schaffer is of Counsel-has he advised NYS BOE of Required Political Party filings and ‘Voter Registrants
between" between 2 Clubs; Huntington and Suffolk.

Schaffer is bleeding myself as PO to set Smokescreen and mirrors for his ONLY willful actions as Chair. and
Schaffer is not inclusive in WELCOMING loca! democratic voter registrants to the Suffolk County PARTY.
There are no required meetings as well monthly on a consistent basis to Build Consensus of Like minded
Democrats as a Business organization Political party must do.

Please note my complaint as | filed litigation and | have a Notice of Claim pending. However-looking inward-
Richard Schaffer retaliates against Women at large and when a Female Public Officer questions any actions-

he retaliated.

Chair Retaliated-and within his teadership CHAIR SCHAFFER is not mentoring, Schaffer is not sponsoring
Voter drives and Schaffer is avoiding his Required Oath to the Business Organization requirements as Chair
since 2018-forward.

Schaffer as well bleeds women seniors so they'll fall into Foreclosures and if these households live around
"Schaffer's Projects"; he presses them to sell.

Example;

~ GEIGER PARK-Properties adjacent to the Corners of Geiger; Schaffer is denying these homéowners; Property
tax exemptions as Town Supervisor. Maryann Maltese is a licensed NYSDOS Sales Associate as well with
Public Officer Service-first-not last like Richard Schaffer.

Schaffer is a Broker first-then a Chair-that's how Schaffer operates from 2018-2024-he preys on the Poor-he
Acts like he Befriended you-then He Looks to eliminate if you're in his way-without Party consensus.

Investigate Schaffer-my ethics is Solid tron Clad.

Please advise,
Maryann Maltese

woeeeeee Forwarded message ---------

From: Rich Schaffer <rich.suffolk@gmaii.com>

Date: Sat, Dec 28, 2019 af 3:59PM

Subject: Re: Happy Holidays

To: Maryann Maitese <maryannmaltese 1000@gmail.cam>
{Quoted text hidden]

{Quoted (ext hidden]

Maryann Maltese <maryannmaitese 1000@gmail.com>
To: nublic inteqritviaad avacy

Wed, Jun 12, 2024 at 9:48 AM
Case 1:24-cv-01175-BKS-ML Document1 Filed 09/11/24 Page 163 of 310

NYAG Submission #1-875144132
Below is the rooster of Democrats of 2020-what is the Current Membership of Suffolk County Democrats?

Please provide the Additive Members from 2021, 2022, 2023 and 2024 that decided my Faith of not granting
me a "Nomination: and or not Hosting Nomination in 2022, and or 2024,

Who else can be asked; Nancy Goroff; a Nominee-non-Public Officer; US Congressional 2020 and 2024.

Under Nancy Goroff-how many NEW Democrats have been accepted as Members of Suffolk County
Democrats in 2024? Any?

Under John Avion-how many NEW Democrats have been accepted as Members of Suffolk County Democrats
in 2024? Any?

Under Maryann Maltese-How many NEW Democrats have been accepted as Members of Suffolk County
Democrats in 2018, 2020, 2022 and 2024?

Under Tim Sini-How many NEW Democrats have been accepted as Members of Suffolk County Democrats in
2016-2022?

Under Gretchum Lubia-How many new Democratic Voter Registrants were Accepted into Suffolk County
Democratic Organization? ANY?

Has Richard Schaffer-successfully placed any New Democrat into a Non incumbent seat since 2018? No.

And how many years are State Democrats Paying Richard Schaffer; as Democratic Party is a State
BUSINESS ORGANIZATION? 8? or 10?

In the years that Schaffer has been a PAID employee-what reasoning would State Party as a Business
Organization grant a Reason for Schaffer to receive Salary Increases as CHAIR?

Pay raises are due to performance-who is Richard Schaffer assisting as a Democrat? Richard is the Chair
of "BUSINESS ORGANIZATION" Suffolk Democrats-then-where is his accountability?

Where is is his accountability to maryann maltese as Public Officer of NYS Assembly employee as in
ADVOCATING in 2018 for my offer of End of Service or 'Nominee"?

Itis Schaffer keeping women PO without Rights in Service-willful.

Get to work Public Integrity as my Service is INCREDIBLE and a s Democrat-I never intentionally slaughtered a
Fellow Democrat.

Strangled them until Lifeblood was gone.

Were officers; Richard and Maryann-if not the Nominee-then; ADVOCATION for prime Bill language-and
instead-Schaffer turns the meeting into a Dating SHOW in 2020.

isn't Maryann CUTE-vs Maryann is a Honorable dedicated Officer.

Regards,
Maryann Maltese —

u- Forwarded massaae -.
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Date: Thu, Jan 16, 2020 at 1:53 PM

Subject: Re: Happy Holidays

To: Maryann Maltese <maryannmaltese 1 000@gmiail,com>
Cc: Kevin Bonner <kevintbonner@gmai,com>

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a} 4D-32 Committee Member Info.xdsx
38K

Wed, Jun 12, 2024 at 9:49 AM

Maryann Maltese <maryannmaitese1000@gmail.com>
To: public.integrity@ag.ny.gov

NYAG Submission #1-875144132

These registrants are they Certified Democrats or Republicans?

Please advise.

tee Farvarded message ------—

From: Jerzy Krusztinské <jkruszlinskii @gmail.com>
Date: Thu, Jan 16, 2020 at 1:53PM

Subject: Re: Happy Hofidays

To: Maryann Maltese <maryannmaltese 1000@qmail.com>
Ce: Kevin Bonner <kevinlbonner@qmail.com>

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4) AD-12 Committee Member [nfo.xisx
— 38K
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Suffolk County Democratic Committee
Rich Schaffer, Chairman

1461 Lakeland Avenue, Suite 3
Bohemia, NY 11716

Phone (631) 439-0400

Fax (631) 439-0404

Suffolkcountydems.com

February 2020

TO: County Committee Members in the 12" Assembly District
FROM: Rich Schaffer, County Chairman

RE: Nominating Convention — February 15, 2020

In accordance with Article VI, Section 1, of the Suffolk County
Democratic Committee Rules and Regulations, there will be a
nominating convention for Assembly District 12, on Saturday,
February 15, 2020. A vacancy exists in this office.

It will be held at:

TIME: 8:30 am

PLACE: Constantino Brumidi Lodge

2075 Deer Park Ave
Deer Park, NY 11729

Please attend this very important meeting.

RS/dm
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 166 of 310

Po Cmail Maryann Maltese <maryannmaitese1000@gmail.com>

Meeting Saturday for AD-12 Committeemembers
5 messages

Matt Jennings <matt@suffolkdems.com> Thu, Feb 13, 2020 at 9:47 AM
Co: Rich Schaffer <rich.suffolk@gmail.com>, Avrum Rosen <avrumrosen@rosenforassembly,com>, Michael Marcantonio
<Marcantm8@gmail.com>, Maryann Maltese <maryannmaltese1000@gqmail.com>

Committeemembers,
A meeting has been called fo name a candidate in the upcoming Assembly District 12 Special Election.
Formal meeting notices were mailed on Tuesday. The meeting notice is attached below.

The meeting will take place this Saturday, February 15th, 2020 at 8:36 AM at the Sons of Italy, Constantino Brumidi Lodge
at 2075 Deer Park Ave, Deer Park, NY 17729.

We look forward to seeing you there.

Matt Jennings

Executive Director

Suffolk County Democratic Committee
Office: (631) 439-0400

2) Meeting Notice Nominating convention AD 12 February 2020 (Autosaved).pdf
— 153K

Maryann Maltese <maryannmaltese 1GO0@gmail.com> Thu, Feb 13, 2020 at 10:29 AM
To: Chris <chris@designatronix.com>

You ready?
(Quoted text hidden]

ay Meeting Notice Nominating convention AD 12 February 2020 (Autosaved).pdf
— 153K

Thu, Feb 13, 2020 at 10:30 AM

Maryann Maltese <maryannmaltese1000@gmail.com>
To: Kayla Crowe <OQcrowe00@gmail.com>

are you free tomorrow?

aaneeenen= Forwarded message ---------

From: Matt Jennings <maitt@suffolkdems.cam>

Date: Thu, Feb 13, 2020 at 9:47 AM

Subject: Meeting Saturday for AD-12 Committeemembers

Ta:

Cc: Rich Schaffer <rich.suffalk@gmail.com>, Avrum Rosen <avrumrosen@rosenforassembly.com>, Michael Marcantonio
<Marcanim8@gmail.com>, Maryann Maltese <maryannmaltese1000@gmaii.com>

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a Meeting Notice Nominating convention AD 12 February 2020 (Autosaved).pdf

Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 167 of 310

Maryann Maltese <maryannmaltese1000@gmail.com> . . Thu, Jul 2, 2020 at 1:01 PM
To: invitations Office <Invitations.Office@exec.ny.gov> C ove eau Ctad as +»)

Governor,

| expressed interest in running as the Party Candidate in 2018; whereas the party selected someone else. | realize this
isn't the correct email, but you need to hear how | as a Professional Woman of Legislative Process has been treated by
"the gold ole boy network" of Suffolk County,

On January 14th, 2020-! touched base with Chairman on setting up a meeting to determine who would be the candidate
of the 12th-whereas he didn't have a scheduled date for the meeting

Finally, Below-is the Email whereas Matt Jennings and Rick advised me the “Caucus Meeting scheduled at 8:30am. |
walked in to a ROIl call vote in process at 8:37am.

There was no introductions and there was no candidate courtesy of 3-5 minutes to speak to Suffolk County Democrats. |
have 30 years of Campaign Management | have never seen a Party Chairman or Chairwoman be so ignorant in their
role. Rick makes $120,000 as the Chairman alone. | have made no Commissions-but this moron and that's what he is-
disrespected me as Female of Process with the same level of experience as him.

Rick Schaeffer-refused fo introduce me or any other Candidate in the room running for the 12th AD. Proclaiming-
everyone knows everyone Maryann, but ohh by the way...this is Maryann-maybe you saw her posters around; they are
cute. was ricks direct response to me after inquiring-why is the Chairman calling a roll call vote when no candidate in the
room received courtesy of acknowledgement.

Our National Charter of the Democratic Party recognizes under Robert Rules-protocol with Quorum for taking a vote and
commen courtesy at a meeting extended to Committee Members and those of us placing ourselves in asking to be their

new leader.

I's the 100 year of Women's Suffrage and 100 years only that we can seek to be LEADERS and for Rick Schaeffer who
makes $120,000 as the Chairman of Suffolk County Democrats to not recognize me in meeting-is a violation of his duty
and he should be removed immediately.

That was February 13th, 2020

On Feb.24, 2020, a Commack Librarian felt himself up while at the Commack Library Help station and as he knelt down
one knee to assist me with the program he felt himself up and asked me,’ Is this better", This situation was reported to
the 2nd Precinct and to Commack Library Joanne Albano, 631-499-0888. No not really.

It was reported to the 2nd Precinct and to the Library on March 11, 2020-it wasn't Pandemic oriented Governor; buta
smack again to women challenging power.

NYS Petitioning as a Democratic Delegate commenced on February 25, 2020 and on March 7th-you called a State of
Emergency Pandemic Health care oriented. You introduced EO 202.2 “reducing my time span" as a Challenging
candidate while providing “party endorsed candidates" with time to come into compliance during a pathogen
acknowledged pandemic-instead of declaring "delegates “halt your "witness and collection” of signatures...until further
notice. You indefinitely postponed Independent petitioning the same day-so you obviously understood the ramifications of
your declaration.

Being in Campaign Management for a number of years has shown me some ugly things-but the above is by far the
worse. Thankfully { have a witness that walked into Democratic Suffolk County Meeting with me and he too-was surprised
that a roll call vote was in process and i NEVER received change in Scheduling of the appointment to arrive 30 minutes
earlier than 8:30am on February 13th, 2020 at the Lodge where Rick calls his meeting In Deer Park.

Lets continue; Prior to February 13th-Gina (Deer Park Civic Assn) in January-! have the email. Decided to reach out to
me at my place of employment; Brentwood UFSD, by advising me; I'm not invited to their Civic Meeting ever as a
candidate which is not legal and then SHE proceeded to email me about "me teaching lesson” while teaching. Is GINA an
employee at Brentwood UFSD's Superintendent's office? No-she is not. She and Carol (ANdrew Raia's cousin) oh Carol
informed me so at a Public Meeting where Schaeffer and Brown attended too-that | could not stand outside the meeting to
circulate my delegating petitions-but Gina’s allowed to email me about the lesson pian | taught during School-Middle
School | might add. Date and times to be provided.

Cina-is a pawn of Rick's. Perhaps a precinct should iook into her behavior as | have never reached out to her employer
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 168 of 310

Now, | hope to see you at my Court Challenge to run for the seat, and again, Mr. Rick-Chairman $120,000 paid position
needs an updated democratic list to actually take a roll call vote-i don't think there was a quorum on 2/13/2020 and he
should be removed as the Democratic Chairman because I'm not the only female candidate he's been inappropriate with
and unprofessional.

Women who want to be leaders-should not have to tolerate: wolf calls or Chairpersons stating publicly in front of Male
Voting Members...No Maryann...i'm not going to introduce you: you're late (7 mins) but have you seen Maryann‘s
posters...they are cute, From there it's been Male after Male-jerking off or rubbing themselves all over the district. This is
why Rick needs to be removed as the Suffolk County Chairman-because he doesn't lead by example.

| hope to see you at our EO Court Challege as I'm still the Delegate. Interesting...Suffolk Supreme seems to think they're
not the right “court jurisdiction" to hear my case? But Polenz-aka Brown v. Marcantonio had a virtual hearing index
number 2020-01569..to discuss knocking off people from Mike's petitions etc...again Child's play; but the interesting thing
that did develop from their case is; “Suffolk Supreme Court” approved their virtual hearing. But Maltese's Index number
2020-01568 is in the wrong jurisdiction pertaining to election law. Why?

I'm a Professionai-just like you Governor.

Have a nice day,
Maryann Maltese
631-644-5765

19 Ringler Drive

East Northport, NY. 11734

ween nc oon Forwarded message ---------

From: Matt Jennings <matt@suffolkdems.com>

Date: Thu, Feb 13, 2020 at 9:47 AM

Subject: Meeting Saturday for AD-12 Committeemembers

To:
Cc: Rich Schaffer <rich.suffolk@gmail.com>, Avrum Rosen <avrumrosen@rosenforassembly.com>, Michael Marcantonio

<Marcantm8@gmail.com>, Maryann Maltese <maryannmaltese1000@gmail.com>

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Maryann Maltese <summertime57 @icloud.com> Tue, Jun 20, 2023 at 9:02 PM
To. maryann Maltese <maryannmaltese1000@gmail.com>. oo . De mons

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42) Meeting Notice Nominating convention AD 12 February 2020 {Autosaved).pdf
— 153K
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 169 of 310

Maryann Maltese <maryannmattese1 110@gmail.com>

Happy Holidays
17 messages

Maryann Maltese <maryannmaltese1 000@gmail.com= Tue, Dec 24, 2019 at 12:44 PM
To: Rich Schaffer <rich,sufolk@gmaii,com>

I'm fouching with you because both Mike and # will need either an Attorney to represent us to be a candidate for ihe NYS Assembly Seat.

We both have a NYS residency issue. Mine, has a better Fact Pattern as | have not casted a vote outside of NYS territory. i lived in Florida for 20 months and retumed to NYS in June
2045 to the "same address", As a NYS Public Empioyee from the NYS Legislature there is "no reason why 1 should not be granted an Affidavit or Waiver of these restrictions”. Thare’s
been no break in ownership rights and my primary address is 19 Ringler Drive, Enpt since May 2001.

The last Blection cycle | gathered over 400 signatures by myself and was rejected from the line ailhough parly candidates were granted an extension of fime to gather signatures for the
line by Suffolk County BOE. I’m not going fo address that with you, but bring # {9 your aitention, but accept the reasons.

This time around will not be so amicable. Mike will not qualify unless he's able fo fight the present precedent he sel by ihe court case.

| meet the requirements for candidacy with the party's support or ?'m going to make It public every day and perhaps Leaders can answer the questions of why | was being rejected when
fm in good standing.

Additionally, as a fellow Democrat, ! reached oui to other candidates on my own to work with them-they took the position of sejection. 1t won't be tolerated, and no | don't have respect for
Andrew Raia, But did Suffolk County Dems report the campaign abuses that Raia, and his followers pursued? | reported them-did you?

I'm not being emation but perhaps #f you had taken a meeting with me as | have asked you several times, then you would hear it In my vaice, that I'm not emational but ANGRY, | don’t
send emails around to the papers-this one Is directed to you.

Here's severai election ideas going forward.
i'm going to introduce the Bi that wilt include Tier 3 Tier 4 NYS Legisiative Staffers to receive one of the following if the Governor doesn't:

Retro Activa COLA Allowances

Reinstatement of Employment Benefits swiped away for Tenured Parsonal during GCuomo's two Probes and not reinstated,

Equal Pay for Equal work; pressing the need that FEMALE Managers/Staffers in NYS Legislature receive 100 pennies for every doliar they earned less than Male staffers with the same
duties or work responsibilities. | am one of them .

The Home Construction Not-For Profit Bill they are tcoking for

Bill for Substitute Taachers on Lang Island making less than $17.00 per hour and Long island Bus Drivers are making biw $22-24.00 per hour, Do we see an issue with this? [ff ihe
indivdual Townships or School Districts don't do it-4 will introduce the Bili language in NYS that will Force them to, Oh-!'m one making less than $17.00 to leach 26-30 minds every 45
minutes, I'm pratty sure 1 can manage the meeting.

Access to Huntington Beaches for Registered Dog Owners it does not exist here and we have 2,000 follawers. I'm going to introduce the bill that will make it happen.
| have others Richard and these are mine and not the other Candidates.. I'm not a one issue candidate and $ live here.
What more do you want to know so thaf you call me:

Involved in Brooklyn Waterfront Revitalzation Project
Bayside Business Association BID

i have asked the Governor for a Meeting. | will Primary there is no doubt in mind.

| want you to have a lovely holiday. liook forward to the meeting.

Rich Schaffer ¢rich.suffolk@gmail.com> Sat, Dec 28, 2019 at 3:59 PM
To::-Maryann Maltese <maryannmattese 1000@gmatt.com> . . Soe ” : oe ” : ss nO coe
Ce: Mary Collins <chairhide@optimum.net>, Luis Montes <luis.montesamaya@gmail.com>, Peter Casserly <pmcass48@gmail.com>, Jerzy Krusziinski <jkruszlinskii@gmail.com>, Kevin
Bonner <kevintbonner@gmail.com>, Matt Jennings <matt@suffoikdems.com>, Keith Davies cell <keithdaviesS@gmail.com>

Sharing with all of you fram another candidate interested in 12th AD
[Quoted text hidden}

Rich Schaffer
546-429-3763 (cell)

Maryann Maltase <maryannmattese 1000@gmail.com> Sun, Dec 28, 2019 at 11:14 AM
To: Rich Schaffer <rich.suffolk@gmail.com>

Ce: Mary Collins <chairhtdc@optimum.net>, Luis Montes <luis.montesamaya@gmail.com>, Peter Casserly <pmeass48@gmail.com>, Jerzy Kruszlinski <jkrusztinskif @gmail.com>, Kevin
Bonner <kevinihonner@gmail.com>, Matt Jennings <matt@suffolkdems.com>, Keith Davies coll <keithdaviess@gmail.com>

When's the meeting?
(Quoted text hidden}

Rich Schaffer <rich.suffolk@gmail.com> Sun, Dec 29, 2019 at 2:23 PM
To: Maryann Maliese <maryannmaltese1000@gmail.com>

Ce: Mary Collins <chairhtdc¢@optmum,net>, Luts Montes <luis.montesamaya@gmall.com>, Peter Casserly <pmcass48@gmail.com>, Jerzy Krusziinski <jkruszlinski1@gmail.com>, Kevin
Bonner <kevintbeansr@gmail.com>, Matt Jennings <matt@sulfoikdems.com>, Keith Devies ced <keithdaviesS@gmail.com>

Once the Gov calls the Special a calendar will then be set and we can then schedule the ¢ Is meeting
tQuoted text hidden]

Mon, Dec 30, 2019 at 40:29 AM

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reg

James Gaughran drops out of Huntington supervisor
face .

bybrkOrd
Prtear

thse

Bearer Suflork Legit. rns Gh yhtov has Seemed tt tht tasa eg lee ti ety dena

Sap gheaa-tatthe 125 ply tle ant ath Sullelh Damacaba chutes Rehord Schuttas Tussdoy sodthe puke
Heater asked? Sa nadtosech Ihenarieaton

thet sgen! “Pah leaks re Pastad wa sandy
micputein And Fimgvpnontnzo.rdeaite®

eee
‘Serving Long island Since 1984."
. wweeuniversehonteseeyvices.com | *

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herahonn furetiy tee atthe Hast Courtny Clb Tyerdeystut drewrere than 75d,

wake
ft

Amis a pee aed Isveke bon aban ce Frock abd Urhals
(pa bows the bev foo] Rarward ata Frark adit [Cuthbertuen| eich teen toured Cand dates Schutter ord.

Sear! or dade aay ler thegaurty +
reacgyrement as $Y 200. ee ob rem id bes Salto Coan ty bales Buln p Whe fll tezis tature os en pes
tavstans snenhice pur tenu be Grughrancent foertog

Bewley TY nrcacecsow

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per ratte pact of poeeet storms and rhe.
Parser reals caLarpidad bantes by riety Te
drchorl spentee tery Egeland

Rstresunlenc od HeeteaT tear

Here Is Why You Have to Ventare North of Yellowstone This Summer
Av Moe CHUN YER Te. Cott
Eq hvenechoys asi unteuheld snipes tes muri ate ieee

Didn't find what you were loaking for?

End Up Here..Cealt your orn adventure,
, FREM RIVERHEAD FG ORIENT & LIDRTAL
TIE KORTH FORK & THE HAMPTONS
Weng LOL Fed 10 GTS PTT

EASTENDGETAWAY.CEM |
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et [eE

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‘ Grail Maryann Maltese <maryannmaitese1000@gmaii.com>

Meeting Saturday for AD- 12 Committeemembers

Maryann Maltese <maryannmaltese1000@gmail com> Fri, Sep 6, 2024 at 4:14 PM

To: Rich Schaffer <rich.suffolk@gmail.com>, New York State Democratic Committee <info@nydems. ‘org>,
Press. Office@exec.ny.gov
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Richard.

Where is the Meeting Notice for Election 2022 and 2024?

There is no Nominee in 2024 and Calendaring required by August 9, 2024.

As High Officer-you are required to submit my name for Nomination.

As High Officer-you are required to ensure Time Management of my State Pension as At will.

What is your Party Chair Salary? You are required to disclose.

Or Terminate tonight-as | expect you too.

Richard Professionalism you intentionally Lack on at Political party business organization required Charted.

This is a Higher Offense than an Average little Infraction with a Slap on the wrist and lets keep paying an active salary to
Richard Schaffer as Chair.

Richard-how many Monroe residents are you dating?

And the Reason is none of us as educated women in Suffolk with a Master's tolerates Intentional Sexual Harassment from
Employer Operator.

Perhaps no one wants to take a Photo with Richard Schaffer these days.

My Service is Valor-the Error is on you.

| do expect your resignation tonight. I'm filing a new Election Law complaint as well with the Suffolk DA request to
investigate you,

I'm no Prostitute as an Officer and | never needed to Seek Elective office-you have been avoiding my rights as an Officer
since 2020.

Leave, Before | have Law enforcement up your ass and toss you in Tonight,

Maryann Maltese

annem Forwarded message ---------

From: Matt Jennings <matt@suffolkdems.com>

Date: Thu, Feb 13, 2020 at 9:47 AM__ Co

Subject: Meeting Saturday for AD-12 Committeemembers

To:

Co: Rich Schaffer <rich.suffolk@gmail.com>, Avrum Rosen <ayvrumrosen@rasenforassembly.com>, Michael Marcantonio
<Marcantm8@gmail.com>, Maryann Maltese <maryannmaltese1000@gmai.com>

[Quoted text hidden}

=) eens otice Nominating convention AD 12 February 2020 (Autosaved}.pdf
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 173 of 310

Comal

Maryann Maltese <maryannmaltese1000@gmail.co

Prime Billi language as Speaker
3 messages

Maryann Maltese <maryannmaltese1000@gmail.com>

To: Philip Ramos <ramosp@nyassembly.gov>, barclaw@nyassembly.gov, JCOPE Investigation <JCOPE Investigation@jcope.ny.ga

mattera@nysenate.gov
1 expect you to Prime my Rights-before Moratorium and if Not I'll be seeking your dismissal.
As of today-there is No Prime Bill language for me as required by Keith Brown.
One of you is gcing to be Sanctioned.
I'm not sitting here another year for something | am entitied to.
Perhaps you Three like Women to believe they're not worthy.
Please prime and you have until 5 pm today. Pension was due January 1, 2024-not 2025.
I'm not going to be the Female Officer you all believed would be destitute.
Hers’ Phil Ramo's Prime Bill languages as of September 6, 2024.
Phil-My father was an Investigator NYC-so if you think Brown's the ONLY Legacy worthy-Please leave service.
If 'm wrong-then These Male Officers-PRIME my RIGHTS. That is the defining moment.

I'm an Excellent PO and an Excelfent Mother as a Single Mother nonetheLess.

yo

Fri, Sep 6, 2024 at 1:5¢
NYS Assemblyman Keith Brown <brownk@nyassembly.gov>,

Maryann resides in 12th AD and 2nd SD-and by the way is Andrew Raia in his Office at Town of Huntington or is he Off every Friday for the Last 3 years.

Please advise,

Maryann Maltese

Skip to main content

Svea

Assembly Hame

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Case 1

Contact |

: Join email list

Map & Offices

Sponsored Legislation

Prime-Sponsored Legislation:

A03609

AQ3B35

A03641

A03642

A03643
A03916
403931
A04012
A04457
A04466
A04469
AD4470
A447 1
A04472
AD4473
A04486
AD4483
AD4489
A04490
404491
A04492
A04494

A04734

Requires police officers to report the misconduct of a police officer

Prohibits trustees and members of a board of education from having a family member who works for the same board of education or school district as the
trustee or member

third degrees :

voting on matters before the board which affect a family member of the trustee or board
member

Requires the superintendent of the state police to establish uniform investigatory standards when there is a shooting of a civilian by a police officer
Provides for an increased personal incame tax deduction for medical expenses incurred by a New York taxpayer :

Prohibits religious discrimination in recreational water parks

Requires school districts to have diversity, equity and inclusion officers

Enacts the criminal street gangs enforcement and prevention act; repealer :

Relates to providing a tax credit to individuals with disabilities for using transportation network companies to get to:work and/or school

Creates deductions for creation or improvements of child care facilities

Appropriates monies for funding day care services to children of persons 24 and under to enable such persons to continue education; appropriation
Relates to providing a tax credit for the purchase of assistive technology devices

Relates to the time to file a claim in a toxic tort case

Relates to establishing a gang assessment, intervention, prevention and suppression program

Requires the court to provide a range of dates for a person pleading not guilty ic a traffic infraction te appear
Prohibits the sale or promotional distribution of machetes to minors

Directs the department of state to establish a statewide registry of mental hygiene and child supervision residential facilities

Relates to the provision of criminal history background checks free of charge to mentoring programs operated by not-for-profit corporations
Requires ail school districts to purchase and provide assistive technology devices when an item is put on a student's individualized education program
Prohibits foreign agents from holding public office and politica] party positions

Relates to coverage for single source drugs

Relates to criminalizing the act of stalking a police officer or peace officer

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Case 1

A04823
A04824
A04825
A04826
A04832
A04833
A04836
A04837
A04840

A04841

A04852
AQ4853
A04854
A04855
AQ04856
ADSS66
ADGE34
A06933
AOD?4G2
A08917
A08912
A09044

A0S141

Allows the implementation of body cameras on police officers notwithstanding binding arbitration
Provides for the sale, use and storage of nitric acid

Relates to estabilshing gang courts pilot program

Relates to certain veterans and competitive civil service exam points

Enacts the criminal street gang related crimes act

Relates to the definition of a day student for the purposes of employment

Enacts the "Wandering Officers Act"

Relates to police staffing at certain parks

Includes aggravated harassment in the first degree under a specified offense

meme books -

Requires abandoned property escheat to the Indian nation or tribe that historically occupied the land or to nearest nation or tribe; repealer
Prohibits the mandated use of credit cards at state parks, recreational facilities or historic sites

Requires the establishment of an annual employment statistics index for unemployment rate of hamlets and villages of the state

Relates to the residency requirements of certain public officers cf political subdivisions or municipal corporations of the state

Directs the commissioner of education to provide for the availability of adequate supplies for use by left-handed students

Provides temporary retirement incentive for certain public employees

Relates to the use of ainvay clearance devices in schoals

Establishes the New York state first home savings program to authorize first time home buyers to establish savings accounts to buy their first home
Directs the office of parks, recreation and historic preservation to fund and conduct the empire state games on an annual! basis
Establishes a license to sell liquor at retail for consumption on premises in a cigar iounge

Relates to excise taxes on premium cigars

Increases the handling fee paid to dealers or operators of a redemption center

Authorizes the Church of the Living God Pillar & Ground to file an application for exemption from rea! property taxes,

Prime-Sponsored Legislation, Introduced by Rules on Behalf of the Member:

A1Q297
A10562
A10589

A10668

Authorizes the Calvary Tabernacle Church of God to file an application for exemption from real! property taxes
Exempts a certain parcel of land in the town of Islip from certain use restrictions and alienates certain parklands
Relates to the proper form of exhibits for submission

Requires that pharmacists get express written consent before substituting a drug product for a less expensive drug product

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Case 1

Philip Ramos <ramosp@nyassembly.gov> ’ Fri, Sep 6, 2024 at 1:54 PM
To: maryannmaltese1000@gmail.com .

Thank you for reaching out to the Office of Deputy Speaker Phil Ramos. Your correspondence is greatly valued. Please take a momient to review this automated response.

timely responses whenever possibie. While | deeply value hearing from constituents like you, it's
important to acknowledge that due to the volume of emails we receive, we may not be able to address each one

If You require assistance with a personal or community-related issue, please don't hesitate to reach out ta my dedicated constituent liaison, Paul Molina, at molinap@nyassembly.gov.

For matters pertaining to state legislative concerns or if

you wish to share your insights or suggestions, | encourage you to connect with my Deputy Legislative Director, Denyss Castaneda, at
castanedad@nyassembly.gov.

Please rest assured that your perspectives will be carefully considered in shaping my approach to relevant public issues.

To request a meeting or invitation to a event please email my Chief of Staff, Cristian Macario, at Macarioc@nyassembly.gov

For further information on bills and legislative updates, invite you to visit our legislative portal at htips://nyassembly.govileg/. Additionally, you can explore the New York State Assembly's website at
www. nyassembly.gov to gain deeper insights into our legislative process. ,

Once again, thank you for taking the time to reach out, Your engagement is sincerely appreciated.

Warm Regards,

Phil Rames

Depuly Speaker

New York State Assembly

NYS Assemblyman Keith Brown <brownk@nyassembly.gov> . Fri, Sep 6, 2024 at 1:54 PM
To: maryannmaltese1000@gmail.com

Dear Friend:

| appreciate you reaching cut with your comments and any issue that you are experiencing.
| will answer any questions you might have as quickly as | am able.

if your issue needs immediate attention, please do hot hesitate to call my District Office at (631)261~+41151,

Hon. Keith P. Brown

NYS Assembiyman 12th A.D

6080 Jericho Turnpike

Suite 310

Commack, NY 11725

(831) 261-4151 office

(631) 261-2992 fax
brownk@nyassembly.gov
https://nyassembly.gov/mem/Keith-P-Brown/
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Maryann Maliese <maryannmaltese1000@gmail.c

Chair's salaries

Pairice Zitani <pzitani@townofbabylon.com>
To; Maryann Maitese <maryannmaltese1000@gmail.com>

Good afternoon, Maryann,

Unfortunately, the Town of Babylon does not have the information you are requesting.

You will have to contact the Nassau and Suffolk County Democratic Committee Offices.

Thank you and stay safe and healthy.

Kindest regards,

Patty

Patrice Zitani

Office Assistant

Town of Babylon

Town Clerk’s Office
200 E. Sunrise Hwy.
Lindenhurst, NY 11757

Office - 631-957-4296

Mon, Aug 26, 2024 at 2:3¢€
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 178 of 310

Fax ~ 631-957-7490

E-mail — pzitani@townotbabyion.com

From: Maryann Maltese <maryannmaitese1000@gmail.com>
Sent: Monday, August 26, 2024 8:47 AM .
To: Nassau County Democratic Committee <info@nassaucountydems.com>; New York State Democratic Committee <info@nydems.org>; Patrice Zitani

<pzitani@townofbabyion.com>; Suffolk County Democratic Committee <info@suffolkdems.com>
Subject: Chair's salaries

39} This message has originated from an External Source. Please use proper judgment and caution when opening attachments, clicking links, or responding to this email. ¢€¢

[Quated text hidden]

PARTY LEADERSHIP

| |

| as se of Terre ge | ea ie ee
Nassau County Democrats

Fre!

Jay S. Jacobs
Chairman
Thomas Garry
First Vice Chair
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James Scheuerman

Executive Director

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Case 1

40 NORTH PEARL STREET — SUITE 5,
ALBANY, NEW YORK 12207 (518) 474-6220
Fer TOD/TTY, call the NYS Relay 711

www. elections .ny.gov

ee RIC Board of
STATE | Elections

Primary Election General Election
June 25, 2024 November 5, 2024

PRIMARY ELECTION DATES

Hune 25

Primary Election §8-100(1}{a}

June 15
23

Days of Early Voting for the Primary Election.
§3-600(1)

Feb 1

Certification of offices to be filled at 2024
General Election 5y SBOE and CBOE. §4-105
(2&2)

Feb 13

PARTY CALLS: Last day for State & County party
chairs to file a statement of party positions to
be filled at the Primary Election. §2-120(1)

VOTER REGISTRATION FOR PRIMARY

List of Registered Voters: Publication of
February enroilments. § 5-604

Moter Registration Deadline for Prima
day application must be received by board of
elections to be eligible to vate in primary
election. §§5-210, 5-211, 5-212

June
10

Changes of address for Primary received by
this date must be processed. §5-208(3)

CHANGE OF ENROLLMENT

Feb 14

JA change of enrollment rec'd by the BOE not
later than Feb. 14“ or after July 2" is
effective immediately. Any change of
enrollment made between Feb 15-July 2°,
hall be effective July 2", §5-304(3}

Designation of Polling Places Primary

May 1

Last day to file early voting communication

‘|pian with SBOE. 9 NYCRR 6211.7{c)

May 13

Last day to designate early voting sites for
primaries. 8-600(4}{e)(i} }

CERTIFICATION OF PRIMARY BALLOT

PA

RTY NOMINATION OTHER THAN PRIMARY

April 22 |Last day for member of committee to receiv
notices to file acceptance if declination filed
by a candidate. §6-166(3)

by close of polls. §8-412(4), 8-710.

May 1 (Certification of primary ballot by SBOE of Feb 6 —lHoiding state committee meeting to
designations filed in its office. §4-110 a7 nominations for statewide office. §6-104(6)
May 2 [Certification of primary ballot by CBOE of *(Except Pras. And Vice Pres. Electors - Sap 6)
designations filed in its office. §4-114 Feb 27 |First day to hold a town caucus. §6-108
July 5 Last day to decline all party nominations after
CANVASS OF PRIMARY RESULTS primary loss. § 6-146(6}
July 8 \Canvass of Primary returns by County Board of uly 9 |Last day to fill vacancy after declination by
Elections. §3-200(1) primary loser. § 6-158(3}
July 8 [verifiable Audit of Voting Systems. §9-211(1) July 15 [Last day to file authorization of substitution
uly 15 |Recanvass of Primary returns. §9-208(1} after declination by primary loser. § 6-120(3)
ARDY : . Luly 25 |Last day for filing nominations made at a town
ABSENTEE / EARLY VOTING BY MAIL FOR PRIMARY or village caucus of by a party committee. §6-
June  iLast day to RECEIVE application or letter of 158(6)
AS application by mail or online portal for primary! fi 35 [Last day to file certificates of nomination to fill
ballot. §8-400(2}(c}, 8-700 {2} {c}, (d) vacancies created pursuant to § 6-116, §6-104
iune |Last day to apply in person for primary ballot. & §6-15816) :
aA $8-40012){c}, 8-700 (2) (ch, (a . tuly 29 Last day to accept or decline a nomination for
Uune |Last day to postmark primary election ballot, office made based on § 6-116 & §6-158(7)
a5 Must be received by the county board ne later July 29 |Last day to file authorization of nomination
fthan July 2. §8-412(1), 8720 - made based on § 6-116. § 6-120(3}
June Last day to deliver primary ballot in person to [Aug 2 |Last day to fill a vacancy after a declination
25 our county board or a poll site In your county,

imade based on § 6-116, § 6-258(8)

MILITARY/SPECIAL FEDERAL VOTERS FOR PRIMARY

May 10

(Deadline to transmit ballots to eligible
Military/Special Federal /UOCAVA Voters. §10-
LOB(1} & §11-204(4}

DESIGNATING PETITIONS FOR PREMARY

Feb 27 —Dates for circulating petitions. §6-134(4)
Aor 4**

Apr 1-4

Dates for filing designating petitions.§6-158(1)

SGNATURE REQUIREMENTS FOR
OSSIGNATING AND CPPORTUNITY
TO BALLOT PETITIONS §5-136

5% of the active enrolled voters of the political part
in the political unit or the following, whichever is les

For any office to De filled by all the voters of:
The entire state wise etcccnseces
(with at least 100 or 5% of enrolled voters from eac
of one-haif of the congressional-districts}

*New York City.......- wee
*Any county or borough of NYC

*A municipal court district wi aes 1,50
*Any city council district within NYG......cc0ses 90
Cittes/counties having more than 250,000

inhabitants... sesaceqeecaegaenn gee seeaeeseentaessaeaneard OD

Cities/counties having more than 25,000 but not
mare than 250,000 inhabitants.
Any city, county, councilmanic or county le,
districts in any city other than NYC..........esceeeee
Any congressional district... esses eeeeeeeeeees
Any state senatorial district ............ccsceceeeeee
Any assembly district
Any county legislative district.

any political subdivision contained within anathe
political subdivision, except as herein provide
requirement is not to exceed the number require
for the larger subdivision; a political subdivisic
containing more than one assembly district, cour

must be received by the board of elections is

uly 2"°, §10-114(4) & §11-212

April 15 ast day for member of committee to receive

notices to file acceptance. §6-166(3}

April 18 |Last day to file OTB petition if there has been

la declination by a designated candidate. §6-
158(4)

June |Last day for a board of elections to RECEIVE Apr (Last day to authorize designations. $6-120(3) or other political subdivision, requirement is not |
a5 application for Military/Special Apr (Last day to accept or decline designations exceed the aggregate of the signatures required f
Federal/UOCAVA absentee baliot far primary if Pp Ke: 15821 P e . the subdivision or parts of subdivision so contained
not previously registered. §10-106(5} & $11- Apr 12. |Last day to fill vacancy after a declination, “NOTE: Section 1057-b of the New York City Chart
202{1}(a} §6-158(3} : supersedes New York Election taw = signatui
: requirements for Designating and OTB petitions or
he bast dey for Peart voeccah to RECEIVE Apr16 |Last day to file authorization of substitution independent amen petitions with respect |
APPiication ror Miltary/opecia after declination of a designation. §6-120(3 in NY Ci ;
Fedaral/UOCAVA absentee ballot for primary if ’ & 3) certain NY City offices,
already registered. §10-106(5) & §11-202(1){b} OPPORTUNITY TG BALLOT PETITIONS **Pursuant to Chapter 93 of the Laws of 2024, the
Pune Last day to apply personally for Military ballot Mar 19 [First day for signing OTB petitions. $6-164 first day to circulate designating petitions for
ag for primary if previously registered. §10-106(5} April 11 Last day to file regular OTS petitions. §6- Member of Congress (House of Representatives} or
June |Last day to postmark Military/Special Federal/ hsa(a} any party position elected by Congressional District
25 WOCAVA ballot for primary. Date by which it

Thursday, February 29, 2024. The Congressional
Districts for such designating petitioning for the Jun
25, 2024 Primary are defined by Chapter 92 of Laws
of 2024.

Ali Dates Subject to Change by
the State Legislature
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Case 1

FILING REQUIREMENTS: All certificates and petitions of
designation or nomination, certificates of acceptance or
daclination of such designations or nominations, certificates of
authorization for such designations or nominations, certificates
of disqua . certificates of substitution for such
designations or nominations and objections and specifications of
objections to such certificates and petitions required to be filed
with the State Board of Elactions or a board of elections outside,
of the city of New York shall be deemed timely filed and
accepted for filing if sent by mail or overnight delivery service,
in an envelope postmarked or showing receipt by the overnight
delivery service prior to midnight of the last day of filing, and
received no later than two business days after the last day to file
such certificates, petitions, objections or specifications, Failure
of the post office or authorized overnight delivery service to
deliver any such petition, certificate, or objection to such baard
of elections outside the city of New York no later than two
business days after the last day to file such certificates, petitions,
abjections, or specifications shall be a fatal defect per NY
Election Law §1-106.

All papers required to be filed, unless otherwise provided, shall
be filed between the hours of 94M —~S PM. If the last day for
filing shalt fall on a Saturday, Sunday or legal holiday, the next
business day shall become the last day for filing, NYEL §1-106

Within NYC: ali such certificates, petitions and specifications of
objections required to be filed with the board of elections of the
city of New York must be actually received on or before the last
day to file. The New York City Board of Elections is open for the
receipt of such petitions, certificates and objections until
midnight on the last day to file.

Designation of Potling Places Genera! flection

15

March |Last day to designate General Election po

places for each election district for ensuing
Year §4-104

May 1 |Last day to designate early voting sites for the

general election, 9 NYCRR 6211.1(a)

May 1 [Last day to file early voting cornmunication

plan with SBOE. 9 NYCRR 6211.7(c)

VACANCY IN GEFICE

Aug 5 |A vacancy occurring three (3} months before a

General Election in any year in any office are
authorized to be filed at a General Election.
§6-158(14)

REFERENDUMS/FROPOSITIONS/PROPOSALS

Aug 5 iFor any election conducted by a BOE, the

clerk of such subdivision shall provide the BOE
with a certified text copy of any proposal,
proposition, or referendum at least three (3)

Dec 9

Last day for State Board of Canvassers to meet

May 31 Last day to accept or decline a nominati

person to your county board or pail site in your'
county, by close of polls on electian day. §8-
412(1)

NULITARY/SPECIAL FEDERAL VOTERS FOR GENERAL

months before the General Election, $4-108

JUDICIAL DISTRICT CONVENTIONS

Minutes of a convention must be filed within
72 hours (3 days) of adjournment. §6-158(6)

GENERAL ELECTION DATES

14

Aug &~ [Dates for holding judicial conventions. §6-

158(5)}

INovS |General Election. §8-100(1}{c)

Oct 26 [Days of Early Voting for the General Election,
tt Nov 31§8-600(1)

Aug 15 |Last day te file certificates of nominations. §6-

158(6}

. Aug 19 Last day to decline nomination. §6-158(7)

Feb i (Certification of offices to be filled at 2024
General Election by SBOE and CBOE. §4-106
(18.2)

Aug 23 |Last day to fill vacancy after a declination. §6-

158(3}

CERTIFICATION OF GENERAL ELECTION BALLOT

VOTER REGISTRATION FOR GENERAL

Sept 11\Certification of general election ballot by SBOE

of nominations filed in its office. $4-112(1)}

Oct 26 Moter Registration Peadline registration for
General: Last day application must be
received by board of elections to be eligible to
vote in general election. §§5-210, 5-211, 5-
212

Sept 12/Ce

ication of general election ballot by CBOE
lof nominations and questions; CBOEs, §4-114

CANVASS OF GEMERAL ELECTION RESULTS

(Oct 21 |Changes of address for General received by

[this date must be processed. §5-208(3)

Nov 20 |Recanvass of General Election returns to occur

Ino later than Nov. 20, §9-208(1)

Revised: 03/05/2024

Nov 20 Verifiable Audit of Voting Systems to occur no

later than Nov. 20. §9-214(4)

Nov 30 [Certification and transmission of Canvass of

General Election returns by County Board of
Elections §9-214{1)

Sept 20

Deadline to transmit baltots to eligible
Military/Special Federal/UOCAVA voters. §10-
108(1) & §21-204(4) : :

Oct 26

Last day for a board of elections to receive
application for Special Federal/UOCAVA
absentee ballot for general if not previously
registered. §11-202(1}(a) & §10-106(5)

Oct 26

Last day for a board of elections to receive
application for Military absentee ballot for
general if not previously registered, §10-
106(5)

Oct 29

Last day for a board of elections to receive
application for Military/Special Federal
absentee ballot for general if already
registered. §10-106(5) & §11-202(1}(b}

Nov 4

Last day to apply personally for a Military
absentee ballot for general if previously
registered. $10-106(5}

Nov 5

Last day to postmark Milltary/Special
Federal/UOCAVA balict for general. Date by
Which it must be received by the board of
elections is Nov. 18.) §10-114(1} & §11-212

INDEPENDENT PETITIONS

April
16

First day for signing nominating petitions.86-
138{4) :

to certify General Election. §9-216(2) §6-158(21)
os June 3 |Last day to fill vacancy after a declinatio
ABSENTEE / EARLY VOTING BY MAIL FOR GENERAL 158 (12}
Oct 26 ay or oer of sections fo June Last day to decline after acceptance if n
apptication or letter of application by mail or bg loses pa rimary. §-158(11
online portal for general election ballot, §8- party. o (14)
BOO(2}{c), 8-700 (2) (c}, (d} SIGNATURE REQUIREMENTS FOR INDEPEND
Nov 4 |Last day to apply in person for general election NOMINATING PETITIONS §6-142
ballot, §8-400(2)(c), 8-700 (2) (c}, (d} 1% of the total number of votes excluding blan
Nov 5 |Last day to postmarkigeneral election ballot. void cast for the office of governor at th:
Must be received by the county board no later gubernatorial election in the political unit fc
than Nov 12". §8-412(1), 8-710 office to be voted for by all the voters of:
Nev 5 [Last day to deliver general election ballot in

the entire state... ee ssesesesesseesseeeacesetectes eel
{with at least 500 or 1% of enrolled voters fror
each of one-half of the congressional districts]

5% of the total number of votes excluding blan
void cast for the office of governor at th
gubernatorial election in the political unit e
that not more than 3,500 signatures sha
required on a petition for an office to be filled |
political subdivision outside the City of New
and not more than the following for any office
voted for by all the voters of:

Any county or portion thereof outside NYC.....,
*New York City... we
*Any county or borough or any twe counti
boroughs within New York City .
Any municipal court district ..
*Any city council district within NYC oc.
Any congressional district.........cscvensesene
Any state senatorial district o.ccssscescsssereeess
Any assembly district... cscs

Any political subdivision contained within an
Political subdivision, except as herein prov
requirement is not to exceed the number fe
larger subdivision.

*NIOTE: Section 1057-B of the New York City Ct
supersedes New York Election Law sign
requirements for Designating and OTB pet.
and independent nominating petitions

respect to certain NY City offices.

May
21-28

Dates for filing independent nominating
petitions. §6-158(9)

Ail Dates Subject to Change
by the State Legislature
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NiimiadS 202 7
Af Usdin bly tats SABE E
fais, $227 Fl)

VOTE (/VOTE)

CONTRIBUTE
(HTTPS://SECURE.NGPVAN.COM/WBCK3SSAGEMFQ6RNDGDUJA2)

VOLUNTEER (HTTPS://SECURE.NGPVAN.COM/TN326TEDPKKDSBXDZ4PYI

Candidates

Click below to learn more about our candidates. Then click on the photos or links for

more information. (https://www.southolddems.org)

_ 2024 Elections

Federal

NYS Senate ~

NYS Assembly

Tommy John Schiavoni (/candidate/tommy-john-schiavoni)

NYS Assembly - District 1 Contributiorvolunteer Website
link link link

Tommy John Schiavoni is a husband, father, reticattpeatsertuntipacye munch
member of the Southampton Town Board. For dee Rierdttéhs Tommy

John's family operated a local plumbing and heafiagrpuRiness | in Sag Harbor
where he began working at the age of twelve. Gldwing up on construction

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sites with master tradesmen, Tommy
John gained the knowledge and
experience that to this day fuels his
desire to find pragmatic solutions to

problems, mechanical and otherwise.

read more » (/candidate/tommy-john-schiavoni)

https://www.facebook.com/tjschi i
(https: //www.facepoo /tJschlavoni) (/candida e/' commy- John- schiavoni)

Rebecca Kassay (/candidate/rebecca-kassay)

NYS Assembly - District 4 ContributiorYolunteer Website Emz
link link link (ma
Rebecca Kassay is a community organizer, yimals:

business owner, and public servant, whose
diverse experiences and dedication to public

service have compelled her to run for a seat in

the New York State Assembly. She brings her
proven track record of impactful community

engagement to Assembly District 4 and the state eS
EARS

at large. In 2010, Rebecca graduated from SUNY (/tandidate/rebecca- -kassay)
New Paltz with a degree in Environmental

Studies and Communications and returned to Long Island! s north shore,
where she created.and directed a youth environmental volunteer program for ...
Avalon Park and Preserve in Stony Brook. For over seven years, she worked
alongside hundreds of Suffolk County teens, environmental professionals,
and NGO representatives to tackle a myriad of environmental stewardship
efforts across Long Island. These hands-on experiences with the region's
environmental issues, assets, and advocates drive Rebecca's desire to

preserve the heritage of this incredible island.

read more » (/candidate/rebecca-kassay)

(https://www.facebook.com/kassayforassembly )

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Michael Reynolds (/candidate/michael-reynolds)
NYS Assembly - District 5

Michael A. Reynolds was born in Bushwick
Brooklyn in 1967 and moved to Queens in
1972, While growing up in Queens New York
Michael attended P.S.147 in Cambria Heights,
JHS 192 in Hollis Queens, and Andrew Jackson
High School in Cambria heights where he

played football and received All Queens
honors and second-team All-City honors. (/candidate/michael-reynolds)
Michael was recruited out of high school to

play football where he attended Southern Connecticut State University in New
Haven CT. While there he played football and worked with the campus police
as a campus escort. As a campus escort, he helped to keep students safe on
campus by patrolling the campus at night allowing the student community to
feel safe. Michael was also a Resident Advisor where he worked with
residents on his floor to create and maintain a cohesive community for all.
Michael graduated in 1989 and obtained his bachelor's degree in Corporate
Communications with a minor in business. Upon graduating, Michael
returned home to Queens, New York where he began working for United
Parcel Service as a seasonal helper. During his time at UPS, Michael became a
union driver, operations supervisor and District Account Executive.

read more » {/candidate/michael-reynoids)

Phillip R. Ramos (/candidate/phillip-r-ramos)

NYS Assembly ~- District 6 Volunteer Website
link link
Philip Ramos represents the 6th Assembly District, which INChLGE ¢ (DATKianD fe

the hamlets of Brentwood, Baywood, Central Islip, Bay Shok North Bay

Shore, Islip and Islandia. He was elected toa newly created Assembly seat i,

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2002. Phil Ramos was born in the Bronx. The son ~.
of a correction officer and a registered nurse,
Phil learned at an early age the value of helping
people and being dedicated to your community.
His family was one of the first Hispanic families

to move to Brentwood in 1957. He has lived in

the community for the past 50 years, raising his

2 /phillip-r-ramos)
the community. Suptelter DE Asscnbee.

two children and working tirelessly on behalf of

read more » (/candidate/phillip-r-ramos)

(https: //www.facebook.com/Assemblyman-
Phil-

Ramos-
10348839920 a PtetCo m/philramos6ad)

Steven Basileo (/candidate/steven-basileo)

NYS Assembly - District 8 Contributiorvolunteer Website
link link link
A Dedicated Long Islander: Steven has called (ht etebirpadt

Saint James home since he was 11 years old,
fostering deep connections within the 3
community he aims to serve. He graduated front
_ Stony Brook University with a Master's Degree in
Public Policy, focusing on issues close to home:
housing and healthcare affordability.
Professional and Union Advocate: In his (/candidate/steven-basileo)
professional life, Steven has worked at SEIU’s

Communication Center, where he helped encourage public school staff to
engage with their unions in partnership with the National Education
Association, This role underscored his commitment to workers’ rights and

active community involvement.

read more » (/candidate/steven-basilec})

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(https://www.facebook,com/BasileoCampaign)

Steve Stern (/candidate/steve-stern-0)

NYS Assembly - District 10 ContributiowWebsite Emz
link iink (ma
Steve Stern is proud to have been re-elected as Hidluw:

the New York State Assemblyman representing
the 10th Assembly District. Elected to the
Assembly in a special election in April 2018, Steve
hit the ground running by passing an impressive 6
bills in his first 6 weeks, including laws to protect

our precious groundwater, services for veterans

. as
and measures to protect children’s health. Steve (/candidate/steve-stern-0)

also secured unprecedented funding for local

schools and for law enforcement in the fights against the deadly opioid
epidemic and MS-13. Steve believes that reducing gun violence Is one of the
great moral issues of our time, and necessary to protect public safety. He is
the proud co-sponsor of New York's “Red Flag Law” which keeps guns out of
the hands of those who should not have them and allows immediate

intervention when individuals pose a risk to public safety.

read more » (/candidate/steve-stern-0}

Kwani O'Pharrow (/candidate/kwani-opharrow)

NYS Assembly - District 11 _ ContributiofVolunteer Website Emz
link link link (ma
Kwani O'Pharrow has an impressive and lor(gttpanfngistapscyy hatipaipige)s
service protecting our nation and the great bial GF New York. He served in
the Navy from 1990-1994 as Radioman Petty)Officer 3rd Class (RM3}-Intel and
retired from the New York City Police (NYPD) as a Detective after 28 years. His
extensive NYPD career brings a wealth of valuable experience; which
included: school officer, community patrol officer, Domestic Violence Office

Gang investigations, holding various plainclothes details and assigned to the

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Chief of departments office. Notably, Kwani's

final assignment was in the Intelligence Bureau .
where he had the privilege of protecting
dignitaries such as Presidents Obama and
Trump.

read more » (/candidate/kwani-opharrow)

(https: //www.facebook.com/kwanib.opharrow)

(http://www.facebook.com/SuffolkDems)

(http://twitter.com/SuffolkDems)

Suffolk County Democratic Committee LUE S Ptvwtec wn eff fin ey
1461 Lakeland Avenue, Suite #3 Ab Y ; pve, - Sf

Bohemia, NY 11716
Tel: (631) 439-0400 - Fax: (631) 439-0404

Email: info@suffolkdems.com (mailto:info@suffolkcou ntydems.com)

Wh AC , My (eve

Paid for by the Suffolk County Democratic Committee
Site by InterCreative Media (https://icrmedia.com)
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fbb be (Q (Qe ey Ge vt nera B20
Hasty Cte. ve Ethechue OB be Pb anALe
j rye Ay Le 4 2 a Le ig
& Nt fof J Cg hing LG Vee , Le LE Cay nge

LADS Leg es leave GS or 2/157 to 2/ |

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ca Ol Ff
Claw Scluth- 0S Eryphyie ( be ef ben Vb
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ge5

ce Translate *%

New York State
Board of Elections

(/)

Be wary of text messages claiming to give information about your voter registration status.
Always check with a trusted source, like the State or your County Board of Eiections.

Please reach out to (518) 474-1953 or info@elections.ny.gov (mailto:info@elections.ny.gov) with

any questions or concerns.

¢ Running ‘or Office (/running-office) ©

Rules & Regulations

SECTIONS Title 9, Subtitle 5,
Title 9, NYCRR

Subtitle 5, § 6201.2 Use of Public Opinion Polls
NYCRR

(#title-9,-

No candidate, political party or committee
shall attempt to promote the success or defeat
Case 1:24-cv-01175-BKS-ML Document 1 Filed 09/11/24 Page 189 of 310

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§ 6204.1 Specification of objections to
designating and independent nominating
petitions

a. Any person filing general objections to any
designating or independent nominating
petition filed with the State Board of
Elections who thereafter files
specifications of his objections to any such
petition with such board shall do so in
accordance with the provisions of Section
6-154 of the Election Law. All such
specifications shail substantially comply
with the following requirements:

1. The volume number, page number, and
line number of any signature objected
to on any petition shall be set forth in
detail. In addition, any portion of any
petition or any signature line or witness
Statement objected to shail be
specifically identified and reasons given
for any such objection;

2. The total number of signatures
objected to shall be set forth and all
objections relating to a single signature
line should be grouped together

3, Symbols and/or abbreviations may be
used to set forth objections, provided
that a-sheet explaining the meaning of
any such symbols and/or abbreviations
is attached to the specifications,

b. No specifications of objections to any
petition will be considered by the Board
unless the objector filing the specifications
personally delivers or mails by registered
or certified mail a duplicate copy of the
specifications to each candidate for public
office named on the petition. In the case of
a petition containing candidates for party
position, service of the specifications shall
be made on either the named candidates
or the first person named on the petition’s
committee to fill vacancies. Service shall
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containing candidates for more than
one public or party office which are not
coterminous, each volume of each
petition shall bear an identification
number, to be obtained in accordance
with Section 6215.3, infra. The assigned
identification number shail be inscribed
on the front of the volume. If an
identification number has not been
inscribed by the person or persons
filing the petition, and the petition
consists of multiple volumes, then each
volume of the petition shall be
separately numbered on the front
thereof, Only one identification number
may be used to identify a petition
volume.

2. Any Board of Elections outside the City
of New York may adopt a petition filing
system for all petitions utilizing
identification numbers as provided for
in Section 6215.3. The Board may adopt
such system through the approval of a
rule at least two months prior to the first
day to circulate petitions. The rule shall
be filed at the county board of elections
and the State Board of Elections.

3. With respect to all other petitions which
’ contain tenor more sheets, Gach
volume of the petition shall have a
cover sheet secured to the front of
such volume,

§6215.2 Cover Sheets

a. A cover sheet shall contain the following
information:

1. The office and district number (where
appropriate) for which each designation
and nomination is being made, the
name and residence address of each
candidate, and the number of volumes
comprising the petition, The names and
addresses of candidates for the county
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https://elections.ny. gov/rules-regulat

of the State Assembly, the cover sheet
Shall contain a place for the optional
designation of the official campaign
website address information for posting
on the State Board of Elections’ website
pursuant to Election Law section 4-123.
Any board of elections receiving such
cover sheet or a separate written
notification pursuant to section
6215.9(b) of this Part, other than the
State Board of Elections, shall transmit
a copy of such cover sheet or separate
written notification to the State Board of
Elections within three business days of
its filing and such website addresses
Shall be posted by the State board on
its website as soon as practicable.

b. Cover sheets shall be substantially in the

form set forth in Section 6215.8, infra.

. Where a designating petition involves an

office to be filled by the voters of the
entire state, the petition shall be
accompanied by a schedule which sets
forth the volume and page number of
each sheet on which signatures appear of
at least 100 or 5 per centum, which ever is
less, of properly enrolled voters in each of
at least one-half of the Congressional
Districts of the state,

. Where a nominating petition involves an

office to be filled by the voters of the
entire state, the petition shall be
accompanied by a schedule which sets
forth the volume and page number of
each sheet on which signatures appear of
at least 500 voters in each of at least one-
half of the congressional districts of the
State.

§6215.3 Identification Numbers, application,
distribution and utilization

a. Identification numbers shall be issued by

the State and County Boards of Elections,
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book which shall be available for public
inspection. In the event that an application
is filed by multiple applicants, the Board
shall record in the book only the name and
address of the first-named applicant.

f. An assigned identification number may be
used for the fillng of petition sheets only
by the person to whom the identification
number was issued. In the case of multiple
applicants, the identification number may
be used by any of the applicants.

§6215.4 Multiple Candidates Named Ona
Petition

a. All the signatures appearing in a petition
volume shall apply to all candidates
named in that volume, unless the cover
sheet specifies otherwise.

b. In the event that the same candidates do
not appear on each and every sheet of the
petition, then the cover sheet shall
indicate which signatures apply to which
candidate, by indicating the name of the
candidate, the identification number or the
volume number, and the page number of
the applicable signatures, Signatures on
such pages may be identified by specified
numerical ranges (e.g., pages 1 through 15,
pages. .15-45)..

§6215.5 Filing of petitions

a. Neither the application for, nor the
issuance of, an identification number
constitutes filing of a petition.

b, Petitions shall be filed with the applicable
Board of Elections as set forth in the
Election Law. The officer or Board shall
endorse the day, hour and minute of
receipt on such petitions. Such officer or
Board shall keep a book, which shall be ©
open to public inspection, in which shall
be entered the name of the candidate,
and volume or identification numbers of
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review, and such determination, shall be
without prejudice to the determination by
the Board of objections and specifications
of objections filed pursuant to the
provisions of the Election Law.

b. In the event that, upon the review
conducted pursuant to paragraph (a)
above, the Board determines that a
petition does not comply with these
regulations, the Board shall forthwith notify
the candidate or candidates named on the
petition of its determination and the
reasons therefore,

c. Notification of a determination of
noncompliance shall be given by written
notice by depositing such notice on the
day of such determination with an
overnight delivery service, for overnight
delivery, on the next business day, or by
personal delivery by the day after the
determination to the candidate or the
contact person, if designated, at the
address stated on the petition, Notification
shall be given by overnight delivery or
personal delivery only, unless the
candidate shail have filed with the Board
written authorization, signed by the
candidate, for the Board to give
notification by facsimile transmission. Ir
the event that the candidate shall have
authorized notification by facsimile
transmission, then the Board shall notify
the candidate or the contact person, if
designated, by facsimile transmission on
the day of the determination to the
number set forth by the candidate and
shall, in addition, mail a copy of the
determination to the candidate.

d, A candidate may, within three (3) business
days of the date of a determination that
the petition does not comply with these
regulations, cure the violation of these
regulations. Cover sheet deficiencies may
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(https://publicreporting.elections.ny.gov/
CountyBoardRoster/CountyBoardRoster}

View the Campaign Finance Page (/campaign-
finance) for more information on financial
disclosure requirements or contact the State
Board of Elections at 1-800-458-3453 or
518-474-8200 or contact your C (https://
publicreporting.elections.ny.gov/
CountyBoardRoster/CountyBoardRoster} ounty
Board of Elections (https://www.elections.ny.gov/
CountyBoards.html} .

For New York City offices, please contact the
Campaign Finance Board for any additional
requirements.

For federal offices, please contact the Federal
Election Commission for any additional!
requirements.

NEXT SECTION Continue (#) J

Agency Resources (#)

Agency Resources
Hatch Act (https://osc.gov/)

e Call 1-8300-85 HATCH
The Commission on Judicial Conduct (https://
cje.ny.gov/)

e (646) 386-4800 - Main Office

e (518) 453-4600 - Albany

e (585) 784-4141 - Rochester

Judicial Campaign Ethics Center (hitps://
ww2.nycourts.gov/ip/jcec)

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PUBLIC OFFICERS LAW

and other State Ethics Laws related to State

Employees and Officials

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S$ 94, Commission on Ethics and Lobbying in

Government.

1. (a) Commission established. There is hereby established within the department of state, a
commission on ethics and lobbying in government, an agency responsible for administering,
enforcing, and interpreting New York state's ethics and lobbying laws. The commission shail
have and exercise the powers and duties set forth in this section with respect to statewide elected
officials, members of the législature and employees of the legislature, and state officers and
employees as defined in sections seventy-three, seventy-three-a, and seventy-four of the public
officers law, candidates for statewide elected office and for the senate or assembly, and the
political party chair as is defined in section seventy-three of the public officers law, lobbyists and
the clients of lobbyists as defined in section one-c of the legislative law, and individuals who have
formerly held such positions, were lobbyists or clients of lobbyists as defined in section one-c of

the legislative law, or who have formerly been such candidates.

(b) The commission shall provide for the transfer, assumption or other disposition of the records,
property, and personnel affected by this section, and it is further provided, should any employees
be transferred from the joint commission on public ethics ("JCOPE"), the predecessor ethics
agency, to the commission, that such transfer will be without further examination or
qualification and such employees shali retain their respective civil service classifications, status

and collective bargaining agreements,

{c) The commission shail review any pending inquiries or matters affected by this section and shall

establish policies to address them.

(d) The commission shall undertake a comprehensive review of all reguiations in effect upon the
effective date of this section; and review of all advisory opinions of predecessor ethics agencies,
including JCOPE, the legislative ethics commission, the commission on public integrity, the

state ethics commission, and the temporary lobbying commission, which will address the

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consistency of such regulations and advisory opinions among each other and with the new
statutory language, and of the effectiveness of the existing laws, regulations, guidance and ethics

enforcement structure.

This section shali not be deemed to have revoked or rescinded any regulations or advisory
opinions in effect on the effective date of this section that were issued by predecessor ethics and
lobbying bodies. The commission shall cooperate, consult, and coordinate with the legislative
ethics commission, to the extent possible, to administer and enforce the laws under its

jurisdiction.

The annual budget submitted by the governor shall separately state the recommended
appropriations for the commission on ethics and lobbying in government. Upon enactment,
these separately stated appropriations for the commission on ethics and lobbying in government
shail not be decreased by interchange with any other appropriation, notwithstanding section

fifty-one of the state finance law.

Definitions. For the purposes of this section, the following terms shall have the following meanings:

{a) "commission" means the commission on ethics and lobbying in government established

pursuant to subdivision one of this section.

(b) “selection members" means the governor, speaker of the assembly, temporary president
of the senate, minority leader of the senate, minority leader of the assembly, comptroller,

and the attorney general,

(c) "independent review coramittee” means the cominittee of the American Bar Association
accredited New York state law school deans or interim deans, or their designee who is an
associate dean of their respective law school, tasked with reviewing, approving, or denying
the members of the commission as nominated by the selection members and other tasks

pursuant to this section.

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“respondent” means the individual or individuals or organization or organizations subject

to an inquiry, investigation, or enforcement action.

"victim" means any individual that has suffered or alleged to have suffered direct harm
from any violation of law that is subject to investigation under the jurisdiction of the

commission.

3. Nomination and appointment of the commission.

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The commission shall consist of eleven meinbers, to be nominated by the selection
members as follows: three members by the governor; two members by the temporary
president of the senate; one inember by the minority leader of the senate; two members by
the speaker of the assembly; one member by the minority leader of the assembly; one

member by the attorney general; and one member by the comptroller.

The independent review committee shall within thirty days review the qualifications of the
nominated candidates and approve or deny each candidate nominated by their respective

selection member.

The independent review committee shall publish on its website a procedure by which it

will review the qualifications of the nominated candidate and approve or deny each

candidate.

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Those candidates that the independent review committee deems to meet the qualifications
necessary for the services required based on their background and expertise that relate to
the candidate's potential service on the commission shall be appointed as a commission
member. The nominating selection member shali nominate a new candidate for those that

are denied by the independent review committee.

No individual shall be eligible for nomination and appointment as a member of the

commission who is currently, or has within the last two years:

(i) been registered as a lobbyist in New York state;

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(ii) been a member or employee of the New York state legislature, a statewide elected

official, or a commissioner of an executive agency appointed by the governor;

(ii) been a political party chair, as defined in section seventy-three of the public officers

law; or

(iv) been a state officer or employee as defined in section seventy-three of the public

officers law.

The independent review committee shall convene as needed or as requested by the
selection members. The chair of the independent-review committee shall be elected from

the members of the independent review committee.

Appropriate staffing and other resources shall be provided for in the commission's budget
for the independent review committee to carry out its powers, functions, and duties. The
independent review committee shall publish on the commission's website a procedure by
which it will review and select the commission members and other processes to effectuate

its responsibilities under this section.

The majority of the independent review committee shall constitute a quorum to hold a

meeting and conduct official business.

During the pendéncy of the review and approval or denial of the candidates, the
independent review committee shall be subject to and maintain confidentiality in all
independent review committee processes, reviews, analyses, approvals, and denials. A
member of the independent review committee may be removed by majority vote of the
committee for substantial neglect of duty, misconduct, violation of the confidentiality
restrictions set forth in this section, inability to discharge the powers or duties of the

committee or violation of this section, after written notice and opportunity for a reply.

Upon the receipt of the selection members’ appointments, members of the independent

review committee shall disclose to the independent review committee any personal,

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professional, financial, or other direct or indirect relationships a member of the
independent review committee may have with an appointee. If the independent review
committee determines a conflict of interest exists, such independent review committee
member shail, in writing, notify the other members of the independent review committee
of the possible conflict. The member may recuse themself from all subsequent invoivement
in the consideration of and action upon the appointment. If, after disclosure, the member
does not recuse themself from the matter, the independent review committee, by majority
vote finding the disclosed information creates a substantial conflict of interest, may
remove the conflicted member from further consideration of and action upon the

appointment.

{k} Notwithstanding the provisions of article seven of the public officers law, no meeting or
proceeding of the independent review committee shall be open to the pnblic, except the
applicable records pertaining to the review and selection process for a member's seat shall
be subject to disclosure pursuant to article six of the public officers law only after an
individual member is appointed to the commission. Requests for such records shall be

made to, and processed by, the commission's records access officer.

() The independent review committee shall neither be public officers nor be subject to the

requirements of the public officers law.

(m) Notwithstanding subdivision W) of this section, the independent review committee
members shall be entitled to representation, indemnification, and to be held harmless to
the same extent as any other person employed in service of the state and entitled to such
coverage under sections seventeen and nineteen of the public officers law, provided
however, that any independent review comunittee member removed due to a violation of

paragraph (i) of this subdivision shal! not qualify for such entitlements.

4. Commission. (a) The first class of members of the commission shall serve staggered terms to ensure
continuity, For the first class of the commission, five members shall serve a term of four years, three

members shall serve a term of two years, and one member shall serve a term of one year. All

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subsequent members shall serve a term of four years. No member shall be selected to the

commission for more than two full consecutive terms, except that a member who has held the

position by filling a vacancy can only be selected to the commission for an additional two full

consecutive terms.

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The commission by majority vote shall elect a chairperson from among its members for a term

of two years. A chairperson may be elected to no more than two terms for such office,

Members of the commission may be removed by majority vote of the commission for substantial
neglect of duty, misconduct in office, violation of the confidentiality restrictions set forth in this
section, inability to discharge the powers or duties of office or violation of this section, after

written notice and opportunity for a reply.

Any vacancy occurring on the commission shall be filled within thirty days of its occurrence in

the same manner as a member is initially selected to complete the vacant term.

During the period of a member's service as a member of the commission, the member shall
refrain from making, or soliciting from other persons, any contributions to candidates, political
action committees, political parties or committees, newsletter funds, or political advertisements
for election to the offices of governor, lieutenant governor, member of the assembly or the

senate, attorney general or state comptroller.

Members of the commission shall receive a per diem allowance equal to the salary of a justice of

the supreme court divided by two hundred twenty for each day or each pro-rated day actually
spent in the performance of the member's duties under this section, and, in addition thereto,
shall be reimbursed for all reasonable expenses actually and necessarily incurred by the member
in the performance of the member's duties under this section. For the purposes of this
subdivision, a day shall consist of at least seven and one-half hours spent in the performance of

the member's duties under this section.

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(g) The commission shall meet at least quarterly and additionally as called by the chairperson, or
upon the call of a majority of the members of the commission. The commission shall be subject

to articles six and seven of the public officers law.

(h) A majority of the members of the commission shall constitute a quorum, and the commission
shall have the power to act by majority vote of the total number of members of the commission

without vacancy.

(i) The commission shall hold a public hearing at least once each calendar year to take testimony
regarding the operation of the commission and solicit public input regarding potential or

proposed changes in the laws under its jurisdiction.

5. Powers. (a) The commission has the authority to: (i) adopt, amend, and rescind any rules and
regulations pertaining to section seventy-three, seventy-three-a or seventy-four of the public officers

law, article one-A of the legislative law, or section one hundred seven of the civil service law; (ii)
adopt, amend, and rescind any procedures of the commission, including but not limited to,
procedures for advice and guidance, training, filing, review, and enforcement of financial disclosure

” statements, investigations, enforcement, and due process hearings; and (iii} develop and promulgate

any programs for reviews, training, and guidance to carry out the commission's mission.

(b) The commission shall adopt and post on its website guidance documents detailing the processes
~ anid procedures of aii investigation, including the’stages of an investigation; timelines, including
the reasons for any potential delays in an investigation; the hearing and adjudication process;
outcomes of an investigation; and, anything else the commission deems necessary to inform the
public as well as relevant parties to an investigation including complainants, respondents,
victims, if any, and witnesses as to such processes and procedures. The guidance documents
shall delineate the processes and procedures that apply to the relevant parties, including, where
applicable, the due process and any other rights or remedies that the relevant party may have
under the commission's procedures or any other area of law. The guidance documents shall be
provided to the relevant party of an investigation upon such party's involvement in such

investigation.

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(c} The commission has the authority to compel the testimony of witnesses, and may administer
oaths or affirmations, subpoena witnesses, compel their attendance and require the production

of any books or records which it may deem relevant or material.
6. Executive director and commission staff. The commission shall:

(a) () Appoint an executive director through a majority vote of the members of the commission,
who shall act in accordance with the policies of the commission. The executive director shall be
appointed without regard to political affiliation and solely on the basis of fitness to perform the
duties assigned by this section, and meet the qualifications necessary for the services required
based on their background and expertise that relate to the candidate's potential service to the
commission. No individual shall be eligible to be appointed as an executive director if the

individual is currently, or within the last two years has been:
(i) registered as a lobbyist in New York state;

(2) a member or employee of the New York state legislature or a statewide elected

official, or a commissioner of an executive agency appointed by the governor; or

(3) a political party chair, as defined in section seventy-three of the public officers

law,

(ii) The appointment and removal of the executive director shall be made by a majority vote of

the commission.

(iii) The terin of office of the executive director shall be four years from the date of appointment.
The salary of the executive director shall be determined by the members of the commission

based on experience.

(iv) The commission may remove the executive director for neglect of duty, misconduct in
office, violation of the confidentiality restrictions in this section, or inability or failure to
discharge the powers or duties of office, including the failure to follow the lawful

instructions of the commission.

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The commission may delegate authority to the executive director to act in the name of the
commission between meetings of the commission provided such delegation is in writing, the

specific powers to be delegated are numerated, and the commission shall not delegate any

decisions specified in this section that require a vote of the commission.

The commission, through the executive director, shall establish units within the commission
to carry out it duties, including, but not limited to, (i) an advice and guidance unit, (ii) a training
unit, (iii) a financial disclosure unit, (iv) a lobbying unit, and (v) an investigations and

enforcement unit.

The commission, through the executive director, shall appoint such other staff as are necessary
to carry out its duties under this section, including, but not limited to, a deputy director of an
advice and guidance unit to provide timely confidential advice to persons subject to the
commission's jurisdiction, a deputy director for training, a deputy director for investigations

and enforcement, and a deputy director for lobbying.

In addition to meeting the qualifications necessary for the services required for the position, the
deputy director for investigations and enforcement shall have completed substantial training
and have experience in trauma-informed approaches to investigations and enforcement, The
deputy director for investigations and enforcement shall complete a minimum of four hours of
training annually in trauma-informed approaches to investigations and enforcement. Such

trainings may include, but not be Hmited to, the impact of trauma, first impression matters,

victim interviews, investigative strategies, and aicohol and drug facilitated cases,

The commission, through the executive director, shall review and approve a staffing plan
provided and prepared by the executive director which shall contain, at a minimum, a list of the
various units and divisions as well as the number of positions in each unit, titles and their duties,

and salaries, as well as the various qualifications for each position,

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7.

8.

Advice and guidance.

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The commission shall establish a unit or units solely for ethics and lobbying guidance, and
give such prompt, informal advice to persons whose conduct it oversees, except with
respect to members of the legislature and legislative staff, who shall seek advice from the

legislative ethics commission in the first instance,

Persons receiving such informal advice may rely on that advice absent misrepresentation
or omission of material facts to the commission and such communications with the
commission shall be treated as confidential, except as disclosure is needed to prevent or
rectify a crime or fraud, or prevent a substantial threat to public health or safety or if

required by court order.

The commission may also render, on written request or on its own initiative, advisory
opinions, and may allow for public comment before issuance ofan advisory opinion. Such
an opinion rendered by the commission shall be relied on by those subject to the
commission's jurisdiction and until, or unless, amended, superseded, or revoked, Such
opinion may also be relied upon by any such person, and may be introduced and shall be

a defense, in any criminal or civil action.

Training. The commission shall establish a training unit and shalf develop and administer an on-

going program for the education and training in ethics and lobbying for those subject to the

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provisions of this section, as follows:

The commission shail develop and administer a comprehensive and interactive live-in
person or live-online ethics training course and shall designate and train instructors to

conduct such training. Such live course shall be designed to include practical application

.of the material covered and a question-and-answer participatory segment. Unless the

commission grants an extension or waiver for good cause shown, statewide elected
officials, members of the legislature and employees of the legislature, and state officers and

employees as defined in sections seventy-three, seventy-three-a, and seventy-four of the

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public officers law, and the political party chair as is detined in section seventy-three of the
public officers law, shall complete the live course within ninety days of appointment or

employment and shall complete the live course every two years subsequently.

{b) The commission shail develop and administer an online ethics refresher course for all
individuals listed under subparagraph (i) of this paragraph who have previously compieted
the live course. Such refresher course shall be designed to include any changes in law,
regulation, or policy or in the interpretation thereof, and practical application of the
material covered, Unless the coinmission grants an extension or waiver for good cause
shown, such iudividuals shall take such refresher course once every year after having

completed the live course under paragraph (a) of this subdivision,

(c) The commission shall develop and administer an online live question and answer course

for agency ethics officers.

(d) The commission shall develop and administer training courses for lobbyists and clients of

lobbyists.

{e) The provisions of this subdivision shall be applicable to the legislature except to the extent
that an ethics training program is otherwise established by the assembly and/or senate for
their respective members and employees and such program meets or exceeds each of the

~ requirements set forth in this subdivision.

(§ On an annual basis, the commission, in coordination with the legislative ethics
commission, shall determine the status of compliance with the training requirements
under this subdivision by each state agency and by the senate and the assembly. Such
determination shall include aggregate statistics regarding participation in such training

and shall be reported on a quarterly basis to the governor and the legislature in writing.

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9.

Financial disclosure statements.

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The commission may delegate all or part of review, inquiry and advice in this section to

the staff under the supervision of the executive director.

The commission shall make available forms for annual statements of financial disclosure

required to be filed pursuant to section seventy-three-a of the public officers law,

The commission shall review the financial disclosure statements of the statewide elected
officials and members of the legislature within sixty days of their filings to determine,

among other things, deficiencies and conflicts.

The commission shall review on a random basis the financial disclosure statements for

filers who are not statewide elected officials and members of the legislature.

The commission shall review financial disclosure statements filed in accordance with the
provisions of this section and (i) inquire into any disclosed conflict to recommend how
best to address such conflict; and (ii) ascertain whether any person subject to the reporting
requirements of section seventy-three-a of the public officers law has failed to file such a
statement, has filed a deficient statement or has filed a statement which reveals a possible

violation of section seventy-three, seventy-three-a or seventy-four of the public officers

. law.

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Ifa person required to file a financial disclosure statement with the commission has failed
to file a disclosure statement or has filed a deficient statement, the commission shall notify
the reporting person in writing, state the failure to file or detail the deficiency, provide the
person with a fifteen-day period to cure the deficiency, and advise the person of the
penalties for failure to comply with the reporting requirements. This first notice of
deficiency shall be confidential, If the person fails to make such filing or fails to cure the
deficiency within the specified time period, the commission shall send a notice of
delinquency (i) to the reporting person; (ii} in the case of a statewide elected official, to the

chief of staff or counsel to the statewide elected official; (iii) in the case of a member of the

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legislature or a legislative employee, to the temporary president of the senate and the
speaker of the assembly; and {iv} in the case of a state officer, employee or board member,
to the appointing authority for such person. Such notice of delinquency may be sent at any
time during the reporting person's service as a statewide elected official, state officer or
employee, member of the assembly or the senate, or a legislative employee or a political
party chair or while a candidate for statewide office, or within one year after termination
of such service or candidacy. A copy of any notice of delinquency or report shall be
included in the reporting person's file and be available for public inspection and copying
pursuant to the provisions of this section. The jurisdiction of the commission, when acting
pursuant to this subdivision with respect to financial disclosure, shall continue for two
years notwithstanding that the reporting person separates from state service, or ceases to
hold public or political party office, or ceases to be a candidate, provided the commission
notifies such person of the alleged failure to file or deficient filing pursuant to this

subdivision.

(g) The commission shail adopt a procedure whereby a person who is required to file an
annual financial disclosure statement with the commission may request an additional
period of time within which to file such statement, other than members of the legislature,
candidates for members of the legislature and legislative employees, due to justifiable cause

or undue hardship.

(h) The commission may permit any person who is required to file a financial disclosure
statement with the commission to request that the commission delete from the copy
thereof made available for public inspection and copying one or more items of information
which may be deleted by the commission upon a finding by the commission that the
information which would otherwise be required to be made available for public inspection
and copying will have no material bearing on the discharge of the reporting person's
official duties. If such request for deletion is denied, the commission, in its notification of

denial, shall inform the person of their right to appeal the commission's determination in

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a proceeding commenced against the commission, pursuant to article seventy-eight of the

civil practice law and rules.

The commission may permit any person who is required to file a financial disclosure
statement with the commission to request an exemption from any requirement to report
one or more items of information which pertain to such person's spouse, domestic partner,
or unemancipated children which item or items may be exempted by the commission
upona finding by the commission that the reporting individual's spouse, domestic partner,
on their own behalf, or on behalf of an unemancipated child, objects to providing the
information necessary to make such disclosure and that the information which would
otherwise be required to be reported shall have no material bearing on the discharge of the
reporting person's official duties. Ifsuch request for exemption is denied, the commission,
in its notification of denial, shall inform the person of their right to appeal the
commission's determination, pursuant to article seventy-eight of the civil practice law and

rules,

The commission may permit any person required to file a financial disclosure statement
to request an exemption from any requirement to report the identity of a client pursuant
to the question under subparagraph (b} of paragraph eight of subdivision three of section

seventy-three-a of the public officers law in such statement based upon an exemption set

- forth in-sueh question. The reporting individual need-net-seek an exemption to refrain

from disclosing the identity of any client with respect to any matter where they or their
firm provided legal representation to the client in connection with an investigation or
prosecution by law enforcement authorities, bankruptcy, or domestic relations matters. In
addition, clients or customers receiving medical or dental services, mental health services,
residential real estate brokering services, or insurance brokering services need not be
disclosed. Pending any application for deletion or exemption to the commission relating
to the filing of a financial disclosure stateinent, all information which is the subject or part
of the application shall remain confidential. Upon an adverse determination by the

commission, the reporting individual may request, and upon such request the commission

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shall provide, that any information that is the subject or part of the application remain
confidential for a period of thirty days following notice of such determination. In the event
that the reporting individual resigns their office and holds no other office subject to the
jurisdiction of the commission, the information shall not be made public and shall be

expunged in its entirety.

(k) The commission shall permit any person who has not been determined by the person's
appointing authority to hold a policy-making position, but who is otherwise required to
file a financial disclosure statement to request an exemption from such requirement in
accordance with rules and regulations governing such exemptions. Such rules and
regulations shall provide for exemptions to be granted either on the application of an
individual or on behalf of persons who share the same job title or employment
classification which the commission deems to be comparable for purposes of this section,
Such rules and regulations may permit the granting of an exemption where, in the
discretion of the commission, the public interest does not require disclosure and the

applicant's duties do not involve the negotiation, authorization or approval of:

(i) contracts, leases, franchises, revocable consents, concessions, variances, special
permits, or licenses as such terms are defined in section seventy-three of the public

officers law;

(ii) the purchase, sale, rental or lease of real property, goods or services, or a contract

therefor;

(iii) the obtaining of grants of money or loans; or

(iv} the adoption or repeal of any rule or regulation having the force and effect of law.

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10.

Investigation and enforcement.

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The commission shall receive complaints and referrals alleging violations of section seventy-
three, seventy-three-a or seventy-four of the public officers law, article one-A of the legislative

law, or section one hundred seven of the civil service law.

Upon the receipt ofa complaint, referral, or the commencement of an investigation, members
of the commission shall disclose to the commission any personal, professional, financial, or
other direct or indirect relationships a member of the commission may have with a complainant
or respondent. If any commissioner determines a conflict of interest may exist, the
commissioner shall, in writing, notify the other members of the commission setting forth the
possible conflict of interest. The commissioner may recuse themself from ail subsequent
involvement in the consideration and determination of the matter. If, after the disclosure, the
commissioner does not recuse themself from the matter, the commission, by a majority vote
finding that the disclosed information creates a substantial conflict of interest, shall remove the
contlicted commissioner from all subsequent involvement in the consideration and
determination of the matter, provided the reason for the decision is clearly stated in the

determination of the commission.

The commission shall conduct any investigation necessary to carry out the provisions of this
section. Pursuant to this power and duty, the commission may administer oaths or affirmations,
subpoena witnesses, compel their attendance and testimony, and require the production of any
books or records which it may deem relevant or material. The commission may, by a majority
vote and pursuant to regulations adopted pursuant to the state administrative procedure act,
delegate to the executive director the authority to issue subpoenas, provided that the executive

director first notify the chair of the commission.

The commission staff shall review and investigate, as appropriate, any information in the nature
ofa complaint or referral received by the commission or initiated by the commission, including
through its review of media reports and other information, where there is specific and credible

evidence that a violation of section seventy-three, seventy-three-a, or seventy-four of the public

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officers law, section one hundred seven of the civil service law or article one-A of the legislative
law by a person or entity subject to the jurisdiction of the commission including members of the

legislature and legislative employees and candidates for members of the legislature.

The commission shall notify the complainant, if any, that the commission has received their

complaint.

If, following a preliminary review of any complaint or referral, the commission or commission
staff decides to elevate such preliminary review into an investigation, written notice shall be
provided to the respondent setting forth, to the extent the commission is able to, the possible or
alleged violation or violations of such law and a description of the allegations against the
respondent and the evidence, if any, already gathered pertaining to such allegations, provided
however that any information that may, in the judgment of the commission or staff, either be
prejudicial to the complainant or compromise the investigation shall be redacted. The
respondent shall have fifteen days from receipt of the written notice to provide any preliminary
response or information the respondent determines may benefit the commission or commission
staff in its work. After the review and investigation, the staff shall prepare a report to the
commission setting forth the allegation or allegations made, the evidence gathered in the review
and investigation tending to support and disprove, if any, the allegation or allegations, the
relevant law, and a recommendation for the closing of the matter as unfounded or
unsubstantiated, for settlement, for guidance, or moving the matter to a confidential due process
hearing. The commission shail, by majority vote, return the matter to the staff for further

investigation or accept or reject the staff recommendation.

In an investigation involving a victim the commission shall ensure that any interview of such,
victim is upon such victim's consent and that the investigator or investigators interviewing such
victim have adequate trauma informed and victim centered investigative training, If a victim is
requested to testify at a hearing, the commission shall provide sufficient notice to the victim of

such request. Regardless of whether a victim is requested to or testifies at a hearing, the victim

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shall be informed as to how any statements made or information provided will be used in an

investigation.

Upon the conclusion of an investigation, if the commission, after consideration of a staff report,
determines by majority vote that there is credible evidence of a violation of the laws under its
jurisdiction, it shall provide the respondent timely notice for a due process hearing. The
commission shall also inform the respondent of its rules regarding the conduct of adjudicatory
proceedings and appeals and the other due process procedural mechanisms available to the
respondent. If after a hearing the complaint is unsubstantiated or unfounded, the commission
shall provide written notice to the respondent, complainant, if any, and victim, if any, provided
that such notice shail not include any personally identifying information or information tending

to identify any party involved in an investigation.

The hearing shall be conducted before an independent arbitrator. Such hearing shall afford the
respondent with a reasonable opportunity to appear in person, and by attorney, give sworn

testimony, present evidence, and cross-examine witnesses.

The commission may, at any time, develop procedures and rules for resolution of de minimus
or minor violations that can be resolved outside of the enforcement process, including the

sending of a confidential guidance or educational letter.

"Fhe: jurisdiction of the commission when acting pursuant to this section “shall continue
notwithstanding that a statewide elected official or a state officer or employee or member of the
legislature or legislative employee separates from state service, or a political party chair ceases to
hold such office, or a candidate ceases to be a candidate, or a lobbyist or client of a lobbyist ceases
to act as such, provided that the commission notifies such individual or entity of the alleged
violation of law within two years from the individual's separation from state service or
termination of party service or candidacy, or from the last report filed pursuant to article one-A
of the legislative law. Nothing in this section shall serve to limit the jurisdiction of the
commission in enforcement of subdivision eight of section seventy-three of the public officers

law.

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() If the commission's vote to proceed to a due process hearing after the completion of an
investigation does not carry, the commission shall provide written notice of the decision to the
respondent, complainant, if any, and victim, if any, provided that such notice shall not include
any personally identifying information or information tending to identify any party involved in

an investigation.

(m) If the commission determines a complaint or referral lacks specific and credible evidence of a
violation of the laws under its jurisdiction, or a matter is closed due to the allegations being
unsubstantiated prior to a vote by the commission, such records and all related material shall be
exempt from public disclosure under article six of the public officers law, except the
commission's vote shall be publicly disclosed in accordance with articles six and seven of the
public officers law. The commission shall provide written notice of such closure to the
respondent, complainant, if any, or victim, if any, provided that such notice shall not include
any personally identifying information or information tending to identify any party involved in

an investigation.

(n) (i) Anindividual subject to the jurisdiction of the commission who knowingly and intentionally
violates the provisions of subdivisions two through five-a, seven, eight, twelve or fourteen
through seventeen of section seventy-three of the public officers law, section one hundred seven
of the civil service law, or a reporting individual who knowingly and willfully fails to file an
anntial statement of financial discléstire or who knowingly and willfully with intent to deceive
makes a false statement or fraudulent omission or gives information which such individual
knows to be fafse on such statement of financial disclosure filed pursuant to section seventy-
three-a of the public officers law, shall be subject to a civil penalty in an amount not to exceed
forty thousand dollars and the value of any gift, compensation or benefit received as a result of

such violation.

(i) An individual who knowingly and intentionally violates the provisions of paragraph a, b, c,

d, e, g, or i of subdivision three of section seventy-four of the public officers law, shall be

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subject to a civil penalty in an amount not to exceed ten thousand dollars and the value of

any gift, compensation or benefit received as a result of such violation.

(ii) An individual subject to the jurisdiction of the commission who knowingly and willfully
violates article one-A of the legislative law shall be subject to civil penalty as provided for in

that article,

(iv) With respect to a potential violation of any criminal law where the commission finds
sufficient cause by a majority vote, it shall refer such matter to the appropriate law

enforcement authority for further investigation.

(v) In assessing the amount of the civil penalties to be imposed, the commission shall consider
the seriousness of the violation, the amount of gain to the individual and whether the
individual previously had any civil or criminal penalties imposed pursuant to this section,

and any other factors the commission deems appropriate.

(vi) A civil penalty for false filing shall not be imposed under this subdivision in the event a
category of “value’ or "amount" reported hereunder is incorrect unless such reported

information is falsely understated.

(vii) Notwithstanding any other provision of law to the contrary, no other penalty, civil or
criminal may be imposed for a failure to file, or for a false filing; of such statement, or a
violation of subdivision six of section seventy-three of the public officers law or section one
hundred seven of the civil service law, except that the commission may recommend that the

individual in violation of such subdivision or section be disciplined.

The commission shall be deemed to be an agency within the meaning of article three of the state
administrative procedure act and shall adopt rules governing the conduct of adjudicatory
proceedings and appeals taken pursuant to a proceeding commenced under article seventy-eight
of the civil practice law and rules relating to the assessment of the civil penalties or the

recommendation of employee discipline herein authorized. Such rule shall provide for due

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process procedural mechanisms substantially similar to those set forth in article three of the state

administrative procedure act but such mechanisms need not be identical in terms or scope.

(p) (i) The commission shall have jurisdiction to investigate, but shall have no jurisdiction to impose
penalties or discipline upon members of or candidates for member of the legislature or iegislative
employees for any violation of the public officers law or section one hundred seven of the civil
service law. If, after investigation and a due process hearing, the commission has found, by a
majority vote, a substantial basis to conclude that a member of the legislature or a legislative
employee or candidate for member of the legislature has violated any provisions of such laws, it
shall prepare a written report of its findings and provide a copy of that report to the legislative
ethics commission, and to such individual in violation of such law. The commission shall
provide to the legislative ethics commission copies of the full investigative file and hearing

record,

(ii) With respect to the investigation of any individual who is not a member of the legislature or
a legislative employee or candidate for member of the legislature, if after its investigation
and due process hearing, the commission has found, by a majority vote, a substantial basis
to conclude that the individual or entity has violated the public officers law, section one
hundred seven of the civil service law, or the legislative law, the commission shall determine
whether, in addition to or in lieu of any fine authorized by this article, the matter should be
référred to theit éityployer for discipline with a warning, adtiidnition, censure, suspension
or termination or other appropriate discipline. With regard to statewide elected officials, the
commission may not order suspension or termination but may recommend impeachment.
The commission shalf then issue a report containing its determinations including its
findings of fact and conclusions of law to the complainant and respondent. The commission
shalf publish such report on its website within twenty days of its delivery to the complainant

and respondent.

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Confidentiality.

(a)

(b)

(c)

When an individual becomes a commissioner or staff of the commission, such individual shall

be required to sign a non-disclosure statement.

Except as otherwise required or provided by law, or when necessary to inform the complainant
or respondent of the alleged violation of iaw, if any, of the status of an investigation, testimony
received, or any other information obtained by a commissioner or staff of the commission, shall
not be disclosed by any such individual to any person or entity outside of the commission during
the pendency of any matter. Any confidential communication to any person or entity outside
the commission related to the matters before the commission shall occur only as authorized by
the commission, For the purposes of this paragraph, “matter shall mean any complaint, review,

inquiry, or investigation into alleged violations of this chapter,

The commission shall establish procedures necessary to prevent the unauthorized disclosure of
any information received by any member of the commission or staff of the commission, Any
breaches of confidentiality may be investigated by the New York state office of the inspector
general, attorney general, or other appropriate law enforcement authority upon a majority vote

of the commission to refer, and appropriate action shall be taken.

(d) Any commission member or person employed by the commission who intentionally and

commission shall be guilty ofa class A misdemeanor.

Annual report.

{a}

The commission shall make an annua! public report summarizing the activities of the
commission during the previous year and recommending any changes in the laws governing the
conduct of persons subject to the jurisdiction of the commission, or the rules, regulations and

procedures governing the commission's conduct, Such report shall include, but is not limited to:

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() information on the number and type of complaints received by the commission and the

status of such complaints;
(ii) information on the number of investigations pending and nature of such investigations;

(iii} where a matter has been resolved, the date and nature of the disposition and any
sanction imposed; provided, however, that such annual report shall not contain any

information for which disclosure is not permitted pursuant to this section or other laws;
(iv) information regarding financial disclosure compliance for the preceding year; and
(v) information regarding lobbying law filing compliance for the preceding year.

{b) Sucha report shall be filed in the office of the governor and with the legislature on or before the

first day of April for the preceding year,
13. Website.

(a) Within one hundred twenty days of the effective date of this section, the commission shall
update JCOPE's publicly accessible website which shall set forth the procedure for filing a
complaint with the commission, the filing of financial disclosure statements filed by state officers
or employees or legislative employees, the filing of statements required by article one-A of the
legislative law, and any-other records or information which the commission determines to be

appropriate.
(b) The commission shall post on its website the following documents:

(i} the information set forth in an annual statement of financial disclosure filed pursuant
to section seventy-three-a of the public officers law except information deleted pursuant
to paragraph (g) of subdivision nine of this section of statewide elected officials and

members of the legislature;

(ii) notices of delinquency sent under subdivision nine of this section;

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(iii) notices of civil assessments imposed under this section which shall include a description
of the nature of the alleged wrongdoing, the procedural history of the complaint, the

findings and determinations made by the commission, and any sanction imposed;

(iv) the terms of any settlement or compromise of a complaint or referral which includes a

fine, penalty or other remedy;

(v) those required to be held or maintained publicly available pursuant to article one-A of

the legislative law; and
(vi) reports issued by the commission pursuant to this section,

14. Additional powers. In addition to any other powers and duties specified by law, the commission ~

shall have the power and duty to administer and enforce ail the provisions of this section.

15. Severability. If any part or provision of this section or the application thereof to any person or
organization is adjudged by a court of competent jurisdiction to be unconstitutional or otherwise
invalid, such judgment shall not affect or impair any other part or provision or the application
thereof to any other person or organization, but shall be confined in its operation to such part or

provision.

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Legislative Law Article 5 § 80.

Legislative ethics conimission; functions, powers and duties; review of financial disclosure statements; advisory

opinions; imposition of penalties or other enforcement actions.

1. Theré is established a legislative ethics cominission which shall consist of nine members. Four
members shall be members of the legislature and shall be appointed as follows: one by the temporary
president of the senate, one by the speaker of the assembly, one by the minority leader of the senate
and one by the minority leader of the assembly. The remaining five members shall not be present or
former members of the legislature, candidates for member of the legislature, employees of the
legislature, political party chairmen as defined in paragraph (k) of subdivision one of section seventy-
three of the public officers law, or lobbyists, as defined in section one-c of this chapter, or persons
who have been employees of the legislature, political party chairmen as defined in paragraph (k) of
subdivision one of section seventy-three of the public officers law, or lobbyists, as defined in section
one-c of this chapter in the previous five years, and shall be appointed as follows: one by the
temporary president of the senate, one by the speaker of the assembly, one by the minority leader of
the senate, one by the minority leader of the assembly, and one jointly by the speaker of the assembly
and majority leader of the senate. The commission shall serve as described in this section and have
and exercise the powers and duties set forth in this section only with respect to members of the
legislature, legislative ernployees as defined in section seventy-three of the public officers law, .
candidates for member of the legislature and individuals who have formerly held such positions or

who have formerly been such candidates.

2. Members of the legislature who serve on the commission shall each have a two year term concurrent
with their legislative terms of office. The members of the commission who are not members of the
legislature and who are first appointed by the temporary president of the senate, speaker of the
assembly, minority leader of the senate, and minority leader of the assembly shall serve one, two,
three and four year terms, respectively. The member of the commission first appointed jointly by

the temporary president of the senate and speaker of the assembly shall serve a four year term. Each

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member of the commission who is not a member of the legislature shall be appointed thereafter for

a term of four years.

3, The temporary president of the senate and the speaker of the assembly shall each designate one
member of the commission as a co-chairperson thereof, The commission shall meet at least bi-
monthly and at such additional times as may be called for by the co-chairpersons jointly or any five

members of the commission.

4. Any vacancy occurring on the commission shall be filled within thirty days by the appointing

authority.

5. Five members of the commission shall constitute a quorum, and the commission shall have power

to act by majority vote of the total number of members of the commission without vacancy.

6. The members of the commission who are not members of the legislature shall be reimbursed for
reasonable expenses and receive a per diem allowance in the sum of three hundred dollars for each

day spent in the performance of their official duties.
7, The commission shall:

a. Appoint an executive director who shall act in accordance with the policies of the
commission, provided that the commission may remove the executive director for neglect
of duty, misconduct in office, or inability or failure to discharge the powers or duties of

office;
b. Appoint such other staff as are necessary to assist it to carry out its duties under this section;

c. Adopt, amend, and rescind policies, rules and regulations consistent with this section to
govern procedures of the commission which shall not be subject to the promulgation and

hearing requirements of the state administrative procedure act;

d. Administer the provisions of this section;

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e, Specify the procedures whereby a person who is required to file an annua! financial
disclosure statement with the commission may request an additional period of time within
which to file such statement, due to justifiable cause or undue hardship; such rules or
regulations shall provide for a date beyond which in all cases of justifiable cause or undue

hardship no further extension of time will be granted;

f. Promulgate guidelines to assist appointing authorities in determining which persons hold
policy-making positions for purposes of section seventy-three-a of the public officers law
and may promulgate guidelines to assist firms, associations and corporations in separating
affected persons from net revenues for purposes of subdivision ten of section seventy-three
of the public officers law, and promulgate guidelines to assist any firm, association or
corporation in which any present or former statewide elected official, state officer or
employee, member of the legislature or legislative employee, or political party chair is a
member, associate, retired member, of counsel or shareholder, in complying with the
provisions of subdivision ten of section seventy-three of the public officers law with respect
to the separation of such present or former statewide elected official, state officer or
employee, member of the legislature or legislative employee, or political party chair from
the net revenues of the firm, association or corporation. Such firm, association or
corporation shall not be required to adopt the procedures contained in the guidelines to
establish compliance with subdivision ten of section seventy-three of the public officers law,
but if such firm, association or corporation does adopt such procedures, it shall be deemed

to be in compliance with such subdivision ten;

g. Make available forms for financial disclosure statements required Co be filed pursuant to
subdivision six of section seventy-three and section seventy-three-a of the public officers law

as provided by the commission on ethics and lobbying in government;

h. Review financial disclosure statements in accordance with the provisions of this section,
provided however, that the commission may delegate all or part of the review function

relating to financial disclosure statements filed by legislative employees pursuant to sections

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seventy-three and seventy-three-a of the public officers law to the executive director who
shall be responsible for completing staff review of such statements in a manner consistent

with the terms of the commission's delegation;

Upon written request from any person who is subject to the jurisdiction of the commission
and the requirements of sections seventy-three, seventy-three-a and seventy-four of the
public officers law, render formal advisory opinions on the requirements of said provisions,
A formal written opinion rendered by the commission, until and unless amended or
revoked, shall be binding on the legislative ethics commission in any subsequent proceeding
concerning the person who requested the opinion and who acted in good faith, unless
material facts were omitted or misstated by the person in the request for an opinion. Such
opinion may also be relied upon by such person, and may be introduced and shall be a
defense in any criminal or civil action. The commission on ethics and lobbying in
government shall not investigate an individual for potential violations of law based upon
conduct approved and covered in its entirety by such an opinion, except that such opinion
shall not prevent or preclude an investigation of and report to the legislative ethics
commission concerning the conduct of the person who obtained it by the commission on
ethics and lobbying in government for violations of section seventy-three, seventy-three-a
or seventy-four of the public officers law to determine whether the person accurately and
fully represented to the legislative ethics commission the facts relevant to the formal
advisory opinion and whether the person's conduct conformed to those factual
representations, The commission on ethics and lobbying in government shall be authorized
and shall have jurisdiction to investigate potential violations of the law arising from conduct

outside of the scope of the terms of the advisory opinion; and

Issue and publish generic advisory opinions covering questions frequently posed to the
commission, or questions common to a class or defined category of persons, or that will
tend to prevent undue rep etition of requests or undue complication, and which are intended
to provide general guidance and information to persons subject to the commission's

jurisdiction;

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k. Develop educational materials and training with regard to legislative ethics for members of
the legislature and legislative employees including an online ethics orientation course for
newly-hired employees and, as requested by the senate or the assembly, materials and

training in relation to a comprehensive ethics training program; and

|, Prepare an annual report to the governor and legislature summarizing the activities of the
commission during the previous year and recommending any changes in the laws governing
the conduct of persons subject to the jurisdiction of the commission, or the rules, regulations
and procedures governing the commission's conduct. Such report shall inciude: (i) a listing
by assigned number of each complaint and report received from the commission on ethics
and lobbying in government which alleged a possible violation within its jurisdiction,
including the current status of each complaint, and (ji) where a matter has been resolved,
the date and nature of the disposition and any sanction imposed, subject to the
confidentiality requirements of this section. Such annual report shall not contain any
information for which disclosure is not permitted pursuant to subdivision twelve of this

section.

8. The jurisdiction of the commission to impose penalties when acting pursuant to this section shall
continue notwithstanding that a member of the legislature or a legislative employee separates from
state service, or a candidate for member of the legislature ceases to bea candidate, provided that such
individual has been notified of the alleged violation of law within one year from his or her separation

from state service or the termination of his or her candidacy.

9, {a} An individual subject to the jurisdiction of the commission with respect to the imposition of
penalties who knowingly and intentionally violates the provisions of subdivisions two through five-
a, seven, eight, twelve, fourteen or fifteen of section seventy-three of the public officers taw or a
reporting individual who knowingly and wilfully fails to file an annual statement of financial
disclosure or who knowingly and wilfully with intent to deceive makes a false statement or gives
information which such individuat knows to be false on such statement of financial disclosure filed

pursuant to section seventy-three-a of the public officers law shall be subject to a civil penalty in an

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amount not to exceed forty thousand dollars and the value of any gift, compensation or benefit
received as a result of such violation, Any such individual who knowingly and intentionally violates
the provisions of paragraph a, b, c, d, e, g, or i of subdivision three of section seventy-four of the
public officers law shall be subject to a civil penalty in an amount not to exceed ten thousand doilars
and the value of any gift, compensation or benefit received as a resuit of such violation. Assessment
of a civil penalty hereunder shall be made by the commissiou with respect to persons subject to its
jurisdiction. In assessing the amount of the civil penalties to be imposed, the commission shall
consider the seriousness of the violation, the amount of gain to the individual and whether the
individual previously had any civil or criminal penalties imposed pursuant to this section, and any
other factors the commission deems appropriate. For a violation of this section, other than for
conduct which constitutes a violation of subdivision twelve, fourteen or fifteen of section seventy-
three or section seventy-four of the public officers law, the legislative ethics commission may, in lieu
of or in addition to a civil penalty, refer a violation to the appropriate prosecutor and upon such
conviction, but only after such referral, such violation shall be punishable as a class A misdemeanor.
Where the commission finds sufficient cause, it shall refer such matter to the appropriate prosecutor,
A civil penalty for false filing may not be imposed hereunder in the event a category of “value” or
"amount" reported hereunder is incorrect unless such reported information is falsely understated.
Notwithstanding any other provision of law to the contrary, no other penalty, civil or criminal may

be imposed for a failure to file, or for a false filing, of such statement, or a violation of subdivision

- six of section seventy-three of the public-officers-faw, except that the appointing ‘authority may”

impose disciplinary action as otherwise provided by law. The legislative ethics commission shall be
deemed to be an agency within the meaning of article three of the state administrative procedure act
and shall adopt rules governing the conduct of adjudicatory proceedings and appeals taken pursuant
to a proceeding commenced under article seventy-eight of the civil practice law and rules relating to
the assessment of the civil penalties herein authorized. Such rules, which shall not be subject to the
promulgation and hearing requirements of the state administrative procedure act, shail provide for
due process procedural mechanisms substantially similar to those set forth in such article three but
such mechanisms need not be identical in terms or scope. Assessment of a civil penalty shall be final

unless modified, suspended or vacated within thirty days of imposition, with respect to the

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assessinent of such penalty, or unless such denial of request is reversed within such time period, and
upon becoming final shall be subject to review at the instance of the affected reporting individuals
in a proceeding commenced against the legislative ethics commission, pursuant to article seventy-

eight of the civil practice law and rules,

b: Not later than twenty calendar days after receipt from the commission on ethics and
lobbying in government of a written substantial basis investigation report and any
supporting documentation or other materiais regarding a matter before the commission
pursuant to section ninety-four of the executive law, unless reques ted by a law enforcemeut
agency to suspend the commission's action because of an ongoing criminai investigation,
the legislative ethics commission shall make public such report in its entirety; provided,
however, that the commission may withhold such information for not more than one
additional period of the same duration or refer the matter back to the commission on ethics
and lobbying in government once for additional investigation, in which case the legislative
ethics commission shall, upon the termination of such additional period or upon receipt of
a new report by the commission on ethics and lobbying in government after such additional
investigation, make public the written report and publish it on the commission's website, If
the legislative ethics commission fails to make public the written report received from the
commission on ethics and lobbying in government in accordance with this paragraph, the
commission on ethics : and lobbying in government shall release such report publicly
promptly and i in any event no later than ten days after the legislative ethics commission is
required to release such report. The legislative ethics commission shall not refer the matter
back to the commission on ethics and lobbying in government for additional investigation
more than once. If the commission refers the matter back to the commission on ethics and
lobbying in government for additional fact-finding, the commission on ethics and lobbying

in government's original report shall remain confidential.

10. Upon receipt of a written report from the commission on ethics and lobbying in government
pursuant to subdivision fourteen-a of section seventy-three of the public officers law, the legislative

ethics commission shall commence its review of the matter addressed in such report. No later than

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ninety days after receipt of such report, the legislative ethics commission shall dispose of the matter

by making one or more of the following determinations:

a. whether the legislative ethics commission concurs with the commission on ethics and

lobbying in government's conclusions of law and the reasons therefor;

b. whether and which penalties have been assessed pursuant to applicable law or rule and the

reasons therefor; and

c. whether further actions have been taken by the commission to punish or deter the
misconduct at issue and the reasons therefor. The commission's disposition shall be reported
in writing and published on its website no later than ten days after such disposition unless
requested by a law enforcement agency to suspend the commission's action because of an

ongoing criminal investigation.

11. If the commission has a reasonable basis to believe that any person subject to the jurisdiction of
another state oversight body may have violated section seventy-three or seventy-four of the public
officers law, section one hundred seven of the civil service law, or article one-A of this chapter, it
shall refer such violation to such oversight body unless the commission determines that such a
referral would compromise the prosecution or confidentiality ofits proceedings and, if'so, shall make
such a referral as soon as practicable, The referral by the commission shail include any information
relating thereto coming into the custody or under the control of the commission at any time prior

or subsequent to the time of the referral.

12. a. Notwithstanding the provisions of article six of the public officers law, the only records of the

commission which shail be available for public inspection and copying are:

(1) the terms of any settlement or compromise of a complaint or referral or report which
includes a fine, penalty or other remedy reached after the commission has received a
report from the commission on ethics and lobbying in government pursuant to section

ninety-four of the executive law;

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(2) generic advisory opinions;
(3) allreports required by this section; and

(4) all reports received from the commission on ethics and lobbying in government
pursuant to section ninety-four of the executive law and in conformance with paragraph

(b) of subdivision nine of this section.

b, Notwithstanding the provisions of article seven of the public officers law, no meeting or
proceeding of the commission shall be open to the public, except if expressly provided otherwise

by this section or the commission.

Within one hundred twenty days of the effective date of this subdivision, the commission shall create
and thereafter maintain a publicly accessible website which shall set forth the procedure for filing a
complaint with the commission on ethics and lobbying in government, and which shall contain any

other records or information which the commission determines to be appropriate.

This section shal! not revoke or rescind any policies, rules, regulations or advisory opinions issued
by the legislative ethics committee in effect upon the effective date of this subdivision, to the extent
that such regulations or opinions are not inconsistent with any laws of the state of New York. The
legislative ethics commission shall undertake a comprehensive review of all such policies, rules,

regulations or advisory opinions which will address the consistency of such policies, rules,

regulations or advisory opinions with the laws of the state of New York: The legislative ethics~ -

commission shall, before April first, two thousand eight, report to the governor and legislature
regarding such review and shall propose any regulatory changes and issue any advisory opinions

necessitated by such review.

Separability clause. If any part or provision of this section or the application thereof to any person is
adjudged by a court of competent jurisdiction to be unconstitutional or otherwise invalid, such
judgment shall not affect or impair any other part or provision or the application thereof to any other

person, but shall be confined to such part or provision.

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Public Officers § 73. Business or professional activities by state

officers and employees and party officers.

1. As used in this section: °

(a) The term “compensation” shall mean any money, thing of value or financial benefit conferred in
return for services rendered or to be rendered, With regard to matters undertaken by a firm,
corporation or association, compensation shail mean net revenues, as defined in accordance with
generally accepted accounting principles as defined by the commission on ethics and lobbying in
government or legislative ethics commission in relation to persons subject to their respective

jurisdictions.

(b) The term "licensing" shall mean any state agency activity, other than before the division of
corporations and state records in the department of state, respecting the grant, denial, renewal,
revocation, enforcement, suspension, annulment, withdrawal, recall, cancellation or amendment of
a license, permit or other form of permission conferring the right or privilege to engage in (i} a
profession, trade, or occupation or (ii) any business or activity regulated by a regulatory agency as
defined herein, which in the absence of such license, permit or other form of permission would be

prohibited.

(c) The term “legislative employee” shall mean any officer or employee of the legislature but it shall not

include members of the legislature.

(d) The term "ministerial matter" shall mean an administrative act carried out in a prescribed manner

not allowing for substantial personal discretion.

(ec) Theterm “regulatory agency" shall mean the department of financial services, state liquor authority,
department of agriculture and markets, department of education, department of environmental
conservation, department of health, division of housing and community renewal, department of

state, other than the division of corporations and state records, department of public service, the

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industrial board of appeals in the department of labor and the department of law, other than when
the attorney general or his agents or employees are performing duties specified in section sixty-three

of the executive law.

The term "representative capacity" shall mean the presentation of the interests of a client or other

person pursuant to an agreement, express or implied, for compensation for services.

The term "state agency" shall mean any state department, or division, board, commission, or bureau
of any state department, any public benefit corporation, public authority or commission at least one
of whose members is appointed by the governor, or the state university of New York or the city
university of New York, including ail their constituent units except community colleges of the state
university of New York and the independent institutions operating statutory or contract colleges on

behalf of the state,

(h) The term "statewide elected official” shall mean the governor, lieutenant governor, comptroller or

(i)

attorney general.
The term “state officer or employee" shall mean:

(i) heads of state departments and their deputies and assistants other than members of the board

of regents of the university of the state of New York who receive no compensation or are

compensated on a per diem basis;
(ii} officers and employees of statewide elected officials;

(iii) officers and employees of state departments, boards, bureaus, divisions, commissions,
councils or other state agencies other than officers of such boards, commissions or councils

who receive no compensation or are compensated on a per diem basis; and

(iv) members or directors of public authorities, other than multi-state authorities, public benefit
corporations and commissions at least one of whose members is appointed by the governor,
who receive compensation other than on a per diem basis, and employees of such authorities,

corporations and commissions.

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(j) The term "city agency” shail mean a city, county, borough or other office, position, administration,
department, division, bureau, board, commission, authority, corporation or other agency of
government, the expenses of which are paid in whole or in part from the city treasury, and shall
include the board of education, the board of higher education, school boards, city and community
colleges, community boards, the New York city transit authority, the New York city housing
authority and the Triborough bridge and tunnel authority, but shall not include any court or
corporation or institution maintaining or operating a public library, museum, botanical garden,

arboretum, tomb, memorial building, aquarium, zoological garden or similar facility.
(k) The term "political party chairman” shall mean:

(i) the chairman of the state committee ofa party elected as provided in section 2-112 of the

election law and his or her successor in office;

(ii) the chairman of a county committee elected as provided in section 2-112 of the election
law and his or her successor in office from a county having a population of three hundred
thousand or more or who receives coinpensation or expenses, or both, during the calendar

year aggregating thirty thousand dollars or more; and

(iit} that person (usually designated by the rules of a county committee as the "county leader”
or “chairman of the executive committee") by whatever title designated, who pursuant to
the rules of a county committee or in actual practice, possesses or performs any or all of

the following dutiés or roles, provided that such person was elected from a county having
a population of three hundred thousand or more or was a person who received
compensation or expenses, or both, from constituted committee or political committee

funds, or both, during the reporting period aggregating thirty thousand dollars or more:

{A) the principal political, executive and administrative officer of the county

committee;

(B) the power of general management over the affairs of the county committee;

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(C) the power to exercise the powers of the chairman of the county committee as

provided for in the rules of the county committee;

(D) the power to preside at all meetings of the county executive committee, if such
a committee is created by the rules of the county committee or exists de facto,
or any other committee or subcommittee of the county committee vested by
such rules with or having de facto the power of general management over the
affairs of the county committee at times when the county committee is not in

actual session:

(E) the power to call a meeting of the county committee or of any committee or
subcommittee vested with the rights, powers, duties or privileges of the county
committee pursuant to the rules of the county committee, for the purpose of
filling an office at a special election in accordance with section 6-114 of the
election law, for the purpose of filling a vacancy in accordance with section 6-

116 of such law; or

(F) the power to direct the treasurer of the party to expend funds of the county
committee. The terms “constituted committee" and “political committee", as
used in this paragraph (k), shall have the same meanings as those contained in

section 14-100 of the election law.
(1) A person has a “financial interest" in any entity if that person:

(i) owns or controls ten percent or more of the stock of such entity {or one percent in the case of

a corporation whose stock is regularly traded on an established securities exchange); or
Gi} serves as an officer, director or partner of that entity.

(m) The "relative" of any individual shall mean any person living in the same household as the individual
and any person who is a direct descendant of that individual's grandparents or the spouse of such

descendant.

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({n) The term "domestic partner" shall mean a person who, with respect to another person, is formally a
party in a domestic partnership or similar relationship with the other person, entered into pursuant
to the laws of the United States or of any state, local or foreign jurisdiction, or registered as the
domestic partner of the other person with any registry maintained by the employer of either party

or any state, municipality, or foreign jurisdiction.

2, In addition to the prohibitions contained in subdivision seven of this section, no statewide elected
official, state officer or employee, member of the legislature or legisiative employee shall receive, or enter
into any agreement express or implied for, compensation for services to be rendered in relation to any
case, proceeding, application, or other matter before any state agency, or any executive order, or any
legislation or resolution before the state legislature, whereby his or her compensation is to be dependent
or contingent upon any action by such agency or legislature with respect to any license, contract,
certificate, ruling, decision, executive order, opinion, rate schedule, franchise, legislation, resolution or
other benefit; provided, however, that nothing in this subdivision shall be deemed to prohibit the fixing

at any time of fees based upon the reasonable value of the services rendered.

3. (a) No statewide elected official, member of the legislature, legislative employee, full-time salaried state
officer or employee shall receive, directly or indirectly, or enter into any agreement express or implied
for, any compensation, in whatever form, for the appearance or rendition of services by himself, herself
or another against the interest of the state in relation to any case, proceeding, application or other matter

before, or the transaction of business by himself, hérself or another with, the court of claims.

(b) No state officer or employee who is required to file an annual statement of financial
disclosure pursuant to the provisions of section seventy-three-a of this article, and is not
otherwise subject to the provisions of this section, shall receive, directly or indirectly, or
enter into any agreement express or implied, for any compensation, in whatever form, for
the appearance or rendition of services by himself, herself or another against the interest of
the state agency by which he or she is employed or affiliated in relation to any case,
proceeding, application or other matter before, or the transaction of business by himself,

herself or another with, the court of claims.

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4. (a) No statewide elected official, state officer or employee, member of the legislature, legislative employee

or political party chairman or firm or association of which such person is a member, or corporation, ten

per centum or more of the stock of which is owned or controlled directly or indirectly by such person,

shall (i} sell any goods or services having a value in excess of twenty-five dollars to any state agency, or

(ii) contract for or provide such goods or services with or to any private entity where the power to

contract, appoint or retain on behalf of such private entity is exercised, directly or indirectly, by a state

agency or officer thereof, unless such goods or services are provided pursuant to an award or contract

let after public notice and competitive bidding. This paragraph shall not apply to the publication of

resolutions, advertisements or other legal propositions or notices in newspapers designated pursuant to

law for such purpose and for which the rates are fixed pursuant to law.

(b) No political party chairman of a county wholly included in a city with a population of more than

{c)

one million, or firm or association of which such person is a member, or corporation, ten per
centum or more of the stock of which is owned or controlled directly or indirectly by such
person, shall (i} sell any goods or services having a value in excess of twenty-five dollars to any
city agency, or (ii} contract for or provide such goods or services with or to any private entity
where the power to contract, appoint or retain on behalf of such private entity is exercised
directly or indirectly, by a city agency or officer thereof, unless such goods or services are
provided pursuant to an award or contract let after public notice and competitive bidding. This
paragraph shall not apply to the publication of resolutions, advertisements or other legal
propositions or notices in newspapers designated pursuant to law for such purpose and for

which the rates are fixed pursuant to law.

For purposes of this subdivision, the term “services” shall not include employment as an

employee,

5. No statewide elected official, state officer or employee, individual whose name has been submitted by

the governor to the senate for confirmation to become a state officer or employee, member of the

legislature or legislative employee shall, directly or indirectly:

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(a) solicit, accept or receive any gift having more than a nominal value, whether in the form of
money, service, loan, travel, lodging, meals, refreshments, entertainment, discount, forbearance
or promise, or in any other form, under circumstances in which it could reasonably be inferred
that the gift was intended to influence him or her, or could reasonably be expected to influence
him or her, in the performance of his or her official duties or was intended as a reward for any
official action on his or her part. No person shall, directly or indirectly, offer or make any such
gift to a statewide elected official, or any state officer or employee, member of the legislature or

legislative employee under such circumstances.

(b} solicit, accept or receive any gift, as defined in section one-c of the legislative law, from any
person who is prohibited from delivering such gift pursuant to section one-m of the legislative
law unless under the circumstances it is not reasonable to infer that the gift was intended to

influence him or her; or

{c) permit the solicitation, acceptance, or receipt of any gift, as defined in section one-c of the
legislative law, from any person who is prohibited from delivering such gift pursuant to section
one-m of the legislative law to a third party including a charitable organization, on such official's
designation or recommendation or on his or her behalf, under circumstances where it is

reasonable to infer that the gift was intended to influence him or her.

5-a. (a) For the purpose of this subdivision only, the term “honorarium" shall mean any payment made in
consideration for any speech given at a public or private conference, convention, meeting, social event,

meal or like gathering.

{b) No statewide elected official or head of any civil department shall, directly or indirectly, solicit,

accept or receive any honorarium while holding such elected office or appointed position.

{c) No member of the legislature or legislative employee shall, directly or indirectly, solicit, accept
or receive any honorarium while holding such elected office or employment, other than
honorarium paid in consideration for a speech given on a topic unrelated to the individual's

current public employment or as earned income for personal services that are customarily

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provided in connection with the practice of a bona fide business, trade or profession, such as
teaching, practicing law, medicine or banking, unless the sole or predominant activity thereof is

making speeches.

6. (a) Every legislative employee not subject to the provisions of section seventy-three-a of this chapter
shall, on and after December fifteenth and before the following January fifteenth, in each year, file with
the commission on ethics and lobbying in government and the legislative ethics commission a financial

disclosure statement of

(1) each financial interest, direct or indirect of himself or herself, his or her spouse or domestic
partner and his or her unemancipated children under the age of eighteen years in any activity
which is subject to the jurisdiction of a regulatory agency or name of the entity in which the

interest is had and whether such interest is over or under five thousand dollars in value.

(2) every office and directorship held by him or her in any corporation, firm or enterprise which is
subject to the jurisdiction ofa regulatory agency, including the name of such corporation, firm

or enterprise.

(3) . any other interest or relationship which he or she determines in his or her discretion might
reasonabiy be expected to be particularly affected by legislative action or in the public interest

should be disclosed.

(b) Copies of such statements shall be open for public inspection and copying.

(c) Any such legislative employee who knowingly and willfully with intent to deceive makes a false
statement or gives information which he or she knows to be false in any written statement required
to be filed pursuant to this subdivision, shall be assessed a civil penalty in an amount not to exceed
ten thousand dollars. Assessment of a civil penalty shall be made by the legislative ethics commission
in accordance with the provisions of subdivision ten of section eighty of the legislative law. For a
violation of this subdivision, the commission may, in lieu of a civil penalty, refer a violation to the
appropriate prosecutor and upon conviction, but only after such referral, such violation shall be

punishable as a class A misdemeanor.

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7. (a) No statewide elected official, or state officer or employee, other than in the proper discharge of official
state or local governmental duties, or member of the legislature or legislative employee, or political party
chairman shall receive, directly or indirectly, or enter into any agreement express or implied for, any
compensation, in whatever form, for the appearance or rendition of services by himself, herself or
another in relation to any case, proceeding, application or other matter before a state agency where such

appearance or rendition of services is in connection with:

(i) the purchase, sale, rental or lease of real property, goods or services, or a contract

therefor, from, to or with any such agency;
(i} any proceeding relating to rate making;
(iti) the adoption or repeal of any rule or regulation having the force and effect of law;
(iv) the obtaining of grants of money or loans;
{y) licensing; or
(vi) any proceeding relating to a franchise provided for in the public service law.

(b) No political party chairman in a county wholly included in a city having a population of one
million or more shall receive, directly or indirectly, or enter into any agreement express or
implied for, any compensation, in whatever form, for the appearance or rendition of services by
himself, herself or another if télation to any case, proceeding, application or other matter before
any city agency where such appearance or rendition of services is in connection with:

(i) the purchase, sale, rental or lease of real property, goods or services, or a contract

therefor, from, to or with any such agency;
(ii) any proceeding relating to ratemaking;
(iii) the adoption or repeal of any rule or regulation having the force and effect of law;

{iv} the obtaining of grants of money or loans;

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(v) licensing. For purposes of this paragraph, the term “licensing” shall mean any city agency
activity respecting the grant, denial, renewal, revocation, enforcement, suspension,
annulment, withdrawal, recall, cancellation or amendment of a license, permit or other
form of permission conferring the right or privilege to engage in (i) a profession, trade,
or occupation or (ii) any business or activity regulated by a regulatory agency of a city
agency which in the absence of such license, permit or other form of permission wouid

be prohibited; and
(vi) any proceeding relating to a franchise.

Nothing contained in this subdivision shall prohibit a statewide elected official, or a state officer
or employee, untess otherwise prohibited, or a member of the legislature or legislative employee,
or political party chairman, from appearing before a state agency in a representative capacity if

such appearance in a representative capacity is in connection with a ministerial matter.

Nothing contained in this subdivision shall prohibit a member of the legislature, or a legislative
employee on behalf of such member, from participating in or advocating any position in any
matter in an official or legislative capacity, including, but not limited to, acting as a public
advocate whether or not on behalf of a constituent. Nothing in this paragraph shall be construed

to limit the application of the provisions of section seventy-seven of this chapter.

Nothing contained in this subdivision shalk prohibit'a state officer or employee from appearing
before a state agency in a representative capacity on behalf of an employee organization in any

matter where such appearance is duly authorized by an employee organization.

Nothing contained in this subdivision shall prohibit a political party chairman from

participating in or advocating any matter in an official capacity.

Nothing contained in this subdivision shail prohibit internal research or discussion of a matter,

_ provided, however, that the time is not charged to the client and the person does not share in

the net revenues generated or produced by the matter.

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(h) Nothing contained in this subdivision shall prohibit a state officer or employee, unless otherwise
prohibited, from appearing or rendering services in relation to a case, proceeding, application
or transaction before a state agency, other than the agency in which the officer or employee is
employed, when such appearance or rendition of services is made while carrying out official
duties as an elected or appointed official, or employee of a local government or one of its

agencies,

7-a. No member of the legislature, legislative employee, statewide elected official, or state officer or employee
shall receive, directly or indirectly, or enter into any agreement express or implied, for any compensation,
in whatever form, for the rendering of consulting, representational, advisory or other services by himself
or herself or another in connection with any proposed or pending bill or resolution in the senate or

assembly.

8. (a) (i) No person who has served as a state officer or esnployee shail within a period of two years after the
termination of such service or employment appear or practice before such state agency or receive
compensation for any services rendered by such former officer or employee on behalf of any person,
firm, corporation or association in relation to any case, proceeding or application or other matter before

such agency.

(ii) | No person who has served as a state officer or employee shall after the termination of such
service or employment appear, practice, communicate or otherwise render services before
any state agency or receive compensation for any such services rendered by such former
officer c or employee on behalf of any person, firm, corporation or other entity in relation to .
any case, proceeding, application or transaction with respect to which such person was
directly concerned and in which he or she personally participated during the period of his

or her service or employment, or which was under his or her active consideration.

(iii) | No person who has served as a member of the legislature shall within a period of two years
after the termination of such service receive compensation for any services on behalf of any
person, firm, corporation or association to promote or oppose, directly or indirectly, the

passage of bills or resolutions by either house of the legislature. No legislative employee shall

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within a period of two years after the termination of such service receive compensation for
any services on behalf of any person, firm, corporation or association to appear, practice or
directly communicate before either house of the legislature to promote or oppose the

passage of bills or resolutions by either house of the legislature.

{iv) No person who has served as an officer or employee in the executive chamber of the
governor shall within a period of two years after termination of such service appear or

practice before any state agency.

(b} (i) The provisions of subparagraph (i) of paragraph (a) of this subdivision shall not apply to any
state officer or employee whose employment was terminated on or after January first, nineteen
hundred ninety-five and before April first, nineteen hundred ninety-nine or on or after January
first, two thousand nine and before April first, two thousand fourteen because of economy,
consolidation or abolition of functions, curtailment of activities or other reduction in the state
work force. On or before the date of such termination of employment, the state agency shall
provide to the terminated employee a written certification that the employee has been
terminated because of economy, consolidation or abolition of functions, curtailment of activities
or other reduction in the state work force, and that such employee is covered by the provisions
of this paragraph. The written certification shail also contain a notice describing the rights and
responsibilities of the employee pursuant to the provisions of this section. The certification and

notice shall contain the information and shall be in the form set forth below: -

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CERTIFICATION AND NOTICE

TO: Employee's Name:

State agency:

Date of Termination:

I, (name and title) of (state agency), hereby certify that your termination from State
service is because of economy, consolidation or abolition of functions, curtailment of
activities or other reduction in the State work force. Therefore, you are covered by the
provisions of paragraph (b) of subdivision eight of section seventy-three of the Public

Officers Law.

You were designated as a policy maker: YES NO

(TITLE)
TO THE EMPLOYEE:

This certification affects your right to engage in certain activities after you leave state

service,

Ordinarily, employees who leave State service may not, for two years, appear or practice
before their former agency or receive compensation for rendering services on a matter
before their former agency. However, because of this certification, you may be exempt

from this restriction.

If you were not designated as a Policymaker by your agency, you are automatically
exempt. You may, upon leaving State service, immediately appear, practice or receive

compensation for services rendered before your foriner agency.

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If you were designated as a Policymaker by your agency, you are eligible to apply for an
exemption to the Commission on Public Integrity at 540 Broadway, Albany, New York

12207.

Even if you are or become exempt from the two year bar, the lifetime bar of the revolving
door statute will continue to apply to you. You may not appear, practice, communicate
or otherwise render services before any State agency in relation to any case, proceeding,
application or transaction with respect to which you were directly concerned and in
which you personally participated during your State service, or which was under your

active consideration.

If you have any questions about the application of the post-employment restrictions to
your circumstances, you may contact the Commission on Public Integrity at (518) 408-

3976 or 1-800-87ETHIC (1-800-873-8442).

(ii) ‘The provisions of subparagraph (i) of this paragraph shall not apply to any such officer
or employee who at the time of or prior to such termination had served in a
policymaking position as determined by the appointing authority, which determination
had been filed with the state ethics commission or the commission on public integrity,
provided that such officer or employee may so appear or practice or receive such
compensation with the prior approval of the state ethics commission or the commission

on public integrity. In determining whether to grant such approval the state ethics

commission or the commission on public integrity shall consider:

A. whether the employee's prior job duties involved substantial decision-making

authority over policies, rule or contracts;

B. the nature of the duties to be performed by the employee for the prospective

employer;

C. whether the prospective employment is likely to involve substantial contact with the

employee's former agency and the extent to which any such contact is likely to

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{c)

involve matters where the agency has the discretion to make decisions based on the

work product of the employee;

D. whether the prospective employment may be beneficial to the state or the public;

and
E. the extent of economic hardship to the employee if the application is denied.

The provisions of paragraph (b) of this subdivision shall not apply to employees whose
employment has been discontinued as a result of retirement or to employees who, prior to
termination, have declined to exercise a right to another position with a state agency unless such
position would require the employee to travel more than thirty-five miles in each direction to

the new position or accept a reduction in base salary of more than ten per centum.

(d} Nothing contained in this subdivision shall prohibit any state agency from adopting rules

(e)

(f}

concerning practice before it by former officers or employees more restrictive than the

requirements of this subdivision.

This subdivision shall not apply to any appearance, practice, communication or rendition of
services before any state agency, or either house of the legislature, or to the receipt of

compensation for any such services, rendered by a former state officer or employee or former

member of the legislature or legislative employee, which is made while carrying out official

duties as an elected official or employee of a federal, state or Jocal government or one of its

agencies,

Nothing in this subdivision shall be deemed to prevent a former state officer or employee who
was employed on a temporary basis to perform routine clerical services, mail services, data entry
services or other similar ministerial tasks, from subsequently being employed by a person, firm,
corporation or association under contract to a state agency to perform such routine clerical
services, mail services, data entry services or other similar ministerial tasks; provided however,
this paragraph shall in no event apply to any such state officer or employee who was required to

file an annual statement of financial disclosure pursuant to section seventy-three-a of this article.

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(g) Notwithstanding the provisions of subparagraphs (i) and (ii) of paragraph (a) of this subdivision,
a former state officer or employee may contract individually, or as a member or employee of a
firm, corporation or association, to render services to any state agency when the agency head
certifies in writing to the state ethics commission that the services of such former officer or
employee are required in connection with the agency's efforts to address the state's year 2000

compliance problem.

(h) Notwithstandiug the provisions of subparagraphs (i) and (ii) of paragraph (a) of this subdivision,
a former state officer or employee may contract individually, or as a member or employee of a
firm, corporation or association, fo render services to any state agency when the agency head
certifies in writing to the commission on ethics and lobbyiug in government that the services of
such former officer or employee are required in connection with the agency's response to a
disaster emergency declared by the governor pursuant to section twenty-eight of the executive

law.

(i) The provisions of subparagraphs (i) and (ii) of paragraph (a) of this subdivision shall not apply
to any person asa result of his or her temporary employment by the New York state department
of agriculture and markets in the civil service title of veteriuarian one or animal health inspector

one and their service, in that capacity, as a member of the New York state emergency veterinary

corps.

_8-a, The provisions of subparagraphs (i) and (ti) of paragraph (a) of subdivision eight of this section shall not _
apply to any such former state officer or employee engaged in any of the specific permitted activities defined
in this subdivision that are related to any civil action or proceeding in any state or federal court, provided
that the attorney general has certified in writing to the commission on ethics and lobbying in governmeut,
with a copy to such former state officer or employee, that the services are rendered on behalf of the state, a
state agency, state officer or employee, or other person or entity represented by the attorney general, and that
such former state officer or employee has expertise, knowledge or experience which is unique or outstanding
ina field or iua particular matter or which would otherwise be generally unavailable at a comparable cost to

the state, a state agency, state officer or employee, or other person or entity represented by the attorney

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general in such civil action or proceeding. In those instances where a state agency is not represented by the

attorney general in a civil action or proceeding in state or federal court, a former state officer or employee

may engage in permitted activities provided that the general counsel of the state agency, after consultation

with the commission on ethics and lobbying in government, provides to the commission on ethics and

lobbying in government a written certification which meets the requirements of this subdivision. For

purposes of this subdivision the term “permitted activities” shall mean generally any activity performed at

the request of the attorney general or the attorney general's designee, or in cases where the state agency is not

represented by the attorney general, the general counsel of such state agency, including without limitation:

8-b.

(a) preparing or giving testimony or executing one or more affidavits;

(b) gathering, reviewing or analyzing information, including documentary or oral information
concerning facts or opinions, attending depositions or participating in document review or

discovery;
(c) performing investigations, examinations, inspections or tests of persons, documents or things;
(d) performing audits, appraisals, compilations or computations, or reporting about thein;
(e) identifying information to be sought concerning facts or opinions; or

(f) otherwise assisting in the preparation for, or conduct of, such litigation.

Nothing in this subdivision shall apply to the provision of legal representation by any former state officer

or employee.

Notwithstanding the provisions of subparagraphs (i) and (ii) of paragraph (a) of subdivision eight of this
section, a former state officer or employee may contract individually, or as a member or employee ofa
firm, corporation or association, to render services to any state agency if, prior to engaging in such
service, the agency head certifies in writing to the commission on ethics and lobbying in government
that such former officer or employee has expertise, knowledge or experience with respect to a particular
matter which meets the needs of the agency and is otherwise unavailable at a comparable cost, Where

approval of the contract is required under section one hundred twelve of the state finance law, the

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comptroller shall review and consider the reasons for such certification. The commission on ethics and

_ lobbying in government must review and approve all certifications made pursuant to this subdivision.

8-c.

*B-c,

Notwithstanding the provisions of subparagraphs (i) and (i) of paragraph (a) of subdivision eight of
this section, a former state officer or employee who, prior to his or her separation from state service,
was employed as a health care professional and, in conjunction with his or her state duties, provided
treatment and/or medical services to individuals residing in or served by a state-operated facility is not
barred from rendering services to such individuals in their care prior to jeaving state service, at the state-

operated facility which employed the former state officer or employee.
* NB There are 2 sub 8-c's

Notwithstanding the provisions of subparagraphs (i) and (ii) of paragraph (a) of subdivision eight of
this section, a former state officer or employee who, prior to his or her separation from state service,
was employed performing direct care, clinical care, case management, service coordination or other
related support duties with the state of New York is not barred from rendering such services in the

future to individuals who were receiving such services from that individual prior to leaving the state

service.

* NB There are 2 sub 8-c's

No party officer while serving as such shall be eligible to serve as a judge of ‘any court of record, attorney-

general or deputy or 1 assistant attomey- -general or solicitor general, district attorney or assistant district

10.

attorney. As used in this subdivision, the term "party officer” shall mean a member of a national

committee, an officer or member of a state committee or a county chairman of any political party.

Nothing contained in this section, the judiciary law, the education law or any other law or disciplinary
rule shall be construed or applied to prohibit any firm, association or corporation, in which any present
or former statewide elected official, state officer or employee, or political party chair, member of the
legislature or legislative employee is a member, associate, retired member, of counsel or shareholder,
from appearing, practicing, communicating or otherwise rendering services in relation to any matter

before, or transacting business with a state agency, or a city agency with respect to a political party chair

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11.

in a county wholly included in a city with a population of more than one million, otherwise proscribed
by this section, the judiciary law, the education law or any other law or disciplinary rule with respect to
such official, member of the legislature or officer or employee, or political party chair, where such
statewide elected official, state officer or employee, member of the legislature or legislative employee, or
political party chair does not share in the net revenues, as defined in accordance with generally accepted
accounting principles by the commission on ethics and lobbying in government or by the legislative
ethics commission in relation to persons subject to their respective jurisdictions, resulting therefrom, or,
acting in good faith, reasonably believed that he or she would not share in the net revenues as so defined;
nor shall anything contained in this section, the judiciary law, the education law or any other law or
disciplinary rule be construed to prohibit any firm, association or corporation in which any present or
former statewide elected official, member of the legislature, legislative employee, full-time salaried state
officer or employee or state officer or employee who is subject to the provisions of section seventy-three-
a of this article is a member, associate, retired member, of counsel or shareholder, from appearing,
practicing, communicating or otherwise rendering services in relation to any matter before, or
transacting business with, the court of claims, where such statewide elected official, member of the
legislature, legislative employee, full-time salaried state officer or employee or state officer or employee
who is subject to the provisions of section seventy-three-a of this article does not share in the net
revenues, as defined in accordance with generally accepted accounting principles by the commission on

ethics and lobbying in government or by the legislative ethics commission in relation to persons subject

to their respective jurisdictions, resulting therefrom; or,acting in good faith; reasonably believed'that he ~~~

or she would not share in the net revenues as so defined.

Notwithstanding any provision of the judiciary law, the education law or any other law or disciplinary

rule to the contrary:

(a) Conduct authorized pursuant to subdivision eight of this section by a person who has served as
a member of the legislature or as a legislative employee shall not constitute professional

misconduct or grounds for disciplinary action of any kind;

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(b) No member of the legislature or former member of the legislature shall be prohibited from

(c)

appearing, practicing, communicating or otherwise rendering services in relation to any matter
before, or transacting business with, any state agency solely by reason of any vote or other action
by such member or former member in respect to the confirmation or election of any member,
commissioner, director or other person affiliated with such state agency, but nothing in this

paragraph shall limit the prohibition contained in subdivision eight of this section;

The appearance, practice, communication or rendition of services in relation to any matter
before, or transaction of business with a state agency, or with the court of claims, or the
promotion or opposition to the passage of bills or resolutions by either house of the legisiature,
by a member, associate, retired member, of counsel or shareholder of a firm, association or
corporation, in accordance with subdivision ten of this section, is hereby authorized and shall
not constitute professional misconduct or grounds for disciplinary action of any kind solely by
reason of the professional relationship between the statewide elected official, state officer or
employee, political party chairman, member of the legislature, or legislative employee and any
firm, association, corporation or any member, associate, retired member, of counsel, or
shareholder thereof, or by reason of the appearance created by any such professional

relationship.

12. A statewide elected official, state officer or employee, or a member of the legislature or legislative

13.

employee; or political party chairman, who's a-member, associate; retired rember, of counsel to, or”

shareholder of any firm, association or corporation which is appearing or rendering services in

connection with any case, proceeding, application or other matter listed in paragraph {a) or (b) of

subdivision seven of this section shall not orally communicate, with or without compensation, as to the

merits of such cause with an officer or an employee of the agency concerned with the matter.

For the purposes of this section, a statewide elected official or state officer or employee or member of the

legislature or legislative employee or political party chairman who is a member, associate, retired

member, of counsel to, or shareholder of any firm, association or corporation shall not be deemed to

have made an appearance under the provisions of this section solely by the submission to a state agency

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or city agency of any printed material or document bearing his or her name, but unsigned by him or her,
such as by limited illustrations the name of the firm, association or corporation or the letterhead of any
stationery, which pro forma serves only as an indication that he or she is such a member, associate,

retired member, of counsel to, or shareholder.

14, (a) No statewide elected official, state officer or employee, member of the legislature or legislative
employee may participate in any decision to hire, promote, discipline or discharge a relative for any

compensated position at, for or within any state agency, public authority or the legislature.

(b) This paragraph shall not apply to (i) the hiring of a relative bya legislator with a physical impairment,
for the sole purpose of assisting with that impairment, as necessary and otherwise permitted by law;
(ii) the temporary hiring of legislative pages, interns and messengers; or (iii) responding to inquiries

with respect to prospective hires related to an individual covered by this paragraph.

15. No statewide elected official, state officer or employee, member of the legislature or legislative employee

shail:

(a) participate in any state contracting decision involving the payment of more than one thousand
dollars to that individual, any relative of that individual, or any entity in which that individual or any

relative has a financial interest; or

(b) participate in any decision to invest public funds in any security of any entity in which that individual
or any relative of that individual has a financial interest, is an underwriter, or receives any brokerage,

origination or servicing fees.

16. (a) No statewide elected official, state officer or employee involved in the awarding of state grants or
contracts may ask a current or prospective grantee or contractor, or any officer, director or employee
thereof, to disclose: (i) the party affiliation of such grantee or contractor, or any officer, director or
employee thereof; (ii) whether such grantee or contractor, or any officer, director or employee thereof,
has made campaign contributions to any party, elected official, or candidate for elective office; or (iii}
whether such grantee or contractor, or any officer, director or employee thereof, cast a vote for or against

any elected official, candidate or political party.

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(b) ‘No statewide clected official or state officer or employee may award or decline to award any state

grant or contract, or recommend, promise or threaten to do so, in whole or in part, because of a
current or prospective grantee's or contractor's refusal to answer any inquiry prohibited by
paragraph (a) of this subdivision, or giving or withholding or neglecting to make any contribution

of money or service or any other valuable thing for any political purpose.

17. (a) No statewide elected official, or state officer or employee may during the consideration of an

employment decision ask any applicant for public employment to disclose:

{b} No statewide elected official or state officer or employee may_decline to hire or promote, discharge,

(c)

(i) the political party affiliation of the applicant;

(ii) | whether the applicant has made campaign contributions to any party, elected official,

or candidate for elective office; or

(iii) whether the applicant cast a vote for or against any elected official, candidate or political
party. The provisions of this paragraph shall not apply where (1) such inquiry is
necessary for the proper application of any state law or regulation; or (2) such inquiry
is consistent with publicly disclosed policies or practices of any state agency or public
authority, whose purpose is to ensure the representation of more than one political party

on any multi-member body,

discipline, or in any manner change the official rank or compensation of any state official or
employee, or applicant for employment, or promise or threaten to do so, based upon a refusal to
answer any inquiry prohibited by paragraph (a) of this subdivision, or for giving or withholding or
neglecting to make any contribution of money or service or any other valuable thing for any political

purpose.

No state officer or employee shall, directly or indirectly, use his or her official authority to compel
or induce any other state officer or employee to make or promise to make any political contribution,

whether by gift of money, service or other thing of value.

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18. In addition to any penalty contained in any other provision of law, any person who knowingly and
intentionally violates the provisions of subdivisions two through five, seven, seven-a, eight, twelve or
fourteen through seventeen of this section shall be subject to a civil penalty in an amount not to exceed
forty thousand dollars and the value of any gift, compensation or benefit received in connection with
such violation, Assessment of a civil penalty hereunder shall be made by the state oversight body with
jurisdiction over such person. A state oversight body acting pursuant to its jurisdiction, may, in lieu of a
civil penalty, with respect to a violation of subdivisions two through five, seven or eight of this section,
refer a violation of any such subdivision to the appropriate prosecutor and upon such conviction such

violation shall be punishable as a class A misdemeanor.

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§ 73-a. Financial disclosure.

1. As used in this section:

(a) The term "statewide elected official" shall mean the governor, lieutenant governor, comptroller,

or attorney general.

(b) The term "state agency” shall mean any state department, or division, board, commission, or

bureau of any state department, any public benefit corporation, public authority or commission

at least one of whose members is appointed by the governor, or the state university of New York

or the city university of New York, including all their constituent units except community

colleges of the state university of New York and the independent institutions operating statutory

or contract colleges on behalf of the state.

(c) The term "state officer or employee” shall mean:

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(ii)

(iii)

heads of state departments and their deputies and assistants;

officers and employees of statewide elected officials, officers and employees of state
departments, boards, bureaus, divisions, commissions, councils or other state agencies,

who receive annual compensation in excess of the filing rate established by paragraph

(i) of this subdivision or who hold ‘policy-making positions, as - annually determined by

the appointing authority and set forth in a written instrument which shall be filed with
the commission on ethics and lobbying in government established by section ninety-
four of the executive law during the month of February, provided, however, that the
appointing authority shall amend such written instrument after such date within thirty
days after the undertaking of policy-making responsibilities by a new employee or any

other employee whose name did not appear on the most recent written instrument; and

members or directors of public authorities, other than multi-state authorities, public

benefit corporations and commissions at least one of whose members is appointed by

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the governor, and employees of such authorities, corporations and commissions who
receive annual compensation in excess of the filing rate established by paragraph (I) of
this subdivision or who hold policy-making positions, as determined annually by the
appointing authority and set forth in a written instrument which shall be filed with the
commission on ethics and lobbying in government established by section ninety-four
of the executive law during the month of February, provided, however, that the
appointing authority shall amend such written instrument after such date within thirty
days after the undertaking of policy-making responsibilities by anew employee or

any other employee whose name did not appear on the most recent written instrument.

(d} The term "legislative employee" shall mean any officer or employee of the legislature who

receives annual compensation in excess of the filing rate established by paragraph (1) below or
who is determined to hold a policy-making position by the appointing authority as set forth in
a written instrument which shall be filed with the legislative ethics commission and the

commission on ethics and lobbying in government.

(d-1)A financial disclosure statement required pursuant to section seventy-three of this article and

{e}

this section shall be deemed "filed" with the commission on ethics and lobbying in government
upon its filing, in accordance with this section, with the legislative ethics commission for all
purposes including, but not limited to, section ninety-four of the executive law, subdivision nine

of section eighty of the legislative law and subdivision four of this section.” ~

The ferm “spouse” shall mean the husband or wife of the reporting individual unless living
separate and apart from the reporting individual with the intention of terminating the marriage
or providing for permanent separation or unless separated pursuant to: (i) a judicial order,

decree or judgment, or (ii) a legally binding separation agreement.

{e-1)}The term "domestic partner" shall mean a person who, with respect to another person, is

formally a party in a domestic partnership or similar relationship with the other person, entered

into pursuant to the laws of the United States or any state, local or foreign jurisdiction, or

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registered as the domestic partner of the other person with any registry maintained by the

employer of either party or any state, municipality, or foreign jurisdiction.

(f) The term "relative" shall mean such individual's spouse, chiid, stepchild, stepparent, or any
person who is a direct descendant of the grandparents of the reporting individual or of the

reporting individual's spouse.

(g) The term “unemancipated child" shall mean any son, daughter, stepson or stepdaughter who is

under age eighteen, unmarried and living in the household of the reporting individual.

(h) The term "political party chairman" shall have the same meaning as ascribed to such term by

subdivision one of section seventy-three of this article.
(i) The term “local agency" shall mean:

G) any county, city, town, village, school district or district corporation, or any agency,

department, division, board, commission or bureau thereof; and

(ii) any public benefit corporation or public authority not included in the definition of a

state agency.

(j) The term "reguiatory agency” shall have the same meaning as ascribed to such term by
subdivision one of section seventy-three of this article.

({k)} The term “nsinisterial matter" shall have the same meaning as ascribed to such term by
subdivision one of section seventy-three of this article.

(1) The term “filing rate" shall mean the job rate of SG-24 as set forth in paragraph a of subdivision

one of section one hundred thirty of the civil service law as of April first of the year in which an

annual financial disclosure statement shall be filed.

(m) The term “iobbyist" shall have the same meaning as ascribed to such term in subdivision (a) of

section one-c of the legislative law.

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(a) Every statewide elected official, state officer or employee, member of the legislature, legislative

employee and political party chair and every candidate for statewide elected office or for member of

the legislature shall file an annual statement of financial disclosure containing the information and

in the form set forth in subdivision three of this section. On or before the fifteenth day of May with

respect to the preceding calendar year:

(1) every member of the legislature, every candidate for member of the legislature and legislative

(2)

employee shail file such statement with the legislative ethics commission which shall provide

such statement along with any requests for exemptions or deletions to the commission on

ethics and lobbying in government for filing and rulings with respect to such requests for

exemptions or deletions, on or before the thirtieth day of June; and

all other individuals required to file such statement shall file it with the commission on ethics

and lobbying in government, except that:

(i)

a person who is subject to the reporting requirements of this subdivision and
who timely filed with the internal revenue service an application for automatic
extension of time in which to file his or her individual income tax return for the
immediately preceding calendar or fiscal year shall be required to file such
financial disclosure statement on or before May fifteenth but may, without
being subjected to any civil penalty on account ofa deficient statement, indicate
with respect to any item of the disclosure statement that information with
respect thereto is lacking but will be supplied in a supplementary statement of
financial disclosure, which shall be filed on or before the seventh day after the
expiration of the period of such automatic extension of time within which to
file such individual income tax return, provided that failure to file or to timely
file such supplementary statement of financial disclosure or the filing of an
incomplete or deficient supplementary statement of financial disclosure shall
be subject to the notice and penalty provisions of this section respecting annual
statements of financial disclosure as if such supplementary statement were an

annual statement;

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a person who is required to file an annual financial disclosure statement with
the commission on ethics and lobbying in government, and who is granted an
additional period of time within which to file such statement due to justifiable
cause or undue hardship, in accordance with required rules and regulations
adopted pursuant to section ninety-four of the executive law shall file such
statement within the additional period of time granted; and the legislative ethics
commission shall notify the commission on ethics and lobbying in government

of any extension granted pursuant to this paragraph;

candidates for statewide office who receive a party designation for nomination
by a state committee pursuant to section 6-104 of the election Jaw shall file such
statement within ten days after the date of the meeting at which they are so

designated;

candidates for statewide office who receive twenty-five percent or more of the
vote cast at the meeting of the state committee held pursuant to section 6- 104
of the election law and who demand to have their names placed on the primary
ballot and who do not withdraw within fourteen days after such meeting shall
file such statement within ten days after the last day to withdraw their names in

accordance with the provisions of such section of the election law;

candidates for statewide office and candidates for member of the legislature

who file party designating petitions for nomination at a primary election shall
file such statement within ten days after the last day allowed by law for the filing
of party designating petitions naming them as candidates for the next

succeeding pritnary election;

candidates for independent nomination who have not been designated by a
party to receive a nomination shail file such statement within ten days after the
last day allowed by law for the filing of independent nominating petitions

naming them as candidates in the next succeeding general or special election;

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(vii) candidates who receive the nomination of a party for a special election shall file
such statement within ten days after the date of the meeting of the party

committee at which they are nominated;

(viii) a candidate substituted for another candidate, who fills a vacancy in a party
designation or in an independent nomination, caused by declination, shall file
such statement within ten days after the last day allowed by law to file a
certificate to fill a vacancy in such party designation or independent

nomination;

(ix) with respect to all candidates for member of the legislature, the legislative ethics _
commission shal! within five days of receipt provide the commission on ethics
and lobbying in government the statement filed pursuant to subparagraphs (v),

(vi), (vii) and {viii} of this paragraph.

(b) As used in this subdivision, the terms "party", “committee” (when used in conjunction with the

(c)

term “party”), “designation”, "primary", “primary election’, "nomination", “independent
nomination" and "ballot" shall have the same meanings as those contained in section 1-104 of

the election law.

If the reporting individual is a senator or member of assembly, candidate for the senate or
member.of assembly ora legislative. employee, such. statement shall-be filed with both the -
legislative ethics commission established by section eighty of the legislative law and the
commission on ethics and lobbying in government in accordance with paragraph (d-1) of
subdivision one of this section. If the reporting individual is a statewide elected official,
candidate for statewide elected office, a state officer or employee or a political party chair, such
statement shall be filed with the commission on ethics and lobbying in government established

by section ninety-four of the executive law.

(d) The commission on ethics and lobbying in government shall obtain from the state board of

elections a list of all candidates for statewide office and for member of the legislature, and from

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such list, shall determine and publish a list of those candidates who have not, within ten days

after the required date for filing such statement, filed the statement required by this subdivision.

Any person required to file such statement who commences employment after May fifteenth of
any year and political party chair shail file such statement within thirty days after commencing
employment or of taking the position of political party chair, as the case may be. In the case of
members of the legislature and legislative employees, such statements shall be filed with the
legislative ethics commission within thirty days after commencing employment, and the
legislative ethics commission shall provide such statements to the commission on ethics and

lobbying in government within forty-five days of receipt.

A person who may otherwise be required to file more than one annual financial disclosure
statement with both the commission on ethics and lobbying in government and the legislative
ethics commission in any one calendar year may satisfy such requirement by filing one such

statement with either body and by notifying the other body of such compliance.

A person who is employed in more than one employment capacity for one or more employers
certain of whose officers and employees are subject to filing a financial disclosure stateinent with
the same ethics commission, as the case may be, and who receives distinctly separate payments
of compensation for such employment shall be subject to the filing requirements of this section
ifthe aggregate annual compensation for all such employment capacities is in excess of the filing
rate notwithstanding that such person would not otherwise be'required’ to file with respect to
any one particular employment capacity. A person not otherwise required to file a financial
disclosure statement hereunder who is employed by an employer certain of whose officers or
employees are subject to filing a financial disclosure statement with the commission on ethics
and lobbying in government and who is also employed by an employer certain of whose officers
or employees are subject to filing a financial disclosure statement with the legislative ethics
commission shall not be subject to filing such statement with either such commission on the
basis that his aggregate annual compensation from all such employers is in excess of the filing

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3.

(h) A statewide elected official or member of the legislature, who is simultaneously a candidate for

ti)

(i)

{k)

statewide elected office or member of the legislature, shall satisfy the filing deadline
requirements of this subdivision by complying only with the deadline applicable to one who

holds a statewide elected office or who holds the office of member of the legislature,

A candidate whose name will appear on both a party designating petition and on an independent
nominating petition for the same office or who will be listed on the election ballot for the same
office more than once shall satisfy the filing deadline requirements of this subdivision by

complying with the earliest applicable deadline only.

A member of the legislature who is elected to such office at a special election prior to May
fifteenth in any year shall satisfy the filing requirements of this subdivision in such year by

complying with the earliest applicable deadline only.

The commission on ethics and lobbying in government shall post for at least five years beginning
for filings made on January first, two thousand thirteen the annual statement of financial
disclosure and any amendments filed by each person subject to the reporting requirements of
this subdivision who is an elected official on its website for public review within ‘thirty days of
its receipt of such statement or within ten days of its receipt of such amendment that reflects any
corrections of deficiencies identified by the commission or by the reporting individual after the
reporting individual's initial filing. Except upon an individual determination by the commission
that certain information may be deleted from a reporting individual's annual statement of
financial disclosure, none of the information in the statement posted on the commission's

website shall be otherwise deleted.

The annual statement of financial disclosure shal! contain the information and shall be in the form

set forth hereinbelow:

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ANNUAL STATEMENT OF FINANCIAL DISCLOSURE - (For calendar year )

1. Name

2, (a) Title of Position

(b) Department, Agency or other Governmental Entity

{c) Address of Present Office

{d) Office Telephone Number

3. (a) Marital Status . If married, please give spouse's full name.

(b) Full name of domestic partner (if applicable).

‘

(c) List the names of all unemancipated children.

Answer each of the following questions completely, with respect to calendar year —_,unless

another period or date is otherwise specified. If additional space is needed, attach additional pages.

Whenever a "value" or "amount" is required to be reported herein, such value or amount shall be
reported as being within one of the following Categories in Table I or Table IT of this subdivision as

called for in the question: A reporting individual shall indicate the Category by letter only.

Whenever "income" is required to be reported herein, the term “income” shall mean the aggregate

net income before taxes from the source identified.

The term "calendar year" shall mean the year ending the December 31st preceding the date of filing

of the annual statement.

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(b)

(a) List any office, trusteeship, directorship, partnership, or position of any nature, whether
compensated or not, held by the reporting individual with any firm, corporation, association,
partnership, or other organization other than the State of New York. Include compensated
honorary positions; do NOT list membership or uncompensated honorary positions. If the
listed entity was licensed by any state or local agency, was regulated by any state regulatory

agency or local agency, or, as a regular and significant part of the business or activity of said

- entity, did business with, or had matters other than ministerial matters before, any state or local

agency, list the name of any such agency.

Position Organization State or Local Agency

List any office, trusteeship, directorship, partnership, or position of any nature, whether
compensated or not, held by the spouse, domestic partner or unemancipated child of the
reporting individual, with any firm, corporation, association, partnership, or other organization

other than the State of New York. Include compensated honorary positions; do NOT list

or local agency, was regulated by any state regulatory agency or local agency, or, as a regular and
significant part of the business or activity of said entity, did business with, or had matters other

than ministerial matters before, any state or local agency, list the name of any such agency.

Position Organization State or Local Agency —

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(b)

6.

(a) List the name, address and description of any occupation, employment (other than the
employment listed under Item 2 above), trade, business or profession engaged in by the
reporting individual. If such activity was licensed by any state or local agency, was regulated by
any state regulatory agency or local agency, or, as a regular and signiftcant part of the business
or activity of said entity, did business with, or had matters other than ministerial matters before,

any state or local agency, list the name of any such agency.

Name & Address State or Local
Position . Description :
of Organization Agency

If the spouse, domestic partner or unemancipated child of the reporting individual was engaged
in any occupation, employment, trade, business or profession which activity was licensed by any
state or local agency, was regulated by any state regulatory agency or local agency, or, as aregular
and significant part of the business or activity of said entity, did business with, or had matters
other than ministerial matters before, any state or local agency, list the name, address and
description of such occupation, employment, trade, business or profession and the name of any

such agency. .

Name & Address oo State or Local
Position ° Description
- of Organization _ Agency

List any interest, in EXCESS of $1,000, held by the reporting individual, such individual's

spouse, domestic partner or unemancipated child, or partnership of which any such person is a

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member, or corporation, 10% or more of the stock of which is owned or controlled by any such
person, whether vested or contingent, in any contract made or executed bya state or local agency
and include the name of the entity which holds such interest and the relationship of the reporting
individual or such individual's spouse, domestic partner or such child to such entity and the
interest in such contract. Do NOT include bonds and notes. Do NOT list any interest in any
such contract on which final payment has been made and all obligations under the contract
except for guarantees and warranties have been performed, provided, however, that such an
interest must be listed if there has been an ongoing dispute during the calendar year for which
this statement is filed with respect to any such guarantees or warranties. Do NOT list any
interest in a contract made or executed by a local agency after public notice and pursuant to a

process for competitive bidding or a process for competitive requests for proposals.

Relationship ° : Category of
Self, Spouse, | Entity Which
: to Entityand | Contracting State | Value of
Domestic Held Interest in : i
Interestin . orLocalAgency |; Contract
Partner or Child Contract : i :
/ Un Table) |

Contract

List any position the reporting individual held as an officer of any political party or political
organization, as a member of any political party committee, or as a political party district leader.
The term “party” shall have the same meaning as “party" in the election law. The term "political
organization" means any party or independent body as defined in the election law or any

organization that is affiliated with or a subsidiary of a party or independent body.

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8.

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(a) If the reporting individual practices law, is licensed by the department of state as a real estate
broker or agent or practices a profession licensed by the department of education, or works as a
member or employee of a firm required to register pursuant to section one-e of the legislative
law as a lobbyist, describe the services rendered for which compensation was paid including a
general description of the principal subject areas of matters undertaken by such individual and
principal duties performed. Specifically state whether the reporting individual provides services
directly to clients. Additionally, if such an individual practices with a firm or corporation and
is a partner or shareholder of the firm or corporation, give a general description of principal

subject areas of matters undertaken by such firm or corporation.

APPLICABLE ONLY TO NEW CLIENTS OR CUSTOMERS FOR WHOM SERVICES ARE
PROVIDED ON OR AFTER JULY FIRST, TWO THOUSAND TWELVE AND BEFORE
DECEMBER THIRTY-FIRST, TWO THOUSAND FIFTEEN, OR FOR NEW MATTERS FOR
EXISTING CLIENTS OR CUSTOMERS WITH RESPECT TO THOSE SERVICES THAT ARE
PROVIDED ON OR AFTER JULY FIRST, TWO THOUSAND TWELVE AND BEFORE

DECEMBER THIRTY-FIRST, TWO THOUSAND FIFTEEN:

If the reporting individual personally provides services to any person or entity, or works as a
member or employee of a partnership or corporation that provides such services {referred to

hereinafter as a “firm”"), then identify each client or customer to whom the reporting individual

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personally provided services, or who was referred to the firm by the reporting individual, and
from whom the reporting individual or his or her firm earned fees in excess of $10,000 during

the reporting period for such services rendered in direct connection with:

(i) A contract in an amount totaling $50,000 or more from the state or any state agency

for services, materials, or property;

(ii) A grant of $25,000 or more from the state or any state agency during the reporting

period;
(iii) A grant obtained through a legislative initiative during the reporting period; or

(iv) A case, proceeding, application or other matter that is not a ministerial matter before

a state agency during the reporting period.

For purposes of this question, “referred to the firm" shall inean: having intentionally and
knowingly taken a specific act or series of acts to intentionally procure for the reporting
individual's firm or knowingly solicit or direct to the reporting individual's firm in whole or
substantial part, a person or entity that becomes a client of that firm for the purposes of
representation for a matter as defined in subparagraphs (i) through (iv) of this paragraph, as the
result of such procurement, solicitation or direction of the reporting individual. A reporting
individual need not disclose activities performed while lawfully acting pursuant to paragraphs
(6), (d), (e) and (f) of subdivision seven of section seventy-three ofthisarticle. =

The disclosure requirement in this question shall not require disclosure of clients or customers
receiving medical or dental services, mental health services, residential real estate brokering
services, or insurance brokering services from the reporting individual or his or her firm. The
reporting individual need not identify any client to whom he or she or his or her firm provided
legal representation with respect to investigation or prosecution by law enforcement authorities,
bankruptcy, or domestic relations matters, With respect to clients represented in other matters,
where disclosure of a client's identity is likely to cause harm, the reporting individual shall

request an exemption from the commission on ethics and lobbying in government pursuant to

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section ninety-four of the executive law, provided, however, that a reporting individual who first
enters public office after July first, two thousand twelve, need not report clients or customers
with respect to matters for which the reporting individual or his or her firm was retained prior

to entering public office.

Client a Nature of Services Provided —

(b-1)APPLICABLE ONLY TO NEW CLIENTS OR CUSTOMERS FOR WHOM SERVICES ARE
PROVIDED ON OR AFTER DECEMBER THIRTY-FIRST, TWO THOUSAND FIFTEEN,
OR FOR NEW MATTERS FOR EXISTING CLIENTS OR CUSTOMERS WITH RESPECT
TO THOSE SERVICES THAT ARE PROVIDED ON OR ABTER DECEMBER THIRTY-
FIRST, T'WO THOUSAND FIFTEEN (FOR PURPOSES OF THIS QUESTION, "SERVICES"
SHALL MEAN CONSULTATION, REPRESENTATION, ADVICE OR OTHER SERVICES):

If the reporting individual receives income © from employment reportable i in question (a) and
personally provides services to any person or - entity, or works as a member or employee of a
partnership or corporation that provides such services (referred to hereinafter as a firm"), the
reporting individual shall identify each client or customer to whom the reporting individual
personally provided services, or who was referred to the firm by the reporting individual, and
from whom the reporting individual or his or her firm earned fees in excess of $10,000 during

the reporting period in direct connection with:

(i) A contract in an amount totaling $10,000 or more from the state or any state agency

for services, materials, or property;

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(ii) A grant of $10,000 or more from the state or any state agency during the reporting

period;
(ii) A grant obtained through a legislative initiative during the reporting period; or

(iv) A case, proceeding, application or other matter that is not a ministerial matter before

a state agency during the reporting period.

For such services rendered by the reporting individual directly to each such client, describe
each matter that was the subject of such representation, the services actually provided and
the payment received. For payments received from clients referred to the firm by the
reporting individual, if the reporting individual directly received a referral fee or fees for

such referral, identify the client and the payment so received.

For purposes of this question, "referred to the firm" shall mean: having intentionally and
knowingly taken a specific act or series of acts to intentionally procure for the reporting
individual's firm or having knowingly solicited or directed to the reporting individual's firm
in whole or substantial part, a person or entity that becomes a client of that firm for the
purposes of representation for a matter as defined in clauses (i) through (iv) of this
subparagraph, as the result of such procurement, solicitation or direction of the reporting
individual, A reporting individual need not disclose activities performed while lawfully
acting in his or her capacity as provided in paragraphs (c), (d); (e} and (f) of subdivision’ ~

seven of section seventy-three of this article,

Nature of Services Category of Amount .

Client Matter :
: Provided : (in Table }}

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{b-2) APPLICABLE ONLY TO NEW CLIENTS OR CUSTOMERS FOR WHOM SERVICES
ARE PROVIDED ON OR AFTER DECEMBER THIRTY-FIRST, TWO THOUSAND
FIFTEEN, OR FOR NEW MATTERS FOR EXISTING CLIENTS OR CUSTOMERS WITH
RESPECT TO THOSE SERVICES THAT ARE PROVIDED ON OR AFTER DECEMBER
THIRTY-FIRST, TWO THOUSAND FIFTEEN (FOR PURPOSES OF THIS QUESTION,
“SERVICES” SHALL MEAN CONSULTATION, REPRESENTATION, ADVICE OR

OTHER SERVICES):

{i} With respect to reporting individuals who receive ten thousand dollars or more from
employment or activity reportable under question 8(a), for each client or customer
NOT otherwise disclosed or exempted in question 8 or 13, disclose the name of each
client or customer known to the reporting individual to whom the reporting
individual provided services; {A} who paid the reporting individual in excess of five
thousand dollars for such services; or (B) who had been bilied with the knowledge of
the reporting individual in excess of five thousand dollars by the firm or other entity

named in question 8{a) for the reporting individual's services.
/ | Category of Amount —

Client Services Actually Provided
(in Table I)

FOLLOWING IS AN ILLUSTRATIVE, NON-EXCLUSIVE LIST OF EXAMPLES OF

DESCRIPTIONS OF "SERVICES ACTUALLY PROVIDED":

* REVIEWED DOCUMENTS AND CORRESPONDENCE;

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* REPRESENTED CLIENT (IDENTIFY CLIENT BY NAME) IN LEGAL PROCEEDING;
* PROVIDED LEGAL ADVICE ON CLIENT MATTER {IDENTIFY CLIENT BY NAME);

* CONSULTED WITH CLIENT OR CONSULTED WITH LAW
PARTNERS/ASSOCIATES/MEMBERS OF FIRM ON CLIENT MATTER (IDENTIFY

CLIENT BY NAME);

* PREPARED CERTIFIED FINANCIAL STATEMENT FOR CLIENT (IDENTIFY CLIENT

BY NAME);

* REFERRED INDIVIDUAL OR ENTITY (IDENTIFY CLIENT BY NAME) FOR

REPRESENTATION OR CONSULTATION;
* COMMERCIAL BROKERING SERVICES (IDENTIFY CUSTOMER BY NAMB);

* PREPARED CERTIFIED ARCHITECTURAL OR ENGINEERING RENDERINGS FOR

CLIENT (IDENTIFY CUSTOMER BY NAME);

* COURT APPOINTED GUARDIAN OR EVALUATOR (IDENTIFY COURT NOT

CLIENT}.

(ii) With respect to reporting individuals who disclosed in question 8(a) that the
_ Teporting individual did not provide services to a client but provided services to a
firm or business, identify the category of amount received for providing such services

and describe the services rendered.

Services Actually Provided — Category of Amount {in Table I}

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A reporting individual need not disclose activities performed while lawfully acting in his or her
capacity as provided in paragraphs (c), (d), (e) and (f) of subdivision seven of section seventy-three

of this article.

The disclosure requirement in questions (b-1) and (b-2) shall not require disclosing clients or
customers receiving medical, pharmaceutical or dental services, mental health services, or residential
real estate brokering services from the reporting individual or his or her firm or if federal law
prohibits or limits disclosure. The reporting individual need not identify any client to whom he or
she or his or her firm provided legal representation with respect to investigation or prosecution by
law enforcement authorities, bankruptcy, family court, estate planning, or domestic relations
matters, nor shall the reporting individual identify individuals represented pursuant to an insurance
policy but the reporting individual shall in such circumstances only report the entity that provides
compensation to the reporting individual; with respect to matters in which the client's name is
required by law to be kept confidential (such as matters governed by the family court act) or in
matters in which the reporting individual represents or provides services to minors, the client's name
may be replaced with initials. To the extent that the reporting individual, or his or her firm, provided
legal representation with respect to an initial public offering, and professional disciplinary rules,
federal law or regulations restrict the disclosure of information relating to such work, the reporting
individual shall (i) disclose the identity of the client and the services provided relating to the initial
public offering to the office of court administration, who will maintain such information
‘confidentially ina locked box; and (ii) include in his or her response to questions (b-1) and (b-2)
that pursuant to this paragraph, a disclosure to the office of court administration has been made,
Upon such time that the disclosure of information maintained in the locked box is no longer
restricted by professional disciplinary rules, federal law or regulation, the reporting individual shall
disclose such information in an amended disclosure statement in response to the disclosure
requirements in questions (b-1} and {b-2). The office of court administration shall develop and
maintain a secure portal through which information submitted to it pursuant to this paragraph can
be safely and confidentially stored. With respect to clients represented in other matters not otherwise

exempt, the reporting individual may request an exemption to publicly disclosing the name of that

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client from the commission on ethics and lobbying in government pursuant to section ninety-four
of the executive law, or from the office of court administration. In such application, the reporting
individual shall state the following: "My client is not currently receiving my services or seeking my

services in connection with:
(i) A proposed bill or resolution in the senate or assembly during the reporting period;

(ii) A contract in an amount totaling $10,000 or more from the state or any state agency for

services, materials, or property;
(iii) A grant of $10,000 or more from the state or any state agency during the reporting period;
(iv) A grant obtained through a legislative initiative during the reporting period; or

(v) Acase, proceeding, application or other matter that is not a ministerial matter before a

state agency during the reporting period."

In reviewing the request for an exemption, the commission on ethics and lobbying in government
or the office of court administration may consult with bar or other professional associations and the
legislative ethics commission for individuals subject to its jurisdiction and may consider the rules of
professional conduct, In making its determination, the commission on ethics and lobbying in

government or the office of court administration shall conduct its own inquiry and shail consider

factors including, but not limited to: (i) the nature and the size of the client; (ii) whether the client

has any bnsiness before the states and if so, how significant the bnsiness is; and whether the client
has any particularized interest in pending legislation and if so how significant the interest is; (iii)
whether disclosure may reveal trade secrets; {iv) whether disclosure could reasonably result in
retaliation against the client; (v) whether disclosure may cause undue harm to the client; (vi) whether
disclosure may result in undue harm to the attorney-client relationship; and (vii) whether disclosure

may result in an unnecessary invasion of privacy to the client.

The commission on ethics and lobbying in government or, as the case may be, the office of court
administration shall promptly make a final determination in response to such request, which shall

include an explanation for its determination. The office of court administration shall issue its final

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determination within three days of receiving the request. Notwithstanding any other provision of
law or any professional disciplinary rule to the contrary, the disclosure of the identity of any client
or customer in response to this question shall not constitute professional misconduct or a ground
for disciplinary action of any kind, or form the basis for any civil or criminal cause of action or
proceeding. A reporting individual who first enters public office after January first, two thousand
sixteen, need not report clients or customers with respect to matters for which the reporting

individual or his or her firm was retained prior to entering public office.

(c) APPLICABLE ONLY TO NEW CLIENTS OR CUSTOMERS FOR WHOM SERVICES ARE
PROVIDED ON OR AFTER DECEMBER THIRTY-FIRST, TWO THOUSAND FIFTEEN, OR
FOR NEW MATTERS FOR EXISTING CLIENTS OR CUSTOMERS WITH RESPECT TO

-THOSE SERVICES THAT ARE PROVIDED ON OR AFTER DECEMBER THIRTY-FIRST,

TWO THOUSAND FIFTEEN:

If the reporting individual receives income of ten thousand dollars or greater from any
employment or activity reportable under question 8{a), ideritity each registered lobbyist who has
directly referred to such individual a client who was successfully referred to the reporting
individual's business and from whom the reporting individual or firm received a fee for services
in excess of five thousand dollars. Report only those referrals that were made to a reporting
individual by direct communication from a person known to such reporting individual to be a
registered lobbyist at the time the referral is made. With respect to each such referral, the
reporting individual shall identify the cHent, the registered lobbyist who has made the referral,
the category of value of the compensation received and a general description of the type of matter
so referred. A reporting individual need not disclose activities performed while lawfully acting
pursuant to paragraphs (c), (d), (e) and (f) of subdivision seven of section seventy-three of this
article. The disclosure requirements in this question shall not require disclosing clients or
customers receiving medical, pharmaceutical or dental services, mental health services, or
residential real estate brokering services from the reporting individual or his or her firm or if
federal law prohibits or limits disclosure, The reporting individual need not identity any client

to whom he or she or his or her firm provided legal representation with respect to investigation

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or prosecution by law enforcement authorities, bankruptcy, family court, estate planning, or
domestic relations matters, nor shall the reporting individual identify individuals represented
pursuant to an insurance policy but the reporting individual shall in such circumstances only
report the entity that provides compensation to the reporting individual; with respect to matters
in which the client's name is required by law to be kept confidential (such as matters governed
by the family court act) or in matters in which the reporting individual represents or provides
services to minors, the client's name may be replaced with initials. To the extent that the
reporting individual, or his or her firm, provided legal representation with respect to an initial
public offering, and federal law or regulations restricts the disclosure of information relating to
such work, the reporting individual shall (i} disclose the identity of the client and the services
provided relating to the initial public offering to the office of court administration, who will
maintain such information confidentially in a locked box; and (ii) include in his or her response
a statement that pursuant to this paragraph, a disclosure to the office of court administration
has been made. Upon stich time that the disclosure of information maintained in the locked
box is no longer restricted by federal law or regulation, the reporting individual shall disclose
such information in an amended disclosure statement in response to the disclosure
requirements of this paragraph. The office of court administration shall develop and maintain a
secure portal through which information submitted to it pursuant to this paragraph can be safely
and confidentially stored. With respect to clients represented in other matters not otherwise
exempt, the reporting individual may request an exemption to publicly disclosing the naine of *
that client from the commission on ethics and lobbying in government pursuant to section
ninety-four of the executive law, or from the office of court administration, In such application,
the reporting individual shall state the following: "My client is not currently receiving my

services or seeking my services in connection with:
(i) A proposed bill or resolution in the senate or assembly during the reporting period;

(ii) A contract in an amount totaling $10,000 or more from the state or any state agency for

services, materials, or property;

(iii) A grant of $10,000 or more from the state or any state agency during the reporting period;

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(iv) A grant obtained through a legislative initiative during the reporting period; or

(vy) A case, proceeding, application or other matter that is not a ministerial matter before a

state agency during the reporting period."

In reviewing the request for an exemption, the commission on ethics and lobbying in government
or the office of court administration may consult with bar or other professional associations and the
legislative ethics commission for individuals subject to its jurisdiction and may consider the rules of
professional conduct. In making its determination, the commission on ethics and lobbying in
government or the office of court administration shall conduct its own inquiry and shall consider
factors including, but not limited to: (i) the nature and the size of the client; (ii) whether the client
has any business before the state; and if so, how significant the business is; and whether the client
has any particularized interest in pending legislation and if so how significant the interest is; (iit)
whether disclosure may reveal trade secrets; (iv) whether disclosure could reasonably result in
retaliation against the client; (v) whether disclosure may cause undue harm te the client; (vi) whether
disclosure may result in undue harm to the attorney-client relationship; and (vii) whether disclosure

may result in an unnecessary invasion of privacy to the client.

The commission on ethics and lobbying in government or, as the case may be, the office of court
administration shall promptly make a final determination in response to such request, which shall
include an explanation for its determination. The office of court administration shall issue its final
determination within three days of receiving the request. Notwithstanding any other provision of
law or any professional disciplinary rule to the contrary, the disclosure of the identity of any client
or customer in response to this question shall not constitute professional misconduct or a ground
for disciplinary action of any kind, or form the basis for any civil or criminal cause of action or
proceeding. A reporting individual who first enters public office after December thirty-first, two
thousand fifteen, need not report clients or customers with respect to matters for which the reporting

individual or his or her firm was retained prior to entering public office.

~ Category of Amount _

Client Name of Lobbyist Description of Matter
: : {in Table I}

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(d} List the name, principal address and general description or the nature of the business activity of
any entity in which the reporting individual or such individual's spouse or domestic partner had

an investment in excess of $1,000 excluding investments in securities and interests in real
property.

9, List each source of gifts, EXCLUDING campaign contributions, in EXCESS of $1,000, received
during the reporting period for which this statement is filed by the reporting individual or such
individual's spouse, domestic partner or unemancipated child from the same donor,
EXCLUDING gifts from a relative. INCLUDE the name and address of the donor. The term
"gifts" does not include reimbursements, which term is defined in item 10, Indicate the value

and nature of each such gift.

. Self, Spouse, : Category of
Name of :
Domestic __ Donor Address, ........ Nature.of Gift ... Value of Gift {in
onor :
Partner or Child — Table 1)

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10.

11.

Identify and briefly describe the source of any reimbursements for expenditures, EXCLUDING
campaign expenditures and expenditures in connection with official duties reimbursed by the
state, in EXCESS of $1,000 from each such source. For purposes of this item, the term
“reimbursements” shall mean any travel-related expenses provided by nongovernmental sources
and for activities related to the reporting individual's official duties such as, speaking
engagements, conferences, or factfinding events. ‘The term "reimbursements" does NOT include
gifts reported under item 9.

Description

List the identity and value, if reasonably ascertainable, of each interest in a trust, estate or other
beneficial interest, including retirement plans (other than retirement plans of the state of New
York or the city of New York), and deferred compensation plans (e.g., 401, 403(b), 457, etc.)

established in accordance with the internal revenue code, in which the REPORTING

_ INDIVIDUAL held a beneficial interest in EXCESS of-$1,000 at any time during: the preceding

year. Do NOT report interests in a trust, estate or other beneficial interest established by or for,

or the estate of, a relative.

~~ Ydentity “TP” Category of Value* (in Table)

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+ The value of such interest shall be reported only if reasonably ascertainabie.

12, (a) Describe the terms of, and the parties to, any contract, promise, or other agreement between

the reporting individual and any person, firm, or corporation with respect to the employment

of such individual after leaving office or position (other than a leave of absence).

(b) Describe the parties to and the terms of any agreement providing for continuation of payments
or benefits to the REPORTING INDIVIDUAL in EXCESS of $1,000 from a prior employer
OTHER THAN the State. (This includes interests in or contributions to a pension fund, profit-

sharing plan, or life or health insurance; buy-out agreements; severance payments; etc.)

13. List below the nature and amount of any income in EXCESS of $1,000 from EACH SOURCE

for the reporting individual and such individual's spouse or domestic partner for the taxable year

last occurring prior to the date of filing. Each such source must be described with particularity.

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Nature of income includes, but is not limited to, all income fother than that received from the
employment listed under Item 2 above) from compensated employment whether public or
private, directorships and other fiduciary positions, contractual arrangements, teaching income,
partnerships, honorariums, lecture fees, consultant fees, bank and bond interest, dividends,
income derived from a trust, real estate rents, and recognized gains from the sale or exchange of
real or other property. Income from a business or profession and real estate rents shall be
reported with the source identified by the building address in the case of real estate rents and
otherwise by the name of the entity and not by the name of the individual customers, clients or
tenants, with the aggregate net income before taxes for each building address or entity. The
receipt of maintenance received in connection with a matrimonial action, alimony and child

support payments shall not be listed.

““Self/Spouseor Category of Amount
Source : Nature :

Domestic Partner : (in Table I}

14. List the sources of any deferred income (not retirement income) in EXCESS of $1,000 from each
source to be paid to the reporting individual following the close of the calendar year for which
this disclosure statement is filed, other than deferred compensation reported in item 11
hereinabove, Deferred income derived from the practice of a profession shall be listed in the
aggregate and shall identify as the source, the name of the firm, corporation, partnership or

association through which the income was derived, but shal! not identify individual! clients.

Source Category of Valuet (in Table) |

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15, List each assignment of income in EXCESS of $1,000, and each transfer other than to a relative
during the reporting period for which this staternent is filed for less than fair consideration of
an interest in a trust, estate or other beneficial interest, securities or real property, by the
reporting individual, in excess of $1,000, which would otherwise be required to be reported

herein and is not or has not been so reported.

“TtemAssignedor gw | Category of Amount »
Assigned or Transferred to
Transferred {in Table I)

16. List below the type and market value of securities held by the reporting individual or such
individual's spouse or domestic partner from each issuing entity in EXCESS of $1,000 at the
close of the taxable year last occurring prior to the date of filing, including the name of the
issuing entity exclusive of securities held by the reporting individual issued by a professional
corporation. Whenever an interest in securities exists through a beneficial interest in a trust, the
securities held in such trust shall be listed ONLY IF the reporting individual has knowledge

thereof except where the reporting individual or the reporting individual's spouse or domestic

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partner has transferred assets to such trust for his or her benefit in which event such securities
shall be listed unless they are not ascertainable by the reporting individual because the trustee is
under an obligation or has been instructed in writing not to disclose the contents of the trust to
the reporting individual. Securities of which the reporting individual or the reporting
individual's spouse or domestic partner is the owner of record but in which such individual or
the reporting individual's spouse or domestic partner has no beneficial interest shall not be listed.
Indicate percentage of ownership ONLY if the reporting person or the reporting person's spouse
or domestic partner holds more than five percent (5%) of the stock of a corporation in which
the stock is publicly traded or more than ten percent (10%) of the stock of a corporation in which
the stock is NOT publicly traded. Also list securities owned for investment purposes by a
corporation more than fifty percent (50%) of the stock of which is owned or controlled by the
reporting individual or such individual's spouse or domestic partner. For the purpose of this
item the term “securities” shall mean mutual funds, bonds, mortgages, notes, obligations,
warrants and stocks of any class, investment interests in limited or general partnerships and
certificates of deposits (CDs) and such other evidences of indebtedness and certificates of
interest as are usually referred to as securities. The market value for such securities shall be
reported only if reasonably ascertainable and shall not be reported if the security is an interest
in a general partnership that was listed in item 8 (a) or if the security is corporate stock, NOT
publicly traded, in a trade or business ofa reporting individual or a reporting individual's spouse

or domestic partner.

“Percentage of Category of
corporate stock Market Vatue
owned or _ as of the close

controlled (if of the taxable;

Self/Spouse or more than 5% of : year last
| Issuiug Entity | Type of Security :
Domestic Partner | publicly traded occurring
stock, or mare prior to the

than 10% if stock filing of this
not publicly statement (In
traded, isheld) ~ Table ID

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17. List below the location, size, general nature, acquisition date, market value and percentage of
ownership of any real property in which any vested or contingent interest in EXCESS of $1,000
is held by the reporting individual or the reporting individual's spouse or domestic partner. Also
list real property owned for investment purposes bya corporation more than fifty percent (50%)
of the stock of which is owned or controlled by the reporting individual or such individual's
spouse or domestic partner. Do NOT list any real property which is the primary or secondary
personal residence of the reporting individual or the reporting individual's spouse or domestic

partner, except where there is a co-owner who is other than a relative.

Self/Spouse/ Acquisition | Percentage of Category of
Domestic Location Size General Nature 0 hiv Market Value
: whership
-.Partner/Corporation -: Date. os P (In Table 11}
os ) POT. and other Ethics and Lobbying Related Laws and Regulations
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18. List below all notes and accounts receivable, other than from goods or services sold, held by the

reporting individual at the close of the taxable year last occurring prior to the date of filing and
other debts owed to such individual at the close of the taxable year last occurring prior to the
date of filing, in EXCESS of $1,000, including the name of the debtor, type of obligation, date
due and the nature of the collateral securing payment of each, if any, excluding securities
reported in item 16 hereinabove. Debts, notes and accounts receivable owed to the individual by

arelative shall not be reported.
Type of Obligation, Date Due, and Category of Amount |

Name of Debtor
(in Table IT)

Nature of Collateral, if any

19. List below all liabilities of the reporting individual and such individual's spouse or domestic

partner, in EXCESS of $10,000 as of the date of filing of this statement, other than Habilities to a

relative, Do NOT list liabilities incurred by, or guarantees made by, the reporting individual or .-

such individual's spouse or domestic partner or by any proprietorship, partnership or
corporation in which the reporting individual or such individual's spouse or domestic partner
has an interest, when incurred or made in the ordinary course of the trade, business or
professional practice of the reporting individual or such individual's spouse or domestic partner.
Include the name of the creditor and any collateral pledged by such individual to secure payment
of any such liability. A reporting individual shafl not list any obligation to pay maintenance in
connection with a matrimonial action, alimony or child support payments. Any loan issued in
the ordinary course of business by a financial institution to finance educational costs, the cost of

home purchase or improvements for a primary or secondary residence, or purchase of a

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personally owned motor vehicle, household furniture or appliances shall be excluded. Ifany such

reportable liability has been guaranteed by any third person, list the liability and name the

guarantor.

Category of Amount

Name of Creditor or ; r Liability and Collateral, if
e of Liability and Collateral, ifan i
yp y many (in Table 11)

Gnarantor

The requirements of law relating to the reporting of financial interests are in the public interest

and no adverse inference of unethical or illegal conduct or behavior will be drawn merely from

conypliance with these requirements.

(Signature of Reporting Individual) Date (month/day/year)

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TABLEI

Category A none

Category B $ ltounder$ 1,000
Category C $ 1,000 to under $ 5,000
Category D $ 5,000 to under $ 20,000
Category E $ 20,000 to under $ 50,000
Category F $ 50,000 to under $ 75,000
Category G $ 75,000 to under $ 100,000
Category H $ 106,000 to under $ 150,000
Category | ¢ 150,000 to under $ 250,000
Category J $ 250,000 to under $ 350,000
Category K $ 356,000 to under $ 450,000
Category L $ 450,000 to under $ 550,000
Category M — § 550,000 to ander $ 650,000 _
Category N $ 650,000 to under $ 750,000
Category O $ 750,060 to under $ 850,000
Category P ' ¢ 850,000 to under $ 950,000
Category Q $ 950,000 to under $1,050,000
Category R $1,050,000 to under $1,150,000
Category 5 $1,150,000 to under $1,250,000

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Category T

Category U

Category V

Category W

Category X

Category ¥

Category Z

Category AA

Category BB

Category CC

Category DD

Category EE

Category FF

_ Category GG

Category HH
Category Il
Category JJ
Category KK
Category LL

Category MM

$1,250,000 to under $4,350,000
$1,350,000 to under $1,450,000
$1,450,000 to under $1,550,000
$1,550,000 to under $1,650,000
$1,650,000 to under $1,750,000
$1,750,000 to under $1,850,000
$1,850,000 to under $1,950,000
$1,950,000 to under $2,050,000
$2,050,000 to under $2,150,000
$2,150,000 to under $2,250,000
$9,250,000 to under $2,350,000
$2,350,000 to uncer $2,450,000
$2,450,000 to under $2,550,000
$2,550,000 to under $2,650,000
$2,650,000 to under $2,750,000
$2,750,000 to under $2,850,000
$2,850,000 to under $2,950,000
$2,950,000 to under $3,050,000
$3,050,000 to under $3,150,000

$3,150,000 to under $3,250,000

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Category NN — $3,250,000 to under $3,350,000
CategoryOO $3,350,000 to under $3,450,000
Category PP $3,450,000 to under $3,550,000
Category QQ $3,550,000 to under $3,650,000
CategoryRR $3,650,000 to under $3,750,000
Category SS $3,750,000 to under $3,850,000
Category TT — $3,850,000 to under $3,950,000
Category UU $3,950,000 to under $4,050,000
Category VV $4,050,000 to under $4,150,000
Category WW $4,150,000 to under $4,250,000
CategoryXX $4,250,000 to under $4,350,000
Category YY $4,350,000 to under $4,450,000
Category ZZ — $4,450,000 to under $4,550,000
Category AAA $4,550,000 to under $4,650,000
Category BBB $4,650,000 to under $4,750,000
Category CCC $4,750,000 to under $4,850,000
Category DDD $4,850,000 to under $4,950,000
Category EEE $4,950,000 to under $5,050,000
Category FFF $5,050,000 to under $5,150,000

Category GGG $5,150,000 to under $5,250,000

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Category HHH
Category ITI
Category JJJ
Category KKK
Category LLL
Category MMM
Category NNN
Category OOO
Category PPP
Category QQQ
Category RRR
Category SSS

Category TTT

Category UUU

Category VVV
Category WWW
Category XXX
Category YYY
Category ZZZ,

Category AAAA

$5,250,000 to under $5,350,000
$5,350,000 to under $5,450,000 .
$5,450,000 to under $5,550,000
$5,550,000 to under $5,650,000
$5,650,000 to under $5,750,000
$5,750,000 to under $5,850,000
$5,850,000 to under $5,950,000
$5,950,000 to under $6,050,000
$6,050,000 to under $6,150,000
$6,150,000 to under $6,250,000
$6,250,000 to under $6,350,000
$6,350,000 to under $6,450,000

$6,450,000 to under $6,550,000

$6,550,000 to under $6,650,000

$6,650,000 to under $6,750,000 .
$6,750,000 to under $6,850,000
$6,850,000 to under $6,950,000
$6,950,000 to under $7,050,000
$7,050,000 to under $7,150,000

$7,150,000 to under $7,250,000

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Category BBBB
Category CCCC
Category DDDD
Category EEEE
Category FFFF
Category GGGG
Category HHHH
Category HII
Category JJ]
Category KKKIC
Category LLLL
Category MMMM
Category NNNN
Category O000
Category PPPP
Category QQQ0
Category RRRR
Category SS5S
Category T’TTT

Category UUUU

$7,250,000 to under $7,350,000

$7,350,000 to under $7,450,000

$7,450,000 to under $7,550,000

$7,550,000 to under $7,650,000

$7,650,000 to under $7,750,000

$7,750,000 to under $7,850,000

$7,850,000 to under $7,950,000

$7,950,000 to under $8,050,000

$8,050,000 to under $8,150,000

$3,150,000 to under $8,250,000

_ $8,250,000 to under $8,350,000

$8,350,000 to under $8,450,000
$8,450,000 to under $8,550,000
$8,550,000 to under $8,650,000
68,650,000 to under $8,750,000
$8,750,000 to under $8,850,000
$8,850,000 to under $8,950,000
$8,950,000 to under $9,050,000
49,050,000 to under $9,150,000

$9,150,000 to under $9,250,000

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Category VVVV
Category WWWW
Category XXXX
Category YYYY
Category ZZ2Z
Category AAAAA
Category BBBBB
Category CCCCC

Category DDDDD

$9,250,000 to under $9,350,000
$9,350,000 to under $9,450,000
$9,450,000 to under $9,550,000
$9,550,000 to under $9,650,000
$9,650,000 to under $9,750,000
$9,750,000 to under $9,850,000
$9,850,000 to under $9,950,000
$9,950,000 to under $10,000,000

$10,000,000 or over

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TABLE I! -

Category A
Category B
Category G
Category D
Category E
Category F
Category G
Category H
Category 1
Category J
Category K
Category L
Catego ryM
Category N
Category O
Category P
Category Q
Category R

Category

hone

$1 to under $1,000

$1,000 to under $5,000

$5,000 to under $20,000

£20,000 to under $50,000

$50,000 to under $75,000

$75,000 to under $100,000

£100,000 to under $150,000

$150,000 to under $250,000

$250,000 to under $500,000

$500,000 to under $750,000

$750,000 to under $1,000,000

$1,000,000 to under $1,250,000

$1,250,000 to under $1,500,000
$1,500,000 to under $1,750,000
$4,750,000 to under $2,000,000
$2,000,000 to under $2,250,000
$2,250,000 to under $2,500,000

$2,500,000 to under $2,750,000

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Category T $2,750,000 to under $3,000,000
Category U $3,000,000 to under $3,250,000
Category ¥ $3,250,000 to under $3,500,000
Category W $3,500,000 to under $3,750,000
Category % $3,750,000 to under $4,000,000
Category Y $4,000,000 to under $4,250,000
Category Z $4,250,000 to under $4,500,000
Category AA = $4,500,000 to under $4,750,000
Category BB $4,750,000 to under $5,000,000
Category CC $5,000,000 to under $5,250,000
Category DD = $5,250,000 to under $5,500,000
Category EE $5,500,000 to under $5,750,006
Category FF = $5,750,000 to under $6,000,000
Category GG $6,000,000 to under $6,250,000
Category HH $6,250,000 to under $6,500,000
Category II $6,500,000 to under $6,750,000
Category j] $6,750,000 to under $7,000,000
Category KK — $7,000,000 to under $7,250,000
CategoryLL $7,250,000 to under $7,500,000

Category MM $7,500,000 to under $7,750,000

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Category NN $7,750,000 to under $8,000,000
Category OO — $8,000,000 to under $8,250,000
Category PP $8,250,000 to under $8,500,000
Category QQ $8,500,000 to under $8,750,000
Category RR $8,750,060 to under $9,000,000
CategorySS — $9,000,000 to under $9,250,000
Category TT $9,250,000 to under $9,500,000
Category UU $9,500,000 or over

4, A reporting individual who knowingly and wilfully fails to file an annual statement of financial
disclosure or who knowingly and wilfully with intent to deceive makes a false statement or gives
«nformation which such individual knows to be false on such statement of financial disclosure filed
pursuant to this section shall be subject to a civil penalty in an amount not to exceed forty thousand
dollars, Assessment of a civil penalty hereunder shall be made by the commission on ethics and
lobbying in government or by the legislative ethics commission, as the case may be, with respect to
persons subject to their respective jurisdictions, The commission on ethics and lobbying in
government acting pursuant to subdivision fourteen of section ninety-four of the executive law or
the legislative ethics commission acting pursuant to subdivision eleven of section eighty of the
legislative law, as the case may be, may, in liea of or in addition to a civil penalty, refer a violation to
the appropriate prosecutor and upon such conviction, but only after such referral, such violation
shall be punishable as a class A misdemeanor. A civil penalty for false filing may not be imposed
hereunder in the event a category of “value” or "amount" reported hereunder is incorrect unless such
reported information is falsely understated. Notwithstanding any other provision of law to the
contrary, no other penalty, civil or criminal may be imposed for a failure to file, or for a false filing,
of such statement, except that the appointing aathorily may impose disciplinary action as otherwise

provided by law. The commission on ethics and lobbying in government and the legislative ethics

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commission shall each be deemed to be an agency within the meaning of article three of the state
administrative procedure act and shall adopt rules governing the conduct of adjudicatory
proceedings and appeals relating to the assessment of the civil penalties herein authorized. Such
rules, which shall not be subject to the approval requirements of the state administrative procedure
act, shall provide for due process procedural mechanisms substantially similar to those set forth in
such article three but such mechanisms need not be identical in terms or scope. Assessment of a civil
penalty shall be final unless modified, suspended or vacated within thirty days of imposition and
upon becoming final shail be subject to review at the instance of the affected reporting individual in
a proceeding commenced against the commission on ethics and lobbying in government or the

legislative ethics commission, pursuant to article seventy-eight of the civil practice law and rules.

5. Nothing contained in this section shall be construed as precluding any public authority or public
benefit corporation froin exercising any authority or power now or hereafter existing to require any
of its members, directors, officers or employees to file financial disclosure statements with such
public authority or public benefit corporation that are the same as, different from or supplemental
to any of the requirements contained herein and to provide only for internal employment discipline

for any violation arising out of such internal filing.

6. Notwithstanding any other provision of law or any professional disciplinary rule to the contrary, the
disclosure of the identity of any client or customer on a reporting individual's annual statement of
financial disclosure shall not constitute professional misconduct or a ground for disciplinary action

of any kind, or form the basis for any civil or criminal cause of action or proceeding.

7. With respect to an application to either the commission on ethics and lobbying in government or
the office of court administration for an exemption to disclosing the name of a client or customer in
response to questions 8 (b-1), 8 (b-2) and 8 (c), ail information which is the subject of or a part of
such application shall remain confidential. The name of the client need not be disclosed by the
reporting individual unless and until the commission on ethics and lobbying in government or the
office of court administration formally advises the reporting individual that he or she must disclose
such names and the reporting individual agrees to represent the client. Any commissioner or person

employed by the commission on ethics and lobbying in government or any person employed by the

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office of court administration who, intentionally and without authorization from a court of

related to a request for an exemption

ss A

competent jurisdiction releases confidential information

received by the commission or the office of court administration shall be guilty of a cla

misdemeanor.

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‘ Code of Ethics.

1.

Definition.

As used in this section: The term "state agency" shall mean any state department, or division, board,
commission, or bureau of any state department or any public benefit corporation or public authority at
least one of whose members is appointed by the governor or corporations closely affiliated with specific
state agencies as defined by paragraph (d} of subdivision five of section fifty-three-a of the state finance

law or their successors.

The term “legislative employee" shall mean any officer or employee of the legislature but it shal! not

include members of the legislature.

Rule with respect to conflicts of interest.

No officer or employee of a state agency, member of the legislature or legislative employee should have
any interest, financial or otherwise, direct or indirect, or engage in any business or transaction or
professional activity or incur any obligation of any nature, which is in substantial conflict with the proper

discharge of his or her duties in the public interest.

3,- Standards, :

a. No officer or employee of a state agency, member of the legislature or legislative employee
should accept other employment which will impair his or her independence of judgment in the

exercise of his or her official duties.

b. No officer or employee of a state agency, member of the legislature or legislative employee
should accept employment or engage in any business or professional activity which will require
him or her to disclose confidential information which he or she has gained by reason of his or

her official position or authority.

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No officer or employee of a state agency, member of the legislature or legislative employee
should disclose confidential information acquired by him or her in the course of his or her

official duties nor use such information to further his or her personal interests.

No officer or employee of a state agency, member of the legislature or legislative employee
should use or attempt to use his or her official position to secure unwarranted privileges or
exemptions for himself or herself or others, including but not limited to, the misappropriation
to himself, herself or to others of the property, services or other resources of the state for private

business or other compensated non-governmental purposes.

No officer or employee of a state agency, member of the legislature or legislative employee
should engage in any transaction as representative or agent of the state with any business entity
in which he or she has a direct or indirect financial interest that might reasonably tend to conflict

with the proper discharge of his or her official duties.

An officer or employee of a state agency, member of the legislature or legislative employee
should not by his or her conduct give reasonable basis for the impression that any person can
improperly influence him or her or unduly enjoy his or her favor in the performance of his or
her official duties, or that he or she is affected by the kinship, rank, position or influence of any

party or person.

An officer or employee ofa state agency should abstain from making personnel investments in -
enterprises which he or she has reason to believe may be directly involved in decisions to be
made by him or her or which will otherwise create substantial conflict between his or her duty

in the public interest and his or her private interest.

An officer or employee of a state agency, member of the jegislature or legisiative employee
should endeavor to pursue a course of conduct which wil! not raise suspicion among the public

that he or she is likely to be engaged in acts that are in violation of his or her trust.

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i. No officer or employee of a state agency employed on a full-time basis nor any firm or
association of which such an officer or employee is a member nor corporation a substantial
portion of the stock of which is owned or controlled directly or indirectly by such officer or
employee, should sell goods or services to any person, firm, corporation or association which is
licensed or whose rates are fixed by the state agency in which such officer or employee serves or

is employed.
A. Violations.

Ini addition to any penalty contained in any other provision of law any such officer, member or employee
who shall knowingly and intentionally violate any of the provisions of this section may be fined,
suspended or removed from office or employment in the manner provided by law. Any such individual
who knowingly and intentionally violates the provisions of paragraph b, c, d or i of subdivision three of
this section shali be subject to a civil penalty in an amount not to exceed ten thousand dollars and the
value of any gilt, compensation or benefit received as a result of such violation. Any such individual who
knowingly and intentionally violates the provisions of paragraph a, e or g of subdivision three of this
section shall be subject to a civil penalty in an amount not to exceed the value of any gift, compensation

ot benefit received as a result of such violation.

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Public Officers Law §§ 74-a - 79

§ 74-a, Duty of public officers regarding the physically handicapped.

It shall be the duty of each public officer responsible for the scheduling or siting of any public hearing to
take reasonable efforts to ensure that such hearings are held in facilities that permit barrier-free physical

access to the physically handicapped, as defined in subdivision five of section fifty of the public buildings law.
§ 75, Bribery of members of the legislature.

A person who gives or offers, or causes to be given or offered, a bribe, or any money, property, or value of
any kind, or any promise or agreement therefor, to a member of the legislature, or to a person who has been
elected a member of the legislature, or attempts, directly or indirectly, by menace, deceit, suppression of
truth, or other corrupt means, to influence sucha member or person to give or withhold his vote, or to absent
himself from the house of which he is, or is to become, a member, or from any committee thereof, is

punishable by imprisonment for not more than ten years, or by a fine of not more than five thousand dollars,

or by both.
§ 75-a, Appearance by a person convicted of a crime of corruption,

Upon conviction for any of the following crimes: bribery in the first degree, bribery in the second degree,
bribery in the third degree, rewarding official misconduct in the first degree, rewarding official misconduct
in the second degree, giving unlawful gratuities, and when any such crime is committed for the purpose of
corrupting a public office, agency or public official of the state, or any political subdivision, public authority,
or public benefit corporation of the state, in the performance of public duty, such public office, agency or
public official of the state, or any political subdivision or public authority may bar that person or entity
convicted of such enumerated crimes from appearing before the affected public office, agency or public
official of the state, or any such political subdivision or public authority in any professional or representative

capacity. Such bar shall be for a period of five years from the date of judgment for such conviction,

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Public Officers Law $§ 74-a — 79

§ 76. Receiving bribes by members of legislature.

A member of either of the houses composing the legislature of this state, or a person elected to become a
member thereof, who asks, receives, or agrees to receive any bribe upon any understanding that his official
vote, opinion, judgment or action shall be influenced thereby, or shall be given in any particular manner or

upon any particular side of any question or matter upon which he may be required to act in his official

capacity, shall be guilty of a class D felony.
§ 77, Unlawful fees and payments.

A member of the legislature or any officer or employee of the lepislature who asks or receives or consents or
aprees to receive any emolument, gratuity or reward or any promise of emolument, gratuity or reward or any
money, property or thing of value or of personal advantage, except such as may be authorized by law, for
doing or omitting to do any official act, or for performing or omitting to perform any act whatsoever directly
or indirectly related to any matter in respect to which any duty or discretion is by or in pursuance of law
imposed upon or vested in him, or may be exercised by him by virtue of his office, or appointment or
employment or his actual relation to the matter including, without limiting the generality of the foregoing,
approving or promoting the passage of legislation or resolutions or the confirmation of appointees, or the
conduct of investigations, and a person who shail directly or indirectly offer or make such a transfer to any
member of the legislature or any officer or employee of the legislature shall be guilty of a felony punishable

by imprisonment for not more than ten years or by a fine of not more than five thousand dollars, or both.
§ 77-a. Members of the legislature liable to forfeiture of office.

The conviction of a member of the legislature or any officer or employee of the legislature of any of the crimes
defined in sections seventy-five, seventy-six or seventy-seven of this chapter, shall involve as a consequence
in addition to the punishment provided in any such section a forfeiture of his office; and shall disqualify him

from ever afterwards holding any office under this state.

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Public Officers Law $$ 74-a - 79

§ 78. Certification of members, officers and employees.

On or before the tenth day after any member, officer or employee commences the performance of his duties
as such, he shall file, with the secretary of the senate, ifa member, officer or employee of that house, or with
the clerk of the assembly, if a member, officer or employee of that house, or with the secretary of state if an
officer or employee of a state agency, a certificate acknowledging receipt of a copy of sections seventy-three,
seventy-three-a, seventy-four, seventy-five, seventy-six, seventy-seven and seventy-eight of this chapter
together with such other material as the secretary of the senate, the clerk of the assembly or the secretary of
state may prepare related thereto, that he has read the same and undertakes to conform to the provisions,
purposes and intent thereof and to the norms of conduct for members, officers and employees of the

legislature and state agencies.
§ 79, Fine in certain cases.

Where an officer or a member of a board or other body has without just cause refused or neglected to perform
a public duty enjoined upon him by a special provision of law, a court may impose a fine, not exceeding two
hundred fifty dollars, upon the officer or member who has so refused or neglected, to be paid into the treasury

of the state.

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Civil Service Law § 107

Prohibition against certain political activities; improper influence.

1. Recommendations based on political affiliations. No recommendation or question under the
authority of this chapter shall relate to the political opinions or affiliations of any person whatever; and
no appointment or selection to or removal from an office or employment within the scope of this chapter
or the rules established thereunder, shall be in any manner affected or influenced by such opinions or
affiliations. No person in the civil service of the state or of any civil division thereof is for that reason
under any obligation to contribute to any political fund or to render any political service, and no person
shall be removed or otherwise prejudiced for refusing so to do. No person in the said civil service shall
discharge or promote or reduce, or in any manner change the official rank or compensation of any other
person in said service, or promise or threaten so to do, for giving or withholding or neglecting to make
any contribution of money or service or any other valuable thing for any political purpose. No person
in said service shall use his official authority or influences to coerce the political action of any person or

body or to interfere with any election.

2. Inquiry concerning political affiliations. No person shall directly or indirectly ask, indicate or transmit
orally or in writing the political affiliations of any employee in the civil service of the state or of any civil
division thereof or of any person dependent upon or related to such an employee, as a test of fitness for
holding office. A violation of this subdivision shall be deemed a misdemeanor and conviction thereof
shall subject the person convicted to a fine of not less than one hundred dollars nor more than five
hundred dollars or to imprisonment for not less than thirty days nor more than six months, or to both .
such fine and imprisonment. Nothing herein contained shall be construed to prevent or prohibit inquiry
concerning the activities, affiliation or membership of any applicant or employee in any group or
organization which advocates that the government of the United States or of any state or of any political

subdivision thereof should be overturned by force, violence or any unlawful means.

3. Political assessments. No officer or employee of the state or any civil division thereof shall, directly or

indirectly, use his authority or official influence to compel or induce any other officer or employee of the

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Civil Service Law $107

state or any civil division thereof, to pay or promise to pay any political assessment, subscription or
contribution. Every officer or employee who may have charge or control in any building, office or room
occupied for any governmental purpose is hereby authorized to prohibit the entry of any person, and he
shall not knowingly permit any person to enter the same for the purpose of making, collecting, receiving
or giving notice therein, of any political assessment, subscription or contribution; and no person shail
enter or remain in any such office, building or room, or send or direct any letter or other writing thereto,
for the purpose of giving notice of, demanding or collecting a political assessment; nor shall any person
therein give notice of, demand, collect or receive any such assessment, subscription or contribution, No
person shall prepare or take any part in preparing any political assessment, subscription or contribution
with the intent that the same shall be sent or presented to or collected of any officer or employee subject
to the provisions of this chapter, and no person shail knowingly send or present amy political assessment,
subscription or contribution to or request its payment of any said officer or employee. Any person

violating any provision of this subdivision shall be guilty of a misdemeanor.

Prohibition against promise of influence. Any person, who while holding any public office, or in
nomination for, or while seeking a nomination or appointment for any public office, shall corruptly use
or promise to use, whether directly or indirectly, any official authority or influence, whether then
possessed or merely anticipated, in the way of conferring upon any person, or in order to secure or aid
any person in sécuring any office or public employment, or any nomination, confirmation, promotion

or increase of salary, upon the consideration that the vote or political influence or action of the last-

~ ‘named person, or any other, shall be given or uséd in behalf of any candidate, officer or party, 6r upon

any other corrupt condition or consideration, shall be deemed guilty of bribery or an attempt at bribery.
Any public officer, or any person having or claiming to have any authority or influence for or affecting
the nomination, public employment, confirmation, promotion, removal, or increase or decrease of salary
of any public officer, who shall corruptly use, or promise, or threaten to use any such authority or
influence, directly or indirectly in order to coerce or persuade the vote or political action of any citizen
or the removal, discharge or promotion of any officer or public employee, or upon any other corrupt
consideration shall also be guilty of bribery or of an attempt at bribery. Every person found guilty of

such bribery, or an attempt to commit the same, as aforesaid, shall, upon conviction thereof, be liable to

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